Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 1 of 183




                                                                  APPEAL,INTERPRETER,TERMED
                    U.S. District Court − District of Colorado
                          District of Colorado (Denver)
              CRIMINAL DOCKET FOR CASE #: 1:12−cr−00033−JLK−2

   Case title: USA v. Muhtorov et al
   Magistrate judge case number: 1:12−mj−01039−KLM

   Date Filed: 01/23/2012
   Date Terminated: 07/19/2018

   Assigned to: Judge John L. Kane
   Appeals court case number:
   18−1296 Tenth Circuit Court of
   Appeals

   Defendant (2)
   Bakhtiyor Jumaev                   represented by David Barry Savitz
   TERMINATED: 07/19/2018                            David B. Savitz, Law Office of
                                                     1512 Larimer Street
                                                     Suit 600
                                                     Denver, CO 80202
                                                     303−825−3109
                                                     Fax: 303−607−0472
                                                     Email: savmaster@aol.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

                                                     Daniel Joseph Sears
                                                     Daniel J. Sears, P.C.
                                                     999 18th Street
                                                     Suite 3000
                                                     Denver, CO 80202
                                                     303−357−4639
                                                     Fax: 303−297−2536
                                                     Email: djsearspc@aol.com
                                                     TERMINATED: 01/09/2014
                                                     Designation: CJA Appointment

                                                     Emily Elizabeth Boehme
                                                     Emily Boehme, Attorney at Law
                                                     1543 Champa Street
                                                     Suite 400
                                                     Denver, CO 80202
                                                     720−301−1866
                                                     Fax: 303−571−1001
                                                     Email: emboehme@gmail.com

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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 2 of 183




                                             TERMINATED: 06/25/2018
                                             Designation: CJA Appointment

                                             Mitchell Baker
                                             Mitch Baker, Attorney at Law
                                             1543 Champa Street
                                             #400
                                             Denver, CO 80202
                                             303−592−7353
                                             Fax: 303−571−1001
                                             Email: mitchbaker@estreet.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: CJA Appointment

   Pending Counts                            Disposition
                                             Defendant to be sentenced to a term of TIME
   18:2339B.F−Material Support of a
                                             SERVED, as to Counts One and Two, to be served
   Designated Foreign Terrorist
                                             concurrently. Defendant shall be placed on
   Organization and Attempt and
                                             Supervised Release for a term of 10 years on
   Conspiracy to do the Same
                                             Counts One and Two, to be served concurrently.
   (1ss)
                                             Assessment $200.
                                             Defendant to be sentenced to a term of TIME
   18:2339B.F−Material Support of a
                                             SERVED, as to Counts One and Two, to be served
   Designated Foreign Terrorist
                                             concurrently. Defendant shall be placed on
   Organization and Attempt and
                                             Supervised Release for a term of 10 years on
   Conspiracy to do the Same
                                             Counts One and Two, to be served concurrently.
   (2ss)
                                             Assessment $200.

   Highest Offense Level (Opening)
   Felony

   Terminated Counts                         Disposition
   PROVIDING MATERIAL
   SUPPORT OR RESOURCES TO
                                             Dismissed.
   TERRORISTS
   (1−4)
   PROVIDING MATERIAL
   SUPPORT OR RESOURCES TO
                                             Dismissed.
   TERRORISTS
   (1s−2s)
   18:2339A.F Conspiracy to Provide
   Material Support to Terrorism             Dismissed
   (5ss)
   18:2339B.F−Material Support of a          Dismissed
   Designated Foreign Terrorist
   Organization and Attempt and
   Conspiracy to do the Same

                                                                                              2
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 3 of 183




   (6ss)

   Highest Offense Level
   (Terminated)
   Felony

   Complaints                                  Disposition
   18:2339B.F Providing Material
   Support or Resources to Terrorists



   Interested Party
   Department of Justice                represented by Erin Martha Creegan
                                                       (See above for address)
                                                       TERMINATED: 11/03/2017
                                                       Designation: Retained



   Interested Party
   Department of Justice



   Plaintiff
   USA                                  represented by Gregory Allen Holloway
                                                       U.S. Attorney's Office−Denver
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                                                       Denver, CO 80202
                                                       303−454−0100
                                                       Fax: 454−0403
                                                       Email: Gregory.Holloway@usdoj.gov
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Federal Agency Attorney

                                                      Beth N. Gibson
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                                                      Denver, CO 80202
                                                      303−454−0100
                                                      Fax: 303−454−0406
                                                      Email: Beth.Gibson@usdoj.gov
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Federal Agency Attorney

                                                      David Alan Tonini
                                                      U.S. Attorney's Office−Denver
                                                                                              3
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 4 of 183




                                                  1801 California Street
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                                                  Fax: 303−454−0403
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                                                  Designation: Federal Agency Attorney

                                                  Erin Martha Creegan
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                                                  Designation: Federal Agency Attorney

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                                                  202−353−7371
                                                  Fax: 202−353−0778
                                                  Email: Jason.Kellhofer@usdoj.gov
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                                                  Designation: Federal Agency Attorney

                                                  Julia K. Martinez
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                                                  Suite 1600
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                                                  303−454−0100
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                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Federal Agency Attorney

                                                  Kiersten Jennifer Korczynski
                                                  U.S. Department of
                                                  Justice−DC−Counterterrorism
                                                  National Security Division,
                                                  Counterterrorism Section
                                                  950 Pennsylvania Avenue, N.W.
                                                  Washington, DC 20530

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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 5 of 183




                                                                   202−353−9007
                                                                   Fax: 202−514−8714
                                                                   Email: kiersten.korczynski@usdoj.gov
                                                                   TERMINATED: 10/25/2017
                                                                   Designation: Federal Agency Attorney

    Date Filed   #       Page Docket Text
    03/14/2012       1        COMPLAINT as to Bakhtiyor Jumaev (1). (kltsl, ) (Additional attachment(s)
                              added on 3/15/2012: # 1 Criminal Information Sheet) (kltsl, ).
                              [1:12−mj−01039−KLM] (Entered: 03/15/2012)
    03/14/2012       2        Arrest Warrant Issued in case as to Bakhtiyor Jumaev. (kltsl, )
                              [1:12−mj−01039−KLM] (Entered: 03/15/2012)
    03/14/2012       3        MOTION for Leave to Restrict Case by USA as to Bakhtiyor Jumaev. (kltsl,
                              ) [1:12−mj−01039−KLM] (Entered: 03/15/2012)
    03/14/2012       4        ORDER granting 3 Motion for Leave to Restrict as to Bakhtiyor Jumaev (1)
                              by Magistrate Judge Kristen L. Mix on 3/14/2012. (kltsl, )
                              [1:12−mj−01039−KLM] (Entered: 03/15/2012)
    03/20/2012   50           SUPERSEDING INDICTMENT as to Jamshid Muhtorov (1) count(s) 1s−4s,
                              Bakhtiyor Jumaev (2) count(s) 1−4. Modified as specified in doc #52.
                              (Attachments: # 1 Criminal Information Sheet, # 2 Criminal Information
                              Sheet) (jjhsl, ) Modified on 3/23/2012 (jjhsl, ). (Entered: 03/20/2012)
    03/20/2012   52           ORDER. The alias names for Defendant No. 1, JAMSHID MUHTOROV, set
                              forth in the caption of the Superseding Indictment filed this date, and the alias
                              names for Defendant No. 2, BAKHTIYOR UMAEV, are ordered
                              STRICKEN as surplussage and shall not be used again in the caption of any
                              document or pleading by Judge John L. Kane on 03/20/12. (jjhsl, ) Modified
                              on 3/21/2012 to correct text (jjhsl, ). (Entered: 03/21/2012)
    03/21/2012   53           MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The
                              Protective Order entered in this case will remain operative pending my
                              resolution of Defendant Muhtorov's Motion for Reconsideration 49 by Judge
                              John L. Kane on 03/21/12. (jjhsl, ) (Entered: 03/21/2012)
    03/21/2012   54           ORDER granting 40 Motion for Leave to Restrict as to Jamshid Muhtorov
                              (1). Access to Docket 42 and the exhibits accompanying it shall be limited to
                              the parties and the court pursuant to D.C.COLO.LCrR 47.1 by Judge John L.
                              Kane on 03/21/12. (jjhsl, ) (Entered: 03/21/2012)
    03/22/2012   59           SECOND SUPERSEDING INDICTMENT as to Jamshid Muhtorov (1)
                              count(s) 1ss−4ss, Bakhtiyor Jumaev (2) count(s) 1s−2s. (Attachments: # 1
                              Criminal Information Sheet, # 2 Criminal Information Sheet) (jjhsl, )
                              (Entered: 03/23/2012)
    03/23/2012   57           Translation of Document re: 50 Indictment as to Jamshid Muhtorov,
                              Bakhtiyor Jumaev. Modified as specified in doc #58. (jjhsl, ) Modified on
                              3/23/2012 (jjhsl, ). (Entered: 03/23/2012)
    03/23/2012   58           ORDER. The alias names for Defendant No. 1, JAMSHID MUHTOROV, set
                              forth in the caption of the Superseding Indictment filed this date, and the alias

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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 6 of 183




                         names for Defendant No. 2, BAKHTIYOR UMAEV, are ordered
                         STRICKEN as surplussage and shall not be used again in the caption of any
                         document or pleading re: 57 by Judge John L. Kane on 03/23/12. (jjhsl, )
                         Modified on 3/23/2012 to correct text (jjhsl, ). (Entered: 03/23/2012)
    03/26/2012   61      Translation of Document re: 59 Indictment as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (jjhsl, ) (Entered: 03/26/2012)
    03/29/2012   63      Rule 5(c)(3) Documents Received as to Bakhtiyor Jumaev (jjhsl, ) (Entered:
                         03/29/2012)
    03/29/2012   64      CJA 23 Financial Affidavit by Bakhtiyor Jumaev. (jjhsl, ) (Entered:
                         03/29/2012)
    04/02/2012   65      MINUTE ENTRY for proceedings held before Magistrate Judge Kristen L.
                         Mix: Initial Appearance as to Bakhtiyor Jumaev held on 4/2/2012; AUSA
                         Gregory Halloway. Defendant present in custody without counsel. Pretrial
                         Christine Zorn. Interpreter: Yuliya Fedasenka−Cloud. Defendant advised.
                         CJA appointed. Arraignment, Discovery and Detention set for 4/5/2012
                         10:00 AM in Courtroom A 401 before Magistrate Judge Boyd N. Boland.
                         Defendant remanded. Total time: 5 minutes. Hearing time: 2:13−2:18. TEXT
                         ONLY ENTRY. (Court Reporter: FTR − Monique Wiles) (klmcd, ) (Entered:
                         04/02/2012)
    04/02/2012   66      CJA 23 Financial Affidavit by Bakhtiyor Jumaev. (klmcd, ) (Entered:
                         04/02/2012)
    04/03/2012   67      CJA 20/30 Appointment of David Barry Savitz for Bakhtiyor Jumaev by
                         Magistrate Judge Boyd N. Boland on 04/03/2012. (pponi, ) (Entered:
                         04/03/2012)
    04/04/2012   68      NOTICE of Intent to Use Foreign Intelligence Surveillance Information by
                         USA as to Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 04/04/2012)
    04/05/2012   70      MINUTE ENTRY for proceedings held before Magistrate Judge Boyd N.
                         Boland: Arraignment, Discovery and Detention hearing held on 4/5/2012 for
                         Bakhiyor Jumaev. Interpreter: Alla Seletskaya. Present were AUSA Greg
                         Holloway; CJA counsel David Savitz; Probation Officer Christine Zorn. Joint
                         oral motion to continue procedings. ORDERED: Motion granted. Hearing
                         continued to 4/12/2012 02:00 PM in Courtroom A 401 before Magistrate
                         Judge Boyd N. Boland. Hearing time 10:09 to 10:13. Total time 4 minutes.
                         Text Entry Only. (FTR: BNB Criminal AM) (kltsl, ) Modified on 4/6/2012 to
                         add defendants name (kltsl, ). (Entered: 04/05/2012)
    04/05/2012   71      CJA Request for Interim Payment as to Bakhtiyor Jumaev. (Savitz, David)
                         (Entered: 04/05/2012)
    04/05/2012   72      CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 04/05/2012)
    04/05/2012   73      CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 04/05/2012)
    04/05/2012   74      CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 04/05/2012)


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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 7 of 183




    04/09/2012   91      CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
    04/09/2012   92      CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
    04/09/2012   93      CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
    04/09/2012   94      CJA Order for Interim Payment as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/9/2012. (smatl, ) (Entered: 04/18/2012)
    04/11/2012   78      MOTION for Leave to Restrict Document by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 04/11/2012)
    04/11/2012   79      REPLY by Jamshid Muhtorov, Bakhtiyor Jumaev to 77 Statement
                         (Holloway, Gregory) (Entered: 04/11/2012)
    04/11/2012   80      RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 04/11/2012)
    04/11/2012   81      RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered:
                         04/11/2012)
    04/11/2012   82      MOTION for Protective Order to Add Defendant Jumaev to the Protective
                         Order by USA as to Bakhtiyor Jumaev. (Holloway, Gregory) (Entered:
                         04/11/2012)
    04/11/2012   83      MOTION to Declare Case Complex by USA as to Bakhtiyor Jumaev.
                         (Holloway, Gregory) (Entered: 04/11/2012)
    04/11/2012   84      MOTION for Hearing Pretrial Conference Pursuant to the Classified
                         Information Procedures Act and Supporting Memorandum of Law by USA as
                         to Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 04/11/2012)
    04/12/2012   85      ORDER as to Bakhtiyor Jumaev (2). Order Applying Rules/Deadlines to
                         Co−Defendant Jumaev. The Motion 87 to Add Mr. Jumaev to the currently
                         operative Protective Order 47 is GRANTED. The Motion 83 to add Mr.
                         Jumaev to the Motion Declaration of Complexity Pursuant to 18 U.S.C. §
                         3161(h)(7)(B)(ii) filed for co−defendant Jamshid Muhtorov 35 and granted at
                         the March 19, 2012 status conference, is also GRANTED. A minimum of 90
                         days shall be excluded from Mr. Jumaev's speedy trial calculation as a result
                         of the FISA−related complexities identified in Doc. 35, and reiterated in Doc.
                         83. The Motion 84 to add Mr. Jumaev to the May 23, 2012, CIPA § 2 pretrial
                         conference already set with regard to Mr. Muhtorov, is also GRANTED by
                         Judge John L. Kane on 04/12/12. (jjhsl, ) (Entered: 04/12/2012)
    04/12/2012   87      MINUTE ENTRY for proceedings held before Magistrate Judge Boyd N.
                         Boland: Arraignment, Discovery, and Detention hearing as to Bakhtiyor
                         Jumaev held on 4/12/2012. AUSA Greg Holloway; Defendant present in
                         custody with David Savitz; Pretrial Matt Farwell; Interpreter: Alla
                         Selefskaya. Plea NOT GUILTY entered on all counts by Bakhtiyor Jumaev.
                         Discovery memorandum executed. ORDERED: Defendant detained. Counsel
                         to chambers. Defendant remanded. Total time: 5 minutes. Hearing time:
                         2:03−2:08. Text Only Entry. (FTR: Robin Mason) (cbscd, ) Modified on

                                                                                                          7
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 8 of 183




                         4/13/2012 to correct the judge (romsl, ). (Entered: 04/12/2012)
    04/12/2012    88     ORDER OF DETENTION as to Bakhtiyor Jumaev by Magistrate Judge
                         Boyd N. Boland on 4/12/2012. (cbscd, ) Modified on 4/13/2012 to correct
                         Magistrate Judge (jjhsl, ). (Entered: 04/12/2012)
    04/12/2012    89     Discovery Conference Memorandum and ORDER: Estimated Trial Time −
                         over 5 days as to Bakhtiyor Jumaev by Magistrate Judge Boyd N. Boland on
                         4/12/2012. (cbscd, ) (Entered: 04/13/2012)
    04/19/2012    95     MOTION for Extension of Time to File Response/Reply to and Including
                         April 26, 2012 Within Which to File a Response, if necessary, to Defendant
                         Muhtorov's Motion for Reconsideration (doc. 49) by Bakhtiyor Jumaev.
                         (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David) (Entered:
                         04/19/2012)
    04/19/2012    96     ORDER granting 95 Motion for Extension of Time to File Response to the
                         Motion for Reconsideration as to Bakhtiyor Jumaev (2). Defendant Jumaev's
                         shall have to and including April 26, 2012, to file a Response, if any, to the
                         Motion For Reconsideration. The government shall have to and including
                         May 3, 2012, to file a single responsive pleading to the Motion for
                         Reconsideration 49 and to any Response filed by Mr. Jumaev by Judge John
                         L. Kane on 04/19/12. (jjhsl, ) (Entered: 04/19/2012)
    04/26/2012    97     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 04/26/2012)
    04/26/2012    98     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 04/26/2012)
    04/26/2012    99     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 04/26/2012)
    04/26/2012   100     RESPONSE to Motion by Bakhtiyor Jumaev as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev re 49 MOTION for Reconsideration re 47 Order on
                         Motion for Protective Order (Savitz, David) (Entered: 04/26/2012)
    04/26/2012   101     RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Savitz, David) (Entered: 04/26/2012)
    04/26/2012   102     MOTION for Leave to Restrict Document by Bakhtiyor Jumaev as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order
                         (PDF Only))(Savitz, David) (Entered: 04/26/2012)
    04/26/2012   103     ORDER granting 102 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). ORDERED Exhibits 1, 2, and 3 101 of Defendant Jumaev's Response
                         100 to Defendant Muhtorov's Motion 49 to Reconsider this Courts Order
                         Granting the Governments Motion for a Protective Order by Judge John L.
                         Kane on 04/26/12. (jjhsl, ) Modified on 4/26/2012 to add linkage (jjhsl, ).
                         Modified on 4/27/2012 to add linkage (jjhsl, ). (Entered: 04/26/2012)
    05/02/2012   104     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 05/02/2012)
    05/03/2012   106

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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 9 of 183




                         RESPONSE by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re: 101
                         Restricted Document − Level 1 filed by Bakhtiyor Jumaev, 76 Brief filed by
                         Jamshid Muhtorov, 100 Response to Motion filed by Bakhtiyor Jumaev, 49
                         MOTION for Reconsideration re 47 Order on Motion for Protective Order
                         filed by Jamshid Muhtorov (Attachments: # 1 Proposed Order (PDF Only), #
                         2 Proposed Document)(Holloway, Gregory) (Entered: 05/03/2012)
    05/08/2012   108     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/08/2012)
    05/08/2012   109     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/08/2012)
    05/08/2012   110     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/08/2012)
    05/08/2012   111     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. This matter
                         is set for a Status Conference and Motions Hearing on May 14, 2012 at 1:30
                         p.m. in Courtroom A802. The court will address protective order and FISA
                         issues at this hearing (doc. #s 49 and 107). The defendants' presence is not
                         required before Judge John L. Kane by Judge John L. Kane on 05/08/12.
                         (jjhsl, ) (Entered: 05/08/2012)
    05/08/2012   112     NOTICE OF NONCOMPLIANCE WITH CM/ECF PROCEDURES: The
                         court notes that Jason Kellhofer has failed to register for electronic case filing
                         (CM/ECF) in violation of D.C.COLO.LCrR 49.4A. and III.3.2.A. of the
                         Electronic Case Filing Procedures for the District of Colorado (Criminal
                         Cases). Counsel is advised that continued failure to file electronically through
                         CM/ECF may lead to sanctions by the court. Counsel must register for
                         CM/ECF within 10 days of the date of this docket entry or further action may
                         be taken by the court. Text Only Entry (mjfsl, ) (Entered: 05/08/2012)
    05/09/2012   113     CJA 20/30 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment, # 3 CJA
                         Attachment)(Savitz, David) (Entered: 05/09/2012)
    05/10/2012   114     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 05/10/2012)
    05/11/2012   115     Objections to Newly Proposed Protective Order and MOU 106 by Bakhtiyor
                         Jumaev as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Savitz, David)
                         Modified on 5/14/2012 to correct title of document (jjhsl, ). (Entered:
                         05/11/2012)
    05/11/2012   136     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/11/12. (smatl, ) (Entered: 06/21/2012)
    05/14/2012   118     MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 5/14/2012 as to Jamshid Muhtorov (1),and Bakhtiyor Jumaev (2).
                         Defendants not present. Granting 107 Motion for Order as to Jamshid
                         Muhtorov (1), to and including 7/30/2012. (Court Reporter: Gwen
                         Daniel)(babia) (Entered: 05/16/2012)
    05/16/2012   117     ORDER re Doc. 116 as to Jamshid Muhtorov, Bakhtiyor Jumaev. The
                         requests for relief embedded in the "Memorandum of Law on Procedures to
                                                                                                              9
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 10 of 183




                         be Followed at an CIPA 4 Proceedings" 116 filed on behalf of Mr. Muhtorov
                         are Denied as Premature. The May 23 hearing is not a CIPA § 4 hearing and
                         was not converted into one by operation of the March 19 Minute Entry 55 .
                         However, that Minute Entry 55 is AMENDED to clarify that the May 23
                         hearing is not in camera or ex parte. To the extent specific matters arise
                         during the course of the May 23 hearing that require in camera or ex parte
                         attention, they will be addressed accordingly at that time by Judge John L.
                         Kane on 05/16/12. (jjhsl, ) (Entered: 05/16/2012)
    05/17/2012   119     CJA 24 Transcript Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Savitz, David) (Entered: 05/17/2012)
    05/17/2012   120     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
    05/17/2012   121     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
    05/17/2012   122     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
    05/17/2012   123     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/17/2012)
    05/23/2012   124     MINUTE ENTRY for proceedings held before Judge John L. Kane: Pretrial
                         Conference as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 5/23/2012.
                         ORDERED: Oral Request by the Government to conduct a preliminary CIPA
                         § 4 (ex parte) hearing within the week of June 18, 2012 is GRANTED.
                         Counsel shall contact Chambers to schedule a time (Court Reporter: Tamara
                         Hoffschildt) (jjhsl, ) (Entered: 05/23/2012)
    05/29/2012   126     CJA 24 Transcript Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Savitz, David) (Entered: 05/29/2012)
    05/29/2012   127     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 05/29/2012)
    06/04/2012   138     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/4/12. (smatl, ) (Entered: 06/22/2012)
    06/04/2012   139     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/4/12. (smatl, ) (Entered: 06/22/2012)
    06/05/2012   129     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 06/05/2012)
    06/05/2012   130     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 06/05/2012)
    06/07/2012   140     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/7/12. (smatl, ) (Entered: 06/22/2012)
    06/07/2012   141     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/7/12. (smatl, ) (Entered: 06/22/2012)

                                                                                                       10
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 11 of 183




    06/07/2012   142     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/7/12. (smatl, ) (Entered: 06/22/2012)
    06/07/2012   143     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/7/12. (smatl, ) (Entered: 06/22/2012)
    06/13/2012   132     CJA 20/30 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 06/13/2012)
    06/13/2012   133     TRANSCRIPT of Pretrial Conference as to Bakhtiyor Jumaev held on May
                         23, 2012 before Judge Kane. Pages: 21. <P> NOTICE − REDACTION OF
                         TRANSCRIPTS: Within seven calendar days of this filing, each party
                         shall inform the Court, by filing a Notice of Intent to Redact, of the
                         party's intent to redact personal identifiers from the electronic
                         transcript of the court proceeding. If a Notice of Intent to Redact is not
                         filed within the allotted time, this transcript will be made electronically
                         available after 90 days. Please see the Notice of Electronic Availability of
                         Transcripts document at www.cod.uscourts.gov.</P> Transcript may only
                         be viewed at the court public terminal or purchased through the Court
                         Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                         PACER. Release of Transcript Restriction set for 9/14/2012. (Hoffschildt,
                         Tamara) (Entered: 06/13/2012)
    06/18/2012   134     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 06/18/2012)
    06/19/2012   146     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/19/12. (smatl, ) (Entered: 06/26/2012)
    06/19/2012   147     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/19/12. (smatl, ) (Entered: 06/26/2012)
    06/20/2012   135     ORDER granting in part and denying in part 128 Motion for Reconsideration
                         as to Jamshid Muhtorov (1). Ex Parte Hearing set for 6/21/2012 02:00 PM in
                         Courtroom A 802 before Judge John L. Kane. Ex Parte Hearing set for
                         6/21/2012 03:00 PM in Courtroom A 802 before Judge John L. Kane by
                         Judge John L. Kane on 06/20/12. (jjhsl, ) (Entered: 06/20/2012)
    06/21/2012   137     Courtroom Minutes for proceedings held before Judge John L. Kane held on
                         6/21/2012. (jjhsl, ) (Entered: 06/21/2012)
    06/22/2012   144     TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 5/14/2012 before Judge Kane. Pages: 1−25. <P> NOTICE −
                         REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                         filing, each party shall inform the Court, by filing a Notice of Intent to
                         Redact, of the party's intent to redact personal identifiers from the
                         electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.</P>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. Release of Transcript Restriction set for
                         9/24/2012. (Daniel, Gwen) (Entered: 06/22/2012)

                                                                                                        11
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 12 of 183




    06/26/2012   145     ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Pursuant to counsel's
                         representations and stipulations related in a joint conference call to chambers
                         this morning, the deadline for the government's FISA response is
                         EXTENDED one month from July 30, 2012 to August 31, 2012, and Mr.
                         Jumaev shall have to July 26, 2012, to file a SUPPLEMENTAL PLEADING
                         or JOINDER related to Mr. Muhtorov's FISA−related Motion to Suppress
                         125 by Judge John L. Kane on 06/26/12. Text Only Entry (jjhsl, ) (Entered:
                         06/26/2012)
    06/26/2012   148     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 06/26/2012)
    06/27/2012   149     Amended TRANSCRIPT of Status Conference as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 5/14/2012 before Judge Kane. Pages: 1−25. <P>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.</P>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. Release of Transcript Restriction set for
                         9/28/2012. (Daniel, Gwen) (Entered: 06/27/2012)
    06/27/2012   150     Amended TRANSCRIPT of Pretrial Conference as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on May 23, 2012 before Judge Kane. Pages: 1−21.
                         <P> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.</P> Transcript may only be viewed at the court
                         public terminal or purchased through the Court Reporter/Transcriber prior to
                         the 90 day deadline for electronic posting on PACER. Release of Transcript
                         Restriction set for 9/28/2012. (Hoffschildt, Tamara) (Entered: 06/27/2012)
    06/27/2012   154     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/27/2012. (smatl, ) (Entered: 07/24/2012)
    06/27/2012   155     CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/27/2012. (smatl, ) (Entered: 07/24/2012)
    06/28/2012   151     MINUTE ENTRY for proceedings held before Judge John L. Kane: Ex Parte
                         Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 6/28/2012 re:
                         135 . Court Reporter: Tamara Hoffschildt. (jjhsl, ) (Entered: 06/28/2012)
    06/29/2012   156     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/29/2012. (smatl, ) (Entered: 07/24/2012)
    07/02/2012   166     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/2/2012. (smatl, ) (Entered: 08/04/2012)
                                                                                                           12
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 13 of 183




    07/05/2012   167     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/5/12. (dbrow, ) (Entered: 08/06/2012)
    07/17/2012   168     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/17/12. (dbrow, ) (Entered: 08/06/2012)
    07/30/2012   157     MOTION for Order Combined FISA−Related Motions: (1) To Adopt
                         Defendant Muhtorov's "Motion to Suppress FISA Acquired Evidence
                         (Supplement to Doc. 14)" (Doc. 125); (2) for Disclosure of FISA Materials;
                         (3) for a Preliminary Challenge to Suppress FISA Acquired Evidence; and
                         (4) for Leave to File a Franks Motion After Receipt of All the Government's
                         Discovery by Bakhtiyor Jumaev as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Savitz, David) (Entered: 07/30/2012)
    07/30/2012   158     RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibits Q−W)(Savitz,
                         David) (Entered: 07/30/2012)
    07/30/2012   159     MOTION for Leave to Restrict Document by Bakhtiyor Jumaev as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order
                         (PDF Only))(Savitz, David) (Entered: 07/30/2012)
    07/30/2012   160     MOTION for Leave to File Out of Time, Namely, on July 30, 2012,
                         Defendant Jumaev's Combined FISA−Related Motions: (1) to Adopt
                         Defendant Muhtorov's "Motion to Suppress FISA Acquired Evidence
                         (Supplement to Doc. 14)" (Doc. 125; (2) For Disclosure of FISA Materials;
                         (3) for a Preliminary Challenge to Suppress FISA Acquired Evidence; and
                         (4) for Leave to File a Franks Motion After Receipt of All the Government's
                         Discovery (Doc. No. 157) by Bakhtiyor Jumaev as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                         David) (Entered: 07/30/2012)
    07/30/2012   161     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 07/30/2012)
    07/30/2012   162     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment, # 2 CJA Attachment)(Savitz, David)
                         (Entered: 07/30/2012)
    07/30/2012   163     ORDER. ORDERED that Defendant Jumaev's Motion for Leave to Restrict
                         Exhibits Attached to his Combined FISA−Related Motions 159 is
                         GRANTED. Exhibits A−W of Doc 157 are RESTRICTED from public view
                         at Level 1, by Judge John L. Kane on 7/30/12. Text Only Entry (sgrim)
                         (Entered: 07/31/2012)
    07/30/2012   164     ORDER. ORDERED that Defendant Jumaev's Motion 160 for Leave to File
                         Doc. 157 Out of Time is GRANTED. The Combined FISA−Related Motions
                         157 is ACCEPTED for filing, by Judge John L. Kane on 7/30/12. Text Only
                         Entry (sgrim) (Entered: 07/31/2012)
    08/01/2012   165     CJA 20/30 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 08/01/2012)
    08/02/2012   169     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/2/12. (dbrow, ) (Entered: 08/07/2012)
                                                                                                       13
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 14 of 183




    08/02/2012   170     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/2/12. (dbrow, ) (Entered: 08/07/2012)
    08/09/2012   171     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) Modified on 8/9/2012 to correct filer (jjhsl, ).
                         (Entered: 08/09/2012)
    08/09/2012   172     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) Modified on 8/9/2012 to correct filer (jjhsl, ).
                         (Entered: 08/09/2012)
    08/16/2012   173     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/16/2012. (mjwcd) (Entered: 08/22/2012)
    08/29/2012   174     NOTICE of Change of Address/Contact Information as to Bakhtiyor Jumaev
                         (2) (Savitz, David) Modified on 8/29/2012 to add filer (jjhsl, ). (Entered:
                         08/29/2012)
    08/30/2012   175     MINUTE ORDER notifying counsel of ex parte telephone communication
                         between Court and counsel re delivery of CIPA Section 4 materials as to
                         Jamshid Muhtorov and Bakhtiyor Jumaev, by Judge John L. Kane on
                         8/30/12. Text Only Entry (sgrim) (Entered: 08/30/2012)
    08/31/2012   176     MOTION for Leave to Restrict Document by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 08/31/2012)
    08/31/2012   177     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 08/31/2012)
    08/31/2012   178     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered:
                         08/31/2012)
    09/04/2012   179     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 09/04/2012)
    09/04/2012   180     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 09/04/2012)
    09/04/2012   181     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 09/04/2012)
    09/05/2012   182     RESPONSE in Opposition by Bakhtiyor Jumaev re 176 MOTION for Leave
                         to Restrict Document Defendant Bakhtiyor Jumaev's Objections to the
                         Government's Filing its Memorandum and Declaration, Document Nos. 178
                         and 178−1, and Its Motion to Restrict and Brief, Document Nos. 176 and
                         177, as Restricted Level 1 Documents (Attachments: # 1 Proposed Order
                         (PDF Only))(Savitz, David) (Entered: 09/05/2012)
    09/05/2012   183     EXHIBITS to 182 In Support by Bakhtiyor Jumaev (Savitz, David) Modified
                         on 9/10/2012 to create document link (sgrim). (Entered: 09/05/2012)
    09/06/2012   185     MINUTE ORDER re 182 . Defendant Jumaev's Objection to the
                         Government's Motion 176 to Restrict its Memorandum and Declaration 178
                         and [178−1] and its Motion to Restrict and Brief 176 and 177 at Restriction
                         Level 1 is OVERRULED and the Motion 176 is GRANTED. The Labyrinth
                         of security statutes, rules and regulations the court and the parties are forced
                                                                                                            14
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 15 of 183




                         to wander through do not need any fine line distinctions at this point in the
                         proceedings. There will come a time when we are safely beyond the reach of
                         the minotaur, but not now, by Judge John L. Kane on 9/6/12. Text Only
                         Entry (sgrim) (Entered: 09/06/2012)
    09/10/2012   186     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/10/2012)
    09/10/2012   187     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 09/10/2012)
    09/10/2012   188     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/10/2012. (mjwcd) (Entered: 09/14/2012)
    09/10/2012   189     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/10/2012. (mjwcd) (Entered: 09/14/2012)
    09/11/2012   197     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 9/11/2012. (mjwcd) (Entered: 09/25/2012)
    09/19/2012   190     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/19/2012)
    09/19/2012   191     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 09/19/2012)
    09/19/2012   192     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 09/19/2012)
    09/20/2012   193     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 09/20/2012)
    09/21/2012   194     Superseding Protective Order as to Jamshid Muhtorov and Bakhtiyor
                         Jumaev, by Judge John L. Kane on 9/21/12. (Attachments: # 1 Attachment)
                         (sgrim) (Entered: 09/21/2012)
    09/24/2012   195     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 09/24/2012)
    09/24/2012   196     ORDER on Pending Motions Regarding FISA−Acquired Evidence.
                         Defendant Muhtorov's Motion to Suppress 14 and Supplement 125 , and the
                         Combined FISA−Related Motions of Defendant Jumaev 157 are DENIED,
                         by Judge John L. Kane on 9/24/12. (lygsl, ) (Entered: 09/24/2012)
    09/25/2012   221     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 9/25/2012. (mjwcd) (Entered: 10/15/2012)
    09/26/2012   198     NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the
                         United States Pursuant to Classified Information Procedures Act by USA as
                         to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         09/26/2012)
    09/27/2012   199     MOTION to Continue Pursuant to Declaration of Complexity by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered:
                         09/27/2012)
    09/28/2012   200

                                                                                                         15
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 16 of 183




                         MOTION to Withdraw as Attorney of Record by Jason Kellhofer by USA as
                         to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered:
                         09/28/2012)
    09/28/2012   201     MOTION to Disclose Grand Jury Material to Defendant by Bakhtiyor
                         Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David)
                         (Entered: 09/28/2012)
    09/28/2012   202     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/28/2012)
    10/01/2012   204     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. MINUTE
                         ORDER setting STATUS CONFERENCE/CIPA Section 2 hearing. At some
                         time before 4 p.m. on Tuesday, October 2, 2012, counsel for the government
                         and both defendants shall call in jointly to chambers to set a time for a status
                         conference/CIPA section 2 hearing. The conference/hearing will be open (not
                         ex parte) and topics for discussion shall be the status of discovery, including
                         discovery of information designated as classified, and plans for proceeding
                         on pending motions, by Judge John L. Kane on 10/1/12. Text Only Entry
                         (sgrim, ) (Entered: 10/01/2012)
    10/01/2012   205     ORDER Granting Motion 199 for Tolling of Speedy Trial as to Jamshid
                         Muhtorov (1), Bakhtiyor Jumaev (2). The government's Motion for (90−Day)
                         Tolling of Speedy Trial pursuant to a declaration of complexity 199 is
                         GRANTED. An additional 90 days SHALL BE EXCLUDED from speedy
                         trial calculations, by Judge John L. Kane on 10/1/12. (sgrim) (Entered:
                         10/01/2012)
    10/01/2012   206     ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael
                         Kellhofer withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor
                         Jumaev (2), by Judge John L. Kane on 10/1/12. (sgrim) (Entered:
                         10/01/2012)
    10/01/2012   207     ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael
                         Kellhofer withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor
                         Jumaev (2), by Judge John L. Kane on 10/1/12. (sgrim) Modified on
                         10/1/2012 duplicate entry. (sgrim). (Entered: 10/01/2012)
    10/01/2012   208     ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael
                         Kellhofer withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor
                         Jumaev (2), by Judge John L. Kane on 10/1/12. (sgrim) Modified on
                         10/1/2012 duplicate entry. (sgrim). (Entered: 10/01/2012)
    10/01/2012   209     ORDER granting 200 Motion to Withdraw as Attorney. Jason Michael
                         Kellhofer withdrawn from case as to Jamshid Muhtorov (1), Bakhtiyor
                         Jumaev (2), by Judge John L. Kane on 10/1/12. (sgrim) Modified on
                         10/1/2012 duplicate entry. (sgrim). (Entered: 10/01/2012)
    10/01/2012   224     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/1/2012. (mjwcd) (Entered: 10/24/2012)
    10/01/2012   225     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/1/2012. (mjwcd) (Entered: 10/24/2012)
    10/01/2012   226     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/1/2012. (mjwcd) (Entered: 10/24/2012)
                                                                                                            16
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 17 of 183




    10/01/2012   227     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/1/2012. (mjwcd) (Entered: 10/24/2012)
    10/02/2012   210     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Status
                         Conference/CIPA section 2 hearing set for 10/11/2012 at 03:00 PM in
                         Courtroom A 802, Alfred A. Arraj U.S. District Courthouse, before Judge
                         John L. Kane, by Judge John L. Kane on 10/2/12. Text Only Entry. (sgrim)
                         (Entered: 10/02/2012)
    10/02/2012   211     MOTION for Order for Appointment of Otabek Hasanov as the Court's
                         Qualified Interpreter to Perform Translation Services by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Proposed Order (PDF Only))(Savitz, David)
                         (Entered: 10/02/2012)
    10/02/2012   212     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/02/2012)
    10/02/2012   245     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/2/2012. (smatl, ) (Entered: 11/19/2012)
    10/02/2012   251     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/2/2012. (mjwcd) (Entered: 11/21/2012)
    10/03/2012   213     PROTECTIVE ORDER as to Jamshid Muhtorov and Bakhtiyor Jumaev re
                         198 Notice to Defendants of in Camera, ex Parte under Seal Filing By the
                         United States Pursuant to the Classified Information Procedures Act, by
                         Judge John L. Kane on 10/3/12. (sgrim) (Entered: 10/03/2012)
    10/08/2012   214     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/08/2012)
    10/09/2012   215     NOTICE of Absence from Jurisdiction by Bakhtiyor Jumaev (Savitz, David)
                         (Entered: 10/09/2012)
    10/09/2012   216     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 10/09/2012)
    10/09/2012   217     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 10/09/2012)
    10/09/2012   218     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 10/09/2012)
    10/09/2012   219     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 10/09/2012)
    10/09/2012   220     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 10/09/2012)
    10/11/2012   223     MINUTE ENTRY for Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 10/11/2012 before Judge John L. Kane. ORDERED: If there
                         is no plea disposition filed, counsel shall have to and including November 19,
                         2012 to file responses to the three pending motions 184 , 203 , and 201 .
                         ORDERED: The Government shall file its response to 211 , on or before
                         October 31, 2012, otherwise the motion will be ruled on as submitted. Court
                         Reporter: Kara Spitler. Interpreter: Alla Seletskaya. (sgrim) (Entered:
                         10/17/2012)
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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 18 of 183




    10/15/2012   239     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/15/2012. (mjwcd) (Entered: 11/07/2012)
    10/16/2012   222     CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                         10/16/2012)
    10/16/2012   228     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/16/2012. (mjwcd) (Entered: 10/25/2012)
    10/16/2012   229     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/16/2012. (mjwcd) (Entered: 10/25/2012)
    10/24/2012   238     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/24/2012. (mjwcd) (Entered: 11/07/2012)
    10/24/2012   248     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/24/2012. (mjwcd) (Entered: 11/21/2012)
    10/24/2012   249     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/24/2012. (mjwcd) (Entered: 11/21/2012)
    10/24/2012   250     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/24/2012. (mjwcd) Modified on 11/21/2012 to correct
                         judge.(sgrim) (Entered: 11/21/2012)
    10/24/2012   258     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/24/2012. (mjwcd) (Entered: 12/05/2012)
    10/24/2012   259     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/24/2012. (mjwcd) (Entered: 12/05/2012)
    10/28/2012   230     TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 10−11−12 before Judge Kane. Pages: 1−23. <P> NOTICE −
                         REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                         filing, each party shall inform the Court, by filing a Notice of Intent to
                         Redact, of the party's intent to redact personal identifiers from the
                         electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.</P>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. Release of Transcript Restriction set for
                         1/31/2013. (Spitler, Kara) (Entered: 10/28/2012)
    10/30/2012   231     RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 211 MOTION for
                         Order for Appointment of Otabek Hasanov as the Court's Qualified
                         Interpreter to Perform Translation Services (Holloway, Gregory) (Entered:
                         10/30/2012)
    10/30/2012   232     MINUTE ORDER Defendant Bakhtiyor Jumaev shall file a reply re 231
                         Response to Motion filed by USA no later than 11/2/12, by Judge John L.
                         Kane on 10/30/12. Text Only Entry (jlksec) (Entered: 10/30/2012)
    11/01/2012   233     MOTION for Extension of Time to File Response/Reply as to 231 Response
                         to Motion by Bakhtiyor Jumaev. (Savitz, David) (Entered: 11/01/2012)

                                                                                                       18
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 19 of 183




    11/01/2012   234     ORDER granting 233 Motion for Extension of Time to File Response/Reply
                         as to Bakhtiyor Jumaev (2). Defendant Jumaev's Request (Motion) for
                         Extension of Time is GRANTED. Mr. Jumaev may have to November 13,
                         2012, in which to file a Reply in support of his Motion for Appointment of
                         Otabek Hasanov as Court's Qualified Interpreter to Perform Translation
                         Services (Doc. 231), by Judge John L. Kane on 11/1/12. Text Only Entry
                         (jlksec) (Entered: 11/01/2012)
    11/05/2012   235     MOTION for Extension of Time to File Response/Reply as to 184 Joint
                         MOTION for Discovery of their Statements and Translations Thereof, 203
                         MOTION to Disclose Grand Jury Material to Defendant , 201 MOTION to
                         Disclose Grand Jury Material to Defendant by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 11/05/2012)
    11/05/2012   252     CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/5/2012. (mjwcd) (Entered: 11/21/2012)
    11/06/2012   236     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 11/06/2012)
    11/06/2012   237     MINUTE ORDER GRANTING Government's Motion 235 for Extension of
                         Time in Which to File Responses to Pending Defense Motions as to Jamshid
                         Muhtorov (1), Bakhtiyor Jumaev (2). The Government's response(s) to the
                         pending defense Motions 184 , 201 , 203 are due on or before December 21,
                         2012, by Judge John L. Kane on 11/6/12. Text Only Entry. (sgrim) (Entered:
                         11/06/2012)
    11/13/2012   240     REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 211 MOTION
                         for Order for Appointment of Otabek Hasanov as the Court's Qualified
                         Interpreter to Perform Translation Services Reply to the Government's
                         Response to Defendant's Motion for Appointment of Otabek Hasanov as the
                         Court's Qualified Interpreter to Perform Translation Services (Doc. No. 231)
                         (Savitz, David) (Entered: 11/13/2012)
    11/13/2012   241     RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Savitz,
                         David) (Entered: 11/13/2012)
    11/13/2012   242     MOTION for Order to Seal Exhibits 241 (Motion for Leave to Restrict) by
                         Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                         David) Modified on 11/14/2012 to create document link. (sgrim). Modified
                         on 11/16/2012 to reflect this as motion for leave to restrict (mjgsl, ).
                         (Entered: 11/13/2012)
    11/15/2012   243     VACATED ORDER as to Bakhtiyor Jumaev (2). Defendant Bakhtiyor
                         Jumaev's Motion for Appointment of Otabek Hasanov as the Court's
                         Qualified Interpreter to Perform Translation Services 211 is GRANTED, by
                         Judge John L. Kane on 11/15/12. (sgrim) Modified on 8/6/2015 vacated
                         pursuant to the minute order of 08/06/15 (jhawk, ). (Entered: 11/15/2012)
    11/16/2012   244     ORDER granting 242 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). Defendant Jumaev's Motion (Doc. 242) to Seal Exhibits Attached to his
                         Reply in support of Motion for Appointment of Otabek Hasanov as the
                         court's qualified interpreter in this case is GRANTED. The exhibits include
                         names and historical information of individuals not charged with any
                         wrongdoing in this case whose privacy is entitled to be protected from

                                                                                                        19
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 20 of 183




                         disclosure to the public in a matter that allegedly implicates national security
                         interests. Exhibits C, D−1, D−2, D−3, and E, filed as Doc. 241, are therefore
                         RESTRICTED at Level 1. by Judge John L. Kane on 11/16/12. Text Only
                         Entry (jlksec) (Entered: 11/16/2012)
    11/20/2012   246     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 11/20/2012)
    11/20/2012   247     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 11/20/2012)
    11/26/2012   253     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 11/26/2012)
    11/26/2012   254     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 11/26/2012)
    11/26/2012   255     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 11/26/2012)
    11/26/2012   256     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 11/26/2012)
    11/26/2012   257     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 11/26/2012)
    11/30/2012   261     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 11/30/2012. (smatl, ) (Entered: 12/14/2012)
    12/03/2012   262     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/3/2012. (mjwcd) (Entered: 12/17/2012)
    12/13/2012   260     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/13/2012)
    12/17/2012   265     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/17/2012. (mjwcd) (Entered: 12/26/2012)
    12/20/2012   263     RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 184 Joint MOTION for Discovery of their Statements and Translations
                         Thereof (Holloway, Gregory) (Entered: 12/20/2012)
    12/20/2012   264     RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 203 MOTION to Disclose Grand Jury Material to Defendant , 201
                         MOTION to Disclose Grand Jury Material to Defendant (Holloway,
                         Gregory) (Entered: 12/20/2012)
    12/28/2012   275     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/28/2012. (mjwcd) (Entered: 02/01/2013)
    12/28/2012   276     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/28/2012. (mjwcd) (Entered: 02/01/2013)
    12/28/2012   277     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/28/2012. (mjwcd) (Entered: 02/01/2013)
    12/28/2012   278     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/28/2012. (mjwcd) (Entered: 02/01/2013)
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Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 21 of 183




    12/28/2012   279     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/28/2012. (mjwcd) (Entered: 02/01/2013)
    12/28/2012   290     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/28/2012. (mjwcd) (Entered: 03/07/2013)
    01/09/2013   267     MINUTE ORDER re Doc 184 as to Jamshid Muhtorov (1) and Bakhtiyor
                         Jumaev (2). Defendants' Joint Motion for Discovery of their Statements and
                         Translations Thereof is DENIED without prejudice, by Judge John L. Kane
                         on 1/9/13. (sgrim) (Entered: 01/09/2013)
    01/15/2013   268     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 01/15/2013)
    01/15/2013   269     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 01/15/2013)
    01/15/2013   270     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 01/15/2013)
    01/15/2013   271     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 01/15/2013)
    01/15/2013   272     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 01/15/2013)
    01/16/2013   273     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 01/16/2013)
    01/23/2013   274     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/23/2013)
    02/13/2013   280     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/13/2013   281     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/13/2013   282     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/13/2013   283     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/13/2013   284     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/13/2013   285     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/13/2013   286     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/13/2013)
    02/15/2013   287     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 02/15/2013)
    02/22/2013   288     MOTION to Continue For Tolling of Speedy Trial Pursuan to 18 USC
                         3161(h)(7)(7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.

                                                                                                      21
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 22 of 183




                         (Holloway, Gregory) (Entered: 02/22/2013)
    02/26/2013   289     ORDER granting 288 Government's Motion for Tolling of Speedy Trial as to
                         Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED that an additional
                         120 days shall be excluded from speedy trial calculations by Judge John L.
                         Kane on 2/26/13. (sgrim) (Entered: 02/26/2013)
    02/26/2013   301     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/26/13. (dbrow, ) (Entered: 03/12/2013)
    03/01/2013   315     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/1/2013. (smatl, ) (Entered: 04/09/2013)
    03/01/2013   316     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/1/2013. (smatl, ) (Entered: 04/09/2013)
    03/01/2013   317     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/1/2013. (smatl, ) (Entered: 04/09/2013)
    03/01/2013   318     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/1/2013. (smatl, ) (Entered: 04/09/2013)
    03/01/2013   319     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/1/2013. (smatl, ) (Entered: 04/09/2013)
    03/04/2013   299     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/4/2013. (mjwcd) (Entered: 03/12/2013)
    03/06/2013   305     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/6/2013. (mjwcd) (Entered: 03/20/2013)
    03/11/2013   291     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   292     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   293     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   294     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   295     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   296     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   297     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   298     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/11/2013)
    03/11/2013   306     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/11/2013. (mjwcd) (Entered: 03/20/2013)


                                                                                                      22
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 23 of 183




    03/11/2013   307     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/11/2013. (mjwcd) (Entered: 03/20/2013)
    03/12/2013   300     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Savitz, David)
                         (Entered: 03/12/2013)
    03/12/2013   302     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 03/12/2013)
    03/15/2013   303     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         Exhibit, # 2 Exhibit, # 3 CJA Attachment, # 4 CJA Attachment)(Savitz,
                         David) (Entered: 03/15/2013)
    03/18/2013   304     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 03/18/2013)
    03/18/2013   308     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 3/18/13. (dbrow, ) (Entered: 03/26/2013)
    03/18/2013   310     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/18/2013. (mjwcd) (Entered: 03/29/2013)
    03/18/2013   311     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 03/18/13. (dbrow, ) (Entered: 04/01/2013)
    03/18/2013   312     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 03/18/13. (dbrow, ) (Entered: 04/01/2013)
    03/18/2013   313     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 03/18/13. (dbrow, ) (Entered: 04/01/2013)
    03/19/2013   322     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 3/19/13. (dbrow, ) (Entered: 04/11/2013)
    03/20/2013   321     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 3/20/13. (dbrow, ) (Entered: 04/11/2013)
    03/20/2013   323     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 3/20/13. (dbrow, ) (Entered: 04/11/2013)
    03/28/2013   309     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/28/2013)
    03/29/2013   327     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/29/13. (dbrow, ) (Entered: 04/17/2013)
    04/03/2013   314     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/03/2013)
    04/04/2013   320     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/4/2013. (smatl, ) (Entered: 04/10/2013)
    04/11/2013   324     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 04/11/2013)
    04/11/2013   325     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/11/2013)


                                                                                                    23
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 24 of 183




    04/15/2013   326     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/15/2013)
    04/15/2013   328     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/15/13. (dbrow, ) (Entered: 04/22/2013)
    04/15/2013   329     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/15/13. (dbrow, ) (Entered: 04/22/2013)
    04/16/2013   330     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/16/13. (dbrow, ) (Entered: 04/22/2013)
    04/24/2013   334     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/24/2013)
    04/25/2013   335     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/25/2013)
    04/25/2013   338     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/25/13. (dbrow, ) (Entered: 04/30/2013)
    04/26/2013   336     NOTICE To Defendant of In Camera, Ex Parte Under Seal Filing By the
                         United States Pursuant to the Classified Information Procedures Act by USA
                         as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         04/26/2013)
    04/29/2013   340     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/29/2013. (smatl, ) (Entered: 05/01/2013)
    04/30/2013   339     PROTECTIVE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev by
                         Judge John L. Kane on 04/30/13. (jjhsl, ) (Entered: 04/30/2013)
    05/10/2013   341     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/10/2013)
    05/13/2013   342     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/13/2013)
    05/15/2013   343     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 05/15/2013)
    05/15/2013   344     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 05/15/13. (dbrow, ) (Entered: 05/21/2013)
    05/15/2013   345     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 05/15/13. (dbrow, ) (Entered: 05/21/2013)
    05/21/2013   346     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 05/21/13. (dbrow, ) (Entered: 05/22/2013)
    05/23/2013   347     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/23/2013)
    05/28/2013   348     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David)
                         (Entered: 05/28/2013)
    05/28/2013   350

                                                                                                      24
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 25 of 183




                         CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 05/28/13. (dbrow, ) (Entered: 05/30/2013)
    05/29/2013   349     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David)
                         (Entered: 05/29/2013)
    05/30/2013   358     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/30/2013. (smatl, ) (Entered: 06/17/2013)
    06/05/2013   351     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David)
                         (Entered: 06/05/2013)
    06/05/2013   352     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 06/05/2013)
    06/05/2013   353     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 06/05/2013)
    06/07/2013   361     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/7/2013. (smatl, ) (Entered: 06/18/2013)
    06/07/2013   367     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 6/7/2013. (smatl, ) (Entered: 07/03/2013)
    06/10/2013   362     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/10/2013. (smatl, ) (Entered: 06/18/2013)
    06/13/2013   355     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 06/13/2013)
    06/14/2013   357     MOTION for Tolling of Speedy Trial by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Holloway, Gregory) Modified on 6/14/2013 correct title
                         of document (jjhsl, ). (Entered: 06/14/2013)
    06/17/2013   360     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment Invoice, # 2 CJA Attachment Signed
                         Copy)(Stimson, Kathryn) (Entered: 06/17/2013)
    06/19/2013   364     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered:
                         06/19/2013)
    06/20/2013   371     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/20/2013. (smatl, ) (Entered: 07/03/2013)
    06/27/2013   365     ORDER granting 357 Motion for Tolling of Speedy Trial as to Jamshid
                         Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED that an additional 120 days
                         shall be excluded from speedy trial calculations by Judge John L. Kane on
                         06/27/13. (jjhsl, ) (Entered: 06/27/2013)
    07/03/2013   369     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 07/03/2013)
    07/10/2013   373     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/10/2013)

                                                                                                     25
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 26 of 183




    07/10/2013   374     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/10/2013)
    07/10/2013   378     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/10/2013. (smatl, ) (Entered: 07/18/2013)
    07/15/2013   375     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/15/2013)
    07/18/2013   376     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 07/18/2013)
    07/22/2013   383     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/22/2013. (smatl, ) (Entered: 08/01/2013)
    07/22/2013   384     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/22/2013. (smatl, ) (Entered: 08/01/2013)
    07/29/2013   380     RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Exhibit)(Savitz, David) (Entered: 07/29/2013)
    07/30/2013   381     CJA 20/30 Appointment of Daniel Joseph Sears as co−counsel for Bakhtiyor
                         Jumaev by Judge John L. Kane on 7/30/2013. (smatl, ) (Entered: 07/30/2013)
    07/31/2013   382     NOTICE OF ATTORNEY APPEARANCE: Daniel Joseph Sears appearing
                         for Bakhtiyor Jumaev (Sears, Daniel) (Entered: 07/31/2013)
    07/31/2013   394     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/31/13. (dbrow, ) (Entered: 08/15/2013)
    07/31/2013   395     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/31/13. (dbrow, ) (Entered: 08/15/2013)
    08/01/2013   385     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/01/2013)
    08/07/2013   389     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/07/2013)
    08/07/2013   390     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 08/07/2013)
    08/08/2013   402     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 8/8/2013. (smatl, ) (Entered: 08/23/2013)
    08/09/2013   403     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/9/13. (dbrow, ) (Entered: 08/23/2013)
    08/09/2013   405     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/9/13. (dbrow, ) (Entered: 08/23/2013)
    08/15/2013   392     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/15/2013)
    08/15/2013   396     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 08/15/2013)
    08/15/2013   397     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA

                                                                                                        26
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 27 of 183




                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/15/2013)
    08/15/2013   398     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/15/2013)
    08/21/2013   400     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 08/21/2013)
    08/21/2013   401     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 08/21/2013)
    08/22/2013   414     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 8/22/2013. (smatl, ) (Entered: 09/06/2013)
    08/26/2013   407     RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev. (Savitz,
                         David) Modified on 8/27/2013 to indicate document filed in error − attorney
                         will refile using correct event) (dbrow, ). (Entered: 08/26/2013)
    08/26/2013   415     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 8/26/2013. (smatl, ) (Entered: 09/06/2013)
    08/26/2013   422     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/26/13. (dbrow, ) (Entered: 09/17/2013)
    08/26/2013   423     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/26/13. (dbrow, ) (Entered: 09/17/2013)
    08/26/2013   424     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/26/13. (dbrow, ) (Entered: 09/17/2013)
    08/26/2013   425     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/26/13. (dbrow, ) (Entered: 09/17/2013)
    08/27/2013   410     CJA Travel Request (Non−Defendant) as to Bakhtiyor Jumaev. (Savitz,
                         David) (Entered: 08/27/2013)
    08/30/2013   411     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 08/30/2013)
    09/05/2013   413     CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                         9/5/2013. (smatl, ) (Entered: 09/06/2013)
    09/06/2013   416     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/06/2013)
    09/10/2013   431     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/10/2013. (smatl, ) (Entered: 09/27/2013)
    09/12/2013   418     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/12/2013)
    09/12/2013   433     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/12/2013. (smatl, ) (Entered: 09/27/2013)
    09/17/2013   442     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/17/2013. (smatl, ) (Entered: 10/09/2013)
    09/20/2013   428     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA

                                                                                                       27
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 28 of 183




                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 09/20/2013)
    09/24/2013   444     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/24/2013. (smatl, ) (Entered: 10/09/2013)
    10/01/2013   434     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 10/01/2013)
    10/02/2013   435     MOTION to Continue For Tolling of Speedy Trial Pursuant to 18 USC
                         3161(h)(7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Holloway, Gregory) (Entered: 10/02/2013)
    10/02/2013   436     ORDER granting 435 Motion to Continue −tolling of speedy trial, as to
                         Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED that an additional
                         120 days SHALL BE EXCLUDED from speedy trial calculations pursuant to
                         18 U.S.C. § 3161(h)(7)(B)(ii). by Judge John L. Kane on 10/2/2013. (trlee, )
                         (Entered: 10/02/2013)
    10/03/2013   438     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 10/03/2013)
    10/04/2013   439     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David)
                         (Entered: 10/04/2013)
    10/04/2013   440     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/04/2013)
    10/08/2013   450     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/8/13. (dbrow, ) (Entered: 10/15/2013)
    10/09/2013   445     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David)
                         (Entered: 10/09/2013)
    10/09/2013   451     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/9/13. (dbrow, ) (Entered: 10/15/2013)
    10/09/2013   473     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/9/2013. (smatl, ) (Entered: 12/02/2013)
    10/10/2013   447     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/10/2013)
    10/22/2013   452     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 10/22/2013)
    10/23/2013   459     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/23/2013. (smatl, ) (Entered: 10/29/2013)
    10/25/2013   456     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/25/2013)
    10/25/2013   460     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 10/25/2013. (smatl, ) (Entered: 11/01/2013)
    10/25/2013   466     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/25/2013. (smatl, ) (Entered: 11/18/2013)
                                                                                                        28
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 29 of 183




    10/28/2013   458     MOTION for Order for Notice of Whether the Government Intends to Use
                         Evidence Obtained Under or Derived from Surveillance Authorized by the
                         FISA Amendment Act of 2008 ("FAA") by Bakhtiyor Jumaev. (Attachments:
                         # 1 Exhibit Exhibits A−D, # 2 Exhibit Exhibit E−1, # 3 Exhibit Exhibit E−2,
                         # 4 Exhibit Exhibit F, # 5 Exhibit Exhibit G, # 6 Exhibit Exhibit H)(Savitz,
                         David) (Entered: 10/28/2013)
    10/30/2013   467     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/30/2013. (smatl, ) (Entered: 11/18/2013)
    11/01/2013   461     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 11/01/2013)
    11/01/2013   462     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 11/01/2013)
    11/07/2013   463     MINUTE ORDER. In light of the FAA matters that have arisen in this case
                         (Docs. 457 & 458) and potential motions practice related to Mr. Hasanov's
                         appointment as Court's Qualified Interpreter (Doc. 243), this case is set for a
                         STATUS CONFERENCE. For ease of scheduling, the Conference is
                         unilaterally set for 10:00 a.m. on Friday, November 15, 2013. If that date is
                         unworkable for one or more counsel, the parties are asked to call in jointly to
                         set one that is mutually agreeable. In anticipation of the conference, counsel
                         are directed to CONFER regarding a list of agenda items they wish to be
                         discussed at the conference and any filing and briefing timelines to which
                         they may be able to agree regarding FAA−related motions, including a
                         deadline for the government's response to Mr. Jumaev's Motion for Notice of
                         Intent to use FAA−related evidence. (Doc. 458.) Counsel for Mr. Muhtorov
                         shall cause the resulting Joint Status Report to be filed by 9:00 a.m. the day
                         before the Status Conference set pursuant to this Minute Order by Judge John
                         L. Kane on 11/07/13. Text Only Entry (jjhsl, ) (Entered: 11/07/2013)
    11/12/2013   472     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/12/2013. (smatl, ) (Entered: 12/02/2013)
    11/13/2013   464     MOTION for Order to Show Cause Re: Otabek Hasanov (Related to [ 243]
                         by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Proposed
                         Order (PDF Only))(Savitz, David) (Entered: 11/13/2013)
    11/13/2013   465     ORDER TO SHOW CAUSE DIRECTED TO MR. OTABEK HASANOV. If
                         Mr. Hasanov prepares and delivers a final transcript to Mr. David Savitz at
                         his office at 1512 Larimer St., Ste 600, Denver, Colorado 80202 on or before
                         November 30, 2013, he will be deemed to have complied with this Order and
                         the Order shall be discharged. The Clerk is directed to send a copy of this
                         Order to Show Cause to Mr. Hasanov at otabekuz@gmail.com by Judge John
                         L. Kane on 11/13/13. (jjhsl, ) (Entered: 11/14/2013)
    11/15/2013   471     MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 11/15/2013 as to Jamshid Muhtorov (1) and Bakhtiyor Jumaev
                         (2). Defendants present in custody. ORDERED: Government's Response to
                         Doc. No. 458 is due on or before 11/19/2013. Reply due by 12/12/2013.
                         Granting 203 Motion to Disclose Grand Jury Material as to Jamshid
                         Muhtorov (1); Granting 201 Motion to Disclose Grand Jury Material as to
                         Bakhtiyor Jumaev (2). Defendants are REMANDED. Court Reporter: Mary
                         George. Interpreter: Yuliya Fedasenka. (babia) (Entered: 11/19/2013)
                                                                                                           29
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 30 of 183




    11/19/2013   470     RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 458 MOTION for
                         Order for Notice of Whether the Government Intends to Use Evidence
                         Obtained Under or Derived from Surveillance Authorized by the FISA
                         Amendment Act of 2008 ("FAA") (Holloway, Gregory) (Entered: 11/19/2013)
    12/02/2013   474     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 12/02/2013)
    12/03/2013   475     CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                         12/03/2013)
    12/05/2013   477     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/05/2013)
    12/05/2013   478     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/05/2013)
    12/09/2013   479     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/09/2013)
    12/10/2013   507     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/10/2013. (smatl, ) (Entered: 01/15/2014)
    12/11/2013   481     MOTION for Order Defendant Jumaev's Unopposed Request for an
                         Extension of Time to File a Reply to the "Government's Response to
                         Defendant Jumaev's Motion for Notice of Whether the Government Intends to
                         Use Evidence Obtained Under or Derived from Sruveillance Authorized by
                         the FISA Amendment Act of 2008 ("FAA")(Doc. 458)" (Doc. No. 470) by
                         Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                         David) (Entered: 12/11/2013)
    12/11/2013   482     ORDER granting 481 Motion for Order as to Bakhtiyor Jumaev (2).
                         Defendant has up to and including January 13, 2014 to file a Reply in support
                         of his MOTION 458 for Order for Notice of Whether the Government
                         Intends to Use Evidence Obtained Under or Derived from Surveillance
                         Authorized by the FISA Amendment Act of 2008 ("FAA"), by Judge John L.
                         Kane on 12/11/13. Text Only Entry (jlksec, ) (Entered: 12/11/2013)
    12/11/2013   483     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/11/2013)
    12/12/2013   484     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Savitz, David) (Entered: 12/12/2013)
    12/12/2013   485     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/12/2013)
    12/13/2013   486     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         Exhibit, # 2 Proposed Order (PDF Only))(Sears, Daniel) (Entered:
                         12/13/2013)
    12/13/2013   508     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/13/2013. (smatl, ) (Entered: 01/15/2014)
    12/17/2013   509     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/17/2013. (smatl, ) (Entered: 01/15/2014)

                                                                                                         30
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 31 of 183




    12/17/2013   511     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/17/2013. (smatl, ) (Entered: 01/15/2014)
    12/20/2013   487     TRANSCRIPT of Status Conference as to Bakhtiyor Jumaev held on
                         November 15, 2013 before Judge Kane. Pages: 1−18. <br><br> NOTICE −
                         REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                         filing, each party shall inform the Court, by filing a Notice of Intent to
                         Redact, of the party's intent to redact personal identifiers from the
                         electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. Release of Transcript Restriction set for
                         3/24/2014. (George, Mary) (Entered: 12/20/2013)
    12/23/2013   512     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/23/2013. (smatl, ) (Entered: 01/15/2014)
    12/27/2013   488     CJA Travel Request (Non−Defendant) as to Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Savitz, David) (Entered: 12/27/2013)
    12/30/2013   516     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 12/30/2013. (smatl, ) (Entered: 01/22/2014)
    12/30/2013   522     CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/30/13. (sgrim) (Entered: 01/30/2014)
    12/31/2013   489     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 12/31/2013)
    01/06/2014   492     MINUTE ORDER directing Mr. Jumaev to file a status report re Order to
                         Show Cause (Doc. 465). Specifically, Mr. Jumaev shall inform the Court
                         whether Mr. Hasanov delivered the transcript he was ordered to deliver to
                         Mr. Savitz by November 30, 2013. Mr. Jumaev's silence on the matter has
                         been interpreted by the Court as suggesting Mr. Hasanov had complied, but if
                         this is not the case, the Court will issue an Order finding Mr. Hasanov in
                         contempt and a subpoena for his appearance by Judge John L. Kane on
                         01/06/14. Text Only Entry (jjhsl, ) (Entered: 01/06/2014)
    01/06/2014   493     CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                         1/6/14. (dbrow, ) (Entered: 01/06/2014)
    01/06/2014   494     CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                         1/6/14. (dbrow, ) (Entered: 01/06/2014)
    01/07/2014   495     REPORT Regarding Order to Show Cause Directed to Mr. Otabek Hasanov
                         (Doc. 465) by Bakhtiyor Jumaev (Savitz, David) (Entered: 01/07/2014)
    01/09/2014   496     MOTION to Withdraw as Attorney anand to appoint substitute counsel by
                         Daniel J. Sears by Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order
                         (PDF Only))(Sears, Daniel) (Entered: 01/09/2014)
    01/09/2014   497     ORDER granting 496 Motion to Withdraw as Attorney. Daniel Joseph Sears
                         withdrawn from case as to Bakhtiyor Jumaev (2). Mitchell Baker shall be

                                                                                                        31
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 32 of 183




                         appointed as co−counsel to further represent defendant Jumaev in this case,
                         by Judge John L. Kane on 1/9/14. Text Only Entry (jlksec, ) (Entered:
                         01/09/2014)
    01/09/2014   502     CJA 20/30 Appointment of Mitchell Baker as co−counsel for Bakhtiyor
                         Jumaev by Judge John L. Kane on 1/9/2014.(smatl) Modified on
                         3/4/2014(shugh). (Entered: 01/14/2014)
    01/10/2014   498     NOTICE OF ATTORNEY APPEARANCE: Mitchell Baker appearing for
                         Bakhtiyor JumaevAttorney Mitchell Baker added to party Bakhtiyor
                         Jumaev(pty:dft) (Baker, Mitchell) (Entered: 01/10/2014)
    01/10/2014   499     REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 458 MOTION
                         for Order for Notice of Whether the Government Intends to Use Evidence
                         Obtained Under or Derived from Surveillance Authorized by the FISA
                         Amendment Act of 2008 ("FAA") Redacted (Attachments: # 1
                         Exhibit)(Savitz, David) (Entered: 01/10/2014)
    01/10/2014   500     MOTION for Order to Restrict to Level 1 the Non−Redacted Version of
                         "Defendant Jumaev's Reply to 'Government's Response to Defendant
                         Jumaev's Motion for Notice of Whether the Government Intends to Use
                         Evidece Obtained Under or Derived from Surveillance Authorized by the
                         FISA Amendment Act of 2008 ("FAA")(Doc. 458)' (Doc. 470) by Bakhtiyor
                         Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David)
                         (Entered: 01/10/2014)
    01/10/2014   501     RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.Motion to
                         Restrict per LCivR 7.2(e) and LCrR 47.1(e) due 1/24/2014 if not already
                         filed. (Attachments: # 1 Exhibit)(Savitz, David) (Entered: 01/10/2014)
    01/14/2014   504     RESTRICTED DOCUMENT − Level 3 (jjhsl, ) (Entered: 01/14/2014)
    01/14/2014   505     ORDER granting 500 Motion for Order as to Bakhtiyor Jumaev (2). Doc.
                         #501 shall be RESTRICTED at Level 1, by Judge John L. Kane on 1/14/13.
                         Text Only Entry (jlksec, ) (Entered: 01/14/2014)
    01/14/2014   506     MINUTE ORDER as to Bakhtiyor Jumaev. The Government may file a
                         Surreply to doc. #501 on or before 1/27/14, by Judge John L. Kane on
                         1/14/14. Text Only Entry (jlksec, ) (Entered: 01/14/2014)
    01/14/2014   527     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 1/14/2014. (shugh, ) (Entered: 02/13/2014)
    01/20/2014   513     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/20/2014)
    01/23/2014   517     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/23/2014)
    01/24/2014   518     Unopposed MOTION for Extension of Time to File Response/Reply as to
                         501 Restricted Document − Level 1 Government's Unopposed Motion for
                         Extension of Time for the Government to file Surreply to Doc. 501 by USA as
                         to Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 01/24/2014)
    01/27/2014   519     ORDER granting 518 Motion for Extension of Time to File Response/Reply
                         as to Bakhtiyor Jumaev (2). The government shall have up to and including

                                                                                                       32
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 33 of 183




                         February 4, 2014 to file a Surreply to Defendant Jumaev's Document #501,
                         by Judge John L. Kane on 1/27/14. Text Only Entry (jlksec, ) (Entered:
                         01/27/2014)
    01/28/2014   533     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 1/28/2014. (babia) (Entered: 02/28/2014)
    01/29/2014   530     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 1/29/2014. (babia) (Entered: 02/26/2014)
    01/30/2014   521     MOTION to Suppress Evidence Obtained or Derived from Surveillance
                         Under the FISA Amendments Act and Motion for Discovery (Related to Doc.
                         No. 520) by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Savitz, David)
                         (Entered: 01/30/2014)
    01/31/2014   523     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Sears, Daniel)
                         (Entered: 01/31/2014)
    01/31/2014   524     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 01/31/2014)
    02/04/2014   525     REPLY TO RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 458
                         MOTION for Order for Notice of Whether the Government Intends to Use
                         Evidence Obtained Under or Derived from Surveillance Authorized by the
                         FISA Amendment Act of 2008 ("FAA") (Holloway, Gregory) (Entered:
                         02/04/2014)
    02/07/2014   526     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/07/2014)
    02/07/2014   534     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/7/2014. (babia) (Entered: 03/04/2014)
    02/17/2014   529     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment Ex Parte Motion for Paralegal Services (Connolly))(Baker,
                         Mitchell) (Entered: 02/17/2014)
    02/19/2014   541     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/19/2014. (shugh) (Entered: 03/18/2014)
    02/20/2014   537     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/20/14. (dbrow, ) (Entered: 03/06/2014)
    02/20/2014   542     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/20/2014. (shugh) (Entered: 03/18/2014)
    02/26/2014   531     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Savitz, David)
                         (Entered: 02/26/2014)
    02/26/2014   539     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/26/2014. (shugh, ) (Entered: 03/10/2014)
    02/28/2014   532     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 02/28/2014)
    03/07/2014   538

                                                                                                    33
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 34 of 183




                         CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment CJA Attachment − Invoice 9 (Thompson) − Jumaev)(Baker,
                         Mitchell) (Entered: 03/07/2014)
    03/10/2014   544     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/10/2014. (shugh) (Entered: 03/25/2014)
    03/17/2014   540     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 03/17/2014)
    03/19/2014   543     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment CJA Attachment Invoice 031914 (Seletskya) − Jumaev)(Baker,
                         Mitchell) (Entered: 03/19/2014)
    03/28/2014   552     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/28/2014. (babia) (Entered: 04/22/2014)
    04/01/2014   545     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment Motion for Translation Services (Khodjaev), # 2 CJA
                         Attachment Exhibit A)(Baker, Mitchell) Modified to correct text on
                         4/17/2018 (cthom, ). (Entered: 04/01/2014)
    04/04/2014   546     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 04/04/2014)
    04/04/2014   547     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/04/2014)
    04/04/2014   549     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/4/2014. (shugh) (Entered: 04/16/2014)
    04/04/2014   550     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/4/2014. (babia) (Entered: 04/17/2014)
    04/08/2014   553     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/8/2014. (shugh) (Entered: 04/23/2014)
    04/09/2014   548     CJA 21/31 Request for Service as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered:
                         04/09/2014)
    04/11/2014   560     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/10/2014. (shugh) (Entered: 05/12/2014)
    04/17/2014   551     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The
                         government's informal request for an extension of time to file its Response to
                         Mr. Muhtorov's Motion to Suppress (Doc. 520), which was communicated
                         via email and is unopposed, is GRANTED. The government's Response,
                         originally due April 29, 2014, is now due on or before May 9, 2014. The
                         Court notes Mr. Jumaev has joined in Mr. Muhtorov's Motion (see Doc. 521).
                         by Judge John L. Kane on 4/17/14. Text Only Entry (jlksec) (Entered:
                         04/17/2014)
    04/22/2014   563     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/22/2014. (shugh) (Entered: 05/15/2014)
    04/23/2014   564

                                                                                                          34
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 35 of 183




                         CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/23/2014. (shugh) (Entered: 05/15/2014)
    05/05/2014   561     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/5/2014. (shugh) (Entered: 05/12/2014)
    05/09/2014   558     CJA 21/31 Request for Service as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered:
                         05/09/2014)
    05/09/2014   559     RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 521 MOTION to Suppress Evidence Obtained or Derived from
                         Surveillance Under the FISA Amendments Act and Motion for Discovery
                         (Related to Doc. No. 520), 520 MOTION to Suppress Evidence Obtained or
                         Derived from Surveillance under the FISA Amendments Act and Motion for
                         Discovery (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered:
                         05/09/2014)
    05/13/2014   562     CJA 21/31 Request for Service as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered:
                         05/13/2014)
    05/22/2014   566     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 05/22/2014)
    05/22/2014   569     NOTICE of Government's Classified Memorandum In Opposition to
                         Defendant's Motion to Suppress Evidence Obtained or Derived From
                         Surveilance Under the FISA Amendments Act and Motion for Discovery by
                         USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory)
                         (Entered: 05/22/2014)
    05/27/2014   570     ORDER Concerning Disclosure of Grand Jury Material as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev by Judge John L. Kane on 05/27/14. (jhawk, )
                         (Entered: 05/28/2014)
    05/29/2014   571     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 05/29/2014)
    05/29/2014   572     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/29/2014)
    06/02/2014   574     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered:
                         06/02/2014)
    06/03/2014   576     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/03/2014)
    06/04/2014   577     NOTICE Defendant Muhtorov's Proposed Briefing Schedule to Complete
                         Briefing on Mr. Muhtorov's Motion to Suppress by Jamshid Muhtorov as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Stimson, Kathryn) (Entered:
                         06/04/2014)
    06/07/2014   578     REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 521 MOTION to
                         Suppress Evidence Obtained or Derived from Surveillance Under the FISA
                         Amendments Act and Motion for Discovery (Related to Doc. No. 520)

                                                                                                   35
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 36 of 183




                         (Savitz, David) (Entered: 06/07/2014)
    06/09/2014   579     MOTION to Amend/Correct 578 Reply to Response filed by Bakhtiyor
                         Jumaev Amended Proposed Schedule to Complete Briefing on Mr. Jumaev's
                         Motion to Suppress and Request to File His Reply on or Before July 3, 2014
                         (Related to Docs. 521, 559 & 577) (Related to Doc. 578) by Bakhtiyor
                         Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz, David)
                         (Entered: 06/09/2014)
    06/10/2014   581     ORDER granting 579 Motion to Amend/Correct as to Bakhtiyor Jumaev (2).
                         Defendant Jumaev's "Amended Proposed Schedule to Complete Briefing on
                         Mr. Jumaev's Motion to Suppress and Request to File His Reply on or Before
                         July 3, 2014" (which the Court construes simply as a Motion for Leave to
                         File Reply), is GRANTED. Mr. Jumaev may file a Reply in support of the
                         pending Motion to Suppress (Doc. 521) on or before July 3, 2014, by Judge
                         John L. Kane on 6/10/14. Text Only Entry (jlksec) (Entered: 06/10/2014)
    06/10/2014   582     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/10/2014)
    06/10/2014   583     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/10/2014)
    06/12/2014   584     MOTION for Order Requiring Government to Disclose or Provide His
                         Counsel Access to Its Classified Pleadings and Objection to Ex Parte
                         Proceedings by Jamshid Muhtorov as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Stimson, Kathryn) (Entered: 06/12/2014)
    06/16/2014   586     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/16/2014)
    06/16/2014   587     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 06/16/2014)
    06/17/2014   588     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/17/2014)
    06/17/2014   589     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 06/17/2014)
    06/17/2014   592     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/17/2014. (shugh) (Entered: 06/19/2014)
    06/18/2014   590     MOTION for Disclosure Defendant Bakhtiyor Jumaev's Motion to Require
                         the Government to Disclose, or Otherwise Provide Him Access to, its
                         Classified Pleadings (Doc. 569) and Objection to the Ex Parte, In Camera
                         Submission to and Final Determination by the Court of Such Pleadings and
                         Related Documents Without Disclosure and Attendant Proceedings First
                         Afforded to Defendant by Bakhtiyor Jumaev. (Savitz, David) (Entered:
                         06/18/2014)
    06/18/2014   596     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 6/18/2014. (shugh) (Entered: 06/26/2014)
    06/20/2014   593     MOTION for Extension of Time to File Response/Reply as to 581 Order on
                         Motion to Amend/Correct,, Request for an Extension of Time to File His

                                                                                                      36
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 37 of 183




                         Reply in Support of His Pending Motion to Suppress (Doc. No. 521) by
                         Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Savitz,
                         David) (Entered: 06/20/2014)
    06/20/2014   597     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 6/20/2014. (shugh) (Entered: 06/26/2014)
    06/20/2014   605     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/20/2014. (shugh) (Entered: 07/14/2014)
    06/20/2014   606     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/20/2014. (shugh) (Entered: 07/14/2014)
    06/23/2014   594     ORDER granting 593 Motion for Extension of Time to File Response/Reply
                         as to Bakhtiyor Jumaev (2). Defendant Jumaev's Unopposed Request for an
                         Extension Time to File His Reply in Support of His Pending Motion to
                         Suppress is granted. Mr. Jumaev's Reply is due ten (10) days after Mr.
                         Muhtorov's files his Reply in support of his Motion to Suppress, by Judge
                         John L. Kane on 6/23/14. Text Only Entry (jlksec) (Entered: 06/23/2014)
    06/25/2014   595     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 06/25/2014)
    06/27/2014   609     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/27/2014. (shugh) (Entered: 07/14/2014)
    06/30/2014   598     CJA 21/31 Payment Request as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 CJA Attachment)(Stimson, Kathryn) (Entered:
                         06/30/2014)
    07/01/2014   599     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 07/01/2014)
    07/02/2014   600     RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 584 MOTION for Order Requiring Government to Disclose or Provide His
                         Counsel Access to Its Classified Pleadings and Objection to Ex Parte
                         Proceedings, 590 MOTION for Disclosure Defendant Bakhtiyor Jumaev's
                         Motion to Require the Government to Disclose, or Otherwise Provide Him
                         Access to, its Classified Pleadings (Doc. 569) and Objection to the Ex Parte,
                         In Camera Submission to and Final Determina (Holloway, Gregory)
                         (Entered: 07/02/2014)
    07/02/2014   601     SUPPLEMENT Authority to 559 Response to Motion, 569 Notice (Other),
                         by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1
                         Exhibit)(Holloway, Gregory) (Entered: 07/02/2014)
    07/02/2014   604     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 7/2/2014. (shugh) (Entered: 07/11/2014)
    07/07/2014   611     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/7/2014. (shugh) (Entered: 07/14/2014)
    07/07/2014   612     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/7/2014. (shugh) (Entered: 07/14/2014)
    07/08/2014   613     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/8/2014. (shugh) (Entered: 07/14/2014)
                                                                                                         37
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 38 of 183




    07/11/2014   603     REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 521 MOTION to
                         Suppress Evidence Obtained or Derived from Surveillance Under the FISA
                         Amendments Act and Motion for Discovery (Related to Doc. No. 520)
                         Defendant Jumaev's Reply to "Government's Unclassified Memorandum in
                         Opposition to Defendants' Motion to Suppress Evidence Obtained or Derived
                         from Surveillance Under the FISA Amendments Act and Motion for
                         Discovery" (Related to Doc. 559) (Savitz, David) (Entered: 07/11/2014)
    07/11/2014   615     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/11/2014. (shugh) (Entered: 07/17/2014)
    07/17/2014   621     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/17/2014. (shugh) (Entered: 07/31/2014)
    07/23/2014   618     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 07/23/2014)
    07/30/2014   628     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/30/2014. (shugh) (Entered: 08/20/2014)
    07/31/2014   622     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 07/31/2014)
    08/01/2014   624     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 08/01/2014)
    08/22/2014   630     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 08/22/2014)
    08/27/2014   635     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/27/2014. (shugh) (Entered: 09/04/2014)
    08/29/2014   636     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 8/29/2014. (shugh) (Entered: 09/10/2014)
    09/12/2014   641     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/12/2014. (shugh) (Entered: 09/19/2014)
    09/13/2014   638     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/13/2014)
    09/13/2014   639     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/13/2014)
    09/16/2014   640     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/16/2014)
    09/25/2014   645     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/25/2014)
    09/29/2014   654     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/29/2014. (shugh) (Entered: 10/23/2014)
    09/29/2014   657     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/29/2014. (shugh) (Entered: 10/23/2014)
    10/01/2014   655     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/1/2014. (shugh) (Entered: 10/23/2014)
                                                                                                     38
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 39 of 183




    10/05/2014   646     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 10/05/2014)
    10/05/2014   647     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 Exhibit)(Baker, Mitchell) (Entered: 10/05/2014)
    10/07/2014   650     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 10/7/2014. (shugh) (Entered: 10/20/2014)
    10/07/2014   656     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/7/2014. (shugh) (Entered: 10/23/2014)
    10/08/2014   648     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 10/08/2014)
    10/13/2014   649     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 10/13/2014)
    10/16/2014   675     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/16/2014. (shugh) (Entered: 11/19/2014)
    10/17/2014   676     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 10/17/2014. (shugh) (Entered: 11/19/2014)
    10/20/2014   651     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 10/20/2014)
    10/20/2014   652     First MOTION for Order Defendant Jumaev's Motion Requiring the
                         Government to Provide Notice of Interceptions and/or Surveillance of His
                         Defense Counsel and Members of His Defense Team by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(Savitz, David) Modified on 10/20/2014 to correct
                         text (jhawk, ). (Entered: 10/20/2014)
    10/20/2014   653     Joint MOTION for Order for Notice of the Surveillance Techniques Utilized
                         by the Government in its Investigation of said Defendants by Jamshid
                         Muhtorov as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Williamson, Warren)
                         (Entered: 10/20/2014)
    10/20/2014   662     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 10/20/2014. (shugh) (Entered: 10/31/2014)
    10/31/2014   659     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 10/31/2014)
    10/31/2014   660     UNRESTRICTED DOCUMENT − Level 1: by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on 11/13/2014
                         to unrestrict pursuant to doc #669 (jhawk, ). (Entered: 10/31/2014)
    10/31/2014   661     UNRESTRICTED DOCUMENT − Level 1: by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway,
                         Gregory) Modified on 1/15/2016 pursuant to doc 669 (jhawk, ). (Entered:
                         10/31/2014)
    11/03/2014   663     MINUTE ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2) re
                         Docs. 659 & 661. Document 661 is a Restricted filing entitled Government's
                         Motion to Clarify Protective Order., filed re Extrajudicial Statements The
                         Government's Motion to Clarify and Motion for. Government's Motion (Doc.

                                                                                                       39
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 40 of 183




                         660) to Restrict Doc. 661, filed October 31, 2014, is GRANTED. The
                         government's Document 661, a Motion for Clarification of the Court's
                         Protective Order, shall remain restricted to the public at Restriction Level 1.
                         FURTHER ORDERED that a Response to the Government's Motion for
                         Clarification (Doc. 661) is due on or before November 12, 2014. Any Reply
                         is due on or before November 19, 2014. After reviewing these filings, the
                         Court may set the matter for hearing by Judge John L. Kane on 11/03/14.
                         Text Only Entry (jhawk, ) (Entered: 11/03/2014)
    11/07/2014   664     UNRESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(Savitz, David) Modified on 1/15/2016 to
                         unrestrict pursuant to doc 669 (jhawk, ). (Entered: 11/07/2014)
    11/07/2014   665     MOTION for Leave to Restrict by Bakhtiyor Jumaev. (Savitz, David)
                         (Entered: 11/07/2014)
    11/07/2014   666     UNRESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Savitz,
                         David) Modified on 1/15/2016 to unrestrict pursuant to doc 669 (jhawk, ).
                         (Entered: 11/07/2014)
    11/07/2014   667     MINUTE ORDER. Defendant Bakhtiyor Jumaev has filed a Response (Doc.
                         664) to the Government's Motion to Clarify (Doc. 661), together with a
                         Motion (Doc. 665) to Restrict the Response and a Brief in Support of the
                         Motion to Restrict (Doc. 666). It appears from Mr. Jumaev's filings that he
                         disagrees with the Restricted status afforded the government's Motion to
                         Clarify Protective Order. The parties are therefore directed to CONFER
                         regarding the restricted status of Docs. 660, 661, 664, and 666. The parties
                         shall file a Joint Status Report stating the result of their discussion on or
                         before Wednesday, November 12, 2014. Given the Court's antipathy for
                         restricting the public's access to court filings generally, the preference would
                         be for lifting the existing restrictions rather than imposing more. Entered by
                         Judge John L. Kane on 11/07/14. Text Only Entry (jhawk, ) (Entered:
                         11/07/2014)
    11/10/2014   682     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/10/2014. (shugh) (Entered: 12/01/2014)
    11/12/2014   668     STATUS REPORT Regarding Restricted Status of Pleadings Related to
                         Government's Motion to Clarify by USA as to Bakhtiyor Jumaev (Holloway,
                         Gregory) (Entered: 11/12/2014)
    11/12/2014   669     MINUTE ORDER as to Jamshid Muhtorov, and Bakhtiyor Jumaev. At the
                         direction of chambers and pursuant to the parties' Status Report Re Restrict
                         Status of Pleadings Related to Government's Motion to Clarify [Doc. 668],
                         the restricted status of Documents 660, 661, 664, and 666 is lifted, by Judge
                         John L. Kane on 11/12/2014. Text Only Entry. (agarc, ) (Entered:
                         11/12/2014)
    11/13/2014   670     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/13/2014)
    11/13/2014   671     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/13/2014)
    11/18/2014   673

                                                                                                            40
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 41 of 183




                         CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/18/2014)
    11/18/2014   674     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/18/2014)
    11/19/2014   677     REPLY by USA as to Bakhtiyor Jumaev to 664 Restricted Document −
                         Level 1 (Holloway, Gregory) (Entered: 11/19/2014)
    11/20/2014   678     Joint MOTION for Order Parties' Joint Proposed Briefing Schedule by
                         Jamshid Muhtorov as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Williamson,
                         Warren) (Entered: 11/20/2014)
    11/20/2014   679     MINUTE ORDER adopting as an ORDER of the Court the Joint Proposed
                         Briefing Schedule submitted by the parties (Doc. 678). The Government's
                         responses to the Motions found at Docs. 652, 653, and 658 are due on or
                         before February 26, 2015. Any Replies by Defendants are due on or before
                         April 24, 2015. Entered by Judge John L. Kane on 11/20/14. Text Only Entry
                         (jhawk, ) (Entered: 11/20/2014)
    11/21/2014   680     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/21/2014)
    11/25/2014   681     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/25/2014)
    12/01/2014   683     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 CJA Attachment, # 3 CJA Attachment)(Baker,
                         Mitchell) (Entered: 12/01/2014)
    12/02/2014   688     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 12/2/2014. (shugh) (Entered: 12/18/2014)
    12/03/2014   684     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Given the
                         nature of the filings and counsel's acknowledgments regarding the same in
                         the 11/12/14 Joint Status Report (Doc. 668) the restricted status of Docs. 660,
                         661, and 666 is LIFTED. Entered by Judge John L. Kane on 12/03/14. Text
                         Only Entry (jhawk, ) (Entered: 12/03/2014)
    12/03/2014   685     ORDER on Government's Motion for Clarification 661 as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev by Judge John L. Kane on 12/02/14. (jhawk, )
                         (Entered: 12/03/2014)
    12/03/2014   686     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 12/03/2014)
    12/15/2014   695     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/15/2014. (shugh) (Entered: 02/06/2015)
    12/15/2014   696     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/15/2014. (shugh) (Entered: 02/06/2015)
    12/15/2014   697     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/15/2014. (shugh) (Entered: 02/06/2015)
    12/15/2014   698     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/15/2014. (shugh) (Entered: 02/06/2015)

                                                                                                           41
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 42 of 183




    12/16/2014   699     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/16/2014. (shugh) (Entered: 02/06/2015)
    12/30/2014   703     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/30/2014. (shugh) (Entered: 02/12/2015)
    01/13/2015   689     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 01/13/2015)
    01/13/2015   690     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 01/13/2015)
    02/03/2015   707     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/3/2015. (shugh) (Entered: 02/19/2015)
    02/03/2015   708     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/3/2015. (shugh) (Entered: 02/19/2015)
    02/05/2015   691     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 02/05/2015)
    02/05/2015   692     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 02/05/2015)
    02/06/2015   693     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 02/06/2015)
    02/06/2015   700     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell) (Entered:
                         02/06/2015)
    02/06/2015   701     Joint MOTION for Order Defendants' Joint Request that an Order Enter
                         Requiring Their Statements Be Provided by the Government by Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Williamson, Warren) (Entered: 02/06/2015)
    02/11/2015   716     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/11/2015. (shugh) (Entered: 03/04/2015)
    02/11/2015   717     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/11/2015. (shugh) (Entered: 03/04/2015)
    02/12/2015   704     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 02/12/2015)
    02/17/2015   718     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/17/2015. (shugh) (Entered: 03/04/2015)
    02/24/2015   710     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 02/24/2015)
    02/26/2015   711     RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 652 MOTION for Disclosure of 404(b) Evidence First MOTION for Order
                         Defendant Jumaev's Motion Requiring the Government to Provide Notice of
                         Interceptions and/or Surveillance of His Defense Counsel and Members of
                         His Defense Team, 653 Joint MOTION for Order for Notice of the
                         Surveillance Techniques Utilized by the Government in its Investigation of
                         said Defendants (Holloway, Gregory) (Entered: 02/26/2015)

                                                                                                      42
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 43 of 183




    02/26/2015   712     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 02/26/2015)
    02/26/2015   713     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 02/26/2015)
    02/26/2015   714     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 02/26/2015)
    02/27/2015   715     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 02/27/2015)
    03/05/2015   719     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 03/05/2015)
    03/06/2015   720     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 03/06/2015)
    03/06/2015   721     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA
                         Attachment)(Baker, Mitchell) (Entered: 03/06/2015)
    03/06/2015   731     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/6/2015. (shugh) (Entered: 04/15/2015)
    03/10/2015   724     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 3/10/2015. (shugh) (Entered: 03/25/2015)
    03/10/2015   726     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/10/2015. (shugh) (Entered: 03/27/2015)
    03/12/2015   722     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 03/12/2015)
    03/19/2015   732     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/19/2015. (shugh) (Entered: 04/15/2015)
    03/27/2015   727     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/27/2015)
    03/27/2015   728     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/27/2015)
    03/30/2015   729     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 03/30/2015)
    04/03/2015   734     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/3/2015. (shugh) (Entered: 04/16/2015)
    04/09/2015   735     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/9/2015. (shugh) (Entered: 04/16/2015)
    04/14/2015   738     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/14/2015. (shugh) (Entered: 04/22/2015)
    04/20/2015   736     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/20/2015)


                                                                                                    43
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 44 of 183




    04/21/2015   737     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/21/2015)
    04/24/2015   746     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/24/2015. (shugh) (Entered: 05/05/2015)
    04/27/2015   741     REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 652 MOTION
                         for Disclosure of 404(b) Evidence First MOTION for Order Defendant
                         Jumaev's Motion Requiring the Government to Provide Notice of
                         Interceptions and/or Surveillance of His Defense Counsel and Members of
                         His Defense Team, 653 Joint MOTION for Order for Notice of the
                         Surveillance Techniques Utilized by the Government in its Investigation of
                         said Defendants (Baker, Mitchell) (Entered: 04/27/2015)
    04/27/2015   742     REPLY TO RESPONSE to Motion by Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 653 Joint MOTION for Order for Notice of the Surveillance Techniques
                         Utilized by the Government in its Investigation of said Defendants
                         (Williamson, Warren) Modified to restrict the document at Level 2 on
                         4/27/2015 (tshea, ). Modified on 5/24/2016 to unrestrict pursuant to JLK
                         Chambers instruction (jhawk, ). Modified on 6/30/2016 to restrict pursuant to
                         the Order of 06/30/16 (jhawk, ). (Entered: 04/27/2015)
    04/27/2015   743     MOTION for Order Defendant Jumaev's Motion for Order Requiring
                         Production of Brady, Giglio, and Kyles Materials by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Exhibit)(Savitz, David) (Entered: 04/27/2015)
    04/28/2015   744     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/28/2015)
    04/28/2015   745     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 04/28/2015)
    04/30/2015   753     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/30/2015. (shugh) (Entered: 05/22/2015)
    05/04/2015   757     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/4/2015. (shugh) (Entered: 05/27/2015)
    05/04/2015   758     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/4/2015. (shugh) (Entered: 05/27/2015)
    05/11/2015   747     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/11/2015)
    05/13/2015   748     NOTICE of Supplemental Authority by Jamshid Muhtorov, Bakhtiyor
                         Jumaev (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                         Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Williamson, Warren) (Entered:
                         05/13/2015)
    05/13/2015   749     RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(Savitz, David) (Entered: 05/13/2015)
    05/15/2015   750     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 Exhibit)(Savitz, David) (Entered: 05/15/2015)
    05/21/2015   751     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 05/21/2015)
                                                                                                         44
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 45 of 183




    05/21/2015   752     NOTICE of Supplemental Authority in Support of Defendants' Joint Motion
                         for Motion for Notice of the Surveillance Techniques Utilized by the
                         Government in its Investigation (Doc. 653) by Jamshid Muhtorov, Bakhtiyor
                         Jumaev (Attachments: # 1 Attachment)(Williamson, Warren) (Entered:
                         05/21/2015)
    05/22/2015   754     MOTION for Order to Unrestrict Doc. 742 by Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Williamson, Warren) Modified on 5/24/2016 to term pursuant to
                         Chambers instruction (jhawk, ). Modified on 6/30/2016 to add gavel pursuant
                         to the Order of 06/30/16 (jhawk, ). (Entered: 05/22/2015)
    05/26/2015   755     MINUTE ORDER re 749 Restricted Document − Level 3. Defendant
                         Bakhtiyor Jumaev's Ex Parte CJA Request for Advance Authorization for
                         Expert Services is DENIED as Moot. The Authorization requested in Doc.
                         750−1 was granted. By Judge John L. Kane on 5/26/2015. Text Only Entry
                         (tscha, ) (Entered: 05/26/2015)
    05/26/2015   756     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/26/2015)
    05/26/2015   763     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/26/2015. (shugh) (Entered: 06/09/2015)
    05/26/2015   765     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/26/2015. (shugh) (Entered: 06/10/2015)
    05/27/2015   766     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/27/2015. (shugh) (Entered: 06/10/2015)
    05/27/2015   767     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/27/2015. (shugh) (Entered: 06/10/2015)
    05/29/2015   760     NOTICE of Supplemental Authority re 652 MOTION for Disclosure of
                         404(b) Evidence First MOTION for Order Defendant Jumaev's Motion
                         Requiring the Government to Provide Notice of Interceptions and/or
                         Surveillance of His Defense Counsel and Members of His Defense Team by
                         Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 05/29/2015)
    06/03/2015   761     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/03/2015)
    06/03/2015   762     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 06/03/2015)
    06/09/2015   764     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. This matter
                         is set for a Status Conference/Motions Hearing on June 17, 2015, at 3:00 p.m.
                         in Courtroom A802, Alfred A. Arraj U.S. Courthouse, 901 19th Street,
                         Denver, Colorado. The court will address the restriction of documents and
                         case management expectations. Entered by Judge John L. Kane on 06/09/15.
                         (jhawk, ) (Entered: 06/09/2015)
    06/09/2015   773     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/9/2015. (shugh) (Entered: 06/24/2015)
    06/17/2015   768     RESPONSE in Opposition by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev re 701 Joint MOTION for Order Defendants' Joint Request that an

                                                                                                         45
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 46 of 183




                         Order Enter Requiring Their Statements Be Provided by the Government
                         (Holloway, Gregory) (Entered: 06/17/2015)
    06/17/2015   769     NOTICE Defendant Jumaev's Notice of Pending and "At Issue" Matters for
                         Case Management Resolution at Status Conference on June 17, 2015 by
                         Bakhtiyor Jumaev (Attachments: # 1 Appendix)(Savitz, David) (Entered:
                         06/17/2015)
    06/17/2015   770     MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 6/17/2015 as to Jamshid Muhtorov and Bakhtiyor Jumaev.
                         Defendants present in custody. Denying 584 Motion for Order as to Jamshid
                         Muhtorov (1), Bakhtiyor Jumaev (2). Defendants are REMANDED. Court
                         Reporter: Mary George. Interpreter: Yuliya Fedasenka. (babia) (Entered:
                         06/19/2015)
    06/17/2015   771     AMENDED MINUTE ENTRY for proceedings held before Judge John L.
                         Kane on 6/17/2015 as to Jamshid Muhtorov, Bakhtiyor Jumaev. Denying
                         Without Prejudice 653 Motion for Order as to Jamshid Muhtorov (1),
                         Bakhtiyor Jumaev (2). Court Reporter: Mary George. Interpreter: Yuliya
                         Fedasenka. (babia) (Entered: 06/22/2015)
    06/22/2015   772     CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Baker, Mitchell)
                         (Entered: 06/22/2015)
    06/25/2015   774     TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on June 17, 2015 before Judge Kane. Pages: 1−13.

                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.

                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (mgeor, ) Modified on 7/2/2015 to correct text
                         (jhawk, ). (Main Document 774 replaced on 6/22/2016) (kweck, ). Modified
                         on 6/22/2016 to add docket text (jhawk, ). (Entered: 06/25/2015)
    07/01/2015   776     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 07/01/2015)
    07/01/2015   777     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 07/01/2015)
    07/01/2015   778     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 07/01/2015)
    07/01/2015   779     MINUTE ORDER. Granting Government's Motion to Restrict Document
                         (778) 776 . Documents 777 and 778 will remain under Level 1 Restriction.
                         The Court grants requests outlined in Document 778 as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Entered by Judge John L. Kane on 07/01/15. Text
                         Only Entry (jhawk, ) (Entered: 07/01/2015)

                                                                                                         46
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 47 of 183




    07/01/2015   818     CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 7/1/15. (dbrow, ) (Entered: 09/02/2015)
    07/06/2015   781     RESPONSE in Opposition by Bakhtiyor Jumaev re 776 MOTION for Leave
                         to Restrict Document 778 (Savitz, David) (Entered: 07/06/2015)
    07/08/2015   782     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 07/08/2015)
    07/22/2015   819     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 7/22/2015. (tscha, ) (Entered: 09/02/2015)
    07/22/2015   820     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 7/22/2015. (tscha, ) (Entered: 09/02/2015)
    07/23/2015   785     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 07/23/2015)
    07/24/2015   786     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 07/24/2015)
    07/27/2015   787     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
    07/27/2015   788     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
    07/27/2015   789     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
    07/27/2015   790     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 07/27/2015)
    07/30/2015   791     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
    07/30/2015   792     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
    07/30/2015   793     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
    07/30/2015   794     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 07/30/2015)
    07/30/2015   804     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 7/30/2015. (shugh) (Entered: 08/17/2015)
    07/30/2015   805     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 7/30/2015. (shugh) (Entered: 08/17/2015)
    07/30/2015   806     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 7/30/2015. (shugh) (Entered: 08/17/2015)
    07/30/2015   822     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 7/30/2015. (tscha, ) (Entered: 09/02/2015)
    07/30/2015   823     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.

                                                                                                    47
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 48 of 183




                         Kane on 7/30/2015. (tscha, ) (Entered: 09/02/2015)
    07/31/2015   795     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 07/31/2015)
    08/03/2015   796     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 08/03/2015)
    08/04/2015   797     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 08/04/2015)
    08/04/2015   807     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 8/4/2015. (shugh) (Entered: 08/17/2015)
    08/04/2015   808     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 8/4/2015. (shugh) (Entered: 08/17/2015)
    08/06/2015   798     MINUTE ORDER as to Bakhtiyor Jumaev. The subject dispute having been
                         rendered moot by the course of events, Order dated November 15, 2012 243
                         is VACATED. Entered by Judge John L. Kane on 08/06/15. Text Only Entry
                         (jhawk, ) (Entered: 08/06/2015)
    08/20/2015   810     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 08/20/2015)
    08/21/2015   811     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 08/21/2015)
    08/24/2015   812     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 08/24/2015)
    08/24/2015   830     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 8/24/2015. (shugh) (Entered: 09/14/2015)
    08/26/2015   816     MINUTE ENTRY for Ex Parte proceedings held in chambers at 1:30 p.m. on
                         August 26, 2015. The purpose of the meeting was the discussion of necessary
                         transcript and document redactions to accommodate classified information.
                         Those in attendance included counsel of record for the government, the
                         court's Classified Information Security Officer and other government
                         counsel. The meeting concluded at 3:25 p.m. Entered by Judge John L. Kane
                         on 08/26/15. Text Only Entry (jhawk, ) (Entered: 08/27/2015)
    08/31/2015   834     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 8/31/2015. (tscha, ) (Entered: 09/22/2015)
    09/01/2015   835     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/1/2015. (tscha, ) (Entered: 09/22/2015)
    09/01/2015   836     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/1/2015. (tscha, ) (Entered: 09/22/2015)
    09/01/2015   837     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/1/2015. (tscha, ) (Entered: 09/22/2015)
    09/02/2015   817     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/02/2015)
    09/02/2015   821
                                                                                                       48
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 49 of 183




                         CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 09/02/2015)
    09/02/2015   838     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/2/2015. (tscha, ) (Entered: 09/22/2015)
    09/02/2015   839     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/2/2015. (tscha, ) (Entered: 09/22/2015)
    09/03/2015   840     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/3/2015. (tscha, ) (Entered: 09/23/2015)
    09/05/2015   825     MOTION for Hearing Evidentiary Hearing Regarding Otabek Hasanov by
                         Bakhtiyor Jumaev. (Savitz, David) (Entered: 09/05/2015)
    09/08/2015   826     MINUTE ORDER The Government is ORDERED to file responses to
                         Defendants' Motion for Immediate Hearing on Violation of Attorney Client
                         Privilege Doc. 813 , Defendant Jumaev's Motion for an Evidentiary Hearing
                         Doc. 825 , as well as responding to Defendants' Joint Notice of Statutory
                         Prohibition and Supplemental Motion for Discovery Doc. 824 by Friday,
                         September 18, 2015. Entered by Judge John L. Kane on 9/8/2015. Text Only
                         Entry (evana, ) (Entered: 09/08/2015)
    09/09/2015   841     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 9/9/2015. (tscha, ) (Entered: 09/23/2015)
    09/10/2015   844     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 9/10/2015. (shugh) (Entered: 09/25/2015)
    09/11/2015   827     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/11/2015)
    09/11/2015   828     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 09/11/2015)
    09/14/2015   867     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/14/15. (dbrow, ) (Entered: 11/04/2015)
    09/18/2015   831     RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 743 MOTION for
                         Order Defendant Jumaev's Motion for Order Requiring Production of Brady,
                         Giglio, and Kyles Materials (Holloway, Gregory) (Entered: 09/18/2015)
    09/18/2015   832     RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 825 MOTION for Hearing Evidentiary Hearing Regarding Otabek
                         Hasanov, 813 MOTION for Order For Immediate Hearing on Violation of
                         Attorney Client Privilege − Otabek Hasanov and The F.B.I. (Holloway,
                         Gregory) (Entered: 09/18/2015)
    09/18/2015   833     RESPONSE by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re: 824
                         Notice (Other) filed by Jamshid Muhtorov (Holloway, Gregory) (Entered:
                         09/18/2015)
    09/21/2015   871     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/21/15. (dbrow, ) (Entered: 11/05/2015)
    09/25/2015   843     MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Court
                         would like to set a Status Conference/Motions Hearing on Docket No. 774.

                                                                                                     49
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 50 of 183




                         Counsel are directed to call in JOINTLY on or before October 1, 2015, to set
                         a date and time for the conference, 303−844−6118. Entered by Judge John L.
                         Kane on 09/25/15. Text Only Entry (jhawk, ) (Entered: 09/25/2015)
    09/30/2015   873     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 9/30/15. (dbrow, ) (Entered: 11/05/2015)
    10/01/2015   846     MINUTE ORDER: An In Court Hearing is SET as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev for 10:00 AM on December 2, 2015, in Courtroom A802
                         of the Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado,
                         before Judge John L. Kane. Entered by Judge John L. Kane on 10/01/15.
                         Text Only Entry (jhawk, ) (Entered: 10/01/2015)
    10/06/2015   847     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 10/06/2015)
    10/07/2015   848     CJA Travel Request (Non−Defendant) as to Bakhtiyor Jumaev. (Baker,
                         Mitchell) (Entered: 10/07/2015)
    10/14/2015   849     CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                         10/14/2015. (shugh) (Entered: 10/16/2015)
    10/14/2015   874     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 10/14/2015. (tscha, ) (Entered: 11/09/2015)
    10/14/2015   876     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev, by Judge John L.
                         Kane on 10/14/2015. (tscha, ) (Entered: 11/09/2015)
    10/16/2015   850     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 10/16/2015)
    10/21/2015   851     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 10/21/2015)
    10/21/2015   852     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 10/21/2015)
    10/23/2015   853     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 10/23/2015)
    10/23/2015   854     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 10/23/2015)
    10/26/2015   855     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 10/26/2015)
    10/26/2015   856     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 10/26/2015)
    10/26/2015   857     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Proposed Order (PDF Only), # 2
                         Exhibit, # 3 Exhibit, # 4 Exhibit)(Holloway, Gregory) (Entered: 10/26/2015)
    10/28/2015   858     ORDER granting 855 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Entered by Judge John L. Kane on 10/28/2015.
                         (agarc, ) (Entered: 10/28/2015)
    10/28/2015   882
                                                                                                        50
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 51 of 183




                         CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 10/28/2015. (shugh) (Entered: 11/13/2015)
    10/29/2015   859     MINUTE ORDER. A Status Conference regarding Document No. 857 is set
                         for Friday, October 30, 2015, at 1:00 p.m. at 901 19th Street, Courtroom
                         A802, Denver, Colorado, before Judge John L. Kane. Defendants are
                         required to attend the hearing. Entered by Judge John L. Kane on 10/29/15.
                         Text Only Entry (jhawk, ) (Entered: 10/29/2015)
    10/30/2015   860     RESTRICTED DOCUMENT − Level 1. (jhawk, ) (Entered: 11/02/2015)
    10/30/2015   861     Courtroom Minutes for Closed to the Public Status Conference held before
                         Judge John L. Kane as to Jamshid Muhtorov, Bakhtiyor Jumaev held on
                         10/30/2015. Court Reporter: Terri Lindblom. Interpreter: Irina Kamensky.
                         (jhawk, ) Text Only Entry (Entered: 11/02/2015)
    11/03/2015   862     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 11/03/2015)
    11/03/2015   863     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/03/2015)
    11/03/2015   864     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/03/2015)
    11/03/2015   865     ORDER granting 862 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). Access to Docket 864 shall be limited to the parties and the court
                         pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                         11/03/15. (jhawk, ) (Entered: 11/03/2015)
    11/04/2015   866     CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                         11/04/2015)
    11/04/2015   868     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) Modified on 11/5/2015 to term motion
                         pursuant to the order of 11/05/15, as our system won't term it. (jhawk, ).
                         (Entered: 11/04/2015)
    11/04/2015   869     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/04/2015)
    11/04/2015   870     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/04/2015)
    11/04/2015   911     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/4/2015. (shugh) (Entered: 12/22/2015)
    11/05/2015   872     ORDER granting 868 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). Access to Docket 870 shall be limited to the parties and the court
                         pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                         11/05/15. (jhawk, ) (Entered: 11/05/2015)
    11/10/2015   879     NOTICE of Government's Ex Parte Filing of Additional Materials with The
                         Court Relating to Documents 559 and 569 by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) Modified to add linkage on
                         11/12/2015 (agarc, ). (Entered: 11/10/2015)

                                                                                                       51
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 52 of 183




    11/11/2015   880     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/11/2015)
    11/11/2015   881     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 11/11/2015)
    11/13/2015   883     CJA MOTION by Bakhtiyor Jumaev. (Attachments: # 1 CJA Attachment, #
                         2 CJA Attachment)(Baker, Mitchell) (Entered: 11/13/2015)
    11/13/2015   884     ORDER granting 883 CJA Motion as to Bakhtiyor Jumaev (2). Signed by
                         Judge John L. Kane on 11/13/15. (jhawk, ) (Entered: 11/13/2015)
    11/18/2015   940     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/18/2015. (babia) (Entered: 02/03/2016)
    11/19/2015   886     Order Declaring Moot Mr. Jumaev's Motion 521 to Suppress FAA−Acquired
                         Evidence. Signed by Judge John L. Kane on 11/19/15. (jhawk, ) (Entered:
                         11/19/2015)
    11/20/2015   941     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/20/2015. (babia) (Entered: 02/03/2016)
    11/20/2015   942     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/20/2015. (babia) (Entered: 02/03/2016)
    11/20/2015   943     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 11/20/2015. (babia) (Entered: 02/03/2016)
    11/23/2015   887     RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev. (jhawk, )
                         (Entered: 11/23/2015)
    11/30/2015   891     ORDER granting Defendants' 890 Motion for Leave to Restrict. Access to
                         Docket Nos. 888 and 889 shall be limited to the parties and the court
                         pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                         11/30/15. (jhawk, ) (Entered: 11/30/2015)
    11/30/2015   892     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 11/30/2015)
    11/30/2015   893     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/30/2015)
    11/30/2015   894     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 11/30/2015)
    12/01/2015   895     ORDER granting 892 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Access to Docket Nos. 893 and 894 shall be
                         limited to the parties and the court pursuant to D.C.COLO.LCrR 47.1(A).
                         Signed by Judge John L. Kane on 12/01/15. (jhawk, ) (Entered: 12/01/2015)
    12/01/2015   896     TRANSCRIPT of Motion Hearing as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 10/30/2015 before Judge Kane. Pages: 1−26. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made

                                                                                                         52
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 53 of 183




                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 12/01/2015)
    12/02/2015   897     CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Baker, Mitchell)
                         (Entered: 12/02/2015)
    12/02/2015   898     RESTRICTED DOCUMENT − Level 1: re Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (jhawk, ) (Entered: 12/02/2015)
    12/02/2015   899     Courtroom Minutes for proceedings held before Judge John L. Kane: In
                         Court Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on
                         12/2/2015. ORDERED: Government's Request 870 is GRANTED, as
                         specified. Transcripts shall be surrendered, as specified. ORDERED:
                         Government shall file an AMENDED Protective Order, as specified.
                         ORDERED: Government's Motion 864 is DENIED as MOOT. ORDERED:
                         An In Court hearing is set for Monday, January 4, 2016 at 9:00 a.m.
                         ORDERED: Defendants are REMANDED to the custody of the United
                         States Marshal for the District of Colorado. Court Reporter: Terri Lindblom.
                         Interpreter: Yuliya Fedasenka−Cloud and Alla Seletskaya. (jhawk, )
                         (Entered: 12/03/2015)
    12/04/2015   901     NOTICE OF ATTORNEY APPEARANCE Kiersten Jennifer Korczynski
                         appearing for USA. Attorney Kiersten Jennifer Korczynski added to party
                         USA(pty:pla) (Korczynski, Kiersten) (Entered: 12/04/2015)
    12/04/2015   914     CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/4/2015. (shugh) (Entered: 12/31/2015)
    12/07/2015   913     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/7/2015. (shugh) (Entered: 12/31/2015)
    12/07/2015   915     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 12/7/2015. (shugh) (Entered: 12/31/2015)
    12/10/2015   904     NOTICE OF COMPLIANCE by Bakhtiyor Jumaev (Baker, Mitchell)
                         (Entered: 12/10/2015)
    12/11/2015   905     TRANSCRIPT of Motion Hearing as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 12/02/2015 before Judge Kane. Pages: 1−40. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 12/11/2015)
    12/18/2015   906     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Savitz, David) (Entered: 12/18/2015)

                                                                                                         53
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 54 of 183




    12/18/2015   907     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 12/18/2015)
    12/18/2015   908     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 12/18/2015)
    12/18/2015   909     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 12/18/2015)
    12/18/2015   910     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 12/18/2015)
    01/11/2016   917     SECOND SUPERSEDING PROTECTIVE ORDER as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. Signed by Judge John L. Kane on 1/11/2016.
                         (agarc, ) (Entered: 01/11/2016)
    01/12/2016   918     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 01/12/2016)
    01/12/2016   919     MINUTE ENTRY for proceedings held before Judge John L. Kane: Ex Parte
                         In−Court Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on
                         1/12/2016. Court Reporter: Terri Lindblom. (agarc, ) (Entered: 01/12/2016)
    01/13/2016   920     Objection Defendants' Joint Objections to Entry of the Second Superseding
                         Protective Order (Doc. 917) and Motion for its Withdrawal and
                         Reconsideration by Jamshid Muhtorov, Bakhtiyor Jumaev re 917 Order
                         (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Savitz, David) (Entered:
                         01/13/2016)
    01/15/2016   921     MINUTE ORDER. Discovery is ongoing. Therefore, the Motions contained
                         in the Court's Docket Nos. 652 , 701 and 743 are DENIED with leave to
                         refile at a later date as Motions to Compel, if appropriate. Entered by Judge
                         John L. Kane on 01/15/16. Text Only Entry (jhawk, ) (Entered: 01/15/2016)
    01/15/2016   922     ORDER granting 800 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1). Access to Docket Nos. 801 and 802 shall be limited to the parties and the
                         court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane
                         on 01/15/16. (jhawk, ) (Entered: 01/15/2016)
    01/15/2016   923     Minute ORDER denying as moot documents 458 , 590 , 813 , 825 as to
                         Jamshid Muhtorov (1) and Bakhtiyor Jumaev (2). Pursuant to JLK Chambers
                         instruction. Text Only Entry (jhawk, ) (Entered: 01/15/2016)
    01/15/2016   924     ORDER granting 712 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Access to Docket Nos. 713 and 714 shall be
                         limited to the parties and the court pursuant to D.C.COLO.LCrR 47.1(A).
                         Signed by Judge John L. Kane on 01/15/16. (jhawk, ) (Entered: 01/15/2016)
    01/15/2016   925     Minute ORDER re 701 Motion for Order as to Bakhtiyor Jumaev (2).
                         Pursuant to document #921. on 01/15/16. Text Only Entry (jhawk, ) (Entered:
                         01/19/2016)
    01/19/2016   926     RESTRICTED DOCUMENT − Level 1−Motion for Severance by Bakhtiyor
                         Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                         Exhibit)(Savitz, David) Modified on 1/20/2016 to add text pursuant to JLK
                         instructions (jhawk, ). (Entered: 01/19/2016)

                                                                                                          54
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 55 of 183




    01/19/2016   927     RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Savitz,
                         David) (Entered: 01/19/2016)
    01/19/2016   928     MOTION for Leave to Restrict Defendant Bakhtiyor Jumaev's Restrict
                         Documents 926 and 927 by Bakhtiyor Jumaev. (Savitz, David) Modified on
                         1/19/2016 to correct title (jhawk, ). (Entered: 01/19/2016)
    01/19/2016   931     ORDER granting 928 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). Access to Docket Nos. 926 and 927 shall be limited to the parties and the
                         court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane
                         on 1/19/16. (jhawk, ) (Entered: 01/20/2016)
    01/19/2016   932     NOTICE of Conventionally Submitted Material re 926 Restricted Document
                         − Level 1 by Bakhtiyor Jumaev. One Disk, located in the Clerks Office. Text
                         Only Entry. (jhawk, ) (Entered: 01/20/2016)
    01/21/2016   934     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 01/21/2016)
    01/22/2016   935     RESPONSE by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev re: 920
                         Objection (Other), filed by Jamshid Muhtorov, Bakhtiyor Jumaev
                         (Attachments: # 1 Proposed Order (PDF Only))(Holloway, Gregory)
                         (Entered: 01/22/2016)
    01/25/2016   955     CJA 24 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 01/25/2016. (sglee,) (Entered: 02/26/2016)
    01/29/2016   936     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
    01/29/2016   937     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
    01/29/2016   938     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
    01/29/2016   939     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 01/29/2016)
    02/04/2016   957     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/4/2016. (shugh) (Entered: 02/29/2016)
    02/04/2016   958     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/4/16. (limart) (Entered: 03/01/2016)
    02/04/2016   959     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/4/16. (limart) (Entered: 03/01/2016)
    02/04/2016   960     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/4/16. (limart) (Entered: 03/01/2016)
    02/04/2016   961     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 2/4/16. (limart) (Entered: 03/01/2016)
    02/05/2016   948     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/5/2016. (shugh) (Entered: 02/12/2016)
    02/08/2016   947
                                                                                                          55
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 56 of 183




                         CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/8/2016. (shugh) (Entered: 02/12/2016)
    02/12/2016   945     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 02/12/2016)
    02/12/2016   946     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 02/12/2016)
    02/17/2016   949     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
    02/17/2016   950     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA Attachment,
                         # 5 CJA Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
    02/17/2016   951     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
    02/17/2016   952     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 02/17/2016)
    02/18/2016   953     CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA Attachment,
                         # 5 CJA Attachment, # 6 CJA Attachment, # 7 CJA Attachment)(Savitz,
                         David) (Entered: 02/18/2016)
    02/22/2016   954     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/22/2016. (shugh) (Entered: 02/24/2016)
    02/23/2016   969     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/23/2016. (shugh) (Entered: 03/04/2016)
    02/23/2016   970     CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 2/23/2016. (shugh) (Entered: 03/04/2016)
    03/01/2016   962     MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 03/01/2016)
    03/01/2016   963     RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 03/01/2016)
    03/01/2016   964     RESTRICTED DOCUMENT − Level 1−Response to Motion for Severance
                         by USA as to Bakhtiyor Jumaev (Holloway, Gregory) Modified on 3/3/2016
                         to add text pursuant to JLK instructions (jhawk, ). (Entered: 03/01/2016)
    03/02/2016   965     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 03/02/2016)
    03/03/2016   967     ORDER granting 962 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1) and Bakhtiyor Jumaev (2). Access to Docket Nos. 963 and 964 shall be
                         limited to the parties and the court pursuant to D.C.COLO.LCrR 47.1(A).
                         Signed by Judge John L. Kane on 03/03/16. (jhawk, ) (Entered: 03/03/2016)
    03/03/2016   968     ORDER as to Bakhtiyor Jumaev re: Motion for Severance 926 . Having
                         reviewed the motion and the relevant pleadings and finding good cause
                         appearing, the motion is DENIED without prejudice to renew in the event a

                                                                                                     56
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 57 of 183




                         superseding indictment is filed. Signed by Judge John L. Kane on 03/03/16.
                         (jhawk, ) (Entered: 03/03/2016)
    03/04/2016   977     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/4/16. (limart) (Entered: 03/25/2016)
    03/14/2016   974     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 03/14/2016. (sglee, ) (Entered: 03/25/2016)
    03/14/2016   975     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 03/14/2016. (sglee, ) (Entered: 03/25/2016)
    03/14/2016   976     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 03/14/2016. (sglee, ) (Entered: 03/25/2016)
    03/17/2016   971     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 03/17/2016)
    03/24/2016   972     Joint MOTION for Order To Set Pretrial Deadlines and Trial Date Pursuant
                         to a Scheduling Order by Jamshid Muhtorov, Bakhtiyor Jumaev. (Savitz,
                         David) (Entered: 03/24/2016)
    03/24/2016   973     ORDER granting 972 Motion to Set Pretrial Deadlines and a Trial Date as to
                         Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). The parties are ordered to meet
                         and confer on or before May 5, 2016. The parties shall submit a proposed
                         scheduling order on or before June 1, 2016. The parties are ordered to call
                         chambers JOINTLY on or before June 8, 2016, to set a date and time for a
                         status conference. Signed by Judge John L. Kane on 03/24/16. (jhawk, )
                         (Entered: 03/24/2016)
    03/25/2016   983     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 3/25/16. (limart, ) (Entered: 04/07/2016)
    03/31/2016   978     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 03/31/2016)
    04/01/2016   979     CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 04/01/2016)
    04/04/2016   987     CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/4/16. (limart, ) (Entered: 04/11/2016)
    04/04/2016   988     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/4/16. (limart, ) (Entered: 04/11/2016)
    04/04/2016   989     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/4/166. (limart, ) (Entered: 04/11/2016)
    04/06/2016   994     CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/6/16. (limart) (Entered: 04/19/2016)
    04/08/2016   984     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/08/2016)
    04/08/2016   985     CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/08/2016)
    04/08/2016   986
                                                                                                       57
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 58 of 183




                         CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/08/2016)
    04/14/2016    992    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/14/2016)
    04/14/2016    993    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 04/14/2016)
    04/20/2016    996    CJA 20/30 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment, # 3 CJA Attachment, # 4 CJA
                         Attachment)(Savitz, David) (Entered: 04/20/2016)
    04/25/2016    998    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 4/25/2016. (shugh) (Entered: 04/29/2016)
    04/25/2016   1002    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 4/25/2016. (shugh) (Entered: 05/05/2016)
    04/27/2016    997    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Savitz, David) (Entered: 04/27/2016)
    05/04/2016   1000    MOTION for Order Government's Motion for Tolling of Speedy Trial
                         Pursuant to 18 U.S.C. Section 3161(h)(7)(B)(ii) by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 05/04/2016)
    05/04/2016   1001    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/04/2016)
    05/06/2016   1009    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/6/2016. (shugh) (Entered: 05/12/2016)
    05/12/2016   1003    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
    05/12/2016   1004    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
    05/12/2016   1005    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
    05/12/2016   1006    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
    05/12/2016   1007    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
    05/12/2016   1008    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 05/12/2016)
    05/13/2016   1010    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The parties
                         are directed to call chambers jointly on or before May 25, 2016, to set a
                         Motion Hearing date regarding Defendants' Joint Objections to Entry of the
                         Second Superseding Protective Order (Doc. 917) and Motion for its
                         Withdrawal and Reconsideration (Doc. 920) and related documents −
                         303−844−6118. Ordered by Judge John L. Kane on 5/13/2016. Text Only
                         Entry (jlksec) (Entered: 05/13/2016)

                                                                                                      58
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 59 of 183




    05/13/2016   1011    CJA 21/31 Payment Request as to Bakhtiyor Jumaev. (Attachments: # 1 CJA
                         Attachment)(Baker, Mitchell) (Entered: 05/13/2016)
    05/16/2016   1012    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 Exhibit)(Savitz, David) (Entered: 05/16/2016)
    05/17/2016   1019    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/17/2016. (shugh) (Entered: 05/23/2016)
    05/17/2016   1051    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/17/2016. (shugh) (Entered: 06/28/2016)
    05/18/2016   1014    Third Superseding Indictment as to Jamshid Muhtorov (1) count(s)
                         1sss−4sss, 5sss, 6sss, Bakhtiyor Jumaev (2) count(s) 1ss−2ss, 5ss, 6ss.
                         (Attachments: # 1 Criminal Information Sheet, # 2 Criminal Information
                         Sheet) (jhawk, ) (Entered: 05/19/2016)
    05/18/2016   1015    RESTRICTED DOCUMENT − Level 4: by Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (jhawk, ) (Entered: 05/19/2016)
    05/19/2016   1016    MINUTE ORDER Setting Re−Arraignment on Third Superseding Indictment
                         1014 for 6/1/2016 02:00 PM before Magistrate Judge Shaffer as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. Text Only Entry on 05/19/16 (jhawk, )
                         (Entered: 05/19/2016)
    05/20/2016   1017    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 05/20/2016)
    05/20/2016   1018    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 05/20/2016)
    05/24/2016   1020    MINUTE ORDER. This matter is set for a Status Conference/Motions
                         Hearing on June 7, 2016, at 10:00 a.m. in Courtroom A802. Entered by Judge
                         John L. Kane on 05/24/16. (jhawk, ) (Entered: 05/24/2016)
    05/24/2016   1052    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/24/2016. (shugh) (Entered: 06/28/2016)
    05/25/2016   1021    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 05/25/2016)
    05/25/2016   1022    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 05/25/2016)
    05/25/2016   1023    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment)(Baker, Mitchell) (Entered: 05/25/2016)
    05/26/2016   1024    MOTION for Order Defendants' Proposed Scheduling Order in Response to
                         the Court's Order for the Submission of Same (Doc. 973) by Bakhtiyor
                         Jumaev. (Savitz, David) (Entered: 05/26/2016)
    05/26/2016   1025    MOTION to Disclose Grand Jury Material to Defendant Defendant Bakhtiyor
                         Jumaev's Motion for Disclosure of Grand Jury Materials by Bakhtiyor
                         Jumaev. (Savitz, David) (Entered: 05/26/2016)
    05/31/2016   1026    STATEMENT Regarding Scheduling Order: Government's Proposed
                         Scheduling Order by Plaintiff USA (Holloway, Gregory) (Entered:

                                                                                                      59
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 60 of 183




                         05/31/2016)
    05/31/2016   1041    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/31/2016. (shugh) (Entered: 06/17/2016)
    05/31/2016   1042    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 5/31/2016. (shugh) (Entered: 06/17/2016)
    05/31/2016   1053    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/31/2016. (shugh) (Entered: 06/28/2016)
    05/31/2016   1054    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/31/2016. (shugh) (Entered: 06/28/2016)
    05/31/2016   1055    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 5/31/2016. (shugh) (Entered: 06/28/2016)
    06/01/2016   1028    COURTROOM MINUTES for proceedings held before Magistrate Judge
                         Craig B. Shaffer: Re−Arraignment on Third Superseding Indictment as to
                         Bakhtiyor Jumaev held on 6/1/2016. Defendant present in custody.
                         Interpreter sworn by phone. Defendant advised of new charges. Defendant
                         waives further reading of indictment. Plea of NOT GUILTY entered by
                         defendant. Defendant remanded. (Total time: 10 minutes, Hearing time:
                         2:16−2:26 p.m.)

                         APPEARANCES: Greg Holloway on behalf of the Government, David
                         Savitz and Mitchell Baker on behalf of the defendant. FTR: CRIMINAL
                         DUTY PM. Interpreter: Sanjar Babadjanov (by phone). (amont, ) Text Only
                         Entry (Entered: 06/01/2016)
    06/06/2016   1029    CJA 21/31 Request for Service as to Bakhtiyor Jumaev. (Attachments: # 1
                         CJA Attachment, # 2 CJA Attachment)(Baker, Mitchell) (Entered:
                         06/06/2016)
    06/06/2016   1030    CJA Travel Request (Non−Defendant) as to Bakhtiyor Jumaev. (Baker,
                         Mitchell) (Entered: 06/06/2016)
    06/06/2016   1031    CJA Travel Request (Non−Defendant) as to Bakhtiyor Jumaev. (Baker,
                         Mitchell) (Entered: 06/06/2016)
    06/06/2016   1043    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/6/2016. (shugh) (Entered: 06/20/2016)
    06/06/2016   1044    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/6/2016. (shugh) (Entered: 06/20/2016)
    06/07/2016   1032    COURTROOM MINUTES for Status Conference / Motions Hearing as to
                         Jamshid Muhtorov and Bakhtiyor Jumaev held before Judge John L. Kane on
                         6/7/2016. Granting 1000 Government's Motion for Tolling of Speedy Trial as
                         to Jamshid Muhtorov and Bakhtiyor Jumaev. On or before 6/16/2016,
                         Government shall file its objections to Motion for Disclosure of Grand Jury
                         Materials. Court adopts Scheduling Order. Four week Jury Trial set for
                         3/13/2017 09:00 AM in Courtroom A 802 before Judge John L. Kane. Five
                         day Suppression Hearing set for 1/9/2017 at 10:00 AM in Courtroom A 802
                         before Judge John L. Kane. Counsel shall submit their at issue memorandums
                         no later than 6/30/2016. Defendants remanded. Court Reporter: Terri

                                                                                                       60
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 61 of 183




                         Lindblom. Interpreters: Yuliya Fedasenka−Cloud and Sanjar Babadjanov.
                         (ebuch) (Entered: 06/07/2016)
    06/07/2016   1033    CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                         6/7/2016. (shugh) (Entered: 06/09/2016)
    06/07/2016   1034    CJA Travel Authorization as to Bakhtiyor Jumaev by Judge John L. Kane on
                         6/7/2016. (shugh) (Entered: 06/09/2016)
    06/07/2016   1056    CJA 21/31 Authorization for Service as to Bakhtiyor Jumaev by Judge John
                         L. Kane on 6/7/2016. (shugh) (Entered: 06/28/2016)
    06/10/2016   1036    CJA 24 Transcript Request as to Bakhtiyor Jumaev. (Savitz, David) (Entered:
                         06/10/2016)
    06/10/2016   1037    MOTION for Extension of Time to File Response/Reply as to 1035
                         MOTION for Disclosure of Grand Jury Materials, 1025 MOTION to
                         Disclose Grand Jury Material to Defendant Defendant Bakhtiyor Jumaev's
                         Motion for Disclosure of Grand Jury Materials by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 06/10/2016)
    06/10/2016   1038    ORDER GRANTING 1037 Government's Motion to Enlarge Time for Filing
                         a Response to Defendants' Motions for Disclosure of Grand Jury Materials as
                         to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). The Government's
                         response(s) to the pending Motions (Doc. 1025) and (Doc. 1035) are due on
                         or before June 23, 2016. Ordered by Judge John L. Kane on 6/10/2016. Text
                         Only Entry (jlksec) (Entered: 06/10/2016)
    06/14/2016   1039    Third Superseding Protective Order as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. Signed by Judge John L. Kane on 06/14/16. (jhawk, ) (Entered:
                         06/14/2016)
    06/15/2016   1045    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/15/2016. (shugh) (Entered: 06/21/2016)
    06/20/2016   1046    CJA 20/30 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/20/2016. (shugh) (Entered: 06/23/2016)
    06/23/2016   1048    RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 1035 MOTION for Disclosure of Grand Jury Materials, 1025 MOTION to
                         Disclose Grand Jury Material to Defendant Defendant Bakhtiyor Jumaev's
                         Motion for Disclosure of Grand Jury Materials (Holloway, Gregory)
                         (Entered: 06/23/2016)
    06/24/2016   1069    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/24/2016. (shugh) (Entered: 07/14/2016)
    06/24/2016   1070    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/24/2016. (shugh) (Entered: 07/14/2016)
    06/24/2016   1071    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/24/2016. (shugh) (Entered: 07/14/2016)
    06/24/2016   1072    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/24/2016. (shugh) (Entered: 07/14/2016)
    06/24/2016   1073

                                                                                                       61
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 62 of 183




                         CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/24/2016. (shugh) (Entered: 07/14/2016)
    06/24/2016   1074    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/24/2016. (shugh) (Entered: 07/15/2016)
    06/27/2016   1049    MOTION for Leave to File A REPLY TO GOVERNMENTS RESPONSE TO
                         DEFENDANTS MOTIONS FOR DISCLOSURE OF GRAND JURY
                         MATERIALS (DOC.1048) by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                         06/27/2016)
    06/27/2016   1050    ORDER granting 1049 Motion for Leave to File as to Bakhtiyor Jumaev (2).
                         Defendant Jumaev shall file his reply to his Motion for Disclosure of Grand
                         Jury Materials (Doc. 1025) on or before July 7, 2016. Ordered by Judge John
                         L. Kane on 6/27/2016. Text Only Entry (jlksec) (Entered: 06/27/2016)
    06/28/2016   1075    CJA 21/31 Payment Authorization as to Bakhtiyor Jumaev by Judge John L.
                         Kane on 6/28/2016. (shugh) (Entered: 07/15/2016)
    06/30/2016   1058    NOTICE of Defendant Jumaev's At Issue Memorandum by Bakhtiyor Jumaev
                         (Baker, Mitchell) (Entered: 06/30/2016)
    06/30/2016   1059    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 06/30/2016)
    06/30/2016   1060    Amended MOTION for Leave to Restrict by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Holloway, Gregory) (Entered: 06/30/2016)
    06/30/2016   1061    RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 06/30/2016)
    06/30/2016   1062    UNRESTRICTED DOCUMENT − Level 1: by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on 6/30/2016
                         unrestricted pursuant to the Order of 06/30/16 and Chambers instructions
                         (jhawk, ). (Entered: 06/30/2016)
    06/30/2016   1063    ORDER. Government's Motion to [re−]Restrict Document 742 (Doc. 1062 )
                         pending resolution of defendants' motion to unrestrict it is GRANTED. The
                         Clerk shall re−restrict Doc. 742 , signal that Doc. 754 remains pending, and
                         the parties shall CONFER and NOTIFY the Court of a preferred briefing
                         schedule. Government's Amended Motion to Restrict Document No. 1062
                         (Doc. 1060 ) is DENIED. However, the brief (Doc. 1061 ) shall be limited to
                         the parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by
                         Judge John L. Kane on 06/30/16. (jhawk, ) (Entered: 06/30/2016)
    06/30/2016   1064    MINUTE ORDER. Back in October 2014, Defendant Muhtorov filed a
                         procedural motion (Doc. 658 ) seeking to "adopt," or join, in Defendant
                         Jumaev's Motion Requiring the Government ot Provide Notice of
                         Interceptions and/or Surveillance of his Defense Counsel and Members of his
                         Defense Team (Doc. 652 ). While the court denied Doc. 652 with leave to
                         refile at a later date as a Motion to Compel and directed the Clerk to term
                         Doc. 658 as moot, Mr. Jumaev reminds the court that Doc. 658 was never
                         formally ruled on. Accordingly, and for the record, Mr. Muhtorov's Motion
                         (Doc. 658 ) to Adopt a Motion (Doc. 652 ) that is not currently pending, is
                         DENIED, as MOOT. Entered by Judge John L. Kane on 06/30/16. Text Only
                         Entry (jhawk, ) (Entered: 06/30/2016)
                                                                                                        62
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 63 of 183




    06/30/2016   1065    NOTICE of Government's Notice of Items At Issue by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 06/30/2016)
    06/30/2016   1066    NOTICE OF ATTORNEY APPEARANCE David Alan Tonini appearing for
                         USA. Attorney David Alan Tonini added to party USA(pty:pla) (Tonini,
                         David) (Entered: 06/30/2016)
    07/07/2016   1067    REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 1049 MOTION
                         for Leave to File A REPLY TO GOVERNMENTS RESPONSE TO
                         DEFENDANTS MOTIONS FOR DISCLOSURE OF GRAND JURY
                         MATERIALS (DOC.1048) (Attachments: # 1 Exhibit)(Savitz, David)
                         (Entered: 07/07/2016)
    07/13/2016   1068    TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 6/7/2016 before Judge Kane. Pages: 1−50. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 07/13/2016)
    07/21/2016   1083    ORDER Denying Motions 1025 and 1035 for Disclosure [Additional] Grand
                         Jury Materials as to Jamshid Muhtorov and Bakhtiyor Jumaev (2). Signed by
                         Judge John L. Kane on 07/21/16. (jhawk, ) (Entered: 07/21/2016)
    07/22/2016   1084    MINUTE ORDER. The Government is DIRECTED to file its response to
                         Defendants' Joint Motion to Unrestrict 742 754 on or before August 18,
                         2016. Defendants shall file their replies, if any, on or before September 9,
                         2016. Entered by Judge John L. Kane on 0722/16. Text Only Entry (jhawk, )
                         (Entered: 07/22/2016)
    08/17/2016   1085    STIPULATION TO CLARIFY/MODIFY CERTAIN PROVISIONS OF THE
                         SCHEDULING ORDER (DOC.1032) by Bakhtiyor Jumaev (Baker, Mitchell)
                         (Entered: 08/17/2016)
    08/17/2016   1086    ORDER Adopting Stipulation to Amend the Scheduling Order 1032 as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. Signed by Judge John L. Kane on
                         08/17/16. (jhawk, ) (Entered: 08/17/2016)
    08/18/2016   1087    RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 754 MOTION for Order to Unrestrict Doc. 742 (Holloway, Gregory)
                         (Entered: 08/18/2016)
    08/18/2016   1088    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 08/18/2016)
    08/18/2016   1089    RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 08/18/2016)
    08/18/2016   1090    RESTRICTED DOCUMENT − Level 1−Response in Opposition to
                         Defendants' Joint Motion to Unrestrict doc. 752 (doc. 754) by USA as to
                                                                                                         63
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 64 of 183




                         Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on
                         9/9/2016 to add text (jhawk, ). (Entered: 08/18/2016)
    08/18/2016   1091    RESPONSE in Opposition to Motion by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev re 754 MOTION for Order to Unrestrict Doc. 742. (Public
                         entry for restricted document 1090 filed on 08/18/16) Text only entry (jhawk,
                         ) (Entered: 08/19/2016)
    08/24/2016   1092    NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the
                         United States Pursuant to the Classified Information Procedures Act by USA
                         as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         08/24/2016)
    08/25/2016   1093    MINUTE ENTRY for Ex Parte In Court Hearing proceedings held before
                         Judge John L. Kane on 8/25/2016 as to Jamshid Muhtorov (1), and Bakhtiyor
                         Jumaev (2). Pursuant to 1092 . Court Reporter: Terri Lindblom. (babia)
                         (Entered: 08/25/2016)
    08/29/2016   1094    Protective Order as to Jamshid Muhtorov, Bakhtiyor Jumaev. Signed by
                         Judge John L. Kane on 08/29/16. (jhawk, ) (Entered: 08/29/2016)
    09/09/2016   1095    Joint MOTION for Leave to Restrict by Jamshid Muhtorov, Bakhtiyor
                         Jumaev as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Leedy, Brian) Modified
                         on 9/9/2016 to correct filers (jhawk, ). (Entered: 09/09/2016)
    09/09/2016   1096    RESTRICTED DOCUMENT − Level 1: by Jamshid Muhtorov, Bakhtiyor
                         Jumaev as to Jamshid Muhtorov, Bakhtiyor Jumaev (Leedy, Brian) Modified
                         on 9/9/2016 to correct filers (jhawk, ). (Entered: 09/09/2016)
    09/09/2016   1097    RESTRICTED DOCUMENT − Level 1−Reply in Support of Their Motion
                         to Unrestrict Document 742 by Jamshid Muhtorov, Bakhtiyor Jumaev as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Attachment
                         1)(Leedy, Brian) Modified on 9/9/2016 to correct filers (jhawk, ). (Entered:
                         09/09/2016)
    09/09/2016   1098    ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Order granting
                         1088 Motion for Leave to Restrict. Access to Docket Nos. 1089 and 1090
                         shall be limited to the parties and the court pursuant to D.C.COLO.LCrR
                         47.1 (A). Signed by Judge John L. Kane on 09/9/16. (jhawk, ) (Entered:
                         09/09/2016)
    09/09/2016   1099    ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Order granting
                         1095 Motion for Leave to Restrict. Access to Docket Nos. 1096 and 1097
                         shall be limited to the parties and the court pursuant to D.C.COLO.LCrR
                         47.1 (A). Signed by Judge John L. Kane on 09/09/16. (jhawk, ) (Entered:
                         09/09/2016)
    09/19/2016   1100    MOTION for Order Stipulation to Modify Certain Provisions of the
                         Scheduling Order by Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order
                         (PDF Only))(Savitz, David) (Entered: 09/19/2016)
    09/19/2016   1101    ORDER re: Stipulation to Modify Certain Provisions of the Scheduling
                         Order 1100 as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Rule 12
                         motions: October 14, 2016: deadline for filing of the defendants' Rule 12
                         Motions; November 14: deadline for filing of the government's responses to
                         defendants' Rule 12 motions; and November 25, 2016: deadline for filing of
                                                                                                         64
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 65 of 183




                         defendants' replies to government's responses to Rule 12 motions; (B) The
                         Suppression motions; November 7, 2016: deadline for filing of the
                         defendants' suppression motions; December 7, 2016: deadline for filing of the
                         government's responses to defendants' suppression motions; and December
                         16, 2016: deadline for filing of defendants' replies to the government's
                         responses to the defendants' suppression motions. Except as noted by the
                         foregoing modifications, the scheduling orders (Docs. 1032 and 1086 ) are
                         re−adopted and re−affirmed. Signed by Judge John L. Kane on 09/19/16.
                         (jhawk, ) (Entered: 09/20/2016)
    09/29/2016   1102    STIPULATION to Modify Scheduling Order by Bakhtiyor Jumaev
                         (Attachments: # 1 Proposed Order (PDF Only))(Baker, Mitchell) (Entered:
                         09/29/2016)
    09/30/2016   1103    ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The Court having
                         reviewed the stipulation (Doc. 1102 ) and being fully informed in this matter
                         does hereby modify the scheduling order (Docs. 1032 , 1086 , and 1101 ) in
                         the following respects only: discovery motions are to be filed on or before
                         October 14, 2016; the governments response to be filed on or before October
                         28, 2016; and any defense reply to be filed on or before November 8, 2016.
                         Except as noted by the foregoing modifications, the scheduling orders (Docs.
                         1032 , 1086 and 1101 ) are re−adopted and re−affirmed. Signed by Judge
                         John L. Kane on 09/30/16. (jhawk, ) (Entered: 09/30/2016)
    09/30/2016   1104    NOTICE Government's Case in Chief Expert Disclosure by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway,
                         Gregory) (Entered: 09/30/2016)
    10/03/2016   1105    MOTION for Order for Notice of the Surveillance Techniques Utilized by the
                         Government in its Investigation by Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 Attachment)(Williamson, Warren) Modified on 10/3/2016
                         terminated as refiled in document 1107 (jhawk, ). (Entered: 10/03/2016)
    10/03/2016   1106    Joint MOTION for Disclosure and Objection to Secret Litigation of Fourth
                         Amendment Suppression Issues by Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Williamson, Warren) Modified on 10/3/2016 Motion terminated and refiled
                         in document 1108 (jhawk, ). (Entered: 10/03/2016)
    10/03/2016   1107    Joint MOTION for Order for Notice of the Surveillance Techniques Utilized
                         by the Government in its Investigation by Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Williamson, Warren) (Entered: 10/03/2016)
    10/03/2016   1108    Joint MOTION for Disclosure and Objection to Secret Litigation of Fourth
                         Amendment Suppression Issues by Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 Attachment)(Williamson, Warren) (Entered: 10/03/2016)
    10/04/2016   1109    Joint MOTION for Clarification and Reconsideration by Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Williamson,
                         Warren) (Entered: 10/04/2016)
    10/12/2016   1110    MOTION to Appoint Counsel by Jamshid Muhtorov as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Leedy, Brian) (Entered: 10/12/2016)
    10/14/2016   1112    MOTION to Dismiss Counts Five by Bakhtiyor Jumaev. (Baker, Mitchell)
                         (Entered: 10/14/2016)

                                                                                                         65
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 66 of 183




    10/14/2016   1113    WITHDRAWN RESTRICTED DOCUMENT − Level 1: by Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Exhibit Attachment A, # 2
                         Exhibit Attachment B)(Leedy, Brian) Modified on 10/24/2016 withdrawn
                         pursuant to the minute order of 10/24/16 (jhawk, ). (Entered: 10/14/2016)
    10/14/2016   1114    WITHDRAWN RESTRICTED DOCUMENT − Level 1: by Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Exhibit Attachment
                         A)(Leedy, Brian) Modified on 10/24/2016 withdrawn pursuant to the minute
                         order of 10/24/16 (jhawk, ). (Entered: 10/14/2016)
    10/19/2016   1120    MOTION for Order to Adopt Codefendant's Pleading Doc. 1115 by
                         Bakhtiyor Jumaev. (Baker, Mitchell) (Entered: 10/19/2016)
    10/19/2016   1121    ORDER granting 1120 Defendant Jumaev's Motion to Adopt Codefendant's
                         Motion, Doc. 1115. Defendant Bakhtiyor Jumaev (2) is allowed to adopt the
                         motion filed by Defendant Jamshid Muhtorov in Doc. 1115. Text Only Entry
                         (jlksec) (Entered: 10/19/2016)
    10/20/2016   1122    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(Baker, Mitchell) (Entered: 10/20/2016)
    10/20/2016   1123    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(Baker, Mitchell) (Entered: 10/20/2016)
    10/20/2016   1124    MINUTE ORDER. Defendants' Joint Motion to Supplement Doc. 1113 (Doc.
                         1122 ) and Defendants' Joint Motion to Supplement Doc. 1114 (Doc. 1123 )
                         are DENIED. Rather than clutter the docket with duplicative filings, the
                         parties are directed to withdraw Nos. 1113 and 1114 and refile the
                         supplements as corrected versions of the same. The refiled documents will be
                         accepted as timely filed if they are received by Friday, October 21, 2016.
                         Entered by Judge John L. Kane on 10/20/16. Text Only Entry (jhawk, )
                         Modified on 10/20/2016 to correct DUE DATE (jhawk, ). (Entered:
                         10/20/2016)
    10/21/2016   1125    MOTION to Withdraw Document 1114 Restricted Document − Level 1,
                         1113 Restricted Document − Level 1 by Bakhtiyor Jumaev. (Baker, Mitchell)
                         (Entered: 10/21/2016)
    10/21/2016   1126    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell)
                         (Entered: 10/21/2016)
    10/21/2016   1127    RESTRICTED DOCUMENT − Level 1−Memorandum in Support of
                         Defendants' Joint Motion for Discovery by Bakhtiyor Jumaev. (Attachments:
                         # 1 Exhibit)(Baker, Mitchell) Modified on 10/24/2016 to add text (jhawk, ).
                         (Entered: 10/21/2016)
    10/24/2016   1128    MINUTE ORDER granting Motion to Withdraw Doc. 1113 and Doc. 1114
                         (Doc. 1125 ). The Clerk is directed to withdraw Document Nos. 1113 and
                         1114 and mooting the motion contained therein. The documents have been
                         refiled as Document Nos. 1126 and 1127. Entered by Judge John L. Kane on
                         10/24/16. Text Only Entry (jhawk, ) (Entered: 10/24/2016)
    10/26/2016   1129    MOTION for Order Motion for Tolling of Speedy Trial Pursuant to 18
                         U.S.C., Section 3161(h)(7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 10/26/2016)
                                                                                                        66
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 67 of 183




    10/27/2016   1130    ORDER granting 1129 Motion for Tolling of Speedy Trial as to Jamshid
                         Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED that an additional 137 days
                         SHALL BE EXCLUDED from speedy trial calculations pursuant to 18
                         U.S.C. § 3161 (h)(7)(B)(ii). Signed by Judge John L. Kane on 10/27/16.
                         (jhawk, ) (Entered: 10/27/2016)
    10/28/2016   1131    RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 1106 Joint MOTION for Disclosure and Objection to Secret Litigation of
                         Fourth Amendment Suppression Issues (Holloway, Gregory) (Entered:
                         10/28/2016)
    10/28/2016   1132    RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 1107 Joint MOTION for Order for Notice of the Surveillance Techniques
                         Utilized by the Government in its Investigation (Holloway, Gregory)
                         (Entered: 10/28/2016)
    10/28/2016   1133    RESPONSE to Motion by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         re 1109 Joint MOTION for Clarification and Reconsideration (Holloway,
                         Gregory) (Entered: 10/28/2016)
    10/28/2016   1134    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 10/28/2016)
    10/28/2016   1135    RESTRICTED DOCUMENT − Level 1−Response to 1126 by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on
                         10/31/2016 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                         10/28/2016)
    10/28/2016   1136    NOTICE Defendant Jumaev's Expert Witness Endorsement of Professor
                         Adeeb Khalid by Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Savitz,
                         David) (Entered: 10/28/2016)
    10/28/2016   1137    ORDER granting 1134 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). Access to Docket No. 1135 shall be limited to the parties and the court
                         pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                         10/28/16. (jhawk, ) (Entered: 10/31/2016)
    10/31/2016   1138    RESTRICTED DOCUMENT − Level 1−Expert Witness Endorsement by
                         Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                         Exhibit)(Savitz, David) Modified on 11/1/2016 to add text (jhawk, ).
                         (Entered: 10/31/2016)
    11/01/2016   1139    NOTICE Defendant Jumaev's Expert Witness Endorsement of Dr. Marc
                         Sageman by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2
                         Exhibit)(Savitz, David) (Entered: 11/01/2016)
    11/01/2016   1140    RESTRICTED DOCUMENT − Level 1−Expert Witness Endorsement by
                         Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit)(Savitz, David)
                         Modified on 11/1/2016 to add text (jhawk, ). (Entered: 11/01/2016)
    11/01/2016   1142    NOTICE by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2
                         Exhibit)(Baker, Mitchell) Modified to correct text on 4/17/2018 (cthom, ).
                         (Entered: 11/01/2016)
    11/01/2016   1143    RESTRICTED DOCUMENT − Level 1−Proffer in Support of
                         Co−Conspirator Statements Admissible by USA as to Jamshid Muhtorov,

                                                                                                        67
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 68 of 183




                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit CO−CONSPIRATOR
                         STATEMENTS)(Tonini, David) Modified on 11/2/2016 to add text (jhawk,
                         ). (Entered: 11/01/2016)
    11/01/2016   1144    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Tonini, David) (Entered: 11/01/2016)
    11/01/2016   1145    NOTICE of Defendant Jumaev's Expert Witness Endorsement of Dr. Robert
                         A. Leonard by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2
                         Exhibit)(Baker, Mitchell) (Entered: 11/01/2016)
    11/01/2016   1146    ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                         RULES/PROCEDURES: re: 1143 Restricted Document − Level 1, filed by
                         attorney David A. Tonini. The document is incorrectly formatted−DOUBLE
                         SPACE ALL DOCUMENTS DO NOT REFILE THE DOCUMENT.
                         Action to take − future documents must be filed pursuant to
                         D.C.COLO.LCrR 49.3. (Text Only Entry) (jhawk, ) (Entered: 11/02/2016)
    11/02/2016   1147    ORDER granting 1144 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Access to Docket No. 1143 shall be limited to the
                         parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge
                         John L. Kane on 11/02/16. (jhawk, ) (Entered: 11/02/2016)
    11/03/2016   1148    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 11/03/2016)
    11/03/2016   1149    RESTRICTED DOCUMENT − Level 1−Response to Motion to Sever Case
                         from Codefendant 1118 by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         (Holloway, Gregory) Modified on 11/4/2016 to add text (jhawk, ). (Entered:
                         11/03/2016)
    11/04/2016   1150    ORDER granting 1148 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Access to Docket No. 1143 shall be limited to the
                         parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge
                         John L. Kane on 11/04/16. (jhawk, ) (Entered: 11/04/2016)
    11/04/2016   1151    RESTRICTED DOCUMENT − Level 1: MOTION to Suppress Defendant
                         Jumaev's Motion to Suppress Evidence Derived from Execution of Illegal
                         Extra−Territorial Warrants by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit,
                         # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Savitz, David) Modified on
                         11/10/2016 to restrict at a level 1 pursuant to 1165 (slibi, ). (Entered:
                         11/04/2016)
    11/04/2016   1152    RESTRICTED DOCUMENT − Level 1−Motion to Suppress filed November
                         4, 2016 by Bakhtiyor Jumaev. (Savitz, David) Modified on 11/4/2016 to add
                         text pursuant to Chambers instruction (jhawk, ). (Entered: 11/04/2016)
    11/04/2016   1153    CORRECTED ORDER re: 1150 as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         Access to 1149 shall be limited to the parties and the court pursuant to
                         D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 11/04/16.
                         (jhawk, ) (Entered: 11/04/2016)
    11/04/2016   1154    RESTRICTED DOCUMENT − Level 1−Motion to Suppress and Request for
                         Hearing by Bakhtiyor Jumaev. (Savitz, David) Modified on 11/4/2016 to add
                         text pursuant to Chambers instruction (jhawk, ). (Entered: 11/04/2016)

                                                                                                          68
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 69 of 183




    11/07/2016   1156    MOTION to Suppress Statements by Jamshid Muhtorov as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Leedy, Brian) (Entered: 11/07/2016)
    11/08/2016   1159    Joint MOTION for Leave to Restrict by Jamshid Muhtorov as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Williamson, Warren) (Entered: 11/08/2016)
    11/08/2016   1160    UNRESTRICTED DOCUMENT − Level 1: by Jamshid Muhtorov as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Williamson, Warren) Modified on
                         11/8/2016 unrestricted pursuant to the Minute Order of 11/08/16 (jhawk, ).
                         (Entered: 11/08/2016)
    11/08/2016   1161    RESTRICTED DOCUMENT − Level 1−Joint Reply to Motions 1107 and
                         1108 by Jamshid Muhtorov as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         (Williamson, Warren) Modified on 11/8/2016 to add description pursuant to
                         JLK (jhawk, ). (Entered: 11/08/2016)
    11/08/2016   1162    ORDER granting in part and denying in part 1159 Motion for Leave to
                         Restrict as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). There is nothing
                         private or restrictable in the brief in Support of the Motion to Restrict Access
                         (Doc. 1160 ) and the Motion is DENIED. The Motion to Restrict Access to
                         Defendants' Joint Reply to ECF Nos. 1107 and 1108 (Doc. 1161 ) is
                         GRANTED and shall be limited to the parties and the court pursuant to
                         D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on 11/08/16.
                         (jhawk, ) (Entered: 11/08/2016)
    11/08/2016   1163    MOTION for Leave to Restrict by Bakhtiyor Jumaev. (Savitz, David)
                         (Entered: 11/08/2016)
    11/08/2016   1164    RESTRICTED DOCUMENT − Level 1−Reply in Support of Defendants'
                         Joint Motion for Discovery 1126 and 1135 by Bakhtiyor Jumaev. (Baker,
                         Mitchell) Modified on 11/9/2016 to add text (jhawk, ). (Entered: 11/09/2016)
    11/08/2016   1165    ORDER granting 1163 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2). Access to Docket No. 1151 shall be limited to the parties and the court
                         pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge John L. Kane on
                         11/08/16. (jhawk, ) (Entered: 11/09/2016)
    11/08/2016   1166    ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT
                         RULES/PROCEDURES: re: 1161 Restricted Document − Level 1 filed by
                         attorney Warren R. Williamson. The format for the attorneys signature block
                         is not correct. DO NOT REFILE THE DOCUMENT. Action to take −
                         future documents must be filed pursuant to D.C.COLO.LCr49.1(a) and 4.3(d)
                         of the Electronic Case Filing Procedures (Criminal Cases). (Text Only Entry)
                         (jhawk, ) (Entered: 11/09/2016)
    11/14/2016   1167    UNRESTRICTED DOCUMENT − Level 1−Response to Motion to Dismiss
                         Count 5 1112 by USA as to Bakhtiyor Jumaev (Tonini, David) Modified on
                         11/15/2016 to add text pursuant to JLK instructions (jhawk, ). Modified on
                         12/8/2016 to unrestrict pursuant to the Order of 12/08/16 (jhawk, ). (Entered:
                         11/14/2016)
    11/14/2016   1168    UNRESTRICTED DOCUMENT − Level 1−Response Motion to Dismiss
                         Count 5 of the Indictment 1115 by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev (Tonini, David) Modified on 11/15/2016 to add text pursuant to JLK
                         instructions (jhawk, ). Modified on 12/8/2016 to unrestrict pursuant to the

                                                                                                            69
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 70 of 183




                         Order of 12/08/16(jhawk, ). (Entered: 11/14/2016)
    11/16/2016   1169    MOTION to Unrestrict Document 1167 Restricted Document − Level 1 filed
                         by USA, 1168 Restricted Document − Level 1 filed by USA by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. (Tonini, David) (Entered:
                         11/16/2016)
    11/18/2016   1170    MOTION for Order Pursuant to Rule 16(d) for Confidential Human Source
                         Protections by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Proposed Order (PDF Only))(Holloway,
                         Gregory) (Entered: 11/18/2016)
    11/18/2016   1171    NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the
                         United States Pursuant to the Classified Information Procedures Act by USA
                         as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         11/18/2016)
    11/25/2016   1172    REPLY TO RESPONSE to Motion by Bakhtiyor Jumaev re 1112 MOTION
                         to Dismiss Counts Five (Baker, Mitchell) (Entered: 11/25/2016)
    11/28/2016   1173    Unopposed MOTION for Leave to File Appendix to Doc. 1172 by Bakhtiyor
                         Jumaev. (Baker, Mitchell) (Entered: 11/28/2016)
    11/28/2016   1174    ORDER granting 1173 Motion for Leave to File an Appendix to Doc. 1172
                         as to Bakhtiyor Jumaev (2). The defendant may file an appendix to Doc.
                         1172. Ordered by Judge John L. Kane on 11/28/2016. Text Only Entry
                         (jlksec) (Entered: 11/28/2016)
    11/28/2016   1175    APPENDIX by Bakhtiyor Jumaev re 1172 Reply to Response filed by
                         Bakhtiyor Jumaev (Attachments: # 1 Continuation of Main Document, # 2
                         Continuation of Main Document)(Baker, Mitchell) (Entered: 11/28/2016)
    11/28/2016   1176    MOTION for Order MOTION FOR DISCOVERY AND ENLARGEMENT OF
                         TIME FOR GOVERNMENT EXPERT WITNESS RESPONSES AND
                         REBUTTAL by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway,
                         Gregory) (Entered: 11/28/2016)
    11/30/2016   1178    MINUTE ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). Given
                         the pendency of the government's Motion for Discovery and Enlargement of
                         Time for Government Expert Witness Responses and Rebuttal 1176 , the
                         December 1, 2016, deadline for Government rebuttal experts disclosure is
                         tolled until further order of the court. The December 7, 2016, deadline for the
                         Government's response to pending motions to suppress remains in effect.
                         Entered by Judge John L. Kane on 11/30/16. Text Only Entry (jhawk, )
                         (Entered: 11/30/2016)
    12/02/2016   1180    RESPONSE to Motion by Bakhtiyor Jumaev as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev re 1170 MOTION for Order Pursuant to Rule 16(d) for
                         Confidential Human Source Protections (Baker, Mitchell) (Entered:
                         12/02/2016)
    12/07/2016   1181    RESTRICTED DOCUMENT − Level 1: Response in Opposition 1176
                         Motion for Discovery and Enlargement of Time by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(Savitz, David)(Modified on 12/7/2016 added text
                         to reflect the title of the document filed)(evana, ). (Entered: 12/07/2016)

                                                                                                           70
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 71 of 183




    12/07/2016   1182    RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1151 MOTION to
                         Suppress Defendant Jumaev's Motion to Suppress Evidence Derived from
                         Execution of Illegal Extra−Territorial Warrants (Tonini, David) (Entered:
                         12/07/2016)
    12/07/2016   1183    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 12/07/2016)
    12/07/2016   1184    RESTRICTED DOCUMENT − Level 1: Response to 1152 Motion by USA
                         as to Bakhtiyor Jumaev (Holloway, Gregory) (Modified on 12/7/2016 edited
                         to add title of document)(evana, ). (Entered: 12/07/2016)
    12/07/2016   1186    RESPONSE by USA as to Bakhtiyor Jumaev re: 1154 Restricted Document
                         − Level 1 filed by Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit,
                         # 3 Exhibit, # 4 Exhibit)(Tonini, David) (Entered: 12/07/2016)
    12/07/2016   1187    ORDER This matter is currently before me on the Government's Motion to
                         Restrict Document 1184 Doc. 1183 . Having reviewed the motion and the
                         relevant pleadings and finding good cause appearing, the motion is
                         GRANTED. Access to Docket No. 1184 shall be limited to the parties and
                         the court pursuant to D.C.COLO.LCrR 47.1(A), by Judge John L. Kane on
                         12/7/2016. (evana, ) (Entered: 12/07/2016)
    12/07/2016   1189    MOTION for Leave to Restrict by USA as to Bakhtiyor Jumaev. (Tonini,
                         David) (Entered: 12/07/2016)
    12/07/2016   1191    RESTRICTED DOCUMENT − Level 1: Conventionally Submitted Material:
                         2 CDs− Exhibit 1 to 1186 Response filed by USA as to Bakhtiyor Jumaev.
                         Text Only Entry. (jhawk, ) (Entered: 12/08/2016)
    12/08/2016   1192    ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). This matter is
                         currently before me on the Government's Motion to Unrestrict Documents
                         1167 and 1168 (Doc. 1169 ); Government's Unopposed Motion to Restrict
                         Document 1185−01 (Doc. 1188 ); Government's Motion to Restrict
                         Document Nos. 1186−01 and 1186−02 (Doc. 1189 ). Having reviewed the
                         motions and the relevant pleadings and finding good cause appearing, the
                         motions are GRANTED. Access to Docket Nos. 1185−01, a CD, and
                         1186−01 and 1186−02, two CDs, shall be limited to the parties and the court
                         pursuant to D.C.COLO.LCrR 47.1(A). The clerk is instructed to unrestrict
                         Document Nos. 1167 and 1168 . by Judge John L. Kane on 12/08/16. (jhawk,
                         ) (Entered: 12/08/2016)
    12/08/2016   1193    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1118
                         Restricted Document − Level 1 filed by Jamshid Muhtorov. A Status
                         Conference is set for Tuesday, December 20, 2016, at 10:00 AM in
                         Courtroom A802 before Judge John L. Kane. The presence of the defendants
                         is not necessary and no interpreter will be present. Ordered by Judge John L.
                         Kane on 12/8/2016. Text Only Entry (jlksec) (Entered: 12/08/2016)
    12/13/2016   1194    ORDER on Motion Pursuant to Rule 16(d) for Confidential Human Source
                         Protections as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2) re: 1170 .
                         Signed by Judge John L. Kane on 12/13/16. (jhawk, ) (Entered: 12/13/2016)
    12/13/2016   1195    MOTION for Order by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Tonini, David) (Entered: 12/13/2016)

                                                                                                         71
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 72 of 183




    12/13/2016   1196    PROTECTIVE ORDER re: 1171 as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. Signed by Judge John L. Kane on 12/13/16. (jhawk, ) (Entered:
                         12/14/2016)
    12/14/2016   1197    MINUTE ORDER. In order to maximize the time available for the December
                         20, 2016 Status Conference, counsel are to CONFER and PREPARE a
                         jointly proposed Notice of Agenda Items to be addressed at that time flowing
                         from the court's 11/29/16 Order 1177 Granting Defendant Muhtorov's Motion
                         1118 to Sever. The Status Conference is currently scheduled for two hours
                         (from 10:00 a.m. to noon), but could re−convene after lunch if necessary.
                         The Notice should be filed no later than noon on Monday, December 19,
                         2016. Entered by Judge John L. Kane on 12/14/16. Text Only Entry (jhawk, )
                         (Entered: 12/14/2016)
    12/14/2016   1198    MINUTE ORDER. Government's Motion 1195 to Hold Deadlines in
                         Abeyance until ten days after an order setting the trial schedule after
                         severance is GRANTED. The operative scheduling order's December 15 and
                         16 deadlines for disclosure of information on confidential human source,
                         Giglio, Jencks, FRE 404(b), expert challenges, and FRE 801(d)(2)(E)
                         disclosures shall be TOLLED until 10 days after the entry of an order
                         finalizing the post−severance trial schedule or other order of the court. It is
                         the court's intention to finalize that trial schedule at the December 20, 2016
                         status conference 1193 , so these extended deadlines should be expected to
                         run on or shortly after December 30, 2016. Under no circumstances will the
                         extensions affect the January 9−13 hearing dates on the pending Motions to
                         Suppress, which remain firm. Entered by Judge John L. Kane on 12/14/16.
                         Text Only Entry (jhawk, ) (Entered: 12/15/2016)
    12/16/2016   1200    RESTRICTED DOCUMENT − Level 1−Reply in Support of Defendant
                         Jumaev's MOTION 1152 and to the Government's Response 1184 by
                         Bakhtiyor Jumaev. (Savitz, David) Modified on 12/16/2016 to add text
                         pursuant to JLK instructions (jhawk, ). (Entered: 12/16/2016)
    12/16/2016   1201    RESTRICTED DOCUMENT − Level 1−Reply in Support of Defendant
                         Jumaev's Motion 1154 and to the Government's Response 1186 by Bakhtiyor
                         Jumaev. (Savitz, David) Modified on 12/16/2016 to add text pursuant to JLK
                         Chambers instructions (jhawk, ). (Entered: 12/16/2016)
    12/16/2016   1202    RESTRICTED DOCUMENT − Level 1−Reply in Support of Defendant
                         Jumaev's Motion 1151 and to the Governments Response 1185 by Bakhtiyor
                         Jumaev. (Savitz, David) Modified on 12/16/2016 to add text pursuant to JLK
                         Chambers instructions (jhawk, ). (Entered: 12/16/2016)
    12/20/2016   1204    COURTROOM MINUTES for Status Conference as to Jamshid Muhtorov
                         and Bakhtiyor Jumaev held before Judge John L. Kane on 12/20/2016. Court
                         will adhere to its ruling, keep the severance, and try Mr. Jumaev first. Portion
                         of the transcript in camera shall be placed under Level 3 restriction. A seven
                         week jury trial regarding Mr. Jumaev is set for March 13, 2017 at 9:00 a.m.
                         A seven week jury trial regarding Mr. Muhtorov is set for July 31, 2017 at
                         9:00 a.m. Court Reporter: Terri Lindblom. (ebuch) (Entered: 12/20/2016)
    12/22/2016   1206    MOTION to Strike Government's Case−In−Chief Expert Disclosure (Doc.
                         1104 ) and To Exclude Expert Testimony by Bakhtiyor Jumaev. (Savitz,
                         David) Modified on 12/23/2016 to correct text (jhawk, ). (Entered:

                                                                                                            72
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 73 of 183




                         12/22/2016)
    12/22/2016   1207    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Tonini, David) (Entered: 12/22/2016)
    12/22/2016   1208    RESTRICTED DOCUMENT − Level 3: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Tonini, David) (Entered: 12/22/2016)
    12/22/2016   1209    RESTRICTED DOCUMENT − Level 3−Motion for Protective Order by
                         USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Tonini, David) Modified
                         on 12/23/2016 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                         12/22/2016)
    12/23/2016   1210    ORDER as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2) granting 1207
                         Motion for Leave to Restrict Access to Docket Nos. 1208 and 1209 shall be
                         limited to the parties and the court pursuant to D.C.COLO.LCrR 47.1( A).
                         Signed by Judge John L. Kane on 12/23/16. (jhawk, ) (Entered: 12/23/2016)
    12/23/2016   1211    MOTION in Limine to Exclude Improper Evidence and Argument in Support
                         of Jury Nullification by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Holloway, Gregory) (Entered: 12/23/2016)
    12/23/2016   1212    MOTION to Exclude the Testimony of Leo and Obolsky by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. (Holloway, Gregory) (Entered:
                         12/23/2016)
    12/23/2016   1214    MINUTE ORDER clarifying Order (Doc. 1210 ), restricting access to Docs.
                         1208 and 1209 . Given that the restriction level granted was Restriction Level
                         3, access to Docket Nos. 1208 and 1209 is limited to the filer (in this case the
                         government) and the court under D.C.COLO. LCr.R. 47.2(A) only, not the
                         "parties" and the court. Entered by Judge John L. Kane on 12/23/16. Text
                         Only Entry (jhawk, ) (Entered: 12/23/2016)
    12/30/2016   1216    NOTICE Government's Rebuttal Expert Disclosures by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                         Exhibit, # 4 Exhibit)(Holloway, Gregory) (Entered: 12/30/2016)
    12/30/2016   1217    RESTRICTED DOCUMENT − Level 1−Motion to Strike Government's
                         Proffer in Support of Co−Conspirator Statements 1143 by Bakhtiyor Jumaev.
                         (Attachments: # 1 Continuation of Main Document, # 2 Appendix, # 3
                         Appendix, # 4 Appendix, # 5 Appendix, # 6 Appendix, # 7 Appendix)(Baker,
                         Mitchell) Modified on 1/3/2017 to add text pursuant to JLK instructions
                         (jhawk, ). (Entered: 12/30/2016)
    01/04/2017   1218    WITNESS LIST For January 9, 2017 Hearing by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David)
                         (Entered: 01/04/2017)
    01/04/2017   1219    EXHIBIT LIST For January 9, 2017 Hearing by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David)
                         (Entered: 01/04/2017)
    01/05/2017   1220    WITNESS LIST by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                         01/05/2017)
    01/05/2017   1221

                                                                                                            73
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 74 of 183




                         RESPONSE to Motion by Bakhtiyor Jumaev re 1212 MOTION to Exclude
                         the Testimony of Leo and Obolsky Response to Government's Motion to
                         Exclude the Testimony of Drs. Leo and Obolsky (Doc. 1212) (Savitz, David)
                         (Entered: 01/05/2017)
    01/05/2017   1222    EXHIBIT LIST by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                         01/05/2017)
    01/06/2017   1223    MINUTE ENTRY for In Camera, Ex Parte proceedings held before Judge
                         John L. Kane with the United States Government on 1/6/2017, pursuant to
                         Classified Rule 16(d) Motion 1209 . Court Reporter: Terri Lindblom. (babia)
                         Text Only Entry Modified on 1/6/2017 (babia). (Entered: 01/06/2017)
    01/08/2017   1224    RESPONSE in Opposition by Bakhtiyor Jumaev re 1212 MOTION to
                         Exclude the Testimony of Leo and Obolsky Supplemental Authority in
                         Support of Response to Government's Motion to Exclude the Testimony of
                         Drs. Leo and Obolsky (Savitz, David) (Entered: 01/08/2017)
    01/09/2017   1225    MOTION to Strike Exhibits by USA as to Bakhtiyor Jumaev. (Attachments:
                         # 1 Exhibit)(Tonini, David) (Entered: 01/09/2017)
    01/09/2017   1226    EXHIBIT LIST Amended by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                         01/09/2017)
    01/09/2017   1227    MINUTE ENTRY for proceedings held before Judge John L. Kane. Motion
                         Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held on 1/9/2017.
                         Interpreters: Irina Kamensky, Hasmik Jorgensen, Sanjar Babadjanov and
                         Nodira Matyakubova are sworn. ORDER denying 1225 Motion to Strike as
                         to Bakhtiyor Jumaev (2).Defendants are remanded. Court Reporter: Terri
                         Lindblom. (kpreu) (Entered: 01/10/2017)
    01/09/2017   1229    Utility Setting/Resetting Deadlines/Hearings as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev: Suppression Hearing terminated as being held starting on
                         01/09/17. Text Only Entry (jhawk, ) (Entered: 01/12/2017)
    01/10/2017   1228    MINUTE ENTRY for Suppression Hearing − Day 2 proceedings held before
                         Judge John L. Kane on 1/10/2017 as to Jamshid Muhtorov (1), and,
                         Bakhtiyor Jumaev (2). Defendants present in custody. Defendants
                         REMANDED. Court Reporter: Terri Lindblom. Interpreter: Hasmik
                         Jorgensen, Irina Kamensky, Nodira Matyakubova, and Sanjar Babadjanov.
                         (babia) (Entered: 01/11/2017)
    01/11/2017   1230    MINUTE ENTRY for Suppression Hearing − Day 3 proceedings held before
                         Judge John L. Kane on 1/11/2017 as to Jamshid Muhtorov (1), and Bakhtiyor
                         Jumaev (2). Defendants present in custody. Defendants REMANDED. Court
                         Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky,
                         Nodira Matyakubova, and Sanjar Babadjanov. (babia) (Entered: 01/12/2017)
    01/12/2017   1231    MINUTE ENTRY for Suppression Hearing − Day 4 proceedings held before
                         Judge John L. Kane on 1/12/2017 as to Jamshid Muhtorov (1), and Bakhtiyor
                         Jumaev (2). Defendants present in custody. Defendants REMANDED. Court
                         Reporter: Terri Lindblom. Interpreter: Irina Kamensky, Hasmik Jorgensen,
                         Sanjar Babadjanov, and Nodira Matyakubova. (babia) (Entered: 01/13/2017)
    01/13/2017   1233    MINUTE ENTRY for Suppression Hearing − Day 5 proceedings held before
                         Judge John L. Kane on 1/13/2017 as to Jamshid Muhtorov (1), and Bakhtiyor
                                                                                                       74
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 75 of 183




                         Jumaev (2). Defendants present in custody. Defendants REMANDED. Court
                         Reporter: Tamara Hoffschildt. Interpreter: Hasmik Jorgensen, Irina
                         Kamensky, Nodira Matyakubova, and Sanjar Babadjanov. (babia) (Entered:
                         01/17/2017)
    01/17/2017   1232    Order Setting Agenda Items for consideration January 17, 2017. Signed by
                         Judge John L. Kane on 01/17/17. (jhawk, ) (Entered: 01/17/2017)
    01/17/2017   1234    MINUTE ENTRY for Suppression Hearing − Day 6 proceedings held before
                         Judge John L. Kane on 1/17/2017 as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. Defendants present in custody. Taking under advisement 1151
                         Motion to Suppress as to Bakhtiyor Jumaev (2); Taking under advisement
                         1154 Motion as to Bakhtiyor Jumaev (2); Taking under advisement 1156
                         Motion to Suppress as to Bakhtiyor Jumaev (2). Defendants REMANDED.
                         Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen and Irina
                         Kamensky. (babia) (Entered: 01/18/2017)
    01/19/2017   1235    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev directing
                         counsel to call in to set oral argument on Defendants' Motions [1112 and
                         1115] to Dismiss Count 5 of the Indictment. Representatives for each party
                         shall confer and call in to set a time for oral argument on either January 27,
                         30, or 31st − 303−844−6118. The time chosen may be set to run concurrently
                         with the weekly status conference. by Judge John L. Kane on 1/19/2017. Text
                         Only Entry (jlksec, ) (Entered: 01/19/2017)
    01/19/2017   1236    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1115
                         MOTION to Dismiss Count 5 of the Indictment filed by Jamshid Muhtorov,
                         1112 MOTION to Dismiss Counts Five filed by Bakhtiyor Jumaev. A
                         motions and status conference is set for January 31, 2017, at 11:00 AM in
                         Courtroom A802 before Judge John L. Kane. The defendants' presence is not
                         necessary and no interpreter will be in court. Ordered by Judge John L. Kane
                         on 1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/19/2017   1237    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for Wednesday, January 25, 2017, at 11:00 AM in
                         Courtroom A802 before Judge John L. Kane. The defendants' presence is not
                         necessary and no interpreter will be present. Ordered by Judge John L. Kane
                         on 1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/19/2017   1238    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for Wednesday, February 8, 2017, at 11:00 AM in
                         Courtroom A802 before Judge John L. Kane. The defendants' presence is not
                         necessary and no interpreter will be present. Ordered by Judge John L. Kane
                         on 1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/19/2017   1239    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for Wednesday, February 15, 2017, at 11:00 AM in
                         Courtroom A802 before Judge John L. Kane. The defendants' presence is not
                         necessary and no interpreter will be present. Ordered by Judge John L. Kane
                         on 1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/19/2017   1240    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for Wednesday, February 22, 2017, at 11:00 AM in
                         Courtroom A802 before Judge John L. Kane. The defendants' presence is not
                         necessary and no interpreter will be present. ORdered by Judge John L. Kane
                                                                                                          75
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 76 of 183




                         on 1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/19/2017   1241    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for Wednesday, March 1, 2017, at 11:00 AM in Courtroom
                         A802 before Judge John L. Kane. The defendants' presence is not necessary
                         and no interpreter will be present. Ordered by Judge John L. Kane on
                         1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/19/2017   1242    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for Wednesday, March 8, 2017, at 11:00 AM in Courtroom
                         A802 before Judge John L. Kane. The defendants' presence is not necessary
                         and no interpreter will be present. Ordered by Judge John L. Kane on
                         1/19/2017. Text Only Entry (jlksec) (Entered: 01/19/2017)
    01/25/2017   1243    NOTICE of "At−Issue" Motions by Bakhtiyor Jumaev (Savitz, David)
                         (Entered: 01/25/2017)
    01/25/2017   1244    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 1/25/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev
                         (2). Court Reporter: Terri Lindblom. (babia) (Entered: 01/25/2017)
    01/25/2017   1245    RESTRICTED DOCUMENT − Level 1−Notice of Intent to Use Evidence by
                         USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1
                         Exhibit)(Tonini, David) Modified on 1/26/2017 to add text (jhawk, ).
                         (Entered: 01/25/2017)
    01/25/2017   1246    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Tonini, David) (Entered: 01/25/2017)
    01/26/2017   1247    ORDER granting 1246 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). Access to Docket No. 1245 shall be limited to the
                         parties and the court pursuant to D.C.COLO.LCrR 47.1(A). Signed by Judge
                         John L. Kane on 01/26/17. (jhawk, ) (Entered: 01/26/2017)
    01/31/2017   1248    Unopposed MOTION to Modify 1194 Order on Motion for Order by
                         Bakhtiyor Jumaev. (Baker, Mitchell) (Entered: 01/31/2017)
    01/31/2017   1249    MINUTE ORDER GRANTING Unopposed Motion 1248 to Modify Order
                         on Government's 16(d) Motion 1194 . With the government's consent,
                         provisions (5) and (9) of Doc. 1194 are modified/clarified to permit Jumaev
                         defense team members Austin, Boehme, and Thompson the same level of
                         access to information an concomitant responsibilities as to secrecy pertaining
                         to the CHS as defense counsel and the defense investigator. Entered by Judge
                         John L. Kane on 01/31/17. Text Only Entry (jhawk, ) (Entered: 02/01/2017)
    01/31/2017   1251    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 2/1/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                         Defendants NOT PRESENT. Taking under advisement 1115 Motion to
                         Dismiss as to Jamshid Muhtorov (1). Taking under advisement 1112 Motion
                         to Dismiss Counts as to Bakhtiyor Jumaev (2). Appearance of attorney Jacob
                         R. Rasch−Chabot entered for Jamshid Muhtorov. Motion Hearing set for
                         2/8/2017 01:30 PM in Courtroom A 802 before Judge John L. Kane. Court
                         Reporter: Terri Lindblom. (babia) Modified on 2/1/2017 to edit date
                         filed(babia). (Entered: 02/01/2017)
    02/01/2017   1250
                                                                                                          76
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 77 of 183




                         NOTICE of Change of Address/Contact Information for AUSA Gregory
                         Holloway and AUSA David Tonini (Holloway, Gregory) (Entered:
                         02/01/2017)
    02/06/2017   1252    MINUTE ORDER re Doc. 1217 , Joint Motion to Strike the Government's
                         James Proffer and Log or, in the Alternative, Joint Objections to the
                         Government's Proffer and Request for Hearing. Defendants' Motion to Strike
                         is DENIED, but the alternative Motion for a James hearing is GRANTED.
                         Counsel are directed to CONFER and call in jointly to chambers to set the
                         date and time for the hearing. In preparation for the hearing, to be submitted
                         at least 48 hours before hand, counsel for the government and each defendant
                         SHALL SUBMIT proposed JURY INSTRUCTIONS for each of the
                         conspiracy claims in the operative Indictment. Entered by Judge John L.
                         Kane on 02/06/17. Text Only Entry (jhawk, ) (Entered: 02/06/2017)
    02/06/2017   1253    RESTRICTED DOCUMENT − Level 3− by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Baker,
                         Mitchell) (Entered: 02/06/2017)
    02/06/2017   1254    NOTICE of Mr. Jumaev's Filing of re 1253 Restricted Document − Level 3
                         by Bakhtiyor Jumaev (Baker, Mitchell) (Entered: 02/06/2017)
    02/06/2017   1255    TRANSCRIPT of Suppression Hearing as to Bakhtiyor Jumaev held on
                         January 13, 2017 before Judge Kane. Pages: 657−827.

                          NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.

                         (thoff, ) Modified to restrict on 4/17/2018 (cthom, ). (Entered: 02/06/2017)
    02/08/2017   1256    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 2/8/2017 as to Jamshid Muhtorov(1), and Bakhtiyor Jumaev (2).
                         Defendants not present, in custody. Daubert Hearing set for 3/8/2017 01:30
                         PM in Courtroom A 802 before Judge John L. Kane. DEFENDANTS
                         SHALL BE PRESENT. Court Reporter: Terri Lindblom. (babia) Modified on
                         2/9/2017 to correct hearing date (babia). (Entered: 02/08/2017)
    02/08/2017   1257    AMENDED MINUTE ENTRY for Status Conference proceedings held
                         before Judge John L. Kane on 2/8/2017 as to Jamshid Muhtorov (1), and
                         Bakhtiyor Jumaev(2). Amended re 1256 . Court Reporter: Terri Lindblom.
                         (babia) (Entered: 02/08/2017)
    02/08/2017   1258    MINUTE ENTRY for Motion Hearing proceedings held before Judge John
                         L. Kane on 2/8/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                         Defendants not present, in custody. James Hearing set for 2/22/2017 01:00
                         PM in Courtroom A 802 before Judge John L. Kane − Defendants Jamshid
                         Muhtorov (1) and Bakhtiyor Jumaev (2), and interpreters shall be present.
                         Today's Motion Hearing is set to continue on 2/10/2017 at 11:00 AM − Ms.
                         Korczynski (Government counsel) may appear via telephone. Court Reporter:

                                                                                                          77
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 78 of 183




                         Terri Lindblom. (babia) (Entered: 02/09/2017)
    02/10/2017   1259    MINUTE ORDER modifying start time for the James Hearing on
                         Wednesday, February 22, 2017, and the Daubert Hearing on Wednesday,
                         March 8, 2017. ORDERED that the hearings will begin at 9:30 a.m. rather
                         than the original time of 1:00 p.m. and 1:30 p.m. in Courtroom A−802,
                         Alfred A. Arraj United Stated District Courthouse, 901 19th St., Denver
                         Colorado. Entered Text Only Entry (jhawk, ) (Entered: 02/10/2017)
    02/10/2017   1260    RESTRICTED DOCUMENT − Level 3−Minute Order by Court for
                         Government and Court Only (jhawk, ) (Entered: 02/10/2017)
    02/10/2017   1261    MINUTE ENTRY for Motion Hearing proceedings held before Judge John
                         L. Kane on 2/10/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev
                         (2). Defendants not present, in custody. Court Reporter: Terri Lindblom.
                         (babia) (Entered: 02/10/2017)
    02/10/2017   1285    Utility Setting/Resetting Deadlines/Hearings as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev: Daubert Hearing set for 3/8/2017 09:30 AM before Judge
                         John L. Kane. Pursuant to document 1259 . Defendants' presence is required.
                         Text Only Entry (jhawk, ) (Entered: 02/27/2017)
    02/14/2017   1262    MINUTE ORDER. Agenda items for this week's status conference set for
                         11:00 a.m. tomorrow, February 15, 2017, include: (1) status of discovery
                         requests/orders issued 2/8 and 2/10 during proceedings on Defendants' Joint
                         Motion for Discovery (Doc. 1126); (2) status/needs regarding of USA's
                         Motion 1176 re Expert Witness Responses and Rebuttal; and (3) schedule for
                         jury selection/juror questionnaires. Counsel are advised Judge Kane is
                         considering a 1:00 p.m. report time for prospective jurors on March 13 to
                         accommodate other trials set on that date. In that event, jurors would
                         complete their questionnaires Monday afternoon, and completed
                         questionnaires would be available for counsel to review later that afternoon
                         and overnight. If 20−30 jurors were cleared by Monday afternoon, notice
                         could go out that evening and voir dire could begin Tuesday. Otherwise, it
                         would commence on Wednesday. Judge Kane would like jurors brought up in
                         small groups of 15−20 for voir dire. ORDERED as to Jamshid Muhtorov and
                         Bakhtiyor Jumaev by Judge John L. Kane on 02/14/2017. Text Only Entry.
                         (cthom, ) (Entered: 02/14/2017)
    02/14/2017   1263    MOTION for Reconsideration OR TO MODIFY ORDER REQUIRING
                         DISCLOSURE OF DEFENSE WITNESSES AND EXHIBITS by Bakhtiyor
                         Jumaev. (Baker, Mitchell) (Entered: 02/14/2017)
    02/15/2017   1264    RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1263 MOTION
                         for Reconsideration OR TO MODIFY ORDER REQUIRING DISCLOSURE
                         OF DEFENSE WITNESSES AND EXHIBITS (Tonini, David) (Entered:
                         02/15/2017)
    02/15/2017   1265    RESTRICTED TRANSCRIPT of proceedings held on 2/8/2017 before Judge
                         Kane. Pages: 1−125. (tlind, ) (Entered: 02/15/2017)
    02/15/2017   1266    RESTRICTED TRANSCRIPT of proceedings held on 2/10/2017 before
                         Judge Kane. Pages: 126−189. (tlind, ) (Entered: 02/15/2017)
    02/15/2017   1267

                                                                                                        78
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 79 of 183




                         MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 2/15/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev
                         (2). Finding as Moot 1176 Motion for Order as to Jamshid Muhtorov (1);
                         Granting 1263 Motion for Reconsideration as to Bakhtiyor Jumaev (2).
                         ORDERED: The Government shall produce the Grand Jury transcripts, as
                         specified, as soon as practicable. Court Reporter: Tamara Hoffschildt. (babia)
                         (Entered: 02/15/2017)
    02/16/2017   1268    MINUTE ORDER re Jury Instructions. A set of Judge Kane's most recent
                         criminal case jury instructions is available on the court's website following
                         the art. III Senior Judges, Judge Kane, and Sample Jury Instructions links. In
                         anticipation of the James hearing on next week, Judge Kane is also drafting
                         his own versions of elements of the offense instructions, specifically
                         including the instruction(s) for Count 5. The Count 5 elements instruction
                         will follow the 1, 2, 3 format discussed in U.S. v. Stewart, 590 F.3d 93,
                         114−116 (2d Cir. 2009)(proof of underlying conspiracy first, then material
                         support, then applicable mens rea), and include reference to First Amendment
                         defenses/distinctions. ORDERED by Judge John L. Kane on 02/16/2017.
                         Text Only Entry. (cthom, ) (Entered: 02/16/2017)
    02/16/2017   1269    MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings
                         held before Judge John L. Kane with the United States Government on
                         2/16/2017. Court Reporter: Terri Lindblom. (babia) Text Only Entry
                         (Entered: 02/16/2017)
    02/17/2017   1270    (RESTRICTED DOCUMENT − Level 1) Gov Trial Witness List, first draft
                         by USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway,
                         Gregory) Modified to add title on 2/23/2017 (cthom, ). (Entered: 02/17/2017)
    02/17/2017   1271    (RESTRICTED DOCUMENT − Level 1) Gov Trial Exhibit List, first draft
                         by USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway,
                         Gregory) Modified to add title on 2/23/2017 (cthom, ). (Entered: 02/17/2017)
    02/17/2017   1272    (RESTRICTED DOCUMENT − Level 1) Gov submission of Grand Jury
                         transcripts by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                         Exhibit)(Holloway, Gregory) Modified to add title on 2/23/2017 (cthom, ).
                         (Entered: 02/17/2017)
    02/17/2017   1273    NOTICE First NOTICE OF INTENT TO OFFER CERTIFIED DOMESTIC
                         RECORDS OF REGULARLY CONDUCTED BUSINESS ACTIVITY by USA
                         as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1
                         Exhibit)(Tonini, David) (Entered: 02/17/2017)
    02/21/2017   1274    Proposed Jury Instructions Conspiracy Jury Instructions by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Tonini, David) (Entered: 02/21/2017)
    02/21/2017   1275    (RESTRICTED DOCUMENT − Level 1) MINUTE ORDER Regarding Jury
                         Instruction for Count 5. ORDERED as to Jamshid Muhtorov and Bakhtiyor
                         Jumaev by Judge John L. Kane on 02/21/2017. (cthom, ) (Entered:
                         02/21/2017)
    02/21/2017   1276    MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings
                         held before Judge John L. Kane with the United Stated Government on
                         2/21/2017. Court Reporter: Terri Lindblom. (babia) Text Only Entry

                                                                                                          79
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 80 of 183




                         (Entered: 02/21/2017)
    02/22/2017   1279    MINUTE ENTRY for James Hearing proceedings held before Judge John L.
                         Kane on 2/22/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                         Defendants present, in custody. The James Hearing is continued and set for
                         2/24/2017 08:00 AM in Courtroom A 802 before Judge John L. Kane.
                         Defendants are REMANDED. Court Reporter: Tamara Hoffschildt.
                         Interpreter: Nodira Isamiddinova, and Bakhodir Abdullaev. (babia) (Entered:
                         02/23/2017)
    02/23/2017   1277    (RESTRICTED DOCUMENT − Level 1) ORDER re Counts 5 and 6 of the
                         Third Superseding Indictment In Light of the Government's Proffer and the
                         Evidence Adduced During Day 1 of this Court's February 22, 2017 James
                         Hearing as to Jamshid Muhtorov and Bakhtiyor Jumaev. ORDERED by
                         Judge John L. Kane on 02/23/2017. (cthom, ) (Entered: 02/23/2017)
    02/23/2017   1278    (RESTRICTED DOCUMENT − Level 1) AMENDED 1277 ORDER re
                         Counts 5 and 6 of the Third Superseding Indictment In Light of the
                         Government's Proffer and the Evidence Adduced During Day 1 of this
                         Court's February 22, 2017 James Hearing as to Jamshid Muhtorov and
                         Bakhtiyor Jumaev. ORDERED by Judge John L. Kane on 02/23/2017.
                         (cthom, ) (Entered: 02/23/2017)
    02/24/2017   1280    RESTRICTED DOCUMENT − Level 1−Letter to Counsel by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on
                         2/27/2017 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                         02/24/2017)
    02/24/2017   1281    MINUTE ENTRY for James Hearing − Day 2 proceedings held before Judge
                         John L. Kane on 2/24/2017 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev
                         (2). Defendants present, in custody. A further James Hearing set for
                         2/27/2017 08:30 AM in Courtroom A 802 before Judge John L. Kane.
                         Defendants REMANDED. Court Reporter: Tamara Hoffschildt. Interpreter:
                         Nodira Isamiddinova and Bakhodir Abdullaev. (babia) (Entered: 02/24/2017)
    02/27/2017   1282    RESTRICTED DOCUMENT − Level 1−Minute Order by the Court. (jhawk,
                         ) (Entered: 02/27/2017)
    02/27/2017   1283    RESTRICTED DOCUMENT − Level 1−Letter to Counsel by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified on
                         2/27/2017 to add text pursuant to JLK instructions (jhawk, ). (Entered:
                         02/27/2017)
    02/27/2017   1284    RESTRICTED DOCUMENT − Level 1−Letter to Counsel. Not to be shared
                         with defendants. Filed by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         (Holloway, Gregory) Modified on 2/27/2017 to add text pursuant to JLK
                         instructions (jhawk, ). (Entered: 02/27/2017)
    02/27/2017   1286    RESTRICTED DOCUMENT − Level 1: by Jamshid Muhtorov (1),
                         Bakhtiyor Jumaev (2). (babia) (Entered: 02/27/2017)
    02/27/2017   1287    MINUTE ENTRY for James Hearing proceedings held before Judge John L.
                         Kane on 2/27/2017 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2).
                         Defendants present, in custody. Pursuant to 1286 . Defendants REMANDED.
                         Court Reporter: Tamara Hoffschildt. Interpreter: Nodira Isamiddinova and

                                                                                                       80
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 81 of 183




                         Bakhodir Abdullaev. (babia) Text Only Entry (Entered: 02/27/2017)
    02/27/2017   1288    RESTRICTED DOCUMENT − Level 3−Minute Order by Court for
                         Government Counsel and Court Only (jhawk, ) (Entered: 02/28/2017)
    02/28/2017   1289    MINUTE ORDER re Agenda Items for 03/01/17 Status Conference as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. Entered by Judge John L. Kane on
                         02/28/17. (jhawk, ) (Entered: 02/28/2017)
    02/28/2017   1290    NOTICE Government's Submission Regarding Multiplcity by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         02/28/2017)
    02/28/2017   1291    MOTION for Order Tolling of Speedy Trial Pursuant to 18 U.S.C. Section
                         3161(h)(7)(B)(ii) by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         (Holloway, Gregory) (Entered: 02/28/2017)
    02/28/2017   1292    RESTRICTED DOCUMENT − Level 1: Motion to Dismiss and Failure to
                         Disclose Brady Materials by Bakhtiyor Jumaev. (Attachments: # 1
                         Exhibit)(Baker, Mitchell) Modified on 3/10/2017 to add text pursuant to JLK
                         instructions (jhawk, ). (Entered: 02/28/2017)
    03/01/2017   1293    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 3/1/2017 as to Jamshid Muhtorov (1),and Bakhtiyor Jumaev (2).
                         Defendants not present, in custody. Finding as moot 1115 Motion to Dismiss
                         as to Jamshid Muhtorov (1); Granting 1291 Motion for Order as to Jamshid
                         Muhtorov (1), Bakhtiyor Jumaev (2); Finding as moot 1112 Motion to
                         Dismiss Counts as to Bakhtiyor Jumaev (2). ORDERED: The Governments
                         (Unopposed) Oral Motion to Dismiss Counts Five and Six of The Third
                         Superseding Indictment is GRANTED. Only Counts One, Two, Three and
                         Four remain to be tried. Status Conference set for 3/2/2017 10:00 AM in
                         Courtroom A 802 before Judge John L. Kane. Status Conference set for
                         3/6/2017 02:00 PM in Courtroom A 802 before Judge John L. Kane.
                         ORDERED:The Government has to and including Thursday, March 9, 2017
                         to file its response to Doc. No. 1292. If the Defense files a reply, it needs to
                         be done in an expedited manner. Court Reporter: Tamara Hoffschildt. (babia)
                         (Entered: 03/01/2017)
    03/02/2017   1294    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 3/2/2017 as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2).
                         Court Reporter: Terri Lindblom. (babia) (Entered: 03/02/2017)
    03/03/2017   1295    RESTRICTED DOCUMENT − Level 3: Minute Order by Court for
                         Government Counsel and Court Only (jhawk, ) (Entered: 03/03/2017)
    03/06/2017   1296    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 3/6/2017 as to Bakhtiyor Jumaev. Court Reporter: Terri
                         Lindblom. (babia) (Entered: 03/06/2017)
    03/06/2017   1297    RESTRICTED DOCUMENT − Level 3: Order by Court for Government
                         Counsel and Court Only (jhawk, ) (Entered: 03/06/2017)
    03/06/2017   1298    Proposed Verdict Form as to Bakhtiyor Jumaev (Tonini, David) (Entered:
                         03/06/2017)
    03/06/2017   1299

                                                                                                            81
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 82 of 183




                         Proposed Jury Instructions by USA as to Bakhtiyor Jumaev (Tonini, David)
                         (Entered: 03/06/2017)
    03/07/2017   1300    MOTION for Leave to File Expert Endorsements by Bakhtiyor Jumaev.
                         (Baker, Mitchell) (Entered: 03/07/2017)
    03/07/2017   1301    RESTRICTED DOCUMENT − Level 1: Letter to Counsel. Not to be shared
                         with defendants by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Tonini,
                         David) Modified on 3/8/2017 to add text pursuant to JLK instructions
                         (jhawk, ). (Entered: 03/07/2017)
    03/07/2017   1302    RESTRICTED DOCUMENT − Level 3: Government Response to Multiple
                         Court Orders for Government Counsel and Court Only by USA as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David)
                         Modified on 3/8/2017 to add text pursuant to JLK instrucions (jhawk, ).
                         (Entered: 03/07/2017)
    03/08/2017   1303    MINUTE ENTRY for Daubert Hearing proceedings held before Judge John
                         L. Kane on 3/8/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2).
                         Defendants present, in custody. Denying 1199 Motion to Exclude as to
                         Jamshid Muhtorov (1); Denying 1206 Motion to Strike as to Bakhtiyor
                         Jumaev (2). Defendants REMANDED. Court Reporter: Terri Lindblom.
                         Interpreter: Nodira Isamiddinova and Bakhodir Abdullaev. (babia) (Entered:
                         03/09/2017)
    03/08/2017   1304    MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings
                         held before Judge John L. Kane with the United States Government on
                         3/8/2017. Court Reporter: Terri Lindblom. (babia) Text Only Entry (Entered:
                         03/09/2017)
    03/09/2017   1305    NOTICE OF DEFENDANT JUMAEVS EXPERT WITNESS
                         ENDORSEMENT OF MR. ROBERT KELSO by Bakhtiyor Jumaev
                         (Attachments: # 1 Exhibit, # 2 Exhibit)(Baker, Mitchell) (Entered:
                         03/09/2017)
    03/09/2017   1306    RESTRICTED DOCUMENT − Level 1: UNCLASSIFIED ORDER re in
                         camera DISCOVERY REVIEWS UNDER CIPA §4 as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev. (athom, ) (Entered: 03/09/2017)
    03/09/2017   1307    RESTRICTED DOCUMENT − Level 1: Response to Motion to Dismiss and
                         Timely Disclose Brady Material 1292 by USA as to Bakhtiyor Jumaev
                         (Holloway, Gregory) Modified on 3/10/2017 to add text pursuant to JLK
                         instructions (jhawk, ). (Entered: 03/09/2017)
    03/10/2017   1308    ORDER as to Bakhtiyor Jumaev. ORDERED that the clerk shall pay jurors
                         in the above−entitled case the sum of $50.00 per day beginning on each
                         juror's eleventh day of service and continuing thereafter until service has
                         been completed and jurors are released by the court. Signed by Judge John L.
                         Kane on 03/10/17. (jhawk, ) (Entered: 03/10/2017)
    03/10/2017   1309    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Appendix, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                         Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11
                         Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit,
                         # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22

                                                                                                           82
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 83 of 183




                         Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit, # 26 Exhibit, # 27 Exhibit,
                         # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31 Exhibit, # 32 Exhibit, # 33
                         Exhibit, # 34 Exhibit, # 35 Exhibit, # 36 Exhibit, # 37 Exhibit, # 38
                         Exhibit)(Baker, Mitchell) (Entered: 03/10/2017)
    03/10/2017   1310    RESTRICTED DOCUMENT − Level 1: Letter to Counsel. Not to be shared
                         with defendants by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                         (Holloway, Gregory) Modified on 3/13/2017 to add text pursuant to JLK
                         instructions (jhawk, ). (Entered: 03/10/2017)
    03/10/2017   1311    RESTRICTED DOCUMENT − Level 1: Updated Witness List by USA as to
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory) Modified
                         on 3/13/2017 to add text (jhawk, ). (Entered: 03/10/2017)
    03/11/2017   1312    RESTRICTED DOCUMENT − Level 1: Reply to Document 1292 by
                         Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                         Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10
                         Exhibit, # 11 Exhibit, # 12 Exhibit)(Baker, Mitchell) Modified on 3/13/2017
                         to add text (jhawk, ). (Entered: 03/11/2017)
    03/12/2017   1313    RESTRICTED DOCUMENT − Level 1: Government's Corrected Response
                         to 1292 by USA as to Bakhtiyor Jumaev (Holloway, Gregory) Modified on
                         3/13/2017 to add text (jhawk, ). (Entered: 03/12/2017)
    03/12/2017   1314    TRANSCRIPT of Rule 702 Hearing as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 3/8/2017 before Judge Kane. Pages: 1−153. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 03/12/2017)
    03/13/2017   1315    RESTRICTED DOCUMENT − Level 3: Order by the Court re: Bakhtiyor
                         Jumaev. (jhawk, ) (Entered: 03/13/2017)
    03/13/2017   1316    MOTION to Continue by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                         03/13/2017)
    03/13/2017   1317    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for 3/14/2017 at 1:00 PM in Courtroom A−802 before
                         Judge John L. Kane. The defendants' presence is required. Mr. Williamson is
                         instructed to call chambers immediately prior to 1:00 p.m. and the telephone
                         call will be transferred into the courtroom 303−844−6118. Defendants will be
                         transported to the courthouse and available −− with interpreters −− for
                         counsel to meet with at 10:00 a.m. Ordered by Judge John L. Kane on
                         3/13/2017. Text Only Entry (jlksec) (Entered: 03/13/2017)
    03/13/2017   1318    MINUTE ENTRY for Jury Trial − Day 1 proceedings held before Judge John
                         L. Kane on 3/13/2017 as to Bakhtiyor Jumaev. Defendant present, in custody.
                         Granting 1316 Motion to Continue as to Bakhtiyor Jumaev(2). ORDERED:

                                                                                                          83
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 84 of 183




                         Doc. No. 1292 is DENIED. Jury Trial set to be continued on 1/8/2018 09:00
                         AM in Courtroom A 802 before Judge John L. Kane. Defendant is
                         REMANDED. Court Reporter: Terri Lindblom. Interpreter: Hamik Jorgensen
                         and Nodira Matyakubova. (babia) (Entered: 03/14/2017)
    03/13/2017   1320    AMENDED MINUTE ENTRY for proceedings held before Judge John L.
                         Kane on 3/13/2017 as to Bakhtiyor Jumaev. Amended re 1318 to change
                         hearing to a Pretrial Conference and conclude. Defendant Bakhtiyor Jumaev
                         (2) is set to begin a new jury trial on January 8, 2018 at 9:00 a.m. with a new
                         jury venire. Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen
                         and Nodira Matyakubova. (babia) (Entered: 03/15/2017)
    03/13/2017           ***Set/Reset Hearings as to Bakhtiyor Jumaev: Jury Trial set for 1/8/2018
                         09:00 AM in Courtroom A 802 before Judge John L. Kane. (babia) (Entered:
                         03/21/2017)
    03/14/2017   1319    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 3/14/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev
                         (2). Defendants present, in custody. The Court states that a new Jury venire
                         will be secured for the trial of Defendant Jamshid Muhtorov, which is set to
                         begin July 31, 2017 at 9:00 a.m. Defendants REMANDED. Court Reporter:
                         Terri Lindblom. Interpreter: Hasmik Jorgensen and Nodira Matyakubova.
                         (babia) (Entered: 03/14/2017)
    03/16/2017   1321    RESTRICTED DOCUMENT − Level 1: Motion to Reconsider Order 1194
                         by USA as to Bakhtiyor Jumaev (Tonini, David) Modified on 3/17/2017 to
                         add text pursuant to JLK chambers (jhawk, ). (Entered: 03/16/2017)
    03/24/2017   1323    RESTRICTED DOCUMENT − Level 1: Unopposed MOTION to Modify
                         1194 Order by Bakhtiyor Jumaev. (Baker, Mitchell) Modified on 3/24/2017
                         to add text pursuant to JLK instructions (jhawk, ). (Entered: 03/24/2017)
    03/24/2017   1324    MINUTE ORDER GRANTING Unopposed Motion 1323 to Modify Order
                         on Government's 16(d) Motion 1194 . With the government's consent,
                         provisions (5) and (9) of Doc. 1194 are modified/clarified to permit Jumaev
                         defense team members Phil Landreth and Hobie Landreth the same level of
                         access to information and concomitant responsibilities as to secrecy
                         pertaining to the CHS as defense counsel and the defense investigator.
                         Entered by Judge John L. Kane on 03/24/17. (jhawk, ) (Entered: 03/24/2017)
    03/27/2017   1325    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The court
                         would like to hold monthly status conferences beginning either the week of
                         April 17 or 24, 2017. Please confer, pick a day and time for the meetings, and
                         let chambers know on or before March 31, 2017 − 303−844−6118. Ordered
                         by Judge John L. Kane on 3/27/2017. Text Only Entry (jlksec) (Entered:
                         03/27/2017)
    03/28/2017   1326    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Monthly
                         Status Conferences are set for 10:00 a.m. on 4/20/2017, 5/11/2017, 6/15/2017
                         and 7/13/2017 in Courtroom A−802 before Judge John L. Kane. Ordered by
                         Judge John L. Kane on 3/28/2017. Text Only Entry (jlksec) (Entered:
                         03/28/2017)
    03/31/2017   1328    ORDER Setting Agenda Items for 04/20/17 Status Conference as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. Signed by Judge John L. Kane on 03/31/17.

                                                                                                           84
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 85 of 183




                         (jhawk, ) (Entered: 03/31/2017)
    04/06/2017   1333    Unopposed MOTION for Order FOR ISSUANCE OF LETTERS ROGATORY
                         by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                         Exhibit)(Baker, Mitchell) (Entered: 04/06/2017)
    04/07/2017   1336    NOTICE OF ATTORNEY APPEARANCE Beth N. Gibson appearing for
                         USA. Attorney Beth N. Gibson added to party USA(pty:pla) (Gibson, Beth)
                         (Entered: 04/07/2017)
    04/07/2017   1337    STATUS REPORT Refgarding The Minute Order Re Sauerland Cell Verdict
                         and Related Motion (Doc 1331) by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev (Tonini, David) (Entered: 04/07/2017)
    04/10/2017   1338    Letter by Clerk of Court. (Exhibit # 1 Request for Letter Rogatory by Judge
                         John L. Kane and Attachment A) (jhawk, ) (Entered: 04/10/2017)
    04/10/2017   1339    Certificate of Service by Deputy Clerk re 1338 Letter mailed to Judicial
                         Assistance Officer, U.S. Department of State, Office of Legal Affairs,
                         SA−17, 10th Floor, 2201 C Street, NW, Washington DC 20522−1710. Text
                         only entry. (jhawk, ) (Entered: 04/10/2017)
    04/12/2017   1346    MOTION for Reconsideration re 1151 MOTION to Suppress Defendant
                         Jumaev's Motion to Suppress Evidence Derived from Execution of Illegal
                         Extra−Territorial Warrants filed by Bakhtiyor Jumaev by Bakhtiyor Jumaev.
                         (Savitz, David) (Entered: 04/12/2017)
    04/17/2017   1352    STATUS REPORT Re Court's Order Setting Agenda Items for April 20,
                         2017 Status Conference (Doc.1328) by Bakhtiyor Jumaev (Savitz, David)
                         (Entered: 04/17/2017)
    04/17/2017   1358    RESTRICTED DOCUMENT − Level 1: Response to Document No. 1321,
                         Motion to Reconsider Order 1194 by Bakhtiyor Jumaev. (Savitz, David)
                         Modified on 4/17/2017 to add text pursuant to JLK Chambers instruction
                         (jhawk, ). (Entered: 04/17/2017)
    04/19/2017   1367    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. At the
                         government's request, an ex parte classified hearing is set for 9:00 a.m.
                         tomorrow, April 20, 2017, before the 10:00 a.m. status conference. The
                         government's request was general and did not indicate that CIPA or CIPA
                         classified materials would be discussed. Defense counsel will be apprised of
                         any non−classified subject matter discussed at the hearing. Ordered by Judge
                         John L. Kane on 4/19/2017. Text Only Entry (jlksec) (Entered: 04/19/2017)
    04/20/2017   1368    ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Government's Motion
                         to Reconsider is Denied 1321 . Signed by Judge John L. Kane on 04/20/17.
                         (jhawk, ) (Entered: 04/20/2017)
    04/20/2017   1369    MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings
                         held before Judge John L. Kane with the United States Government on
                         4/20/2017. Court Reporter: Terri Lindblom. (babia) Text Only Entry
                         (Entered: 04/20/2017)
    04/20/2017   1370    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 4/20/2017 as to Jamshid Muhtorov (1) and Bakhtiyor Jumaev (2).
                         Defendants not present, in custody. Granting 1334 Motion for Order as to

                                                                                                        85
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 86 of 183




                         Jamshid Muhtorov (1); Finding as moot 1333 Motion for Order as to
                         Bakhtiyor Jumaev (2), based on in−court discussion. Motion Hearing set for
                         5/18/2017 10:00 AM in Courtroom A 802 before Judge John L. Kane. THE
                         APPEARANCES OF BOTH DEFENDANTS JAMSHID MUHTOROV(1)
                         AND BAKHTIYOR JUMAEV (2) ARE REQUIRED. Court Reporter: Terri
                         Lindblom. (babia) (Main Document 1370 replaced on 4/20/2017) (babia, ).
                         (Entered: 04/20/2017)
    04/21/2017   1375    TRANSCRIPT of Motion Hearing − Day One as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 1/09/2017 before Judge Kane. Pages: 1−172.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 04/21/2017)
    04/21/2017   1376    TRANSCRIPT of Motion Hearing − Day Two as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 1/10/2017 before Judge Kane. Pages: 173−341.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 04/21/2017)
    04/21/2017   1377    RESTRICTED TRANSCRIPT of proceedings held on 1/10/2017 before
                         Judge Kane. Pages: 207−213. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1378    TRANSCRIPT of Motion Hearing − Day Three as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 1/11/2017 before Judge Kane. Pages: 341−518.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 04/21/2017)


                                                                                                        86
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 87 of 183




    04/21/2017   1379    TRANSCRIPT of Motion Hearing − Day Four as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 1/12/2017 before Judge Kane. Pages: 519−656.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 04/21/2017)
    04/21/2017   1380    TRANSCRIPT of Motion Hearing − Day Six as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 1/17/2017 before Judge Kane. Pages: 845−925.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 04/21/2017)
    04/21/2017   1381    RESTRICTED TRANSCRIPT of proceedings held on 1/17/2017 before
                         Judge Kane. Pages: 828−844. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1382    TRANSCRIPT of Hearing as to Jamshid Muhtorov, Bakhtiyor Jumaev held
                         on 3/13/2017 before Judge Kane. Pages: 1−80. <br><br> NOTICE −
                         REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                         filing, each party shall inform the Court, by filing a Notice of Intent to
                         Redact, of the party's intent to redact personal identifiers from the
                         electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1383    TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 3/14/2017 before Judge Kane. Pages: 1−13. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>

                                                                                                         87
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 88 of 183




                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1384    RESTRICTED TRANSCRIPT of proceedings held on 3/2/2017 before Judge
                         Kane. Pages: 1−33. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1385    RESTRICTED TRANSCRIPT of proceedings held on 1/25/2017 before
                         Judge Kane. Pages: 1−51. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1386    RESTRICTED TRANSCRIPT of proceedings held on 1/31/2017 before
                         Judge Kane. Pages: 1−68. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1387    RESTRICTED TRANSCRIPT of proceedings held on 12/20/2016 before
                         Judge Kane. Pages: 1−54. (tlind, ) (Entered: 04/21/2017)
    04/21/2017   1388    TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 6/7/2016 before Judge Kane. Pages: 1−50. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 04/21/2017)
    04/27/2017   1392    MOTION for Order Directing the Government to Grant Parole of Foreign
                         Witnesses and His Adoption of Mr. Muhtorov's "Motion for Parole" (Doc.
                         1334) by Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF
                         Only))(Savitz, David) (Entered: 04/27/2017)
    05/08/2017   1395    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. Counsel for
                         the parties are directed to CONFER and PREPARE a jointly proposed Notice
                         of Agenda Items to be addressed at the Status Conference scheduled for
                         Thursday, May 11, 2017, at 10:00 a.m. The Notice should be filed no later
                         than noon on Wednesday, May 10, 2017. Ordered by Judge John L. Kane on
                         5/8/2017. Text Only Entry (jlksec) (Entered: 05/08/2017)
    05/08/2017   1396    RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1392 MOTION
                         for Order Directing the Government to Grant Parole of Foreign Witnesses
                         and His Adoption of Mr. Muhtorov's "Motion for Parole" (Doc. 1334)
                         (Attachments: # 1 Exhibit)(Gibson, Beth) (Entered: 05/08/2017)
    05/09/2017   1397    MINUTE ORDER. The government's "Response to Motion for Parole of
                         Witnesses and Request for Reconsideration" 1396 , filed with regard to
                         Defendant 2 Bakhtiyor Jumaev only, is both a Response to Mr. Jumaev's
                         Motion to Parole Witnesses 1392 and a separate Motion to Reconsider the
                         court's 4/21/17 Order 1389 granting Mr. Muhtorov's Motion to Parole of
                         Witnesses. Mr. Muhtorov is ORDERED to respond to the Motion to
                         Reconsider on or before Tuesday, May 16, 2017, so that the witness parole
                         question as it applies to his trial may be addressed on May 18, 2017, when
                         the parties will be before the court on Mr. Muhtorov's Motion 1327 to

                                                                                                         88
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 89 of 183




                         Dismiss for Violation of Speedy Trial. Mr. Jumaev's Motion will be
                         addressed in the normal course. Entered by Judge John L. Kane on 05/09/17.
                         Text Only Entry (jhawk, ) (Entered: 05/09/2017)
    05/10/2017   1398    STATUS REPORT Regarding Agenda Items for Status Conference on May
                         11, 2017 by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth)
                         (Entered: 05/10/2017)
    05/11/2017   1399    ORDER re: 1346 Motion for Reconsideration of Ruling Denying Motion to
                         Suppress Evidence Derived from Execution of Extra−Territorial Warrants
                         1151 as to Bakhtiyor Jumaev (2). Signed by Judge John L. Kane on 05/11/17.
                         (jhawk, ) (Entered: 05/11/2017)
    05/11/2017   1400    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 5/11/2017 as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         Defendants NOT present, in custody. Court Reporter: Terri Lindblom.
                         (babia) (Entered: 05/11/2017)
    05/16/2017   1404    REPLY TO RESPONSE to Motion by Jamshid Muhtorov as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev re 1392 MOTION for Order Directing the
                         Government to Grant Parole of Foreign Witnesses and His Adoption of Mr.
                         Muhtorov's "Motion for Parole" (Doc. 1334) − Mr. Muhtorov's Reply to the
                         Government's "Request for Reconsideration," Doc. 1396 (Attachments: # 1
                         Attachment A)(Williamson, Warren) (Entered: 05/16/2017)
    05/18/2017   1409    MINUTE ENTRY for Motion Hearing proceedings held before Judge John
                         L. Kane on 5/18/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev
                         (2). Defendants present, in custody. Denying 1327 Motion to Dismiss as to
                         Jamshid Muhtorov (1). ORDERED: The Governments Motion for
                         Reconsideration (Doc. No. 1396) is GRANTED to VACATE language
                         directing the Executive to parole into the country any particular witness.
                         ORDERED: The Order (Doc. No. 1389) is REAFFIRMED to the extent it
                         directs the Prosecution to continue working with Defense counsel to secure
                         the presence of Mr. Muhtorovs witnesses for trial. Defendants are
                         REMANDED. Court Reporter: Tamara Hoffschildt. Interpreter: Hasmik
                         Jorgensen and Nodira Matyakubova. (babia) (Entered: 05/19/2017)
    05/18/2017   1410    RESTRICTED DOCUMENT − Level 1: Defendant's Exhibit A, offered and
                         admitted, by Jamshid Muhtorov as to Motions Hearing held for Jamshid
                         Muhtorov (1), and Bakhtiyor Jumaev (2) on May 18, 2017. (babia) (Entered:
                         05/19/2017)
    05/25/2017   1415    Joint MOTION for Order approving a Jointly Proposed Pretrial Schedule by
                         USA as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Tonini, David) (Entered:
                         05/25/2017)
    05/25/2017   1417    MINUTE ORDER: The Status Conference scheduled for Thursday, June 15,
                         2017, at 10:00 AM is VACATED and RESET for 10:00 AM on Wednesday,
                         June 14, 2017, in Courtroom A802 of the Alfred A. Arraj U.S. Courthouse,
                         901 19th Street, Denver, Colorado, before Judge John L. Kane. Entered by
                         Judge John L. Kane on 05/25/17. Text Only Entry (jhawk, ) (Entered:
                         05/25/2017)
    05/26/2017   1418    MOTION for Order for Pretrial Release by Jamshid Muhtorov as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev. (Attachments: # 1 Attachment A)(Williamson,

                                                                                                      89
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 90 of 183




                         Warren) (Entered: 05/26/2017)
    05/30/2017   1419    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Gibson, Beth) (Entered: 05/30/2017)
    05/30/2017   1420    RESTRICTED DOCUMENT − Level 1: Motion to Sever the Deposition by
                         USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) Modified on
                         6/1/2017 to add text (jhawk, ). (Entered: 05/30/2017)
    05/30/2017   1421    RESTRICTED DOCUMENT − Level 1− Withdrawal of Request for
                         Videotaping of Deposition and Request for the Court's Denial of 1420 as
                         Moot by Bakhtiyor Jumaev. (Savitz, David) Modified on 6/1/2017 to add text
                         (jhawk, ). (Entered: 05/30/2017)
    05/30/2017   1422    Ordered as to as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2).
                         Government's Motion to Restrict Document 1419 is Granted. Document 1420
                         shall remain under Level 1 Restriction. Entered by Judge John L. Kane on
                         05/30/17. Text Only Entry (jhawk, ) (Entered: 05/30/2017)
    06/02/2017   1423    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                         Mitchell) (Entered: 06/02/2017)
    06/02/2017   1424    MINUTE ORDER GRANTING third Unopposed Motion to Modify Order re
                         Government's Rule 16(d) Motion 1194 . With the government's consent,
                         provisions (5) and (9) of Doc. 1194 are modified to permit Jumaev team
                         member Darren McClaury the same level of access to information, subject to
                         the same responsibilities as to secrecy, as other authorized defense team
                         members. Entered by Judge John L. Kane on 06/02/17. Text Only Entry
                         (jhawk, ) (Entered: 06/02/2017)
    06/05/2017   1425    TRANSCRIPT of Motion hearing as to Bakhtiyor Jumaev held on May 18,
                         2017 before Judge Kane. Pages: 1−48. <br><br> NOTICE − REDACTION
                         OF TRANSCRIPTS: Within seven calendar days of this filing, each
                         party shall inform the Court, by filing a Notice of Intent to Redact, of the
                         party's intent to redact personal identifiers from the electronic
                         transcript of the court proceeding. If a Notice of Intent to Redact is not
                         filed within the allotted time, this transcript will be made electronically
                         available after 90 days. Please see the Notice of Electronic Availability of
                         Transcripts document at www.cod.uscourts.gov.<br><br> Transcript may
                         only be viewed at the court public terminal or purchased through the Court
                         Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                         PACER. (thoff, ) (Entered: 06/05/2017)
    06/09/2017   1434    MINUTE ORDER: The Status Conference scheduled for Wednesday, June
                         14, 2017, at 10:00 AM is VACATED. Entered by Judge John L. Kane on
                         06/09/17. Text Only Entry (jhawk, ) (Entered: 06/09/2017)
    06/14/2017   1439    REPLY TO RESPONSE to Motion by Jamshid Muhtorov as to Jamshid
                         Muhtorov, Bakhtiyor Jumaev re 1418 MOTION for Order for Pretrial
                         Release −− Defendant's Reply to Government Response (Doc. 1438) In
                         Opposition to His Bail Motion (Doc. 1418) (Williamson, Warren) (Entered:
                         06/14/2017)
    06/16/2017   1440    NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered:

                                                                                                        90
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 91 of 183




                         06/16/2017)
    06/16/2017   1441    NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered:
                         06/16/2017)
    06/16/2017   1442    NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered:
                         06/16/2017)
    06/16/2017   1443    NOTICE of Intent to Use Evidence by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Tonini, David) (Entered:
                         06/16/2017)
    06/22/2017   1445    TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 4/20/2017 before Judge Kane. Pages: 1−38. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 06/22/2017)
    06/22/2017   1446    TRANSCRIPT of Status Conference as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev held on 5/11/2017 before Judge Kane. Pages: 1−17. <br><br>
                         NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                         days of this filing, each party shall inform the Court, by filing a Notice of
                         Intent to Redact, of the party's intent to redact personal identifiers from
                         the electronic transcript of the court proceeding. If a Notice of Intent to
                         Redact is not filed within the allotted time, this transcript will be made
                         electronically available after 90 days. Please see the Notice of Electronic
                         Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                         Transcript may only be viewed at the court public terminal or purchased
                         through the Court Reporter/Transcriber prior to the 90 day deadline for
                         electronic posting on PACER. (tlind, ) (Entered: 06/22/2017)
    07/12/2017   1465    MINUTE ORDER: The Status Conference scheduled for Thursday, July 13,
                         2017, at 10:00 AM is VACATED. Ordered by Judge John L. Kane on
                         7/12/2017. Text Only Entry (jlksec) (Entered: 07/12/2017)
    07/13/2017   1466    MINUTE ENTRY for In Camera Hearing, Ex Parte, proceedings held before
                         Judge John L. Kane with the United States Government on 7/13/2017. Court
                         Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 07/13/2017)
    07/13/2017   1467    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Savitz, David) (Entered:
                         07/13/2017)
    07/27/2017   1471    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Gibson, Beth) (Entered: 07/27/2017)


                                                                                                         91
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 92 of 183




    07/27/2017   1472    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Gibson, Beth) (Entered: 07/27/2017)
    07/27/2017   1473    (RESTRICTED DOCUMENT − Level 1) Response to 1467 by USA as to
                         Bakhtiyor Jumaev (Gibson, Beth) Modified to add text on 9/18/2017 (cthom,
                         ). (Entered: 07/27/2017)
    07/28/2017   1474    ORDER granting 1472 Motion for Leave to Restrict as to Bakhtiyor Jumaev
                         (2) by Judge John L. Kane on 7/28/2017. (cthom, ) (Entered: 07/28/2017)
    08/02/2017   1475    (RESTRICTED DOCUMENT − Level 1) Preliminary Reply to 1467 by
                         Bakhtiyor Jumaev. (Savitz, David) Modified to add text on 9/18/2017
                         (cthom, ). (Entered: 08/02/2017)
    08/04/2017   1476    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Appendix, # 2 Exhibit, # 3 Proposed Order (PDF Only), #
                         4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10
                         Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit,
                         # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21
                         Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit, # 26 Exhibit,
                         # 27 Exhibit, # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31 Exhibit, # 32
                         Exhibit, # 33 Exhibit, # 34 Exhibit, # 35 Exhibit, # 36 Exhibit, # 37 Exhibit,
                         # 38 Exhibit, # 39 Exhibit, # 40 Exhibit, # 41 Exhibit, # 42 Exhibit, # 43
                         Exhibit, # 44 Exhibit, # 45 Exhibit, # 46 Exhibit)(Baker, Mitchell) (Entered:
                         08/04/2017)
    08/07/2017   1477    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (cthom, )
                         (Entered: 08/07/2017)
    08/21/2017   1478    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev re 1467
                         Restricted Document − Level 1 filed by Bakhtiyor Jumaev. Defendant
                         Muhtorov's Response to Defendant Jumaev's motion 1467 shall be filed on or
                         before August 30, 2017. Counsel for all parties should confer and call
                         chambers jointly on or before August 31, 2017, in order to set a status
                         conference − 303−844−6118. The status conference will be held before
                         September 25, 2017. Ordered by Judge John L. Kane on 8/21/2017. Text
                         Only Entry (jlksec) (Entered: 08/21/2017)
    08/23/2017   1480    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The
                         Government's request for an outright denial of Defendant Jumaev's Motion
                         for Videotaping Deposition 1467 is denied. The Government shall submit
                         any additional briefing it would like the court to consider on or before Friday,
                         September 1, 2017. Mr. Jumaev's Reply is due on or before September 12,
                         2017. Ordered by Judge John L. Kane on 8/23/2017. Text Only Entry (jlksec)
                         (Entered: 08/23/2017)
    08/23/2017   1481    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. A Status
                         Conference is set for 9/25/2017 at 10:00 AM in Courtroom A802 before
                         Judge John L. Kane. The presence of the Defendants is NOT required.
                         Ordered by Judge John L. Kane on 8/23/2017. Text Only Entry (jlksec)
                         (Entered: 08/23/2017)
    08/28/2017   1482    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Proposed Order (PDF Only))(Baker, Mitchell)
                         (Entered: 08/28/2017)

                                                                                                            92
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 93 of 183




    09/01/2017   1483    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 09/01/2017)
    09/01/2017   1484    (RESTRICTED DOCUMENT − Level 1) 2nd Response to 1467 by USA as
                         to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified to
                         add text on 9/18/2017 (cthom, ). (Entered: 09/01/2017)
    09/05/2017   1485    ORDER granting 1483 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 9/5/2017.
                         (cthom, ) (Entered: 09/05/2017)
    09/12/2017   1486    (RESTRICTED DOCUMENT − Level 1) Reply to 1467 by Bakhtiyor
                         Jumaev. (Savitz, David) Modified to add text on 9/18/2017 (cthom, ).
                         (Entered: 09/12/2017)
    09/13/2017   1489    NOTICE of Classified Ex Parte, In Camera Motion Filed by USA as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         09/13/2017)
    09/13/2017   1490    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 09/13/2017)
    09/14/2017   1491    ORDER granting 1490 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 9/14/2017.
                         (cthom, ) (Entered: 09/14/2017)
    09/14/2017   1492    Renewed MOTION for Order DIRECTING THE GOVERNMENT TO
                         GRANT PAROLE OF FOREIGN WITNESSES (Related to Doc. 1392) by
                         Bakhtiyor Jumaev. (Attachments: # 1 Proposed Order (PDF Only))(Baker,
                         Mitchell) (Entered: 09/14/2017)
    09/15/2017   1493    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Savitz,
                         David) (Entered: 09/15/2017)
    09/18/2017   1494    ORDER Setting Agenda Items for 9/25/2017 Status Conference as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev. ORDERED by Judge John L. Kane
                         on 9/18/2017. (cthom, ) (Entered: 09/18/2017)
    09/18/2017   1495    (RESTRICTED DOCUMENT − Level 1) Order re 1467 as to Bakhtiyor
                         Jumaev. (cthom, ) (Entered: 09/18/2017)
    09/18/2017   1496    (RESTRICTED DOCUMENT−Level 1) MINUTE ORDER as to Bakhtiyor
                         Jumaev Setting ex Parte Hearing. ORDERED by Judge John L. Kane on
                         9/18/2017. (cthom, ) (Entered: 09/18/2017)
    09/20/2017   1497    MINUTE ENTRY for In Court Hearing proceedings held before Judge John
                         L. Kane on 9/20/2017 as to Bakhtiyor Jumaev (2). Court Reporter: Terri
                         Lindblom. (babia) (Entered: 09/20/2017)
    09/20/2017   1498    MINUTE ORDER. Judge John L. Kane directs counsel to ADD Doc. 1300,
                         Motion for Leave to File Expert Endorsements, as an AGENDA ITEM for
                         the 9/25/17 Status Conference. Ordered by Judge John L. Kane on 9/20/2017.
                         Text Only Entry (jlksec) (Entered: 09/20/2017)
    09/21/2017   1499    (RESTRICTED DOCUMENT − Level 1) Joint Status Report: Agenda Items
                         by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) Modified
                         to add title on 9/22/2017 (cthom, ). (Entered: 09/21/2017)
                                                                                                      93
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 94 of 183




    09/21/2017   1500    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Gibson, Beth) (Entered: 09/21/2017)
    09/22/2017   1501    ORDER granting 1500 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1), Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on 9/22/2017.
                         (cthom, ) (Entered: 09/22/2017)
    09/22/2017   1502    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(cthom, ) (Entered: 09/22/2017)
    09/25/2017   1503    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 9/25/2017 as to Defendants Jamshid Muhtorov (1), and Bakhtiyor
                         Jumaev (2). Defendants not present, in custody. Granting 1300 Motion for
                         Leave to File as to Bakhtiyor Jumaev (2). A Discovery Hearing is set for
                         10/30/2017 at 01:00 PM and 10/31/2017 at 09:00 AM in Courtroom A 802
                         before Judge John L. Kane. A Status Conference is set for 9/28/2017 10:00
                         AM in Courtroom A 802 before Judge John L. Kane. Court Reporter: Tamara
                         Hoffschildt. (babia) (Entered: 09/25/2017)
    09/26/2017   1504    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (cthom, )
                         (Entered: 09/27/2017)
    09/28/2017   1505    MINUTE ENTRY for Status Conference proceedings held before Judge John
                         L. Kane on 9/28/2017 as to Bakhtiyor Jumaev. Court Reporter: Tamara
                         Hoffchildt. (babia) (Entered: 09/28/2017)
    10/03/2017   1507    (RESTRICTED DOCUMENT − Level 1) Motion for Disclosure of
                         Government Analysis of Records by Bakhtiyor Jumaev. (Baker, Mitchell)
                         Modified to add title on 10/3/2017 (cthom, ). (Entered: 10/03/2017)
    10/03/2017   1508    (RESTRICTED DOCUMENT − Level 1) Motion to Compel by Bakhtiyor
                         Jumaev. (Baker, Mitchell) Modified to add title on 10/3/2017 (cthom, ).
                         (Entered: 10/03/2017)
    10/03/2017   1509    (RESTRICTED DOCUMENT − Level 1) Motion for Disclosure of
                         Communications by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add
                         title on 10/3/2017 (cthom, ). (Entered: 10/03/2017)
    10/03/2017   1510    (RESTRICTED DOCUMENT − Level 1) Motion for Disclosure of Brady
                         and Giglio Material by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add
                         title on 10/3/2017 (cthom, ). (Entered: 10/03/2017)
    10/03/2017   1511    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Proposed Order (PDF
                         Only))(Baker, Mitchell) (Entered: 10/03/2017)
    10/04/2017   1513    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (cthom, )
                         (Entered: 10/04/2017)
    10/05/2017   1514    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Exhibit)(cthom, ) (Entered: 10/05/2017)
    10/10/2017   1516    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(cthom, ) (Entered: 10/11/2017)
    10/11/2017   1517    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                         Mitchell) (Entered: 10/11/2017)
                                                                                                      94
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 95 of 183




    10/12/2017   1519    MINUTE ORDER as to Jamshid Muhtorov and Bakhtiyor Jumaev. In
                         accordance with my statement at the September 25, 2017 status conference,
                         an evidentiary hearing regarding Docs. 813 , 825 , and 832 is set for
                         November 9, 2017, at 9 a.m. in Courtroom A−802, Alfred A. Arraj U.S.
                         District Courthouse, 901 19th St., Denver, Colorado. Defendants' presence is
                         required. ORDERED by Judge John L. Kane on 10/12/2017. Text Only
                         Entry. (cthom, ) (Entered: 10/12/2017)
    10/17/2017   1521    (RESTRICTED DOCUMENT − Level 1) Response to 1507 by USA as to
                         Bakhtiyor Jumaev (Holloway, Gregory) Modified to add text pursuant to
                         1527 Order on 10/18/2017 (cthom, ). (Entered: 10/17/2017)
    10/17/2017   1522    (RESTRICTED DOCUMENT − Level 1) Response to 1508 by USA as to
                         Bakhtiyor Jumaev (Holloway, Gregory) Modified to add text pursuant to
                         1527 Order on 10/18/2017 (cthom, ). (Entered: 10/17/2017)
    10/17/2017   1523    (RESTRICTED DOCUMENT − Level 1) Response to 1509 by USA as to
                         Bakhtiyor Jumaev (Holloway, Gregory) Modified to add text pursuant to
                         1527 Order on 10/18/2017 (cthom, ). (Entered: 10/17/2017)
    10/17/2017   1524    (RESTRICTED DOCUMENT − Level 1) Response to 1510 by USA as to
                         Bakhtiyor Jumaev (Holloway, Gregory) Modified to add text pursuant to
                         1527 Order on 10/18/2017 (cthom, ). (Entered: 10/17/2017)
    10/17/2017   1525    (RESTRICTED DOCUMENT − Level 1) Response to 1512 and 1517 by
                         USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory)
                         Modified to add text pursuant to 1527 Order on 10/18/2017 (cthom, ).
                         (Entered: 10/17/2017)
    10/17/2017   1528    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (cthom, )
                         (Entered: 10/18/2017)
    10/18/2017   1526    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 10/18/2017)
    10/18/2017   1527    ORDER granting 1526 Motion for Leave to Restrict by Judge John L. Kane
                         on 10/18/2017. (cthom, ) (Entered: 10/18/2017)
    10/20/2017   1529    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Proposed Order (PDF Only))(Baker, Mitchell)
                         (Entered: 10/20/2017)
    10/20/2017   1530    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(cthom, ) (Entered: 10/20/2017)
    10/23/2017   1531    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Proposed Order (PDF Only))(Baker, Mitchell)
                         (Entered: 10/23/2017)
    10/24/2017   1532    RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 10/24/2017)
    10/24/2017   1533    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 10/24/2017)
    10/24/2017   1534    NOTICE Government's Request for CIPA Section 4 Status Hearing by USA
                         as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                                                                                                        95
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 96 of 183




                         10/24/2017)
    10/24/2017   1535    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. At the
                         government's request, an ex parte classified hearing is set for 2:30 p.m.
                         tomorrow, October 25, 2017. The government's request for the hearing was
                         general and nonspecific. Defense counsel will be apprised of any
                         non−classified subject matter discussed at the hearing. Ordered by Judge
                         John L. Kane on 10/24/2017. Text Only Entry (jlksec) (Entered: 10/24/2017)
    10/24/2017   1536    ORDER granting 1533 Motion for Leave to Restrict as to Jamshid Muhtorov
                         (1) and Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on
                         10/24/2017. (cthom, ) (Entered: 10/25/2017)
    10/25/2017   1537    (RESTRICTED DOCUMENT − Level 3) Order re 1531 Restricted
                         Document as to Bakhtiyor Jumaev. (cthom, ) Modified to add title on
                         10/25/2017 (cthom, ). (Entered: 10/25/2017)
    10/25/2017   1538    NOTICE of Withdrawal of Appearance by Department of Justice as to
                         Jamshid Muhtorov, Bakhtiyor Jumaev (Korczynski, Kiersten) (Entered:
                         10/25/2017)
    10/25/2017   1539    MINUTE ORDER as to Jamshid Muhtorov, Bakhtiyor Jumaev. The court
                         construes the Government's 1538 Notice of Withdrawal of Appearance as a
                         Motion to Withdraw and GRANTS the request. Given that representation of
                         the Government will continue with Mr. Holloway, Ms. Gibson, and Mr.
                         Tonini, Attorney Kiersten Jennifer Korczynski is authorized to WITHDRAW
                         as counsel. Ms. Korczynski shall be removed from future electronic
                         notifications in this case. ORDERED by Judge John L. Kane on 10/25/2017.
                         (cthom, ) (Entered: 10/25/2017)
    10/25/2017   1540    MINUTE ENTRY for In Camera Hearing, Ex Parte (Status Conference)
                         Classified proceedings held before Judge John L. Kane with United States
                         Government on 10/25/2017. Court Reporter: Terri Lindblom. (babia) Text
                         Only Entry Modified on 10/26/2017 to correct text error. (babia) (Entered:
                         10/25/2017)
    10/25/2017   1541    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit)(cthom, ) (Entered: 10/26/2017)
    10/30/2017   1545    MINUTE ENTRY for Discovery Hearing proceedings held before Judge
                         John L. Kane on 10/30/2017 as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                         ORDERED: The United States Marshal Service shall have Defendants
                         Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2) available in person for the
                         Discovery Hearing set October 31, 2017 at 9:00 a.m. Court Reporter: Terri
                         Lindblom. Interpreter: Hasmik Jorgensen and Nodira Matyakubova. (babia)
                         (Entered: 10/30/2017)
    10/31/2017   1547    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (athom, )
                         (Entered: 11/01/2017)
    10/31/2017   1550    MINUTE ENTRY for Discovery Hearing proceedings held before Judge
                         John L. Kane 10/31/2017 as to Jamshid Muhtorov, and Bakhtiyor Jumaev.
                         ***Finding as moot [] Motion as to Bakhtiyor Jumaev (2); ***Granting []
                         Motion as to Bakhtiyor Jumaev (2). ORDERED:Immediately following
                         todays hearing counsel for the Government and counsel for Defendant

                                                                                                      96
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 97 of 183




                         Jumaev shall meet and confer and provide names and contact information of
                         Tajik Interpreters to Interpreter Services (LaDonne Bush) by Wednesday,
                         November 8, 2017. Court Reporter: Terri Lindblom. Interpreter: Hasmik
                         Jorgensen and Nodira Matyakubova. (Attachments: # 1 Exhibit, # 2 Exhibit)
                         (babia) (Entered: 11/01/2017)
    11/01/2017   1548    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Proposed Order (PDF Only))(Baker, Mitchell) (Entered:
                         11/01/2017)
    11/01/2017   1549    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (athom, )
                         (Entered: 11/01/2017)
    11/01/2017   1551    MINUTE ENTRY for Discovery Hearing Day 3 proceedings held before
                         Judge John L. Kane on 11/1/2017 as to Jamshid Muhtorov (1), and Bakhtiyor
                         Jumaev (2). Court Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen.
                         (Attachments: # 1 Exhibit 3) (babia) (Entered: 11/02/2017)
    11/01/2017   1552    MINUTE ENTRY for In Camera Hearing, Ex Parte (Status Conference)
                         Classified proceedings held before Judge John L. Kane with the Government
                         on 11/1/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Court
                         Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 11/02/2017)
    11/02/2017   1553    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                         Jumaev. (Holloway, Gregory) (Entered: 11/02/2017)
    11/02/2017   1554    MOTION to Withdraw as Attorney by Erin Martha Creegan by Department
                         of Justice as to Jamshid Muhtorov, Bakhtiyor Jumaev. (Creegan, Erin)
                         (Entered: 11/02/2017)
    11/03/2017   1555    ORDER granting 1554 Motion to Withdraw as Attorney. Given that
                         representation of the Government will continue with Mr. Holloway, Ms.
                         Gibson, and Mr. Tonini, Attorney Erin Creegan is authorized to
                         WITHDRAW as counsel. Ms. Creegan shall be removed from future
                         electronic notifications in this case. ORDERED by Judge John L. Kane on
                         11/3/2017. Text Only Entry (cthom, ) (Entered: 11/03/2017)
    11/03/2017   1556    MINUTE ORDER GRANTING Government's 1553 Motion to Restrict
                         Document No. 1551−1, despite the fact that it refers to a seemingly unrelated
                         1194 Protective Order. As a warning to the government, informal, ex parte
                         requests of the Court are unacceptable. Written motions must be filed
                         including some justification substantiating any request. ORDERED by Judge
                         John L. Kane on 11/3/2017. Text Only Entry (cthom, ) (Entered: 11/03/2017)
    11/06/2017   1557    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Proposed Order (PDF Only))(Baker, Mitchell) (Entered:
                         11/06/2017)
    11/06/2017   1558    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (cthom, )
                         (Entered: 11/06/2017)
    11/06/2017   1559    Proposed Jury Instructions Proposed Revised Juror Questionnaire by
                         Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Savitz, David) (Entered:
                         11/06/2017)
    11/06/2017   1560

                                                                                                         97
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 98 of 183




                         NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the
                         United States Pursuant to the Classified Information Procedures Act by USA
                         as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         11/06/2017)
    11/08/2017   1562    (RESTRICTED DOCUMENT − Level 1) Order re November 9, 2017
                         Evidentiary Hearing. ORDERED by Judge John L. Kane on 11/8/2017.
                         (cthom, ) (Entered: 11/08/2017)
    11/09/2017   1563    MINUTE ENTRY for Evidentiary Hearing proceedings held before Judge
                         John L. Kane on 11/9/2017 as to Jamshid Muhtorov (1), and Bakhtiyor
                         Jumaev (2). Defendants present, in custody. ORDERED:Defendants Motion
                         To Dismiss, (as related to Doc. Nos. 813 and 825), is DENIED. In Court
                         Hearing set for 12/21/2017 at 10:30 AM in Courtroom A 802 before Judge
                         John L. Kane. Defendant Jumaev (2) and Interpreter shall be present.
                         ORDERED: Counsel shall file a Joint Status report by December 18, 2017.
                         Trial Preparation Conference set for 1/3/2018 at 10:30 AM in Courtroom A
                         802 before Judge John L. Kane. Defendants REMANDED. Court Reporter:
                         Tamara Hoffschildt. Interpreter: Hasmik Jorgensen and Nodira
                         Matyakubova. (babia) (Additional attachment(s) added on 11/9/2017: # 1
                         Exhibit) (babia, ). (Entered: 11/09/2017)
    11/13/2017   1564    MINUTE ENTRY for In Camera Hearing, Ex Parte Status Conference
                         proceedings held before Judge John L. Kane with the Government on
                         11/13/2017 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Court
                         Reporter: Terri Lindblom. (babia) Text Only Entry (Entered: 11/13/2017)
    11/13/2017   1565    (RESTRICTED DOCUMENT − Level 1) Notice of Classified Order by
                         Judge John L. Kane on 11/13/2017. (cthom, ) (Entered: 11/13/2017)
    11/20/2017   1566    MINUTE ORDER as to Bakhtiyor Jumaev re 1563 . Defendant Jumaev's
                         presence is required for the In Court Hearing set for 12/21/2017 at 10:30 AM
                         as well as the Trial Preparation Conference set for 1/3/2018 at 10:30 AM in
                         Courtroom A802. Ordered by Judge John L. Kane on 11/20/2017. Text Only
                         Entry (jlksec) (Entered: 11/20/2017)
    11/21/2017   1567    NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by USA as
                         to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                         11/21/2017)
    11/22/2017   1568    MOTION for Order Defendant Jumaev's Motion to Revise the Protocol for
                         Jury Selection by Bakhtiyor Jumaev. (Savitz, David) (Entered: 11/22/2017)
    11/24/2017   1569    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Proposed Order (PDF Only))(Baker, Mitchell) (Entered:
                         11/24/2017)
    11/24/2017   1570    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                         (Attachments: # 1 Proposed Order (PDF Only), # 2 Exhibit, # 3 Exhibit, # 4
                         Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)(Baker, Mitchell) (Entered:
                         11/24/2017)
    11/24/2017   1571    TRANSCRIPT of Motion Hearing − Day 1 as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 10/30/2017 before Judge Kane. Pages: 1−6.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven

                                                                                                        98
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 99 of 183




                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 11/24/2017)
    11/24/2017   1572    TRANSCRIPT of Motion Hearing − Day 2 as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 10/31/2017 before Judge Kane. Pages: 7−166.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 11/24/2017)
    11/24/2017   1573    TRANSCRIPT of Motion Hearing − Day 3 as to Jamshid Muhtorov,
                         Bakhtiyor Jumaev held on 11/1/2017 before Judge Kane. Pages: 167−226.
                         <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within seven
                         calendar days of this filing, each party shall inform the Court, by filing a
                         Notice of Intent to Redact, of the party's intent to redact personal
                         identifiers from the electronic transcript of the court proceeding. If a
                         Notice of Intent to Redact is not filed within the allotted time, this
                         transcript will be made electronically available after 90 days. Please see
                         the Notice of Electronic Availability of Transcripts document at
                         www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the
                         court public terminal or purchased through the Court Reporter/Transcriber
                         prior to the 90 day deadline for electronic posting on PACER. (tlind, )
                         (Entered: 11/24/2017)
    11/24/2017   1574    RESTRICTED TRANSCRIPT of proceedings held on 11/1/2017 before
                         Judge Kane. Pages: 227−234. (tlind, ) (Entered: 11/24/2017)
    11/28/2017   1575    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev. (cthom, )
                         (Entered: 11/28/2017)
    11/28/2017   1576    RESTRICTED DOCUMENT − Level 3 as to Bakhtiyor Jumaev.
                         (Attachments: # 1 Exhibit, # 2 Subpoena, # 3 Subpoena, # 4 Subpoena, # 5
                         Subpoena, # 6 Subpoena)(cthom, ) (Entered: 11/28/2017)
    11/30/2017   1577    RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1568 MOTION
                         for Order Defendant Jumaev's Motion to Revise the Protocol for Jury
                         Selection (Holloway, Gregory) (Entered: 11/30/2017)
    11/30/2017   1578

                                                                                                        99
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 100 of 183




                          MINUTE ENTRY for Status Conference proceedings held before Judge John
                          L. Kane: as to Jamshid Muhtorov, and Bakhtiyor Jumaev on 11/30/2017.
                          Court Reporter: Terri Lindblom. (babia) (Entered: 11/30/2017)
     12/01/2017   1579    NOTICE of Classified Order by Judge John L. Kane on 12/1/2017. (cthom, )
                          (Entered: 12/01/2017)
     12/05/2017   1580    RESTRICTED DOCUMENT − Level 3: by USA as to Jamshid Muhtorov,
                          Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 12/05/2017)
     12/05/2017   1581    RESTRICTED DOCUMENT − Level 3 as to Jamshid Muhtorov, Bakhtiyor
                          Jumaev re: 1580 Restricted Document. (cthom, ) (Entered: 12/05/2017)
     12/08/2017   1582    STATUS REPORT by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                          12/08/2017)
     12/08/2017   1584    NOTICE of the Government's Position by USA as to Jamshid Muhtorov,
                          Bakhtiyor Jumaev (Gibson, Beth) (Entered: 12/08/2017)
     12/12/2017   1585    ORDER Vacating and Resetting Trial Dates and Deadlines as to Defendants
                          Jamshid Muhtorov and Bakhtiyor Jumaev. Defendant Bakhtiyor Jumaev's
                          trial set to begin January 8, 2018, is VACATED and is reset to begin March
                          12, 2018, and to run for seven weeks. Defendant Jamshid Muhtorov's trial set
                          to begin March 12, 2018, is also VACATED and is reset to begin May 14,
                          2018, and to run for seven weeks. ORDERED by Judge John L. Kane on
                          12/12/2017. (cthom, ) (Entered: 12/12/2017)
     12/12/2017   1587    Utility Setting/Resetting Deadlines/Hearings as to Bakhtiyor Jumaev: 7 week
                          Jury Trial set for 3/12/2018 at 09:00 AM in Courtroom A 802 before Judge
                          John L. Kane and a Final Trial Preparation Conference set for 3/7/2018 at
                          10:30 AM in Courtroom A 802 before Judge John L. Kane pursuant to 1585
                          Order. Text Only Entry (cthom, ) (Entered: 12/12/2017)
     12/14/2017   1589    MOTION to Continue Subpoenas to New Trial Date by Bakhtiyor Jumaev.
                          (Baker, Mitchell) (Entered: 12/14/2017)
     12/15/2017   1590    NOTICE to Defendants of In Camera, Ex Parte Under Seal Filing by the
                          United States Pursuant to the Classified Information Procedures Act by USA
                          as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                          12/15/2017)
     12/15/2017   1591    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                          Jumaev. (Holloway, Gregory) (Entered: 12/15/2017)
     12/18/2017   1592    ORDER granting 1591 Motion for Leave to Restrict as to Jamshid Muhtorov
                          (1) and Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on
                          12/18/2017. (cthom, ) (Entered: 12/18/2017)
     12/19/2017   1593    NOTICE of Intent to Rely on FRE 902(14) to Autheniticate Certain
                          Communications by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev
                          (Attachments: # 1 Exhibit, # 2 Exhibit)(Gibson, Beth) (Entered: 12/19/2017)
     12/19/2017   1594    ORDER granting 1588 and 1589 Defendants' Motions to Continue
                          Subpoenas to New Trial Dates. All the subpoenas that have been issued
                          returnable for the March 12, 2018, trial as to Jamshid Muhtorov (1) are now
                          returnable for the new trial date May 14, 2018. All the subpoenas that have

                                                                                                        100
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 101 of 183




                          been issued returnable for the January 8, 2018, trial as to Bakhtiyor Jumaev
                          (2) are now returnable for the new trial date March 12, 2018. Ordered by
                          Judge John L. Kane on 12/19/2017. Text Only Entry (jlksec) Modified to
                          correct date on 12/19/2017 (cthom, ). (Entered: 12/19/2017)
     12/22/2017   1595    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 12/22/2017)
     01/02/2018   1596    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 01/02/2018)
     01/02/2018   1597    MINUTE ORDER as to Bakhtiyor Jumaev re 1595 Restricted Document −
                          Level 1 filed by Bakhtiyor Jumaev. The parties' Joint Proposed Scheduling
                          Order is approved. Ordered by Judge John L. Kane on 1/2/2018. Text Only
                          Entry (jlksec) (Entered: 01/02/2018)
     01/04/2018   1598    MINUTE ORDER GRANTING Fourth Unopposed Motion to Modify Order
                          re Government's Rule 16(d) Motion 1596 . With the government's consent,
                          provisions (5) and (9) of Doc. 1194 are modified to permit Jumaev team
                          member David Wise the same level of access to information, subject to the
                          same responsibilities as to secrecy, as other authorized defense team
                          members. Ordered by Judge John L. Kane on 1/4/18. Text Only Entry
                          (jlksec) (Entered: 01/04/2018)
     01/12/2018   1599    Proposed Voir Dire by Bakhtiyor Jumaev (Savitz, David) (Entered:
                          01/12/2018)
     01/12/2018   1600    Proposed Jury Instructions by USA as to Bakhtiyor Jumaev (Gibson, Beth)
                          (Entered: 01/12/2018)
     01/12/2018   1601    Proposed Jury Instructions Disputed by USA as to Bakhtiyor Jumaev
                          (Gibson, Beth) (Entered: 01/12/2018)
     01/16/2018   1602    (RESTRICTED DOCUMENT − Level 1) Motion to Compel by Bakhtiyor
                          Jumaev. (Baker, Mitchell) Modified to add title on 1/29/2018 (cthom, ).
                          (Entered: 01/16/2018)
     01/17/2018   1603    MINUTE ORDER as to Bakhtiyor Jumaev re 1602 Restricted Document −
                          Level 1 filed by Bakhtiyor Jumaev. The government's Response is due on or
                          before January 26, 2018, and any Reply is due on or before February 1, 2018.
                          Ordered by Judge John L. Kane on 1/17/2018. Text Only Entry (jlksec)
                          (Entered: 01/17/2018)
     01/18/2018   1604    RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                          Bakhtiyor Jumaev (Holloway, Gregory) (Entered: 01/18/2018)
     01/18/2018   1605    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                          Jumaev. (Holloway, Gregory) (Entered: 01/18/2018)
     01/19/2018   1606    ORDER granting 1605 Motion for Leave to Restrict as to Jamshid Muhtorov
                          (1) and Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on
                          1/19/2018. (cthom, ) (Entered: 01/19/2018)
     01/22/2018   1607    MOTION in Limine by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev.
                          (Holloway, Gregory) (Entered: 01/22/2018)
     01/22/2018   1609
                                                                                                         101
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 102 of 183




                          MOTION in Limine by Bakhtiyor Jumaev. (Baker, Mitchell) (Entered:
                          01/22/2018)
     01/26/2018   1610    NOTICE OF ATTORNEY APPEARANCE Julia K. Martinez appearing for
                          USA. Attorney Julia K. Martinez added to party USA(pty:pla) (Martinez,
                          Julia) (Entered: 01/26/2018)
     01/26/2018   1611    (RESTRICTED DOCUMENT − Level 1) Protective Order by Judge John L
                          Kane. (cthom, ) (Entered: 01/26/2018)
     01/26/2018   1612    (RESTRICTED DOCUMENT − Level 1) Response to 1602 Motion to
                          Compel by USA as to Bakhtiyor Jumaev (Gibson, Beth) Modified to add title
                          on 1/29/2018 (cthom, ). (Entered: 01/26/2018)
     01/26/2018   1613    (RESTRICTED DOCUMENT − Level 1) Order on Defendants 1507 , 1509 ,
                          1510 , 1512 Discovery Motions. ORDERED Judge John L Kane. (cthom, )
                          (Entered: 01/26/2018)
     01/26/2018   1614    MOTION for Leave to Restrict by USA as to Jamshid Muhtorov, Bakhtiyor
                          Jumaev. (Gibson, Beth) (Entered: 01/26/2018)
     01/29/2018   1615    ORDER granting 1614 Motion for Leave to Restrict as to Jamshid Muhtorov
                          (1) and Bakhtiyor Jumaev (2). ORDERED by Judge John L. Kane on
                          1/29/2018. (cthom, ) (Entered: 01/29/2018)
     01/30/2018   1620    MINUTE ENTRY for In Camera Hearing, Ex Parte Classified proceedings
                          held before Judge John L. Kane with the Government on 1/30/2018 as to
                          Jamshid Muhtorov (1), and Bakhtiyor Jumaev (2). Court Reporter: Terri
                          Lindblom. (jlksec) Text Only Entry Modified to correct date on 2/2/2018
                          (cthom, ). (Entered: 02/01/2018)
     01/31/2018   1616    (RESTRICTED DOCUMENT − Level 1) Notice of Classified Orders by
                          Judge L. Kane. (cthom, ) (Entered: 01/31/2018)
     01/31/2018   1617    ORDER regarding Jury Questionnaire, Jury Instructions, and Jury Selection
                          Protocol as to Bakhtiyor Jumaev (2). Defendant Jumaev's 1568 Motion to
                          Revise the Protocol for Jury Selection is GRANTED as detailed in this
                          Order. The parties are DIRECTED to jointly call chambers at (303)
                          844−6118 on or before February 7, 2018, to set a hearing on the attached
                          documents. ORDERED by Judge John L. Kane on 1/31/2018. (Attachments:
                          # 1 Jury Questionnaire, # 2 Jury Instructions, # 3 Rulings on Disputed
                          Instructions) (cthom, ) (Entered: 01/31/2018)
     02/01/2018   1619    RESPONSE to Motion by USA as to Bakhtiyor Jumaev re 1609 MOTION in
                          Limine to Exclude Evidence From Muhtorov's Electronics (Holloway,
                          Gregory) (Entered: 02/01/2018)
     02/01/2018   1621    MINUTE ENTRY for In Camera hearing on deposition objections held
                          before Judge John L. Kane on 1/30/2018 as to Jamshid Muhtorov (1), and
                          Bakhtiyor Jumaev (2). Court Reporter: Terri Lindblom. (jlksec) Text Only
                          Entry (Entered: 02/01/2018)
     02/01/2018   1622    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 02/01/2018)
     02/01/2018   1623

                                                                                                      102
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 103 of 183




                          RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 02/01/2018)
     02/05/2018   1625    (RESTRICTED DOCUMENT − Level 3) Subpoena Returns as to Bakhtiyor
                          Jumaev. (Attachments: # 1 Exhibit)(cthom, ) (Entered: 02/06/2018)
     02/06/2018   1626    ORDER Setting Hearings and Agenda Items for Hearing as to Jamshid
                          Muhtorov and Bakhtiyor Jumaev. A hearing is set for February 21, 2018, at
                          1:30 p.m., to continue February 22, 2018, at 1:30 p.m., if necessary.
                          Defendant Muhtorov's 1608 Motion to Adopt Codefendant Jumaev's 1602
                          Motion to Compel Discovery of Material and for Sanctions, is GRANTED.
                          The presence of both Defendants Muhtorov and Jumaev is, therefore,
                          required. ORDERED by Judge John L. Kane on 2/6/2018. (cthom, )
                          (Entered: 02/06/2018)
     02/06/2018   1627    (RESTRICTED DOCUMENT − Level 3) Subpoena Returns as to Bakhtiyor
                          Jumaev. (Attachments: # 1 Exhibit, # 2 Exhibit)(cthom, ) (Entered:
                          02/07/2018)
     02/07/2018   1628    (RESTRICTED DOCUMENT − Level 1) Response from State Department
                          to 1332 Request for International Judicial Assistance Letter Rogatory re:
                          1329 Motion for Order as to Jamshid Muhtorov. (Attachments: # 1 Exhibit, #
                          2 Exhibit, # 3 Exhibit)(cthom, ) (Entered: 02/07/2018)
     02/07/2018   1629    RESPONSE to Motion by Bakhtiyor Jumaev re 1607 MOTION in Limine
                          and Adoption of "Defendant Muhtorov's Response to Government's Motion in
                          Limne, Doc. 1607: A Defendant's Self Serving Out−of−Court Statements are
                          Inadmissible Hearsay" (Doc. 1624) (Savitz, David) (Entered: 02/07/2018)
     02/07/2018   1630    MOTION for Extension of Time to File Response/Reply as to 1629 Response
                          to Motion, Unopposed Motion to File out of Deadline its Response (Doc.
                          1629) to the Government's Motion in Limine (Doc. 1607) by Bakhtiyor
                          Jumaev. (Savitz, David) (Entered: 02/07/2018)
     02/07/2018   1631    ORDER granting 1630 Unopposed Motion to File Out of Deadline Its
                          Response Doc. 1629 to the Government's Motion in Limine Doc. 1607 as to
                          Bakhtiyor Jumaev (2). The court accepts the Response [Doc. 1629]. Ordered
                          by Judge John L. Kane on 2/7/2018. Text Only Entry (jlksec) (Entered:
                          02/07/2018)
     02/07/2018   1633    (RESTRICTED DOCUMENT − Level 1) Reply in Support of 1609 Motion
                          in Limine to Exclude by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to
                          add title on 2/8/2018 (cthom, ). (Entered: 02/07/2018)
     02/07/2018   1634    MOTION for Extension of Time to File DEFENDANT JUMAEVS REPLY IN
                          SUPPORT OF HIS MOTION IN LIMINE by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 02/07/2018)
     02/07/2018   1635    Proposed Jury Instructions Revised Proposed Jury Instruction No. 2 by USA
                          as to Bakhtiyor Jumaev (Martinez, Julia) (Entered: 02/07/2018)
     02/07/2018   1637    (RESTRICTED DOCUMENT − Level 3) Subpoena Return as to Bakhtiyor
                          Jumaev. (cthom, ) (Entered: 02/08/2018)
     02/08/2018   1636    ORDER granting 1634 Motion to File Out of Deadline Its Reply Doc. 1633
                          to the Government's Response Doc. 1619 to the Motion in Limine Doc. 1609

                                                                                                       103
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 104 of 183




                          as to Bakhtiyor Jumaev (2). The court accepts the Reply [Doc. 1633].
                          Ordered by Judge John L. Kane on 2/8/2018. Text Only Entry (jlksec)
                          (Entered: 02/08/2018)
     02/12/2018   1638    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 02/12/2018)
     02/12/2018   1639    (RESTRICTED DOCUMENT − Level 1) Government's Exhibit List by USA
                          as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                          Modified to add title on 2/14/2018 (cthom, ). (Entered: 02/12/2018)
     02/13/2018   1640    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 02/13/2018)
     02/14/2018   1641    MINUTE ORDER GRANTING 1640 Government's Motion to Amend
                          Witness List for Trial Set for March 12, 2018 as to Bakhtiyor Jumaev. The
                          Government shall file an Amended Witness List on or before Friday,
                          February 16, 2018. ORDERED by Judge John L. Kane on 2/14/2018. (cthom,
                          ) (Entered: 02/14/2018)
     02/14/2018   1642    MINUTE ORDER as to Bakhtiyor Jumaev re 1609 . In Defendant Jumaev's
                          Reply in Support of his Motion In Limine to Exclude Evidence Seized from
                          Mutorov's Computer [Doc. 1633], he requests the opportunity to supplement
                          his Motion [Doc. 1609] after receiving the government's exhibit list
                          containing the specific evidence from Defendant Jamshid Muthorov's
                          computer and cell phones the government intends to use at trial. The
                          government has now filed its Exhibit List [Doc. 1639−1], and Mr. Jumaev's
                          Motion is on the agenda for the February 21, 2018, hearing. Mr. Jumaev is,
                          therefore, DIRECTED to file any supplement to his Motion on or before
                          February 20, 2018, at noon. Ordered by Judge John L. Kane on 2/14/2018.
                          Text Only Entry (jlksec) (Entered: 02/14/2018)
     02/14/2018   1643    NOTICE to Defendants of in Camera, Ex Parte Under Seal Filing by the
                          United States Pursuant to the Classified Information Procedures Act by USA
                          as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                          02/14/2018)
     02/15/2018   1644    (RESTRICTED DOCUMENT − Level 1) Unclassified Order and Notice of
                          Classified Order by Judge John L. Kane.(cthom, ) (Entered: 02/15/2018)
     02/15/2018   1645    (RESTRICTED DOCUMENT − Level 3) Subpoena Return as to Bakhtiyor
                          Jumaev. (Attachments: # 1 Exhibit)(cthom, ) (Entered: 02/15/2018)
     02/15/2018   1646    (RESTRICTED DOCUMENT − Level 3) Subpoena Returned Unexecuted as
                          to Bakhtiyor Jumaev. (cthom, ) (Entered: 02/15/2018)
     02/16/2018   1647    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Savitz,
                          David) (Entered: 02/16/2018)
     02/20/2018   1650    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 02/20/2018)
     02/20/2018   1651    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Holloway, Gregory) (Entered: 02/20/2018)
     02/20/2018   1652

                                                                                                       104
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 105 of 183




                          RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit)(Savitz, David) (Entered: 02/20/2018)
     02/20/2018   1653    (RESTRICTED DOCUMENT − Level 1) ORDER on Revised Agenda for
                          2/21/2018 Hearing as to Jamshid Muhtorov and Bakhtiyor Jumaev.
                          ORDERED by Judge John L. Kane. (Attachments: # 1 Jury Instructions, # 2
                          Verdict Form, # 3 Jury Introductory Remarks)(cthom, ) (Entered:
                          02/20/2018)
     02/20/2018   1654    Utility Setting/Resetting Deadlines/Hearings as to Bakhtiyor Jumaev. Ex
                          parte hearing is set for 3/1/2018 at 01:30 PM in Courtroom A 802 before
                          Judge John L. Kane, Mr. Jumaev's presence is not required, pursuant to 1653
                          Restricted Order. Text Only Entry. (cthom, ) (Entered: 02/20/2018)
     02/20/2018   1655    NOTICE OF INTENT TO RELY ON FED.R.EVID. 902(13) AND (14)
                          SUPPORT OF AUTHENTICITY OF RECORDS by USA as to Jamshid
                          Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit, # 2
                          Exhibit)(Gibson, Beth) (Entered: 02/20/2018)
     02/21/2018   1656    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Holloway, Gregory) (Entered: 02/21/2018)
     02/21/2018   1657    MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings
                          held before Judge John L. Kane with the United States Government on
                          2/21/2018. Court Reporter: Tamara Hoffschildt. (babia) Text Only Entry
                          Modified on 3/2/2018 to correct spelling of court reporter's last name (lrobe).
                          (Entered: 02/22/2018)
     02/21/2018   1660    MINUTE ENTRY for In Court Hearing proceedings held before Judge John
                          L. Kane on 2/21/2018 as to Jamshid Muhtorov (1), and Bakhtiyor Jumaev
                          (2). Defendants present. in custody. Denying Without Prejudice 1607 Motion
                          in Limine as to Jamshid Muhtorov (1), Bakhtiyor Jumaev (2). ORDERED:
                          Doc. No. 1602 is taken UNDER ADVISEMENT. ORDERED: Any
                          additional expert disclosures shall be made on or before April 23, 2018.
                          ORDERED: The Government needs to submit the list of Jumaev Exhibits, to
                          the Court and to Defense counsel by Thursday, March 1, 2018. Motions due
                          by 3/30/2018. Responses due by 4/13/2018. Replies due by 4/23/2018.
                          Motion Hearing set for 4/27/2018 10:00 AM in Courtroom A 802 before
                          Judge John L. Kane. Defendants REMANDED. Court Reporter: Tamara
                          Hoffschildt. Interpreters: Hasmik Jorgensen and Tatiana Dautkhanova.
                          (babia) (Entered: 02/23/2018)
     02/22/2018   1658    ORDER re Final Trial Preparation Conference as to Bakhtiyor Jumaev.
                          ORDERED by Judge John L. Kane on 2/22/2018. (cthom, ) (Entered:
                          02/22/2018)
     02/23/2018   1662    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Holloway, Gregory) (Entered: 02/23/2018)
     02/26/2018   1663    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell)
                          (Entered: 02/26/2018)
     02/27/2018   1664    NOTICE OF INTENT TO RELY ON FED. R. EVID. 902(13) AND (14) by
                          USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit,

                                                                                                            105
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 106 of 183




                          # 2 Exhibit, # 3 Exhibit)(Holloway, Gregory) (Entered: 02/27/2018)
     02/27/2018   1665    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Attachments: # 1 Proposed Order (PDF Only), # 2 Proposed
                          Document)(Holloway, Gregory) (Entered: 02/27/2018)
     02/27/2018   1666    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Attachments: # 1 Proposed Order (PDF Only), # 2 Proposed
                          Document)(Holloway, Gregory) (Entered: 02/27/2018)
     02/27/2018   1667    NOTICE 2nd AMENDED NOTICE OF INTENT TO RELY ON FED. R.
                          EVID. 902(13) AND (14) by USA as to Jamshid Muhtorov, Bakhtiyor
                          Jumaev (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                          Exhibit)(Holloway, Gregory) (Entered: 02/27/2018)
     02/27/2018   1668    (RESTRICTED DOCUMENT − Level 1) Notice of Classified Order by
                          Judge John L. Kane. (cthom, ) (Entered: 02/27/2018)
     02/27/2018   1670    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit)(Baker, Mitchell) (Entered: 02/27/2018)
     02/27/2018   1671    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 02/27/2018)
     02/28/2018   1672    (RESTRICTED DOCUMENT − Level 1) Motion to Strike and Preclude
                          Testimony by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on
                          2/28/2018 (cthom, ). (Entered: 02/28/2018)
     02/28/2018   1674    (RESTRICTED DOCUMENT − Level 1) ORDER for Writ of Habeas
                          Corpus Ad Testificandum as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                          02/28/2018)
     02/28/2018   1675    (RESTRICTED DOCUMENT − Level 1) ORDER for Writ of Habeas
                          Corpus Ad Testificandum as to Bakhtiyor Jumaev. (cthom, ) (Entered:
                          02/28/2018)
     02/28/2018   1676    MINUTE ORDER as to Defendant Bakhtiyor Jumaev. The government is
                          DIRECTED to respond to Defendant Jumaev's Motion to Strike and to
                          Preclude Testimony at Mr. Jumaev's Trial (Doc. 1672) on or before March 6,
                          2018, at noon. Argument on the motion will be heard at the Final Trial
                          Preparation Conference on March 7, 2018. Although I have granted the
                          government's Motions for Writs of Habeas Corpus Ad Testificandum (Docs.
                          1665 & 1666), my doing so has no bearing on Mr. Jumaev's Motion. Ordered
                          by Judge John L. Kane on 2/28/2018. Text Only Entry (jlksec) (Entered:
                          02/28/2018)
     02/28/2018   1677    Writ of Habeas Corpus ad Testificandum Issued in case as to Bakhtiyor
                          Jumaev (cthom, ) (Entered: 02/28/2018)
     02/28/2018   1678    Writ of Habeas Corpus ad Testificandum Issued in case as to Bakhtiyor
                          Jumaev (cthom, ) (Entered: 02/28/2018)
     02/28/2018   1679    NOTICE To Defedants of In Camera, Ex Parte Under Seal Filing by USA as
                          to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                          02/28/2018)
     03/01/2018   1680
                                                                                                         106
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 107 of 183




                          (RESTRICTED DOCUMENT − Level 1) Order re Defendant Jumaev's 1671
                          Second Renewed Motion for Order Directing the Government to Grant
                          Parole to Mr. Jakhongir Djumaev. ORDERED by Judge John L. Kane.
                          (cthom, ) (Entered: 03/01/2018)
     03/01/2018   1681    NOTICE Amended Notice to Defendants on in Camera, Ex Parte Under Seal
                          Filing by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway,
                          Gregory) (Entered: 03/01/2018)
     03/01/2018   1682    NOTICE of Renewed Motion to Exclude Defendant Jumaev's Expert Witness
                          Testimony by USA as to Bakhtiyor Jumaev (Holloway, Gregory) (Entered:
                          03/01/2018)
     03/01/2018   1683    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 03/01/2018)
     03/01/2018   1685    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                          6 Exhibit)(babia) (Entered: 03/02/2018)
     03/02/2018   1684    TRANSCRIPT of hearing as to Bakhtiyor Jumaev held on February 21, 2018
                          before Judge Kane. Pages: 1−65. <br><br> NOTICE − REDACTION OF
                          TRANSCRIPTS: Within seven calendar days of this filing, each party
                          shall inform the Court, by filing a Notice of Intent to Redact, of the
                          party's intent to redact personal identifiers from the electronic
                          transcript of the court proceeding. If a Notice of Intent to Redact is not
                          filed within the allotted time, this transcript will be made electronically
                          available after 90 days. Please see the Notice of Electronic Availability of
                          Transcripts document at www.cod.uscourts.gov.<br><br> Transcript may
                          only be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                          PACER. (thoff, ) (Entered: 03/02/2018)
     03/02/2018   1686    RESTRICTED DOCUMENT − Level 1: Notice of 1685 Order, by Judge
                          John L. Kane (evana, ) (Entered: 03/02/2018)
     03/02/2018   1687    RESTRICTED DOCUMENT − Level 1: Order 1602 Motion to Compel and
                          1622 Objections by Judge John L. Kane (Attachments: # 1
                          Instruction)(evana, ) (Entered: 03/02/2018)
     03/06/2018   1688    (RESTRICTED DOCUMENT − Level 1) Objeciton to 1683 by Bakhtiyor
                          Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell) Modified to add title on
                          3/6/2018 (cthom, ). (Entered: 03/06/2018)
     03/06/2018   1689    (RESTRICTED DOCUMENT − Level 1) Government's Updated 404(b)
                          Notice by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway,
                          Gregory) Modified to add title on 3/6/2018 (cthom, ). (Entered: 03/06/2018)
     03/06/2018   1690    (RESTRICTED DOCUMENT − Level 1) Response to 1672 Motion by USA
                          as to Bakhtiyor Jumaev (Holloway, Gregory) Modified to add title on
                          3/6/2018 (cthom, ). (Entered: 03/06/2018)
     03/06/2018   1691    MINUTE ENTRY for In Camera Hearing, Ex Parte, Classified proceedings
                          held before Judge John L. Kane with the United States Government on
                          3/6/2018. Court Reporter: Terri Lindblom. (babia) Text Only Entry (Entered:
                          03/06/2018)
                                                                                                         107
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 108 of 183




     03/07/2018   1692    (RESTRICTED DOCUMENT − Level 3) Order re 1482 Restricted
                          Document as to Bakhtiyor Jumaev by Judge John L. Kane. (cthom, )
                          (Entered: 03/07/2018)
     03/07/2018   1696    MINUTE ENTRY for Trial Preparation Conference proceedings held before
                          Judge John L. Kane on 3/7/2018 as to Bakhtiyor Jumaev (2). Granting in Part
                          and Denying in Part 1609 Motion in Limine as to Bakhtiyor Jumaev (2).
                          ORDERED: Doc 1647 is DENIED, as specified. ORDERED:Governments
                          Motion In Limine To Exclude Improper Evidence And Argument In Support
                          Of Jury Nullification (Filed 12/23/16, Doc No. 1211) is DENIED.
                          ORDERED: Governments Motion To Exclude The Testimony Of Leo and
                          Obolsky (Filed 12/23/16; Doc. No. 1212) is DENIED. ORDERED:
                          Governments Renewed Motion as to Doc. Nos. 1211 and 1212 (Filed
                          2/7/2018, Doc. No. 1628) is DENIED. ORDERED: Doc. No. 1672
                          GRANTED, as specified. ORDERED: Counsel shall meet and confer to
                          update the exhibit list, as soon as possible. Court Reporter: Terri Lindblom.
                          Interpreters: Hasmik Jorgensen and Tatiana Dautkhanova. (babia) (Entered:
                          03/09/2018)
     03/09/2018   1693    TRANSCRIPT of Final Trial Preparation Conference as to Bakhtiyor Jumaev
                          held on 3/7/2018 before Judge Kane. Pages: 1−50. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 03/09/2018)
     03/09/2018   1694    NOTICE OF ATTORNEY APPEARANCE: Emily Elizabeth Boehme
                          appearing for Bakhtiyor JumaevAttorney Emily Elizabeth Boehme added to
                          party Bakhtiyor Jumaev(pty:dft) (Boehme, Emily) (Entered: 03/09/2018)
     03/09/2018   1695    (RESTRICTED DOCUMENT − Level 1) Order re Completed Jury
                          Questionnaires as to Bakhtiyor Jumaev. (dkals, ) Modified to add title on
                          3/20/2018 (cthom, ). (Entered: 03/09/2018)
     03/12/2018   1697    MINUTE ENTRY for Jury Trial − Day 1 proceedings held before Judge John
                          L. Kane on 3/12/2018 as to Bakhtiyor Jumaev (2). Jury selection. Court
                          Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky,
                          Muhitdin Ahunhodjaev. (babia) (Entered: 03/12/2018)
     03/12/2018   1698    (RESTRICTED DOCUMENT − Level 1) Objection to Admissibility, Failure
                          to Comply and Provide Disclosures, Request to File Ex Parte Supplement by
                          Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 3/14/2018
                          (cthom, ). (Entered: 03/12/2018)
     03/12/2018   1699    (RESTRICTED DOCUMENT − Level 3) Subpoena Returned Unexecuted as
                          to Bakhtiyor Jumaev. (cthom, ) (Entered: 03/13/2018)
     03/13/2018   1700    MINUTE ENTRY for Jury Trial − Day 2 proceedings held before Judge John
                          L. Kane on 3/13/2018 as to Bakhtiyor Jumaev. Jury selection. Court
                                                                                                      108
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 109 of 183




                          Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky,
                          Muhitdin Ahunhodjaev. (babia) (Entered: 03/13/2018)
     03/14/2018   1701    MINUTE ORDER as to Bakhtiyor Jumaev re 1698 Restricted Document −
                          Level 1 filed by Bakhtiyor Jumaev. Mr. Jumaev is granted leave to file and is
                          DIRECTED to file the ex parte supplement referenced in Doc. 1698 on or
                          before March 15, 2018. Ordered by Judge John L. Kane on 3/14/2018. Text
                          Only Entry (jlksec) (Entered: 03/14/2018)
     03/14/2018   1702    (RESTRICTED DOCUMENT − Level 1) Response to 1698 by USA as to
                          Jamshid Muhtorov, Bakhtiyor Jumaev (Gibson, Beth) Modified to add title
                          on 3/20/2018 (cthom, ). (Entered: 03/14/2018)
     03/14/2018   1703    (RESTRICTED DOCUMENT − Level 3) Subpoenas Returned Executed as
                          to Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(cthom, ) (Entered:
                          03/14/2018)
     03/14/2018   1704    (RESTRICTED DOCUMENT − Level 3) Subpoena Returned Unexecuted by
                          Bakhtiyor Jumaev. (cthom, ) (Entered: 03/14/2018)
     03/14/2018   1705    MINUTE ENTRY for Jury Trial − Day 3 proceedings held before Judge John
                          L. Kane on 3/14/2018 as to Bakhtiyor Jumaev. Jury selection. Court
                          Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky,
                          and Muhitdin Ahunhodjaev. (babia) (Entered: 03/14/2018)
     03/15/2018   1706    RESTRICTED DOCUMENT − Level 3: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit, # 2 Exhibit)(Baker, Mitchell) (Entered:
                          03/15/2018)
     03/15/2018   1707    NOTICE of Intent to Use Evidence by Bakhtiyor Jumaev (Attachments: # 1
                          Exhibit, # 2 Exhibit, # 3 Exhibit)(Baker, Mitchell) (Entered: 03/15/2018)
     03/15/2018   1708    MINUTE ENTRY for Jury Trial − Day 4 proceedings held before Judge John
                          L. Kane on 3/15/2018 as to Bakhtiyor Jumaev (2). Jury selection. Court
                          Reporter: Terri Lindblom. Interpreter: Hasmik Jorgensen, Irina Kamensky,
                          and Muhitdin Ahunhodjaev. (babia) (Entered: 03/15/2018)
     03/16/2018   1709    (RESTRICTED DOCUMENT − Level 1) Supplemental Notice of Intent by
                          USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Attachments: # 1 Exhibit,
                          # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                          Exhibit, # 9 Exhibit, # 10 Exhibit)(Holloway, Gregory) Modified to add title
                          on 3/20/2018 (cthom, ). (Entered: 03/16/2018)
     03/16/2018   1710    (RESTRICTED DOCUMENT − Level 1) Notice of Attempt re 1680 Order
                          by USA as to Bakhtiyor Jumaev (Gibson, Beth) Modified to add title on
                          3/20/2018 (cthom, ). (Entered: 03/16/2018)
     03/19/2018   1711    (RESTRICTED DOCUMENT − Level 1) Motion to Strike by Bakhtiyor
                          Jumaev. (Baker, Mitchell) Modified to add title on 3/20/2018 (cthom, ).
                          (Entered: 03/19/2018)
     03/19/2018   1712    (RESTRICTED DOCUMENT − Level 1) Continuing Objection by
                          Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 3/20/2018
                          (cthom, ). (Entered: 03/19/2018)
     03/19/2018   1713

                                                                                                              109
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 110 of 183




                          (RESTRICTED DOCUMENT − Level 1) Motion to Limine by USA as to
                          Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway, Gregory) Modified to add
                          title on 3/20/2018 (cthom, ). (Entered: 03/19/2018)
     03/20/2018   1714    (RESTRICTED DOCUMENT − Level 1) Government's Second Amended
                          Exhibit List by USA as to Bakhtiyor Jumaev (Attachments: # 1
                          Exhibit)(Holloway, Gregory) Modified to add title on 3/20/2018 (cthom, ).
                          (Entered: 03/20/2018)
     03/20/2018   1715    (RESTRICTED DOCUMENT − Level 1) ORDER as to Bakhtiyor Jumaev
                          by Judge John L. Kane. (cthom, ) (Entered: 03/20/2018)
     03/20/2018   1716    (RESTRICTED DOCUMENT − Level 1) Order re 1713 by Judge John L.
                          Kane. (cthom, ) (Entered: 03/20/2018)
     03/20/2018   1717    (RESTRICTED DOCUMENT − Level 1) Order re The Government's Exhibit
                          List and Defendant Jumaev's Objections by Judge John L. Kane. (cthom, )
                          (Entered: 03/20/2018)
     03/20/2018   1718    (RESTRICTED DOCUMENT − Level 1) Order Denying 1711 Motion to
                          Strike by Bakhtiyor Jumaev. (cthom, ) (Entered: 03/20/2018)
     03/22/2018   1719    (RESTRICTED DOCUMENT − Level 1) Order re 1649 and 1712 as to
                          Jamshid Muhtorov and Bakhtiyor Jumaev. (cthom, ) (Entered: 03/22/2018)
     03/22/2018   1720    (RESTRICTED DOCUMENT − Level 1) Notice of Classified Order as to
                          Jamshid Muhtorov and Bakhtiyor Jumaev. (cthom, ) (Entered: 03/22/2018)
     03/22/2018   1721    MINUTE ENTRY for Jury Trial−Day 5 proceedings held before Judge John
                          L. Kane on 3/22/2018 as to Bakhtiyor Jumaev(2). Court Reporter: Tamara
                          Hoffschildt. Interpreter: Hasmik Jorgensen, Irina Kamensky, and Tatiana
                          Dautkhanova. (babia) (Entered: 03/22/2018)
     03/23/2018   1722    (RESTRICTED DOCUMENT − Level 1) Continuing Objection to Electronic
                          Evidence by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell)
                          Modified to add title on 3/23/2018 (cthom, ). (Entered: 03/23/2018)
     03/23/2018   1723    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Attachments: # 1 Exhibit)(Holloway, Gregory) (Entered: 03/23/2018)
     03/23/2018   1724    RESTRICTED DOCUMENT − Level 1: by USA as to Jamshid Muhtorov,
                          Bakhtiyor Jumaev (Gibson, Beth) (Entered: 03/23/2018)
     03/25/2018   1725    (RESTRICTED DOCUMENT − Level 1) Motion regarding Steinberg
                          Testimony by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on
                          3/28/2018 (cthom, ). (Entered: 03/25/2018)
     03/25/2018   1726    (RESTRICTED DOCUMENT − Level 1) Notice of Objections to Third
                          Exhibit List by Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on
                          3/28/2018 (cthom, ). (Entered: 03/25/2018)
     03/26/2018   1729    MINUTE ENTRY for Jury Trial − Day 6 proceedings held before Judge John
                          L. Kane on 3/26/2018 as to Bakhtiyor Jumaev. ORDERED: Doc. No. 1725 is
                          DENIED. Court Reporter: Tamara Hoffschildt. Interpreter: Nodira
                          Matyakubova, Irina Kamensky, and Muhitdin Ahunhodjaev. (babia)
                          (Entered: 03/27/2018)

                                                                                                         110
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 111 of 183




     03/27/2018   1727    MOTION to Suppress Renew Suppression Motions by Bakhtiyor Jumaev.
                          (Savitz, David) (Entered: 03/27/2018)
     03/27/2018   1730    MINUTE ENTRY for Jury Trial Day 7 proceedings held before Judge John
                          L. Kane on 3/27/2018 as to Bakhtiyor Jumaev. Denying 1727 Motion to
                          Suppress as to Bakhtiyor Jumaev (2). Court Reporter: Tamara Hoffschildt.
                          Interpreter: Nodira Matyakubova and Irina Kamensky. (babia) (Entered:
                          03/27/2018)
     03/28/2018   1731    MINUTE ENTRY for Jury Trial Day 8 proceedings held before Judge John
                          L. Kane on 3/28/2018 as to Bakhtiyor Jumaev. Court Reporter: Tamara
                          Hoffschildt. Interpreter: Nodira Matyakubova and Irina Kamensky. (babia)
                          (Additional attachment(s) added on 3/28/2018: # 1 Juror Question 1) (babia).
                          Modified on 3/29/2018 (babia). (Entered: 03/29/2018)
     03/29/2018   1732    MINUTE ENTRY for Jury Trial Day 9 proceedings held before Judge John
                          L. Kane on 3/29/2018 as to Bakhtiyor Jumaev. ORDERED: Defendants Oral
                          Renewed Motion To Suppress is DENIED. Court Reporter: Tamara
                          Hoffschildt. Interpreter: Nodira Matyakubova and Irina Kamensky. (babia)
                          (Entered: 03/29/2018)
     04/02/2018   1737    STIPULATION by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                          04/02/2018)
     04/02/2018   1743    NOTICE TO DEFENDANTS OF IN CAMERA, EX PARTE UNDER SEAL
                          FILING by USA as to Jamshid Muhtorov, Bakhtiyor Jumaev (Holloway,
                          Gregory) (Entered: 04/02/2018)
     04/02/2018   1744    MINUTE ENTRY for Jury Trial Day 10 proceedings held before Judge John
                          L. Kane on 4/2/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza
                          Rahmanova. (babia) (Entered: 04/02/2018)
     04/03/2018   1745    MINUTE ENTRY for Jury Trial Day 11 proceedings held before Judge John
                          L. Kane on 4/3/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreters: Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza
                          Rahmanova. (babia) (Additional attachment(s) added on 5/1/2018: # 1
                          Redacted Jury Note) (babia, ). (Entered: 04/03/2018)
     04/06/2018   1748    RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Holloway, Gregory) (Entered: 04/06/2018)
     04/08/2018   1749    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit)(Baker, Mitchell) (Entered: 04/08/2018)
     04/09/2018   1751    MINUTE ENTRY for Jury Trial Day 12 proceedings held before Judge John
                          L. Kane on 4/9/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, Tatiana
                          Dautkhanova, and Sanjar Babadjanov. (Attachments: # 1 Juror Question 2)
                          (babia) (Entered: 04/10/2018)
     04/10/2018   1752    MINUTE ENTRY for Jury Trial Day 13 proceedings held before Judge John
                          L. Kane on 4/10/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, tatiana
                          Dautkhanova, and Sanjar Babadjanov. (babia) (Entered: 04/10/2018)

                                                                                                         111
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 112 of 183




     04/11/2018   1753    MINUTE ENTRY for Jury Trial Day 14 proceedings held before Judge John
                          L. Kane on 4/11/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, and
                          Tatiana Dautkhanova. (Attachments: # 1 Juror Comment) (babia) (Entered:
                          04/12/2018)
     04/11/2018   1754    Amended re 1753 MINUTE ENTRY for Jury Trial Day 14 proceedings held
                          before Judge John L. Kane on 4/11/2018 as to Bakhtiyor Jumaev. Court
                          Reporter: Terri Lindblom. Interpreter: Nodira Matyakubova, Muhitdin
                          Ahunhodjaev, and Tatiana Dautkhanova. (babia) (Entered: 04/12/2018)
     04/12/2018   1755    MINUTE ENTRY for Jury Trial Day 15 proceedings held before Judge John
                          L. Kane on 4/12/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreters: Muhitdin Ahunhodjaev and Nodira Matyakubova.
                          (babia) (Entered: 04/12/2018)
     04/15/2018   1757    (RESTRICTED DOCUMENT − Level 1) Amended Exhibit List by
                          Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker, Mitchell) Modified to
                          add title on 4/16/2018 (cthom, ). (Entered: 04/15/2018)
     04/16/2018   1758    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev.
                          (Attachments: # 1 Exhibit)(Baker, Mitchell) (Entered: 04/16/2018)
     04/16/2018   1759    MINUTE ENTRY for Jury Trial Day 16 proceedings held before Judge John
                          L. Kane on 4/16/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza
                          Rahmanova. (babia) (Entered: 04/16/2018)
     04/17/2018   1760    RESTRICTED TRANSCRIPT of proceedings held on January 13, 2017
                          before Judge Kane. Pages: 657−827. (thoff, ) Modified to show same
                          transcript at 1255 on 4/17/2018 (cthom, ). (Entered: 04/17/2018)
     04/17/2018   1761    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Baker,
                          Mitchell) (Entered: 04/17/2018)
     04/17/2018   1762    MINUTE ORDER granting 1761 Motion to Restrict. The clerk is directed to
                          place Doc. 1142 and attachments under Restriction Level 1 to be viewable by
                          the parties and the court. The docket entry shall be changed to "Notice."
                          ORDERED by Judge John L. Kane on 4/17/2018. Text Only Entry. (cthom, )
                          (Entered: 04/17/2018)
     04/17/2018   1763    MINUTE ENTRY for Jury Trial Day 17 proceedings held before Judge John
                          L. Kane on 4/17/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreters: Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza
                          Rahmanova. (babia) (Entered: 04/17/2018)
     04/18/2018   1764    TRANSCRIPT of Jury Trial opening statements as to Bakhtiyor Jumaev held
                          on March 22, 2018 before Judge Kane. Pages: 1−91.

                           NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                          days of this filing, each party shall inform the Court, by filing a Notice of
                          Intent to Redact, of the party's intent to redact personal identifiers from
                          the electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic

                                                                                                      112
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 113 of 183




                          Availability of Transcripts document at www.cod.uscourts.gov.

                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 04/18/2018)
     04/18/2018   1765    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 26, 2018
                          before Judge Kane. Pages: 92−252.

                           NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                          days of this filing, each party shall inform the Court, by filing a Notice of
                          Intent to Redact, of the party's intent to redact personal identifiers from
                          the electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.

                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 04/18/2018)
     04/18/2018   1766    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 27, 2018
                          before Judge Kane. Pages: 253−456.

                           NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                          days of this filing, each party shall inform the Court, by filing a Notice of
                          Intent to Redact, of the party's intent to redact personal identifiers from
                          the electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.

                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 04/18/2018)
     04/18/2018   1767    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 28, 2018
                          before Judge Kane. Pages: 457−637.

                           NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                          days of this filing, each party shall inform the Court, by filing a Notice of
                          Intent to Redact, of the party's intent to redact personal identifiers from
                          the electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.

                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 04/18/2018)
     04/18/2018   1768    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on March 29, 2018
                          before Judge Kane. Pages: 638−730.

                                                                                                      113
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 114 of 183




                           NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                          days of this filing, each party shall inform the Court, by filing a Notice of
                          Intent to Redact, of the party's intent to redact personal identifiers from
                          the electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.

                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 04/18/2018)
     04/18/2018   1769    MINUTE ENTRY for Jury Trial Day 18 proceedings held before Judge John
                          L. Kane on 4/18/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza
                          Rahmanova. (babia) (Entered: 04/18/2018)
     04/19/2018   1772    MINUTE ENTRY for Jury Trial Day 19 proceedings held before Judge John
                          L. Kane on 4/19/2018 as to Bakhtiyor Jumaev. Court Reporter: Terri
                          Lindblom. Interpreter: Sanjar Babadjanov, Hasmik Jorgensen, and Shahnoza
                          Rahmanova. (babia) (Entered: 04/19/2018)
     04/19/2018   1773    (RESTRICTED DOCUMENT − Level 1) Response to 1748 Motion by
                          Bakhtiyor Jumaev. (Baker, Mitchell) Modified to add title on 4/20/2018
                          (cthom, ). (Entered: 04/19/2018)
     04/20/2018   1774    MINUTE ORDER as to Bakhtiyor Jumaev. The Motion Hearing scheduled
                          for 2:30 p.m. on Friday, April 20, 2018, is VACATED. The Court will issue
                          a written order today regarding the motion in ECF No. 1748. Ordered by
                          Judge John L. Kane on 4/20/2018. Text Only Entry (jlksec) (Entered:
                          04/20/2018)
     04/20/2018   1775    (RESTRICTED DOCUMENT − Level 1) Order as Bakhtiyor Jumaev by
                          Judge John L. Kane. (cthom, ) (Entered: 04/20/2018)
     04/22/2018   1777    RESTRICTED DOCUMENT − Level 1: by Bakhtiyor Jumaev. (Savitz,
                          David) (Entered: 04/22/2018)
     04/23/2018   1779    (RESTRICTED DOCUMENT − Level 1) Government's Fourth Amended
                          Exhibit List by USA as to Bakhtiyor Jumaev (Attachments: # 1
                          Exhibit)(Holloway, Gregory) Modified to add title on 4/24/2018 (cthom, ).
                          (Entered: 04/23/2018)
     04/23/2018   1782    (RESTRICTED DOCUMENT − Level 1) Proposed First Amendment Jury
                          Instruction by Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Baker,
                          Mitchell) Modified to add title on 4/24/2018 (cthom, ). (Entered: 04/23/2018)
     04/23/2018   1783    Proposed Jury Instructions by USA as to Bakhtiyor Jumaev (Attachments: #
                          1 Exhibit)(Martinez, Julia) (Entered: 04/23/2018)
     04/23/2018   1789    MINUTE ENTRY for Jury Trial Day 20 proceedings held before Judge John
                          L. Kane on 4/23/2018 as to Bakhtiyor Jumaev. ORDERED: Defendant
                          Jumaevs Resquest [sic] For A Special Instruction Prior To The CHS
                          Testimony (Filed 4/22/18; Doc. No.1777) is GRANTED. ORDERED: Any

                                                                                                      114
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 115 of 183




                          exhibit that contains an image of witness (Mr. X) shall be under SEAL.
                          ORDERED: The transcript and notes of the Mr. X are SEALED, and are not
                          to be unsealed, without FIRST OBTAINING THE WRITTEN ORDER OF
                          THIS COURT. It is FURTHER ORDERED that any reference to this
                          testimony in any brief or pleading, hereafter filed, shall be redacted of any
                          reference that identifies this particular witness, and the redactions will
                          likewise be identified and placed under SEAL with the same restriction, and
                          in the same location requiring a WRITTEN ORDER authorizing unsealing.
                          Court Reporter: Tamara Hoffschildt. Interpreter: Nodira Matyakubova,
                          Muhitdin Ahunhodjaev, and Tatiana Dautkhanova. (babia) (Entered:
                          04/24/2018)
     04/24/2018   1785    TRANSCRIPT of Trial to Jury − Day 10 as to Bakhtiyor Jumaev held on
                          4/2/2018 before Judge Kane. Pages: 731−902. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 04/24/2018)
     04/24/2018   1786    TRANSCRIPT of Trial to Jury − Day 11 as to Bakhtiyor Jumaev held on
                          4/3/2018 before Judge Kane. Pages: 903−981. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 04/24/2018)
     04/24/2018   1787    STIPULATION by Bakhtiyor Jumaev (Baker, Mitchell) (Entered:
                          04/24/2018)
     04/24/2018   1788    (RESTRICTED DOCUMENT − Level 1) Government's Fifth Amended
                          Exhibit List by USA as to Bakhtiyor Jumaev (Attachments: # 1
                          Exhibit)(Holloway, Gregory) Modified to add title on 4/25/2018 (cthom, ).
                          (Entered: 04/24/2018)
     04/24/2018   1790    MINUTE ENTRY for Jury Trial Day 21 proceedings held before Judge John
                          L. Kane on 4/24/2018 as to Bakhtiyor Jumaev. ORDERED: Defendants
                          Renewed Oral Motion for Judgment of Acquittal is DENIED. **After
                          meeting with counsel, the following are confirmed admitted/stipulated
                          exhibits and will accompany the Jury once they are excused to begin their
                          deliberations:Governments Exhibits −1, 14, 22, 23, 23A, 25, 26, 26A, 28,
                          28A, 28B, 28C, 28D, 28E, 28F, 28G, 40, 41, 42, 43, 44, 45, 46, 47, 49, 50,

                                                                                                          115
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 116 of 183




                          51, 52, 53, 71B−1, 71B−2, 73B, 74B, 96, 97B, 101, 101A, 105, 105A, 107,
                          107A, 109, 109A, 111, 111A, 112, 112A, 113, 113A, 116, 116A, 116B,
                          116C, 116D, 116E, 116F, 116G, 118, 123, 123A, 125, 125A, 127, 127A,
                          128, 128A, 129, 129A, 130, 130A, 131, 131A, 131B, 132, 132A, 133, 133A,
                          138, 138A, 139, 139A, 141, 141A, 144A, 145, 145A, 149, 149A, 157A,
                          168A, 170, 170A, 200, 201, 203, 220, 222, 229, 231, 234, 235, 236, 237,
                          240, 241, 242, 245, 247, 258, 259, 271, 272, 276, 282, 302, 305A, 306A,
                          307, 307A, 307B, 307C, 313, 313A, 332, 332A−1, 332A, 332B, 332C, 332D,
                          332E, 332F, 332G, 332H, 424, 476, 479, 480, 535, 536, 540, 541, 542, 561A,
                          561B, and 561C.Defendants Exhibits − 602, 604, 605, 606, 607, 608, 609,
                          610, 611, 612, 614, 619, 621, 621A, 624, 625, 626A, 627, 627A, 637, 638,
                          639, 643, 644, 645, 646, 659A, 660A, 661A, 662A, 666A, 670A, 671A,
                          672A, 673A, 677A, 680A, 683A, 692A, 696A, 698A, 711, 712, 714, 716,
                          734, 736, 738, 739, 741, 755, 757, 757A, 758, 758A, 761, 763, 777, 778,
                          779, 780, 782, 789, 799, 801, 802, and 803. Court Reporter: Tamara
                          Hoffschildt. Interpreters: Nodira Matyakubova, Muhitdin Ahunhodjaev, and
                          Tatiana Dautkhanova. (babia) (Entered: 04/24/2018)
     04/25/2018   1794    MINUTE ENTRY for Jury Trial Day 22 proceedings held before Judge John
                          L. Kane on 4/25/2018 as to Bakhtiyor Jumaev. Court Reporter: Tamara
                          Hoffschildt. Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, and
                          Tatiana Dautkhanova. (Attachments: # 1 Jury Question 1, # 2 Final Jury
                          Instructions, # 3 Final Verdict Form) (babia) (Entered: 04/25/2018)
     04/25/2018   1795    STIPULATION AND ORDER GOVERNING THE CUSTODY AND
                          DISPOSITION OF TRIAL EXHIBITS, DEPOSITIONS, TRANSCRIPTS,
                          AND PAPERS as to Bakhtiyor Jumaev by Judge John L. Kane on 4/25/2018.
                          (babia) (Entered: 04/25/2018)
     04/25/2018   1798    Amended re 1794 MINUTE ENTRY for Jury Trial Day 22 proceedings held
                          before Judge John L. Kane on 4/25/2018 as to Bakhtiyor Jumaev.
                          ORDERED: The Clerks Office is directed to provide lunch for the 12
                          deliberating Jurors plus 1 alternate Juror in this case. Court Reporter: Tamara
                          Hoffschildt. Interpreter: Nodira Matyakubova, Muhitdin Ahunhodjaev, and
                          Tatiana Dautkhanova. (babia) (Entered: 04/26/2018)
     04/26/2018   1799    MINUTE ENTRY for Jury Trial Day 23 proceedings held before Judge John
                          L. Kane on 4/26/2018 as to Bakhtiyor Jumaev. ORDERED: The Clerk's
                          Office is directed to provide lunch for the 12 deliberating Jurors plus 1
                          alternate Juror in this case. Court Reporter: Tamara Hoffschildt. Interpreter:
                          Nodira Matyakubova, Muhitdin Ahunhodjaev, and Tatiana Dautkhanova.
                          (babia) (Additional attachment(s) added on 4/30/2018: # 1 Note to the
                          Court1, # 2 note to the Court2, # 3 note to the Court3, # 4 Jury Question
                          2_Response from the Court) (babia, ). (Entered: 04/26/2018)
     04/27/2018   1801    MINUTE ENTRY for Jury Trial Day 24 proceedings held before Judge John
                          L. Kane on 4/27/2018 as to Bakhtiyor Jumaev. ORDERED:The Clerks Office
                          is directed to provide lunch for the 12 deliberating Jurors plus 1 alternate
                          Juror in this case. Court Reporter: Terri Lindblom. Interpreter: Nodira
                          Matyakubova and Muhitdin Ahunhodjaev. (babia) (Entered: 04/27/2018)
     04/27/2018   1802    AMENDED MINUTE ENTRY re 1801 for Jury Trial Day 24 proceedings
                          held before Judge John L. Kane on 4/27/2018, as to Bakhtiyor Jumaev held.
                          Court Reporter: Terri Lindblom. Interpreter: Nodira Matyakubova and
                                                                                                            116
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 117 of 183




                          Muhitdin Ahunhodjaev. (babia) (Additional attachment(s) added on
                          4/30/2018: # 1 Exhibit) (babia, ). (Additional attachment(s) added on
                          4/30/2018: # 2 note to the Court) (babia, ). (Entered: 04/30/2018)
     04/30/2018   1803    MINUTE ENTRY for Jury Trial Day 25 proceedings held before Judge John
                          L. Kane on 4/30/2018 as to Bakhtiyor Jumaev. JURY VERDICT as to
                          Bakhtiyor Jumaev (2) Guilty on Counts 1ss−2ss. Sentencing is set for
                          7/18/2018 10:00 AM in Courtroom A 802 before Judge John L. Kane. Court
                          Reporter: Terri Lindblom. Interpreter: Irina Kamensky and Tatiana
                          Dautkhanova. (Attachments: # 1 Receipt) (babia) (Entered: 04/30/2018)
     04/30/2018   1804    Jury Verdict Un−Redacted − Level 4 − Viewable by Court Only (babia)
                          (Entered: 04/30/2018)
     04/30/2018   1805    JURY VERDICT Redacted as to Bakhtiyor Jumaev (babia) (Entered:
                          04/30/2018)
     05/04/2018   1811    RESTRICTED TRANSCRIPT of proceedings held on April 23, 2018 before
                          Judge Kane. Pages: 1913−2003. (thoff, ) (Entered: 05/04/2018)
     05/04/2018   1812    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 23, 2018
                          before Judge Kane. Pages: 2004−2051. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 05/04/2018)
     05/04/2018   1813    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 24, 2018
                          before Judge Kane. Pages: 2052−2147. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 05/04/2018)
     05/04/2018   1814    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 25, 2018
                          before Judge Kane. Pages: 2148−2326. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic

                                                                                                        117
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 118 of 183




                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 05/04/2018)
     05/09/2018   1820    (RESTRICTED DOCUMENT − Level 1) ORDER at to Jamshid Muhtorov
                          and Bakhtiyor Jumaev. (cthom, ) (Entered: 05/09/2018)
     05/14/2018   1827    (RESTRICTED DOCUMENT − Level 1) Motion to Set Aside Verdict by
                          Bakhtiyor Jumaev. (Attachments: # 1 Exhibit)(Savitz, David) Modified to
                          add title on 6/5/2018 (cthom, ). (Entered: 05/14/2018)
     05/14/2018   1828    Conventionally Submitted Material : 1 Compact Disc Containing Exhibit B
                          to 1827 Restricted Document − Level 1 by Defendant Bakhtiyor Jumaev.
                          Text Only Entry. (cthom, ) (Entered: 05/14/2018)
     05/15/2018   1830    MINUTE ORDER as to Bakhtiyor Jumaev. The government is DIRECTED
                          to file a response to Defendant Jumaev's Motion to Set Aside Verdict 1827
                          on or before May 29, 2018. Any reply is due on or before June 5, 2018.
                          Ordered by Judge John L. Kane on 5/15/2018. Text Only Entry (jlksec)
                          (Entered: 05/15/2018)
     05/15/2018   1832    TRANSCRIPT of Trial to Jury − Day 12 as to Bakhtiyor Jumaev held on
                          4/9/2018 before Judge Kane. Pages: 982−1115. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/15/2018)
     05/18/2018   1836    MINUTE ORDER as to Defendant Bakhtiyor Jumaev. The sentencing for
                          Defendant Jumaev is set for July 18, 2018, at 10:00 a.m., making the deadline
                          for the initial Presentence Investigation Report June 13, 2018. Any objections
                          to the Presentence Investigation Report are due June 27, 2018. The
                          government is DIRECTED to file its Sentencing Statement on or before June
                          13, 2018, and Mr. Jumaev is DIRECTED to file his Sentencing Statement on
                          or before June 28, 2018. Ordered by Judge John L. Kane on 5/18/2018. Text
                          Only Entry (jlksec) (Entered: 05/18/2018)
     05/22/2018   1841    TRANSCRIPT of Trial to Jury − Day 13 as to Bakhtiyor Jumaev held on
                          4/10/2018 before Judge Kane. Pages: 1117−1206. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased

                                                                                                       118
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 119 of 183




                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/22/2018   1842    TRANSCRIPT of Trial to Jury − Day 14 as to Bakhtiyor Jumaev held on
                          4/11/2018 before Judge Kane. Pages: 1207−1311. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/22/2018   1843    TRANSCRIPT of Trial to Jury − Day 15 as to Bakhtiyor Jumaev held on
                          4/12/2018 before Judge Kane. Pages: 1312−1418. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/22/2018   1844    TRANSCRIPT of Trial to Jury − Day 16 as to Bakhtiyor Jumaev held on
                          4/16/2018 before Judge Kane. Pages: 1419−1558. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/22/2018   1845    TRANSCRIPT of Trial to Jury Day 17 as to Bakhtiyor Jumaev held on
                          4/17/2018 before Judge Kane. Pages: 1559−1676. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for

                                                                                                    119
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 120 of 183




                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/22/2018   1846    TRANSCRIPT of Trial to Jury − Day 18 as to Bakhtiyor Jumaev held on
                          4/18/2018 before Judge Kane. Pages: 1677−1767. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/22/2018   1847    TRANSCRIPT of Trial to Jury − Day 19 as to Bakhtiyor Jumaev held on
                          4/19/2018 before Judge Kane. Pages: 1768−1914. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 05/22/2018)
     05/29/2018   1857    (RESTRICTED DOCUMENT − Level 1) Response to 1827 Motion to Set
                          Aside Verdict by USA as to Bakhtiyor Jumaev (Holloway, Gregory)
                          Modified to add title on 6/5/2018 (cthom, ). (Entered: 05/29/2018)
     06/01/2018   1867    Writ of Habeas Corpus ad Testificandum Issued as to Bakhtiyor Jumaev for
                          6/18/2018 in case as to Jamshid Muhtorov. (cthom, ) (Entered: 06/01/2018)
     06/05/2018   1872    (RESTRICTED DOCUMENT − Level 1) REPLY to Response to 1827
                          Motion to Set Aside Verdict by Bakhtiyor Jumaev. (Attachments: # 1
                          Exhibit)(Savitz, David) Modified to add title on 6/5/2018 (cthom, ). (Entered:
                          06/05/2018)
     06/13/2018   1883    (RESTRICTED DOCUMENT − Level 1) Government's Sentencing
                          Statement by USA as to Bakhtiyor Jumaev (Attachments: # 1
                          Exhibit)(Holloway, Gregory) Modified to add title on 6/14/2018 (cthom, ).
                          (Entered: 06/13/2018)
     06/14/2018   1884    (RESTRICTED DOCUMENT − Level 1) Amended Sentencing Statement by
                          USA as to Bakhtiyor Jumaev (Attachments: # 1 Exhibit)(Holloway, Gregory)
                          Modified to add title on 6/14/2018 (cthom, ). (Entered: 06/14/2018)
     06/14/2018   1885    RESTRICTED PRESENTENCE REPORT first disclosure for attorney
                          review as to Bakhtiyor Jumaev (sdean, ) (Entered: 06/14/2018)
     06/22/2018   1902    RESTRICTED DOCUMENT − Level 2 Order re: 1827 RESTRICTED
                          DOCUMENT − Level 1 Motion to Set Aside Verdict as to Bakhtiyor
                          Jumaev. (athom, ) Modified on 6/22/2018 to add text (athom, ). (Entered:

                                                                                                       120
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 121 of 183




                          06/22/2018)
     06/25/2018   1903    MOTION to Withdraw as Attorney by Emily Elizabeth Boehme by
                          Bakhtiyor Jumaev. (Boehme, Emily) (Entered: 06/25/2018)
     06/25/2018   1904    ORDER granting 1903 Motion to Withdraw as Attorney. Emily Elizabeth
                          Boehme withdrawn from case as to Bakhtiyor Jumaev (2). The Clerk is
                          directed to remove Emily Elizabeth Boehme from the CM/ECF notification
                          system in connection with this case. ORDERED by Judge John L. Kane on
                          6/25/2018. (cthom, ) (Entered: 06/25/2018)
     06/25/2018   1905    (RESTRICTED DOCUMENT − Level 2) MINUTE ORDER regarding 1902
                          Order as to Bakhtiyor Jumaev. (cthom, ) (Entered: 06/25/2018)
     06/26/2018   1906    MINUTE ORDER as to Bakhtiyor Jumaev re 1902 Restricted Document −
                          Level 2. Restriction of the Preliminary Order is no longer necessary. The
                          Order issued Friday is, therefore, SUBSTITUTED with the Unrestricted
                          Preliminary Order attached to this Minute Order. ORDERED by Judge John
                          L. Kane on 6/26/2018. (Attachments: # 1 Unrestricted Preliminary Order)
                          (cthom, ) (Entered: 06/26/2018)
     06/26/2018   1907    MINUTE ENTRY for In Court Hearing proceedings held before Judge John
                          L. Kane on 6/26/2018 as to Bakhtiyor Jumaev. Court Reporter: Tammy
                          Hoffschildt. (babia) (Entered: 06/26/2018)
     06/28/2018   1908    BAKHTIYOR JUMAEVS SENTENCING STATEMENT AND MOTION
                          FOR VARIANT SENTENCE (Attachments: # 1 Exhibit)(Savitz, David)
                          Modified to un−restrict and add title on 7/20/2018 (cthom, ). (Entered:
                          06/28/2018)
     06/28/2018   1909    TRANSCRIPT of hearing as to Bakhtiyor Jumaev held on June 26, 2018
                          before Judge Kane. Pages: 1−13. <br><br> NOTICE − REDACTION OF
                          TRANSCRIPTS: Within seven calendar days of this filing, each party
                          shall inform the Court, by filing a Notice of Intent to Redact, of the
                          party's intent to redact personal identifiers from the electronic
                          transcript of the court proceeding. If a Notice of Intent to Redact is not
                          filed within the allotted time, this transcript will be made electronically
                          available after 90 days. Please see the Notice of Electronic Availability of
                          Transcripts document at www.cod.uscourts.gov.<br><br> Transcript may
                          only be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                          PACER. (thoff, ) (Entered: 06/28/2018)
     06/28/2018   1910    OBJECTION/RESPONSE to Presentence Report 1885 by Bakhtiyor Jumaev
                          (Savitz, David) (Entered: 06/28/2018)
     06/28/2018   1911    ORDER as to Bakhtiyor Jumaev Denying 1827 Restricted Document − Level
                          1: Motion to Set Aside Verdict filed by Bakhtiyor Jumaev, by Judge John L.
                          Kane on 06/28/2018. (sphil, ) (Entered: 06/28/2018)
     07/02/2018   1914    NOTICE of Rejections of U.S. Sentencing Guidelines as to Bakhtiyor
                          Jumaev and Jamshid Muhtorov. ORDERED by Judge John L. Kane on
                          7/2/2018. (cthom, ) Modified to add text on 7/30/2018 (cthom, ). (Entered:
                          07/02/2018)
     07/10/2018   1915
                                                                                                       121
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 122 of 183




                              RESTRICTED PRESENTENCE REPORT as to Bakhtiyor Jumaev
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B)(sdean, ) (Entered: 07/10/2018)
     07/10/2018   1916        RESTRICTED ADDENDUM to Presentence Report 1915 as to Bakhtiyor
                              Jumaev (sdean, ) (Entered: 07/10/2018)
     07/13/2018   1917        BAKHTIYOR JUMAEVS SUPPLEMENTAL MATERIALS IN SUPPORT
                              OF HIS SENTENCING STATEMENT (Attachments: # 1 Exhibit)(Savitz,
                              David) Modified to un−restrict and add title on 7/20/2018 (cthom, ).
                              (Entered: 07/13/2018)
     07/13/2018   1919        (RESTRICTED DOCUMENT − Level 2) Letter from Bakhtiyor Jumaev.
                              (cthom, ) (Entered: 07/13/2018)
     07/18/2018   1920   128 MEMORANDUM OPINION and ORDER on Sentencing as to Bakhtiyor
                             Jumaev. ORDERED by Judge John L. Kane on 7/18/2018. (Attachments: # 1
                             Appendix) (cthom, ) (Entered: 07/18/2018)
     07/18/2018   1921        MINUTE ENTRY for Sentencing proceedings held before Judge John L.
                              Kane on 7/18/2018 as to defendant Bakhtiyor Jumaev. Defendant sentenced
                              as reflected on the record. Court Reporter: Terri Lindblom. Interpreter: Irina
                              Kamensky and Tatiana Dautkhanova. (babia) (Entered: 07/18/2018)
     07/19/2018   1922        FINAL JUDGMENT as to Defendant Bakhtiyor Jumaev (2). Defendant to be
                              sentenced to a term of TIME SERVED, as to Counts One and Two, to be
                              served concurrently. Defendant shall be placed on Supervised Release for a
                              term of 10 years on Counts One and Two, to be served concurrently.
                              Assessment $200. Counts 1−4 of the Indictment, 1−2 of the Superseding
                              Indictment, and 5−6 of the Second Superseding Indictment are Dismissed by
                              Judge John L. Kane on 7/18/18. (babia) (Entered: 07/19/2018)
     07/19/2018   1923        STATEMENT OF REASONS as to Bakhtiyor Jumaev. (babia) (Entered:
                              07/19/2018)
     07/20/2018   1925        MOTION to Unrestrict Document 1908 Restricted Document − Level 1 filed
                              by Bakhtiyor Jumaev by Bakhtiyor Jumaev. (Savitz, David) (Entered:
                              07/20/2018)
     07/20/2018   1926        MINUTE ORDER. Defendant Bakhtiyor Jumaev's Motion to Remove the
                              Restriction of Public Access to Certain Pleadings and their Exhibits is
                              GRANTED. The Clerk of Court is directed to remove the restriction for
                              Docs. 1908 and 1917 such that they are publicly available. ORDERED by
                              Judge John L. Kane on 7/20/2018. Text Only Entry (cthom, ) (Entered:
                              07/20/2018)
     07/26/2018   1928        NOTICE OF APPEAL as to 1922 Judgment, by Bakhtiyor Jumaev. (Savitz,
                              David) (Entered: 07/26/2018)
     07/26/2018   1930        LETTER Transmitting Notice of Appeal to all counsel advising of the
                              transmittal of the 1928 Notice of Appeal as to Bakhtiyor Jumaev to the U.S.
                              Court of Appeals. ( CJA,) (Attachments: # 1 Docket Sheet and Preliminary
                              Record)(cthom, ) (Entered: 07/26/2018)
     07/26/2018   1931        USCA Case Number as to Bakhtiyor Jumaev 18−1296 for 1928 Notice of
                              Appeal filed by Bakhtiyor Jumaev. (cthom, ) (Entered: 07/26/2018)


                                                                                                               122
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 123 of 183




     08/01/2018   1945    TRANSCRIPT of Sentencing as to Bakhtiyor Jumaev held on 7/18/2018
                          before Judge Kane. Pages: 1−54. <br><br> NOTICE − REDACTION OF
                          TRANSCRIPTS: Within seven calendar days of this filing, each party
                          shall inform the Court, by filing a Notice of Intent to Redact, of the
                          party's intent to redact personal identifiers from the electronic
                          transcript of the court proceeding. If a Notice of Intent to Redact is not
                          filed within the allotted time, this transcript will be made electronically
                          available after 90 days. Please see the Notice of Electronic Availability of
                          Transcripts document at www.cod.uscourts.gov.<br><br> Transcript may
                          only be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                          PACER. (tlind, ) (Entered: 08/01/2018)
     08/02/2018   1946    ORDER of USCA granting appointed trial counsels' Motion to Withdraw and
                          appointing attorney Zachary Ives to represent appellant as to Bakhtiyor
                          Jumaev re 1928 Notice of Appeal. Designation of record and transcript order
                          form are now due on 08/23/2018 for Mr. Ives. The Clerk of the District Court
                          shall wait at least 21 days from the date of this order before transmitting the
                          record on appeal to this court. (USCA Case No. 18−1296) (athom, ) (Entered:
                          08/02/2018)
     08/02/2018   1947    DISREGARD − FILED AS TO INCORRECT DEFENDANT −
                          RESTRICTED DOCUMENT − Level 1: by USA as to Bakhtiyor Jumaev
                          (Martinez, Julia) Modified on 8/3/2018 to note that this document was filed
                          as to the incorrect defendant − please see correctly filed doc 1948 (athom, ).
                          (Entered: 08/02/2018)
     08/09/2018   1951    OBJECTION/RESPONSE to Presentence Report by Jamshid Muhtorov as to
                          Jamshid Muhtorov, Bakhtiyor Jumaev (Leedy, Brian) (Entered: 08/09/2018)
     08/22/2018   1959    TRANSCRIPT ORDER FORM re 1928 Notice of Appeal by Bakhtiyor
                          Jumaev. (Ives, Zachary) (Entered: 08/22/2018)
     08/22/2018   1960    DESIGNATION OF RECORD ON APPEAL re 1928 Notice of Appeal by
                          Bakhtiyor Jumaev. (Attachments: # 1 Docket Sheet)(Ives, Zachary) (Entered:
                          08/22/2018)
     09/13/2018   1971    REPORTER TRANSCRIPT ORDER FORM filed by Terri LIndblom. re
                          1928 Notice of Appeal. Transcript due by 10/15/2018. (nrich) (Entered:
                          09/13/2018)
     10/01/2018   1973    ORDER of USCA as to Bakhtiyor Jumaev re 1928 Notice of Appeal. (USCA
                          Case No. 18−1366) (cthom, ) (Entered: 10/02/2018)
     10/03/2018   1974    REPORTER TRANSCRIPT ORDER FORM filed by Tammy Hoffschildt re
                          1928 Notice of Appeal. Transcript due by 10/25/2018. (nrich) (Entered:
                          10/03/2018)
     10/11/2018   1975    DESIGNATION OF RECORD ON APPEAL re 1968 Notice of Appeal,
                          1928 Notice of Appeal by Jamshid Muhtorov as to Jamshid Muhtorov,
                          Bakhtiyor Jumaev (Attachments: # 1 Attachment A − Joint Designation of
                          Record Docket Sheet, # 2 Attachment B − Jumaev−Only Designation of
                          Record Docket Sheet, # 3 Attachment C − Muhtorov−Only Designation of
                          Record Docket Sheet)(Arceci, John) (Entered: 10/11/2018)


                                                                                                           123
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 124 of 183




     10/15/2018   1977    TRANSCRIPT of Status Conference as to Bakhtiyor Jumaev held on March
                          1, 2017 before Judge Kane. Pages: 1−14. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 10/15/2018)
     10/15/2018   1978    TRANSCRIPT of Motion Hearing as to Bakhtiyor Jumaev held on
                          November 9, 2017 before Judge Kane. Pages: 1−6 & 19−90. <br><br>
                          NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar
                          days of this filing, each party shall inform the Court, by filing a Notice of
                          Intent to Redact, of the party's intent to redact personal identifiers from
                          the electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (thoff, ) (Entered: 10/15/2018)
     10/15/2018   1979    RESTRICTED TRANSCRIPT of proceedings held on November 9, 2017
                          before Judge Kane. Pages: 7−18. (thoff, ) (Entered: 10/15/2018)
     10/15/2018   1980    TRANSCRIPT of Jury Trial as to Bakhtiyor Jumaev held on April 26, 2018
                          before Judge Kane. Pages: 1−5. <br><br> NOTICE − REDACTION OF
                          TRANSCRIPTS: Within seven calendar days of this filing, each party
                          shall inform the Court, by filing a Notice of Intent to Redact, of the
                          party's intent to redact personal identifiers from the electronic
                          transcript of the court proceeding. If a Notice of Intent to Redact is not
                          filed within the allotted time, this transcript will be made electronically
                          available after 90 days. Please see the Notice of Electronic Availability of
                          Transcripts document at www.cod.uscourts.gov.<br><br> Transcript may
                          only be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                          PACER. (thoff, ) (Entered: 10/15/2018)
     10/24/2018   1981    TRANSCRIPT of Jury Selection − Day 1 as to Bakhtiyor Jumaev held on
                          3/12/2018 before Judge Kane. Pages: 1−96. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for

                                                                                                      124
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 125 of 183




                          electronic posting on PACER. (tlind, ) (Entered: 10/24/2018)
     10/24/2018   1982    TRANSCRIPT of Jury Selection − Day 2 as to Bakhtiyor Jumaev held on
                          3/13/2018 before Judge Kane. Pages: 97−272. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 10/24/2018)
     10/24/2018   1983    TRANSCRIPT of Jury Selection − Day 3 as to Bakhtiyor Jumaev held on
                          3/14/2018 before Judge Kane. Pages: 273−399. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 10/24/2018)
     10/24/2018   1984    TRANSCRIPT of Jury Selection − Day 4 as to Bakhtiyor Jumaev held on
                          3/15/2018 before Judge Kane. Pages: 400−414. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
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                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 10/24/2018)
     10/24/2018   1986    TRANSCRIPT of Status Conference as to Bakhtiyor Jumaev held on
                          3/6/2017 before Judge Kane. Pages: 1−24. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
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                          electronic transcript of the court proceeding. If a Notice of Intent to
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                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (tlind, ) (Entered: 10/24/2018)

                                                                                                    125
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 126 of 183




     10/24/2018   1987    TRANSCRIPT of Verdict as to Bakhtiyor Jumaev held on 4/30/2018 before
                          Judge Kane. Pages: 1−6. <br><br> NOTICE − REDACTION OF
                          TRANSCRIPTS: Within seven calendar days of this filing, each party
                          shall inform the Court, by filing a Notice of Intent to Redact, of the
                          party's intent to redact personal identifiers from the electronic
                          transcript of the court proceeding. If a Notice of Intent to Redact is not
                          filed within the allotted time, this transcript will be made electronically
                          available after 90 days. Please see the Notice of Electronic Availability of
                          Transcripts document at www.cod.uscourts.gov.<br><br> Transcript may
                          only be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                          PACER. (tlind, ) (Entered: 10/24/2018)
     10/24/2018   1988    RESTRICTED TRANSCRIPT of proceedings held on 9/20/2017 before
                          Judge Kane. Pages: 1−24. (tlind, ) (Entered: 10/24/2018)
     10/29/2018   1989    REPORTER TRANSCRIPT ORDER FORM filed by Terri Lindblom re
                          1968 Notice of Appeal. Transcript due by 11/19/2018. (nrich) (Entered:
                          10/29/2018)
     11/30/2018   2000    RESTRICTED TRANSCRIPT of proceedings held on 7/13/2017 before
                          Judge Kane. Pages: 1−4. (tlind, ) (Entered: 11/30/2018)
     12/24/2018   2004    TRANSMITTAL OF RECORD ON APPEAL as to Bakhtiyor Jumaev to the
                          U.S. Court of Appeals for the Tenth Circuit as to 1928 Notice of Appeal filed
                          by Bakhtiyor Jumaev. Volume I − Electronic Documents;Volume II −
                          Restricted Documents Part 1; Volume III − Restricted Documents Part 2;
                          Volume IV − Restricted Documents Part 3; Volume V − Restricted
                          Transcripts; Volume VI − Transcripts; (USCA Case No. 18−1296). Text
                          Only Entry (cthom, ) (Entered: 12/26/2018)
     12/27/2018   2006    TRANSMITTAL OF JOINT RECORD ON APPEAL (requested by parties)
                          as to Jamshid Muhtorov, Bakhtiyor Jumaev to the U.S. Court of Appeals for
                          the Tenth Circuit as to 1968 Notice of Appeal filed by Jamshid Muhtorov,
                          1928 Notice of Appeal filed by Bakhtiyor Jumaev. Volume I − Electronic
                          Documents Part 1;Volume II − Electronic Documents Part 2; Volume III −
                          Electronic Documents Part 3; Volume IV − Electronic Documents Part 4;
                          Volume V − Restricted Documents Part 1; Volume VI − Restricted
                          Documents Part 2; Volume VII − Restricted Documents Part 3; Volume VIII
                          − Restricted Documents Part 4 (USCA Case No. 18−1366 and 18−1296).
                          Text Only Entry. (cthom, ) (Entered: 12/27/2018)
     02/04/2019   2008    ORDER of USCA as to Bakhtiyor Jumaev re 1928 Notice of Appeal. (USCA
                          Case No. 18−1296) (cthom, ) (Entered: 02/04/2019)
     04/16/2019   2009    RESTRICTED DOCUMENT − Level 2 ORDER as to Bakhtiyor Jumaev by
                          Judge John L. Kane. (cthom, ) (Entered: 04/16/2019)
     04/29/2019   2010    RESTRICTED DOCUMENT − Level 2: as to Bakhtiyor Jumaev. (Savitz,
                          David) (Entered: 04/29/2019)
     04/30/2019   2011    RESTRICTED DOCUMENT − Level 2 Order by Judge John L. Kane as to
                          Bakhtiyor Jumaev. (cthom, ) (Entered: 04/30/2019)
     08/13/2019   2016

                                                                                                      126
Case 1:12-cr-00033-JLK Document 2017 Filed 08/22/19 USDC Colorado Page 127 of 183




                          ORDER of USCA as to Bakhtiyor Jumaev re 1928 Notice of Appeal. (USCA
                          Case No. 18−1296). (sphil, ) (Entered: 08/14/2019)




                                                                                             127
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 1Page
                                                                      of 44 128 of 183




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Criminal Case No. 12-cr-00033-JLK

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   2.     BAKHTIYOR JUMAEV,

          Defendant.


                 MEMORANDUM OPINION AND ORDER ON SENTENCING

   Kane, J.

          After his co-defendant Jamshid Muhtorov informed him that the Islamic Jihad Union

   (IJU) was in need of financial support, Defendant Bakhtiyor Jumaev mailed Mr. Muhtorov $300.

   Mr. Jumaev wrote only a single check, and the funds never reached the IJU or any other foreign

   terrorist organization. Mr. Jumaev had no specific plot or plan and did not intend to further any

   via his contribution. The idea to aid the terrorist organization was proposed and facilitated

   entirely by Mr. Muhtorov. Indeed, Mr. Jumaev had no direct contact with the members of any

   terrorist organization. And, significantly, he never committed any act of violence, nor did he

   advocate for any particular violent act.

          Mr. Jumaev now comes before me for sentencing after having been found guilty by a jury

   of two counts in violation of 18 U.S.C. § 2339B, namely (1) conspiring and (2) attempting to

   provide material support in the form of $300 to the IJU, a designated foreign terrorist

   organization. Although his actions certainly are sufficient for the jury to have found him guilty of

   these two very serious crimes, the above summary illustrates how his guilt rests on far less




                                                    1
                                                                                                          128
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 2Page
                                                                      of 44 129 of 183




   culpable conduct than that of all other defendants of which I have been made aware who have

   been convicted under the same statute.



                                                    I.

                                            BACKGROUND

          Mr. Jumaev is a 51-year-old Muslim immigrant. He was born in 1966, in Samarkand,

   Uzbekistan. At that time, Uzbekistan was part of the Soviet Union and subject to repressive

   Soviet policies that basically outlawed religion, including Islam, the majority religion in

   Uzbekistan. In that environment, Mr. Jumaev completed grade school, obtained vocational

   training in cooking and trading in goods, served as a cook in Ukraine in the Soviet Army, and

   worked in his relatives‘ tombstone business. He also married and started a family.

          Then, in 1991, Uzbekistan became a sovereign state with Islam Karimov as its President.

   During Karimov‘s 25-year reign, repressive policies and government controls took on new

   forms. Individuals were permitted to practice Islam but only as the regime saw fit. Religious

   figures were persecuted by the government for not adhering to its specifications. Access to

   information and freedom of the press were greatly restricted as well. In fact, Freedom House, a

   nonpartisan think tank in Washington, D.C., consistently gave Uzbekistan some of the lowest

   possible ratings for the existence of democratic freedoms. Trial Tr. at 1007:2-25; ECF No. 1832.

          In the mid- to late-1990s, the economy in Uzbekistan suffered, and a large segment of the

   population began to migrate to other places in search of employment. Mr. Jumaev likewise

   suffered from the economic situation and ultimately left his family in Uzbekistan to work in

   Israel for two and a half years to support them. After he returned to Uzbekistan, in 1999, Mr.

   Jumaev was found by the Uzbek security service, known as the SNB, to be in possession of




                                                    2
                                                                                                      129
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 3Page
                                                                      of 44 130 of 183




   cassette tapes of religious leaders who were disfavored by the government. As a result, he was

   jailed, interrogated, and beaten.

             These circumstances prompted Mr. Jumaev to travel to the United States the following

   year on a temporary visa. He first came to New York City, but settled in Lehighton,

   Pennsylvania, and then Philadelphia. Soon after arriving, he was struck by a car when riding a

   bicycle and was severely injured. He could not work, depended on others for support, and was

   unable to send money to his family in Uzbekistan during his year-long convalescence. Over the

   following decade, Mr. Jumaev found steady employment as a gas station attendant and a

   custodian, living a meager lifestyle so that he could consistently send money to his wife and

   three sons. He frequently worked night shifts and traveled hours to and from his jobs. Still, he

   talked with his family on almost a daily basis until his arrest in this case.

             Mr. Jumaev met his codefendant Jamshid Muhtorov in December 2009 when one of his

   roommates arranged for Mr. Muhtorov to stay in their apartment for a month while Mr.

   Muhtorov obtained his commercial driver‘s license. Mr. Muhtorov was also from Uzbekistan,

   and he and his family had moved as refugees to Denver in 2006. He had similarly experienced

   brutality at the hands of the Uzbek authorities and was exploring his Muslim faith in the United

   States.

             Over the months that passed, Mr. Jumaev and Mr. Muhtorov developed a long-distance

   friendship in which they discussed a wide variety of topics, such as their families, Islam, current

   events, and the immigrant experience in the U.S. They also conversed about the Islamic Jihad

   Union and the Islamic Movement of Uzbekistan (IMU), the history of the two foreign terrorist

   organizations, and related propaganda videos they found online. In speaking about these

   organizations, Mr. Jumaev and Mr. Muhtorov often used ambiguous code words, like wedding,

   resort, Switzerland, alpinists, and sportsmen. It is clear from their communications, though, that


                                                      3
                                                                                                         130
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 4Page
                                                                      of 44 131 of 183




   they both sympathized with the principal goal of the two organizations—to overthrow the regime

   of Islam Karimov.

             According to Dr. Guido Steinberg, a renowned expert in terrorism, the Islamic Jihad

   Union spun off from its older sister the Islamic Movement of Uzbekistan around 2001 or 2002 to

   focus their efforts globally and not just on Uzbekistan. In its heyday, from 2006 to 2009, the IJU

   had at most 100 to 200 members, but many considered it to be mostly obsolete by 2009 as its

   numbers dwindled to around a dozen. The organization has been affiliated with al-Qaeda and the

   Afghan Taliban and has fought U.S. and coalition forces in Afghanistan.

              In February 2010, Mr. Jumaev was detained by U.S. Immigration and Customs

   Enforcement for overstaying his visa, and his bond was set at $3,000. In order to be released and

   to return to work, Mr. Jumaev borrowed various amounts from friends and acquaintances,

   including $500 from Mr. Muhtorov.

             Mr. Jumaev struggled to manage his and his family‘s debts after his arrest, so he did not

   pay Mr. Muhtorov back for many months. Mr. Muhtorov routinely hinted to Mr. Jumaev that he

   was having financial difficulties. And, eventually, in March 2011, Mr. Muhtorov relayed that the

   IJU, with which he had been communicating over the internet, was in dire need of financial

   support. Gov‘t Trial Ex. 125A at 2. Mr. Jumaev gathered $300, and used a friend‘s check to send

   the money to Mr. Muhtorov. A few days later, Mr. Jumaev asked Mr. Muhtorov if he had

   received the ―wedding gift.‖ Gov‘t Trial Ex. 128A at 1.1 The check was later delivered and used

   by Mr. Muhtorov‘s wife for their family‘s expenses.


   1
       The conversation went as follows:
             BJ:    . . . has the wedding gift arrived? The wedding gift?
             JM: No, it hasn‘t yet.
             BJ:    It still hasn‘t made it there?
             JM: . . . No.
             BJ:    Glory be to Allah! But I‘ve sent it out last week!


                                                      4
                                                                                                         131
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 5Page
                                                                      of 44 132 of 183




          Mr. Muhtorov bragged to Mr. Jumaev and others for months about his scheme to go to

   Turkey to study and then to travel to ―the wedding.‖ Mr. Jumaev encouraged Mr. Muhtorov and

   even stated that he was envious. See Gov‘t Ex. 131A at 3. In January 2012, Mr. Muhtorov put his

   plans into action. He purchased a one-way ticket to Turkey and discussed with his wife the

   possibility of him not returning. Before boarding the plane, though, Mr. Muhtorov was arrested.

   He was carrying $2,865 in cash, two new iPhones, and a new iPad.

          After Mr. Muhtorov‘s arrest, FBI agents interviewed Mr. Jumaev twice at his house. Mr.

   Jumaev was not fully forthright with the agents during those interviews, specifically as to his use

   of code words with Mr. Muhtorov, the full scope of their discussions, and his internet activity.

   On March 15, 2012, Mr. Jumaev was arrested and was interrogated by FBI agents for three and a

   half hours. He has been in detention since that date.

          Regrettably, the complexities of the evidence and the nature of the charges delayed the

   commencement of Mr. Jumaev‘s trial until March 12, 2018. The trial was extensive, lasting

   seven weeks and involving hundreds of exhibits and tens of witnesses. The resources

   expended—to bring foreign witnesses and experts here, to depose witnesses abroad, to ensure

   accurate translations, to sift through mountains of evidence, and to exhaustively litigate the

   relevant issues—were great.

          But Mr. Jumaev was entitled to a fair trial and put forward the type of legitimate defenses

   that necessitate a trial. He argued that he was only repaying his debt to Mr. Muhtorov, a duty

   that, in his culture, was incredibly important. He claimed he was oblique about the debt



          JM:    We haven‘t checked the mail yet. We‘ll check the mail. [To someone in the back]
                 Have you, by any chance, checked the mail recently? A check should be
                 coming—
          BJ:    . . . God willing, it will. Hmm…
          JM: It hasn‘t come yet. It will, God willing…
   Gov‘t Trial Ex. 128A at 1.


                                                    5
                                                                                                         132
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 6Page
                                                                      of 44 133 of 183




   repayment because, according to Uzbek custom, it would have been inappropriate and even

   offensive to directly discuss debt repayment. Additionally, he presented Mr. Muhtorov as an

   exaggerator who he thought was full of hot air. And Mr. Jumaev sought to demonstrate that any

   admissions he made during his post-arrest interrogation were involuntary, equivocal, and

   inconsistent.

          The jury deliberated over 15 hours and recessed for a weekend before returning the

   verdict. The jurors undoubtedly took their responsibilities seriously and returned the verdict only

   after careful consideration of the evidence presented and the law given.

          Post-verdict, I have received and reviewed the initial and final Presentence Investigation

   Reports (ECF Nos. 1885 & 1915), Mr. Jumaev‘s Objections (ECF No. 1910) and the Addendum

   (ECF No. 1916) to the Presentence Report, the government‘s Amended Sentencing Statement

   (ECF No. 1884), Mr. Jumaev‘s Sentencing Statement and Motion for a Variant Sentence (ECF

   No. 1908), Mr. Jumaev‘s Supplement thereto (ECF No. 1917), and Mr. Muhtorov‘s

   Memorandum Regarding Sentencing Guidelines (ECF No. 1918). Mr. Jumaev additionally

   submitted a letter he authored to the Court (ECF No. 1919) in which he stands on his innocence

   and iterates that he has been denied his right to a speedy trial and other arguments as to why he

   believes he was denied a fair trial. I have considered all of these submissions, including the

   contents of Mr. Jumaev‘s letter, in reaching the conclusions detailed below.




                                                    6
                                                                                                         133
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 7Page
                                                                      of 44 134 of 183




                                                    II.

                          THE U.S. SENTENCING GUIDELINES RANGE2

          I have previously notified the parties that I find the U.S. Sentencing Guidelines to be

   illogical and inadequate for sentencing Mr. Jumaev. I elaborate on that conclusion further below.

   But, first, I calculate the applicable Guidelines range as required. See Gall v. United States, 552

   U.S. 38, 49 (2007). If the following calculation is in error, however, it has no impact on the

   eventual sentence. See United States v. Sabillon-Umana, 772 F.3d 1328, 1334 (10th Cir. 2014)

   (acknowledging that remanding for resentencing does not help the defendant or enhance the

   integrity of judicial proceedings when a district judge analyzes a case under alternative theories

   and indicates he or she would arrive at the same sentencing conclusion either way); United States

   v. Gieswein, 887 F.3d 1054, 1062-63 (10th Cir. 2018).



   A. Calculation of the Guidelines Range

          U.S. Sentencing Guideline § 2M5.3(a) sets the Base Level for a conviction under 18

   U.S.C. § 2339B at 26. Mr. Jumaev‘s two counts are grouped together under the Sentencing

   Guidelines because they involve a common criminal objective and constitute part of a common

   scheme or plan. See U.S.S.G. § 3D1.2.3 Mr. Jumaev has no known criminal history, making his

   Criminal History Category I. So, without any adjustments or departures, Mr. Jumaev‘s

   Guidelines range would be 63 to 78 months‘ imprisonment.

   2
     Apart from these rulings on the applicable Sentencing Guidelines provisions, no finding is
   necessary concerning Mr. Jumaev‘s remaining objections or clarifications to the Presentence
   Investigation Report because the controverted matters have either been addressed through
   revisions to the Report or will not be taken into account in imposing the sentence. The factual
   statements in the Report are otherwise adopted.
   3
     ―All counts involving substantially the same harm shall be grouped together into a single Group.
   Counts involve substantially the same harm within the meaning of this rule: . . . (b) When counts
   involve the same victim and two or more acts or transactions connected by a common criminal
   objective or constituting part of a common scheme or plan.‖ U.S.S.G. § 3D1.2.


                                                    7
                                                                                                         134
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 8Page
                                                                      of 44 135 of 183




          The Guideline for convictions under 18 U.S.C. § 2339B, however, provides for a two

   level increase ―[i]f the offense involved the provision of (A) dangerous weapons; (B) firearms;

   (C) explosives; (D) funds with the intent, knowledge, or reason to believe such funds would be

   used to purchase any of the items described in subdivisions (A) through (C); or (E) funds or

   other material support or resources with the intent, knowledge, or reason to believe they are to be

   used to commit or assist in the commission of a violent act . . . .‖ U.S.S.G. § 2M5.3(b)(1).

          The government claims that Mr. Jumaev had a reason to believe that the funds he

   provided would be used to obtain dangerous weapons or firearms or to commit or assist in the

   commission of a violent act. As support, it relies on Mr. Jumaev‘s viewing of IJU and IMU

   terrorist propaganda videos, his discussions with Mr. Muhtorov on their duty to participate in the

   ―wedding,‖ and his comments on YouTube videos in support of violent jihad. Mr. Jumaev was

   familiar with the IJU‘s purpose and its activities and readily admitted to knowing that it was a

   foreign terrorist organization. Thus, he necessarily had a reason to believe, at a minimum, that

   any funds provided to the IJU would have been used to commit or assist in the commission of a

   violent act. I find the two-level increase under § 2M5.3(b) is applicable. That finding bumps Mr.

   Jumaev‘s offense level up to 28, resulting in a range of imprisonment of 78 to 97 months.

          That is not the end of the story, though. For crimes related to terrorism, I must evaluate

   the application of the so-called Terrorism Enhancement in U.S.S.G. § 3A1.4. And, here, I must

   also address the government‘s suggestion that I apply the Obstruction of Justice Enhancement in

   § 3C1.1 as well as Mr. Jumaev‘s entreaty that I apply the mitigating role adjustment in § 3B1.2

   and the criminal history and aberrant behavior departures in §§ 4A1.3 and 5K2.20, respectively.




                                                    8
                                                                                                         135
Case 1:12-cr-00033-JLK  Document Document
          Case 1:12-cr-00033-JLK 2017 Filed1920
                                            08/22/19
                                                 Filed USDC  Colorado
                                                       07/18/18 Page 9Page
                                                                      of 44 136 of 183




   Adjustments

   1. § 3A1.4: Terrorism Enhancement

          The Terrorism Enhancement, when applied, ―takes a wrecking ball‖ to the initial

   Guidelines range. George D. Brown, Punishing Terrorists: Congress, the Sentencing

   Commission, the Guidelines, and the Courts, 23 Cornell J.L. & Pub. Pol‘y 517, 520 (2014). It

   functions by both increasing the offense level at least 12 levels and elevating the defendant to the

   highest Criminal History Category, irrespective of his or her actual criminal history. In full, the

   Terrorism Enhancement states:

       (a) If the offense is a felony that involved, or was intended to promote, a federal
           crime of terrorism, increase by 12 levels; but if the resulting offense level is less
           than level 32, increase to level 32.

       (b) In each such case, the defendant‘s criminal history category from Chapter Four
           (Criminal History and Criminal Livelihood) shall be Category VI.

   U.S.S.G. § 3A1.4. The ―federal crime of terrorism‖ the Enhancement references is that defined in

   18 U.S.C. § 2332b(g)(5): ―[A]n offense that—(A) is calculated to influence or affect the conduct

   of government by intimidation or coercion, or to retaliate against government conduct; and (B) is

   a violation of—[a list of enumerated offenses, including] (i) section . . . 2339B (relating to

   providing material support to terrorist organizations) . . . .‖ If the Enhancement were to apply to

   Mr. Jumaev‘s offenses, his sentencing range would skyrocket to 360 months‘ imprisonment.

          The government‘s argument regarding application of the Terrorism Enhancement is

   disappointing. For such a ―draconian‖ enhancement,4 I would expect the government to muster

   more than a single paragraph justifying its application. The government‘s entire argument is:

          The record is replete with evidence that JUMAEV and MUHTOROV intended to
          retaliate against the actions of both the Uzbek and United States Government.

   4
    ―U.S.S.G. [§] 3A1.4 is draconian.‖ James P. McLoughlin, Jr., Deconstructing United States
   Sentencing Guidelines Section 3A1.4: Sentencing Failure in Cases of Financial Support for
   Foreign Terrorist Organizations, 28 Law & Ineq. 51, 54 (2010).


                                                     9
                                                                                                          136
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 10Page
                                                                      of 44137 of 183




          Further, the offense conduct here was plainly one that ―involved, or was intended
          to promote,‖ the crimes listed above. U.S.S.G. § 3A1.4(a). Indeed, violations of
          18 U.S.C. § 2339B, the counts of conviction, are specifically listed in the
          definition of a ―Federal crime of terrorism.‖ JUMAEV explained his anger at both
          the Uzbek and U.S. government to agents during his interview on March 15,
          2012. Accordingly, the defendants‘ offense level [sic] should be increased by 12
          levels.

   Gov‘t‘s Am. Sentencing Statement at 10-11, ECF NO. 1884.5 Mr. Jumaev, in turn, spends seven

   pages presenting the specific standard for application of the enhancement and demonstrating that

   the record does not fulfill that standard. If I were to base my ruling on the efforts of the parties

   alone, I would find the enhancement inapplicable. I do not, however, fall into this temptation.

          I base my ruling instead on the standard taken from United States v. Awan, 607 F.3d 306,

   313 (2d Cir. 2010). There, the Second Circuit explained that the disjunctive phrase from

   U.S.S.G. § 3A1.4—if the offense involved, OR was intended to promote, a federal crime of

   terrorism—―makes clear that the predicate offense must either (1) ‗involve‘ a federal crime of

   terrorism or (2) be ‗intended to promote‘ a federal crime of terrorism, and that each clause has a

   separate meaning.‖ Awan, 607 F.3d at 313. ―A defendant‘s offense ‗involves‘ a federal crime of

   terrorism when his offense includes such a crime, i.e., the defendant committed, attempted, or

   conspired to commit a federal crime of terrorism as defined in 18 U.S.C. § 2332b(g)(5), or his

   relevant conduct includes such a crime.‖ Id. at 313-14. Since Mr. Jumaev‘s convictions are under

   18 U.S.C. § 2339B, a crime enumerated in § 2332b(g)(5)(B), I must only find, under that prong,

   that Mr. Jumaev had the ―specific intent‖ to commit offenses that were ―calculated to influence

   or affect the conduct of government by intimidation or coercion, or to retaliate against

   government conduct.‖ See id. at 316-17. ―‗Calculation‘ is concerned with the object that the

   actor seeks to achieve through planning or contrivance . . . Section 2332b(g)(5)(A) does not


   5
    Persisting with its trying habits, the government fails to tailor its filing and argument to Mr.
   Jumaev.


                                                     10
                                                                                                          137
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 11Page
                                                                      of 44138 of 183




   focus on the defendant but on his ‗offense,‘ asking whether it was calculated, i.e.,, planned—for

   whatever reason or motive—to achieve the stated object.‖ Id. at 317.

          Alternatively, ―[t]he ‗intended to promote‘ prong applies where the defendant‘s offense is

   intended to encourage, further, or bring about a federal crime of terrorism, even though the

   defendant‘s own crime of conviction or relevant conduct may not include a federal crime of

   terrorism.‖ Id. at 314. So, even if Mr. Jumaev‘s offenses were not ―calculated to influence or

   affect the conduct of government by intimidation or coercion, or to retaliate against government

   conduct,‖ the terrorism enhancement may apply if, with his offenses, he intended to promote

   another‘s commission of a crime in § 2332b(g)(5)(B) that was. See id. at 314-15. ―[A]n offense

   is ‗intended to promote‘ a federal crime of terrorism when the offense is intended to help bring

   about, encourage, or contribute to‖ such a crime. Id. at 314.

          Under both the ―involves‖ or the ―intended to promote prong,‖ then, the Terrorism

   Enhancement only applies if I find that Mr. Jumaev had some intent that was not required for the

   jury to find him guilty. See Jury Instructions at 25, 29, ECF No. 1794-2 (requiring only

   knowledge for convictions under 18 U.S.C. § 2339B). I struggle to find that Mr. Jumaev had

   either the specific intent to commit crimes that were calculated to influence, affect, or retaliate

   against a government or the intent to promote another‘s federal crime of terrorism when the

   jury‘s conviction of him could rest only on his knowledge. Mr. Jumaev convincingly argues that

   he both could have intended to repay his debt to Mr. Muhtorov while knowing that the funds

   would go to support a foreign terrorist organization. I have no reason to believe that Mr. Jumaev

   would have ever sent money to the IJU if he had not been arrested by ICE and been loaned

   money by Mr. Muhtorov. Mr. Jumaev‘s offenses are the result of a convergence of factors that I

   detail throughout this Order, the most significant of which is that he owed a debt. The facts of

   this case are unique for that reason.


                                                    11
                                                                                                         138
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 12Page
                                                                      of 44139 of 183




            I cannot and do not find, under the ―involves‖ prong, that Mr. Jumaev‘s offenses were

   ―calculated to influence or affect the conduct of government by intimidation or coercion, or to

   retaliate against government conduct.‖ Although Mr. Jumaev may have wished for the overthrow

   of Uzbek President Islam Karimov or perhaps even for the U.S. government to alter its foreign

   policy, his offenses were not calculated to achieve that object. See Awan, 607 F.3d at 314. My

   best justification for that determination is common sense. Mr. Jumaev gave only $300 to a

   person who himself was short on cash and did not even know how to get the money to the

   intended organization. If Mr. Jumaev‘s offenses were truly calculated towards a political

   objective, Mr. Jumaev would have done more, e.g., contributed more money on more occasions

   via a more reliable conduit to a more robust organization. Simply put, his offenses were not

   calculated at all.

           To fall within the ―intended to promote‖ prong, Mr. Jumaev must have committed his

   offenses with the intent to help bring about, encourage, or contribute to another person‘s

   commission of a federal crime of terrorism.6 Again, I am unable to find that Mr. Jumaev

   intended anything more than to repay his debt. The record does contain evidence that Mr.

   Jumaev would have approved of the commission of certain federal crimes of terrorism. But, as

   Mr. Jumaev asserts, there is no evidence in the record that he knew about, and certainly not that

   he intended to promote, any plan by the IJU to commit a politically-motivated crime of

   terrorism. This is underscored by the fact that Mr. Jumaev never had any direct contact with the

   IJU and that the organization was nearly defunct at that time. Even if it were sufficient for Mr.

   Jumaev to have intended generally to bring about, encourage, or contribute to federal crimes of

   terrorism, the government has not conclusively established that he sent Mr. Muhtorov the $300

   6
    There is an argument that Mr. Jumaev‘s offenses intended to promote Mr. Muhtorov‘s
   commission of federal crimes of terrorism. It is not advanced by the government and I decline to
   make it on its behalf.


                                                   12
                                                                                                       139
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 13Page
                                                                      of 44140 of 183




   check with that intent. I, therefore, find that the Terrorism Enhancement is inapplicable to Mr.

   Jumaev‘s offenses.7



   2. § 3C1.1: Obstruction of Justice Enhancement

          The government additionally contends that the two-level Obstruction of Justice

   Enhancement appears to apply because Mr. Jumaev committed perjury in testifying at trial and

   provided materially false information to the Court. The enhancement only applies when:

          (1) the defendant willfully obstructed or impeded, or attempted to obstruct or
          impede, the administration of justice with respect to the investigation,
          prosecution, or sentencing of the instant offense of conviction, and (2) the
          obstructive conduct related to (A) the defendant‘s offense of conviction and any
          relevant conduct; or (B) a closely related offense . . . .

   U.S.S.G. § 3C1.1. Application Note 4 to the Guideline provides as examples of qualifying

   conduct: ―committing, suborning, or attempting to suborn perjury, . . . if such perjury pertains to

   conduct that forms the basis of the offense of conviction‖ and ―providing materially false

   information to a judge or magistrate judge.‖

          In determining what constitutes perjury for the purposes of the Obstruction of Justice

   enhancement, I rely on the federal criminal perjury statute, 18 U.S.C. § 1621. ―A witness

   testifying under oath or affirmation violates this statute if she gives false testimony concerning a

   material matter with the willful intent to provide false testimony, rather than as a result of

   confusion, mistake, or faulty memory.‖ United States v. Dunnigan, 507 U.S. 87, 94 (1993).

   ―[N]ot every accused who testifies at trial and is convicted will incur an enhanced sentence under

   § 3C1.1 for committing perjury . . . . [The accused‘s] testimony may be truthful, but the jury may



   7
    This finding is inconsequential because, as I explain below, I would depart under U.S.S.G. §§
   4A1.3 and 5K2.20 to reduce the impact of the Terrorism Enhancement and would still grant a
   variance resulting in the same sentence.


                                                    13
                                                                                                          140
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 14Page
                                                                      of 44141 of 183




   nonetheless find the testimony insufficient to excuse criminal liability or to prove lack of intent.‖

   Id. at 95.

           I will not speculate from the jury‘s verdict what testimony it rejected and what it

   accepted, and I cannot conclude, as the government does, that its conviction of Mr. Jumaev

   establishes that his testimony was false. The government provides as examples of his ―lies‖ his

   testimony ―that his $300 payment to MUHTOROV was repayment of a debt and not intended for

   the IJU, that he thought MUHTOROV was joking when he told the defendant about his contact

   with the IJU, and that he did not [believe]8 MUHTOROV intended to travel in order to join the

   IJU.‖ Gov‘t Am. Sentencing Statement at 11. But the jury could have convicted Mr. Jumaev

   even while finding all of those statements to be true. Perhaps the jurors believed Mr. Jumaev‘s

   testimony that Mr. Muhtorov was an exaggerator and braggart but thought it was insufficient to

   counter his knowledge. I will not presume.

           In over forty years of judging I have never imposed a harsher sentence because a

   defendant asserted his right to trial by jury or to testify at that trial. I am not about to do so now

   or in the future. I consider any trial ―tax‖ or penalty to be contrary to the ages-long values and

   standards of our legal system.9 It is more closely associated with the jurisprudence of Russia, as

   described by Dostoyevsky, than our own tradition as described by Benjamin Cardozo. In that

   vein, application of the Obstruction of Justice Enhancement here would be a violation of the

   concepts of justice and of ordered liberty.




   8
     The government recounts that Mr. Jumaev testified that he did not ―know‖ Mr. Muhtorov
   intended to travel in order to join the IJU. A more accurate summary of his testimony is that he
   did not believe Mr. Muhtorov was traveling for that purpose because he thought he was just
   bragging. See, e.g., Trial Tr. at 1357:2-16, ECF No. 1843.
   9
     Though not directly relevant to this case, the trial tax or trial penalty as expressed and
   encouraged in the Sentencing Guidelines is yet another reason to reject them.


                                                     14
                                                                                                            141
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 15Page
                                                                      of 44142 of 183




   3. § 3B1.2: Mitigating Role Adjustment

          Mr. Jumaev first argues that his offense level should be decreased two to four levels

   under U.S.S.G. § 3B1.2(a) and (b) because his role in the offense was appreciably less than Mr.

   Muhtorov‘s. U.S.S.G. § 3B1.2 instructs:

          Based on the defendant‘s role in the offense, decrease the offense level as follows:
          (a) If the defendant was a minimal participant in any criminal activity, decrease
          by 4 levels. (b) If the defendant was a minor participant in any criminal activity,
          decrease by 2 levels. In cases falling between (a) and (b), decrease by 3 levels.

   U.S.S.G. § 3B1.2. While Mr. Jumaev‘s culpable conduct overall certainly pales in comparison to

   Mr. Muhtorov‘s, he was not a minimal or minor participant in the crimes with which he was

   convicted. Mr. Muhtorov made contact with IJU and was to deliver the funds, but the support

   that was to be provided originated with Mr. Jumaev and he was aware of and a participant in the

   full scope of the crime.



   Departures

   1. § 5K2.20: Aberrant Behavior Departure

          Moving on to the departures Mr. Jumaev suggests, a downward departure may be

   warranted under U.S.S.G. § 5K2.20 ―in an exceptional case‖ if ―(1) the defendant‘s criminal

   conduct meets the requirements of subsection (b); and (2) the departure is not prohibited under

   subsection (c).‖ U.S.S.G. § 5K2.20(a). Here, none of the prohibitions in subsection (c) apply.

   Subsection (b) reads:

          The court may depart downward under this policy statement only if the defendant
          committed a single criminal occurrence or single criminal transaction that (1) was
          committed without significant planning; (2) was of limited duration; and (3)
          represents a marked deviation by the defendant from an otherwise law-abiding
          life.




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Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 16Page
                                                                      of 44143 of 183




   U.S.S.G. § 5K2.20(b). Application Note 3 to § 5K2.20 permits me to consider ―the defendant‘s

   (A) mental and emotional conditions; (B) employment record; (C) record of prior good works;

   (D) motivation for committing the offense; and (E) efforts to mitigate the effects of the offense.‖

          Until his immigration arrest, Mr. Jumaev had no interactions with law enforcement and

   held steady employment in the U.S. for almost ten years. His greatest concern in life was and I

   imagine still is providing for his family. Although his discussions with Mr. Muhtorov regarding

   the IJU and IMU and his admiration for them spanned years, he wrote only a single check. It is

   unclear what his motivation was in doing so, but as I found above, it was not a calculated action.

   He has been in detention for 76 months and has only three disciplinary incidents, all of which

   related to disagreements with staff. Presentence Report at 4, ECF No. 1915. Considering all the

   evidence, Mr. Jumaev is most likely to continue with his ―otherwise law-abiding life‖ once this

   case has terminated. I do have some reservation in applying this departure because I am troubled

   by Mr. Jumaev‘s failure to be fully forthright with law enforcement during their two interviews

   with them in early 2012 and by his testimony at trial revealing that his asylum application

   contained exaggerations. Nevertheless, I find that reduction of the offense level by two levels is

   justified under § 5K2.20.10



   2. § 4A1.3: Criminal History Departure

          For many of the same reasons that I depart under that provision, I determine that, if the

   Terrorism Enhancement were applicable to Mr. Jumaev‘s offenses, his criminal history would be

   overrepresented and he should benefit from a departure under U.S.S.G. § 4A1.3 as well. Section

   4A1.3 provides: ―If reliable information indicates that the defendant‘s criminal history category


   10
     Again, if the Terrorism Enhancement were applicable to Mr. Jumaev‘s offenses, I would
   reduce his offense level to an even greater extent under § 5K2.20.


                                                   16
                                                                                                         143
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 17Page
                                                                      of 44144 of 183




   substantially over-represents the seriousness of the defendant‘s criminal history or the likelihood

   that the defendant will commit other crimes, a downward departure may be warranted.‖ U.S.S.G.

   § 4A1.3(b)(1). The Terrorism Enhancement would move Mr. Jumaev, a 51-year-old with no

   criminal history, from a Criminal History Category of I to VI. ―A judge determining that [the

   Terrorism Enhancement] over-represents ‗the seriousness of the defendant‘s past criminal

   conduct or the likelihood that the defendant will commit other crimes‘ always has the discretion

   under § 4A1.3 to depart downward in sentencing.‖ United States v. Meskini, 319 F.3d 88, 92

   (2003); United States v. Benkahla, 501 F.Supp.2d 748, 758 (2007) (applying the Terrorism

   Enhancement and then a downward departure under § 4A1.3 to drop the defendant‘s criminal

   history category from VI back down to I).

          Judge George O‘Toole has eloquently explained the most salient reasons for departing

   under § 4A1.3 when the Terrorism Enhancement applies:

          [T]he automatic assignment of a defendant to a Criminal History Category VI is not only
          too blunt an instrument to have genuine analytical value, it is fundamentally at odds with
          the design of the Guidelines. It can, as it does in this case, import a fiction into the
          calculus. It would impute to a defendant who has had no criminal history a fictional
          history of the highest level of seriousness.

   United States v. Mehanna, No. 1:09-cr-10017-GAO (D. Mass. April 12, 2012), Sentencing Tr. at

   69:14-24, ECF No. 439. The assignment of a Criminal History Category of VI via the Terrorism

   Enhancement is purportedly based on the notion that, ―even terrorists with no prior criminal

   behavior are unique among criminals in the likelihood of recidivism, the difficulty of

   rehabilitation, and the need for incapacitation.‖ Meskini, 319 F.3d at 92. But:

          There is no published statistical data demonstrating that defendants convicted of violating
          18 U.S.C. §§ 2339B, 2339C, or other anti-terrorism statutes—and especially those
          convicted of financing offenses—are any more likely to be recidivists than any other first
          offenders. Nothing in the history of U.S.S.G. [§] 3A1.4 would indicate that any reliable
          data was used to determine if a person convicted of a material support offense is more
          likely to be a recidivist.



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                                                                                                         144
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 18Page
                                                                      of 44145 of 183




   James P. McLoughlin, Jr., Deconstructing United States Sentencing Guidelines Section 3A1.4:

   Sentencing Failure in Cases of Financial Support for Foreign Terrorist Organizations, 28 Law

   & Ineq. 51, 114-15 (2010) (footnotes omitted). Furthermore, with respect to Mr. Jumaev

   specifically, there is no indication that he is likely to recidivate or would be difficult to

   rehabilitate.11 If the Terrorism Enhancement were applicable to Mr. Jumaev‘s offenses, I would

   depart under § 4A1.3 to lower him back down to Criminal History Category I.



   Final Guidelines Range

           At long last, I arrive at the appropriate Guidelines range for Mr. Jumaev‘s offenses. The

   offense level is 26, after applying the enhancement in § 2M5.3(b), finding inapplicable the

   Terrorism and Obstruction of Justice Enhancements and the Mitigating Role Adjustment, and

   departing under § 5K2.20. Mr. Jumaev remains at a Criminal History Category I. The Guidelines

   range is, therefore, 63 to 78 months‘ imprisonment with one year to life of supervised release and

   a $12,500 to $125,000 fine.



   B. Rejection of the Guidelines

           I reject the Sentencing Guidelines in this case and instead find it appropriate to sentence

   Mr. Jumaev pursuant to the factors set forth in 18 U.S.C. § 3553(a). My reasons for doing so are

   multitudinous. Principally, I have concluded this case presents circumstances not adequately

   taken into consideration by the Sentencing Commission.12 These points are detailed in the


   11
      As I discuss later, however, no established programs exist in our criminal justice system or in
   the Bureau of Prisons to rehabilitate individuals charged and/or convicted of crimes related to
   terrorism.
   12
      It seems I am not alone in my conclusion. Sentencing Commission statistics inform that, of 16
   defendants from 2013 to 2017 for which § 2339B is the only count of conviction, 62.5% or 10
   defendants received sentences that were below the Guidelines range that were not sponsored by


                                                      18
                                                                                                         145
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 19Page
                                                                      of 44146 of 183




   following Section, but include Mr. Jumaev‘s owing of a debt, his extended period of pretrial

   detention, his prolonged absence from his family, his immigration situation, and the lack of

   rehabilitation programs for him.

          The Terrorism Enhancement further exemplifies this lack of consideration by the

   Sentencing Commission.13 The Violent Crime Control and Law Enforcement Act of 1994

   directed the U.S. Sentencing Commission to ―amend its sentencing guidelines to provide an

   appropriate enhancement for any felony, whether committed within or outside the United States,

   that involves or is intended to promote international terrorism, unless such involvement or intent

   is itself an element of the crime.‖ Pub. L. No. 103–322, 108 Stat. 1796 (1994). The Sentencing

   Commission carried out that directive by promulgating § 3A1.4 of the Sentencing Guidelines.14 I

   explained above that the Terrorism Enhancement in § 3A1.4 functions by both increasing the

   offense level and the defendant‘s Criminal History Category, moving the Guidelines range to the

   far right-hand corner of the prized Sentencing Table.

          I have two principal objections to this operation of the Terrorism Enhancement.15 First, it

   is not backed by any empirical evidence.16 And, second, treating all ―terrorists‖ alike is


   the government. Presentence Report Ex. B at 2, ECF No. 1915-2. The average reduction for non-
   government sponsored below-range sentences was 41.1% or 79 months. Id.
   13
      This analysis may be as relevant or more so in sentencing Mr. Muhtorov, but I provide it here
   to illustrate the illogical and confounding approach of the Guidelines for sentencing individuals
   convicted of crimes related to terrorism.
   14
      For descriptions of the evolution of the Guideline, see McLoughlin, supra, at 59-62; Sameer
   Ahmed, Is History Repeating Itself? Sentencing Young American Muslims in the War on Terror,
   126 Yale L.J. 1520, 1527-28 (2017).
   15
      See United States v. Salim, 690 F.3d 115, 126 (2d 2012) (holding that a district court is not
   required to reject the Terrorism Enhancement because it was not the product of empirical
   research but ―may give a non-Guidelines sentence where she disagrees with the weight the
   Guidelines assign to a factor‖).
   16
       See McLoughlin, supra, at 112 (―[W]hen U.S.S.G. [§] 3A1.4 was adopted, the number of the
   anti-terrorism cases was tiny, so there could be no analysis of a statistically reliable group of
   defendants upon which to build a reliable Guideline.‖) (footnote omitted); accord Symposium,
   Convicted Terrorists: Sentencing Considerations and Their Policy Implications, 8 J. Nat‘l


                                                    19
                                                                                                        146
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 20Page
                                                                      of 44147 of 183




   impermissible under our sentencing paradigm and has significant ripple effects. This second

   point I must spend some time on.

          While U.S.S.G. § 2M5.3 has an ―internal enhancement mechanism to calibrate the

   severity of the sentence to the culpability of the conduct and the harm,‖ McLoughlin, supra, at

   73, that distinction is lost with the Terrorism Enhancement, which frequently results in

   Guidelines ranges that equal the maximum statutory sentence and fail to differentiate between

   various levels of conduct.17 For example, the Terrorism Enhancement would punish an

   individual who collects $1,000 for al-Shabaab without having any contact with the organization,

   see United States v. Moalin, No. 3:10-cr-04246 (S.D. Cal.), Nasir Sentencing Tr. at 18:7-19:8,

   25:20-21, ECF No. 468 (calculating the Guidelines range as 15 years for § 2339B count), the

   same as someone who maintained direct and continuing contact with a high-ranking member of

   al-Shabaab and offered the use of his house as a haven for the organization‘s fighters and to store




   Security L. & Pol‘y 347, 361 (2016) (Judge Gerald Lee confirming: ―The [G]uidelines are not
   based on any empirical research. There has been no study to determine how much time a terrorist
   should have or how much time a drug offender should have; everyone should know that. There is
   a book that has mathematics in it, but is not based on anything other than what is in the book, and
   it is math. That is all it is.‖).
   17
      This effect was artfully described by the Probation Officer in this case: ―What is clear from
   [my] research is despite a significant range of conduct that can produce a conviction for material
   support, the sentencing guidelines result in a nearly identical guideline range in each case,
   regardless of the underlying conduct. Material support can involve financial support, as it did in
   the defendant‘s case, or traveling with the purpose of fighting jihad personally, as it did with his
   codefendant. Other examples include securing and providing weapons for terrorist organizations,
   providing the location of military and government employees to terrorist organizations through
   hacking activities, and plots to attack military bases in the United States and around the world.
   The difficulty is that under the guidelines, there is no distinction between less and more serious
   offenses, those in which actual harm occurred and those where it did not.‖ Presentence Report
   Ex. A at 4, ECF No. 1915-1; accord McLoughlin, supra, at 54 (―[T]he Guideline automatically
   and uniformly increases a defendant‘s offense level, ensuring a defendant will be sentenced as if
   his or her offenses are among the most serious offenses addressed by the Sentencing Guidelines
   regardless of where the offense level fits on the spectrum of ‗material support.‘‖) (footnotes
   omitted).


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                                                                                                          147
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 21Page
                                                                      of 44148 of 183




   bombs and other weapons, see id., Moalin Sentencing Tr. at 50:5-25, ECF No. 449 (calculating

   the Guidelines range as 15 years for § 2339B counts).

          ―Deconstructing defendants and their offenses, and placing both on the spectrum
          of similar defendants convicted of similar crimes, is classic sentencing practice. It
          requires nuance and careful discrimination between and among cases and
          defendants based on the factors enumerated in 18 U.S.C. § 3553. That nuance is
          impossible under a Guideline that is structured as bluntly as U.S.S.G. [§] 3A1.4.

   McLoughlin, supra, at 108 (footnotes omitted). As demonstrated by the almost universal

   application of the Terrorism Enhancement to crimes related to terrorism, the additional findings

   it requires do not remedy its lack of calibration.

          The Guidelines were developed to ―further the basic purposes of criminal punishment:

   deterrence, incapacitation, just punishment, and rehabilitation.‖ U.S.S.G. Ch.1, Pt. A. In enacting

   the Sentencing Reform Act of 1984, ―Congress sought reasonable uniformity in sentencing by

   narrowing the wide disparity in sentences imposed for similar criminal offenses committed by

   similar offenders.‖ Additionally, it ―sought proportionality in sentencing through a system that

   imposes appropriately different sentences for criminal conduct of differing severity.‖ Id. As

   countless others have commented, the Terrorism Enhancement runs contrary to these aims.18 The

   circumstances of individuals convicted of crimes of terrorism (or who intended to promote

   crimes of terrorism) differ greatly, and sentencing them without crediting those differences

   18
    As Judge O‘Toole opined:
         I do not think the Guidelines applied in accordance with their terms do an
         adequately reliable job in balancing the relevant sentencing factor[s] for several
         reasons: First, the terrorism adjustments that we referred to when we set the
         Guidelines range operate in a way that is too general to be convincingly reliable in
         a given case. Both the 12-level adjustment to the offense level and the automatic
         assignment of a Criminal History Category VI which are applied in any case that
         can be fairly characterized as a terrorism case, regardless of the particular facts,
         not only make the recommendation unuseful as a guide in a particular case but it
         is actually, in my view, contrary to and subversive of the mission of the
         Guidelines which is to address with some particularity the unique facts of the
         given case. And gross adjustments such as the ones I‘ve referenced do not do that.
   Mehanna, No. 1:09-cr-10017-GAO, Sentencing Tr. at 68:23-69:13.


                                                    21
                                                                                                         148
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 22Page
                                                                      of 44149 of 183




   results in disproportionate sentences and disparities in sentencing. Some of the distinguishing

   factors that should be considered are ―the ‗materiality‘ of their support, the intent with which

   they gave the support, the organization to which the support was given, the quality and quantum

   of the support, the duration of the support, the identifiable harm caused by the support, and any

   identifiable victim of the support.‖ McLoughlin, supra, at 100. But the Terrorism Enhancement

   does not permit consideration of any of those aspects.19

          In considering the Enhancement, Professor George D. Brown has posited the question:

   ―Is terrorism sufficiently unique (and dangerous) that it justifies a sentencing ‗rule‘ that goes

   against notions of individualized sentences that reflect the inevitable differentiation among

   criminals?‖ Brown, supra, 520. The answer is that it is not.20 There is no rational basis for

   concluding that all individuals labeled as ―terrorists‖ and all crimes of ―terrorism‖ are equal.

   ―Gradation of offenses‖ is an important value in criminal law. George D. Brown, Notes on A

   Terrorism Trial - Preventive Prosecution, “Material Support” and the Role of the Judge After

   United States v. Mehanna, 4 Harv. Nat'l Sec. J. 1, 54 (2012). ―We do not treat a purse-snatcher


   19
      Moreover, as James McLoughlin explains in his comprehensive article on the Terrorism
   Enhancement, there is an argument that Congress has endorsed the substantial increase in the
   length of prison sentences for crimes related to international terrorism resulting from the
   Terrorism Enhancement. McLoughlin, supra, at 60. But later enacted statutes ―have sentences far
   shorter than those mandated by U.S.S.G. [§] 3A1.4, and as such they are inconsistent with the
   view that Congress intended sentences under [that section] to be as severe as they are.‖ Id. at 60-
   61 (footnotes omitted). Consequently, it does not seem that the Terrorism Enhancement is
   entitled to more deference, as some have argued. See Brown, supra, at 520 (maintaining that the
   enhancement is entitled to more deference because it originated with Congress and not the
   Sentencing Commission).
   20
      See United States v. Ressam, 679 F.3d 1069, 1106 (9th Cir. 2012) (Schroeder, J., dissenting)
   (―The majority‘s implicit assumption that terrorism is different, and must be treated differently . .
   . flies in the face of the congressionally sanctioned structure of sentencing that applies to
   terrorism as well as all other kinds of federal criminal offenses. Our courts are well equipped to
   treat each offense and offender individually, and we should not create special sentencing rules
   and procedures for terrorists. In presiding over the many terrorism-related cases on their dockets,
   courts have treated other issues in terrorism cases in ways that do not differ appreciably from
   more broadly applicable doctrines.‖).


                                                    22
                                                                                                           149
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 23Page
                                                                      of 44150 of 183




   like a rapist, [yet t]he Enhancement reflects a different view: a terrorist is a terrorist.‖ Id. The

   requirement to view any terrorist as every terrorist goes against the basic principles of sentencing

   and the factors set forth in 18 U.S.C. § 3553. Here, the application of the Terrorism

   Enhancement to Mr. Jumaev‘s offenses, the facts of which have proven to be unique and

   deserving of specific consideration, would be cruel and unreasonable.

           A just sentence is an act for which a judge is morally responsible. That responsibility can

   neither be shunned nor relinquished based on the nature of the crime.21 We must recognize that a

   human being is the focal point of the sentencing process and should not be ignored or dismissed

   because of the inflamed rhetoric of the ―war on terror.‖22 I am reminded of Judge Learned

   Hand‘s wise comment: ―If we are to keep our democracy, there must be but one commandment:

   Thou Shalt Not Ration Justice.‖




   21
      Karen Greenberg, Director of the Center on National Security at Fordham Law, agrees:
            There needs to be some kind of formal understanding of who gets sentenced for
            what, and with some gradations and constancy when it comes to terrorism trials—
            where it doesn‘t all go to the far end of the sentencing spectrum because they are
            labeled terrorists . . . . We should consider that there are different levels of
            involvement in terrorism. The material support statute, a broad category that has
            made it easier to figure out how to use the criminal justice system to prosecute
            terrorists, has contributed to this problem. The breadth of the material support
            statute reduces the need to make the kinds of careful distinctions and comparisons
            that would otherwise be made in criminal sentencing contexts.
   Symposium, supra, at 368-69.
   22
      I am additionally mindful of the fears that the current practice for sentencing individuals
   convicted of crimes of terrorism, including application of the Terrorism Enhancement, has
   unintended national security consequences. See Christina Parajon Skinner, Punishing Crimes of
   Terror in Article III Courts, 31 Yale L. & Pol‘y Rev. 309, 381 (2013) (arguing that the current
   sentencing system has created a serious national security weakness—―the risk that it is
   ‗hardening‘ terrorist defendants against America, and contributing to the development or
   entrenchment of terrorist networks.‖); McLoughlin, supra, at 76 (―One must ask what U.S.S.G.
   [§] 3A1.4 adds to the equation that improves sentencing or anti-terrorism policy when it creates
   such draconian anomalies that (in the case of defendants who are foreign nationals) become
   newsworthy in the countries from which the defendants have come fostering a belief that the
   U.S. justice system is biased and fundamentally unfair.‖).


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Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 24Page
                                                                      of 44151 of 183




          Let us then begin:

          [W]ith the simple recognition that the Sentencing Guidelines are based on a
          fundamental misconception about the administration of justice: the belief that just
          outcomes can be defined by a comprehensive code applicable in all
          circumstances, a code that yields a quantitative measure of justice more easily
          generated by a computer than a human being. We must recognize, in other words,
          that no system of formal rules can fully capture our intuitions about what justice
          requires.

   Kate Stith and Judge José A. Cabranes, Fear of Judging: Sentencing Guidelines in the Federal

   Courts 168-69 (1998).



                                                    III.

                           APPLICATION OF 18 U.S.C. § 3553(a) FACTORS

          In rejecting and varying from the Sentencing Guidelines, I am intent on crafting a

   sentence for Mr. Jumaev that is ―sufficient, but not greater than necessary . . . (A) to reflect the

   seriousness of the offense, to promote respect for the law, and to provide just punishment for the

   offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect the public from

   further crimes of the defendant; and (D) to provide the defendant with needed educational or

   vocational training, medical care, or other correctional treatment in the most effective manner.‖

   18 U.S.C. § 3553(a)(2). I am also concerned with the nature and circumstances of the offense

   and the history and characteristics of Mr. Jumaev as well as the kinds of sentences available and

   the need to avoid unwarranted sentencing disparities. See id. § 3553(a).



   A. The Nature and Circumstances of the Offense and the History and Characteristics of the
   Defendant

          I first consider the nature and circumstances of the offense and Mr. Jumaev‘s history and

   characteristics. Although Mr. Jumaev‘s offense only involves a single check on a single



                                                     24
                                                                                                          151
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 25Page
                                                                      of 44152 of 183




   occasion, the surrounding events are troublesome. Mr. Jumaev not only watched and discussed

   videos that I find to be repulsive in many ways, but he commented on the videos, saying things

   like ―Hey you, immoral, hypocrite infidels! Your days are over whether you like it or not. Now it

   is your turn. We will not let you have peace because God‘s promise is true.‖ Gov‘t Ex. 26A at 1.

   I also am concerned by Mr. Jumaev‘s encouragement of Mr. Muhtorov on his path. See, e.g.

   Gov‘t Ex. 127A (―[Y]ou‘re my teacher. Do you know that Abumumin? . . . [L]et me tell you the

   truth . . . when it comes to the matter with wedding festivities, I think it is you who is really

   walking the walk.‖). Even if he believed Mr. Muhtorov to be joking, he could have disagreed

   with him, distanced himself from him, or simply not encouraged him.

          A common recitation in the criminal law regarding a defendant‘s intent is that we cannot

   know another person‘s mind. But Mr. Jumaev‘s testimony, his recorded comments, and

   interactions with others give an idea of his sense of identity and self-perception.

          There are reasons why Mr. Jumaev acted as he did and they are to be found in his

   conduct, not in some Manichaean struggle between good and evil. It is clear that Mr. Jumaev

   became a participant in supporting a terrorist organization because of traumatic events in his life.

   The extent to which he was abused and tortured by the government in Uzbekistan is problematic,

   but the evidence is overwhelming that he and other unfortunate citizens of that country were

   subjected to deprivations of basic human rights and significant diminishment of individual

   worth. No matter how horrible the language and circumstances of the Islamic fundamentalism he

   embraced, he was searching for a structure and belief system that would validate his existence.

   That he accepted or tacitly endorsed versions of Islam favored by militants is explained more by

   the social milieu in his exile from home and family than by any doctrinal epiphany.

          In the most favorable terms, Mr. Jumaev sought and gained employment, worked long

   and arduous hours in the United States and all the while maintained communication with his wife


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Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 26Page
                                                                      of 44153 of 183




   and family and provided them with financial support. For him, the friendship he developed with

   Mr. Muhtorov and the form of Islam he eventually embraced presented a promise of social

   justice that would right the many wrongs he had seen and experienced in his homeland of

   Uzbekistan, his separation from his family, and his anomie while in the United States. While the

   actions of jihadis stem from what many consider to be misinterpretations of the Holy Quran, Mr.

   Jumaev took on this cause, in a minimally supportive way, because it gave him a sense of

   purpose and value in the fight against social injustice and economic deprivation to which his

   family and he were subjected.

          His sentiments and speech were clearly supportive of the IJU and therefore viewed with

   grave suspicion and little sympathy, yet they must be considered for sentencing purposes as

   reflections of his great need for identification rather than as evidence of a deliberate intention to

   do evil. The complete absence of violence in this case provides a window into how he saw

   himself and why he succumbed to the pressures he experienced. Such were the causes of his

   behavior. To be sure, he was influenced by others, perhaps too easily, but he did not act in any

   manner as an instigator or leader or conduit for others to engage in similar conduct.



   B. The Need for the Sentence Imposed

          The crimes with which Mr. Jumaev has been convicted are undoubtedly grave and he

   must be sentenced accordingly. ―The material-support statute is, on its face, a preventative

   measure—it criminalizes not terrorist attacks themselves, but aid that makes the attacks more

   likely to occur.‖ Holder v. Humanitarian Law Project, 561 U.S. 1, 35 (2010). ―When it enacted

   [18 U.S.C.] § 2339B in 1996, Congress made specific findings regarding the serious threat posed

   by international terrorism.‖ Id. at 29. Specifically, it found: ―‗[F]oreign organizations that engage

   in terrorist activity are so tainted by their criminal conduct that any contribution to such an


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                                                                                                           153
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 27Page
                                                                      of 44154 of 183




   organization facilitates that conduct.‘‖ Id. (quoting Antiterrorism and Effective Death Penalty

   Act of 1996 (AEDPA), § 301(a)(7), 110 Stat. 1247, note following 18 U.S.C. § 2339B (Findings

   and Purpose)).



   To Reflect the Seriousness of the Offense, To Promote Respect for the Law, and To Provide Just
   Punishment

          Recognizing the seriousness of the offense, I nevertheless find the government‘s request

   for a sentence of 15 years‘ imprisonment to be absurd. The NYU Center on Law and Security

   determined that, for the 548 cases from 2001 to 2012 involving crimes inspired by jihadist ideas,

   the average sentence imposed was 14 years‘ imprisonment. Ctr. on Law & Sec., N.Y.U. Sch. of

   Law, Terrorist Trial Report Card: September 11, 2001-September 11, 2011, at 7 (2011)

   (emphasis added). The government provides no basis for why Mr. Jumaev‘s offenses are above

   average.

          To arrive at the appropriate sentence, I ask: What sentence is necessary to convey that

   any support for terrorism will not be tolerated? I believe that message has been sent in this case.

   Mr. Jumaev has already been subjected to significant punishment. He has spent 76 months in

   pretrial detention in Denver, far from his friends in Pennsylvania and even farther from his

   family in Uzbekistan and elsewhere. During that period, he has only been able to see one of his

   sons via videoconference for 10 minutes. He has been unable to provide for his family, his long-

   standing role. Mr. Jumaev also has lived with the knowledge that his communications with his

   family and friends were monitored for an extended period of his life, such that his private

   concerns have become public. At trial, the government even took the liberty of commenting on

   his absence as a father in his children‘s lives. I have no doubt that Mr. Jumaev‘s time in




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Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 28Page
                                                                      of 44155 of 183




   detention and his experience throughout the investigation and prosecution of this case do not

   ―trivialize‖ his actions. See Gov‘t‘s Sentencing Statement at 14.

          If I imposed a term of imprisonment over the time Mr. Jumaev has already served,

   additional disparate consequences are possible or even likely. Muslims frequently experience

   discrimination while incarcerated. The U.S. Department of Justice Office of the Inspector

   General Reports to Congress on Implementation of Section 1001 of the USA Patriot Act

   illustrate the discriminatory treatment Muslims face while incarcerated.23 Since Mr. Jumaev has

   been convicted of crimes related to terrorism, it also would not be unheard of for him to be

   subjected to harsher conditions or restrictions while imprisoned.24



   To Afford Adequate Deterrence to Criminal Conduct

          While the message is clear that the U.S. prosecution of terrorism crimes is unrelenting

   and inexorable, I am not positive I would be sending an effective message of deterrence by

   sentencing Mr. Jumaev to a longer term of imprisonment. It is possible instead that I would be

   encouraging the commission of more serious crimes, given that the sentence would be the same

   regardless.25


   23
      See, e.g., Mar. 19, 2018 Report at 5-9. available at https://oig.justice.gov/reports/2018/
   1803.pdf (documenting tens of civil rights and civil liberties complaints by Muslim inmates). Mr.
   Jumaev‘s disciplinary history even includes one instance in which he did not receive his food
   following a Ramadan fast and became angry. Presentence Report at 4.
   24
      See Human Rights Watch and Columbia Law Sch. Human Rights Inst., Illusions of Justice:
   Human Rights Abuses in U.S. Terrorism Prosecutions 131-51 (2014), available at
   https://www.hrw.org/report/2014/07/21/illusion-justice/human-rights-abuses-us-terrorism-
   prosecutions.
   25
      See Joshua L. Dratel, The Literal Third Way in Approaching “Material Support for
   Terrorism”: Whatever Happened to 18 U.S.C. § 2339B(c) and the Civil Injunctive Option?, 57
   Wayne L. Rev. 11, (2011) (discussing the theory of Italian philosopher and criminologist Cesare
   Beccaria that ―the lack of any distinction between punishments for crimes of unequal kind or
   degree creates a dangerous and counterproductive equation: an offender contemplating two
   offenses, a greater and a lesser, that are punished alike is presented no disincentive to forego the


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                                                                                                          155
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 29Page
                                                                      of 44156 of 183




           Many commentators warn against unnecessarily lengthy sentences for terrorism

   offenses.26 One of the reasons behind those warnings is the possibility of further ―radicalization‖

   while in prison. ―Prison systems throughout the world have been and continue to be breeding

   grounds for radicalism, recruiting grounds for extremist movements, and facilities for the

   planning and training of radical activities.‖ Office of the Inspector Gen., U.S. Dep‘t of Justice, A

   Review of the Federal Bureau of Prisons’ Selection of Muslim Religious Services Providers 6

   (2004), available at https://oig.justice.gov/special/0404/final.pdf.27

          [I]n recent years, policy decisions have produced shortages in Islamic leadership .
          . . . The lack of trained leadership . . . renders the religion at perpetual risk of
          being guided by inmates who can hardly deliver authoritative spiritual guidance.
          More critically, it allows individuals to exploit the pulpit, depart from traditional
          teachings, and even propagate an extremist agenda.

   SpearIt, Muslim Radicalization in Prison: Responding with Sound Penal Policy or the Sound of

   Alarm?, 49 Gonz. L. Rev. 37, 60-62 (2013).28 These factors weigh against a protracted additional

   term of imprisonment.



   greater for the lesser. If the punishments are identical, there is no greater risk in attempting the
   greater.‖).
   26
      See, e .g., Ahmed, supra, at 1566 (―[N]ot only do lengthy sentences hinder rehabilitation, but
   they can also promote recidivism, especially in the terrorism context.‖); Parajon Skinner, supra,
   at 381 (―The risk that terrorists will harden in the U.S. prison system, or, in ordinary criminal
   language ‗recidivate,‘ is at least in part a function of their experience in prison, inclusive of their
   perceptions of the process behind the punishment.‖).
   27
      ―Inmates can be radicalized in many ways, including through the delivery of anti-U.S. sermons,
   exposure to other radical inmates, or the distribution of extremist literature . . . . While
   radicalization does not necessarily lead inmates to join terrorist organizations, it can, upon their
   release, lead them to attend and serve in radical mosques or obtain religious education overseas
   in locations that provide further opportunities for radicalization and terrorist recruitment.‖ Office
   of the Inspector Gen., U.S. Dep‘t of Justice, A Review of the Federal Bureau of Prisons’
   Selection of Muslim Religious Services Providers 6-7 (2004), available at
   https://oig.justice.gov/special/0404/final.pdf.
   28
      Accord Office of the Inspector Gen., supra, at 6-7, (―This freeze on hiring Muslim chaplains
   implicates prison security and presents counterterrorism concerns. Without a sufficient number
   of Muslim chaplains on staff, inmates are, according to the Chief of the Chaplaincy Services
   Branch and the ten BOP Muslim chaplains, much more likely to lead their own religious
   services, distort Islam, advocate Prison Islam, and espouse extremist beliefs.‖).


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Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 30Page
                                                                      of 44157 of 183




   To Protect the Public from Further Crimes of the Defendant

           Mr. Jumaev has no criminal history, and as I have already stated, there is no indication

   that he will recidivate. He is subject to deportation and may never again be out-of-custody in the

   U.S. The government contends that Mr. Jumaev‘s conduct reflects a clear upward trajectory

   indicating that, ―if left unchecked,‖ Mr. Jumaev would have ―endeavored to continue his support

   and expand his support.‖ See Gov‘t Argument at 7/18/18 Sentencing Hr‘g. I am not persuaded in

   the least bit by this argument. Mr. Jumaev wrote the $300 check in March 2011. He was not

   arrested in this case until March 2012. Yet, during that year period, there is no evidence that he

   committed any other crime or attempted to support terrorism in any other way. When Mr.

   Muhtorov finally told Mr. Jumaev he was leaving for Turkey, Mr. Jumaev did not write him

   another check to take with him or try to assist him with his travel.

           As Judge Janet Hall found in United States v. Ahmad, No. 3:04-cr-00301-JCH (D. Conn.

   July 16, 2014),29 I cannot sentence Mr. Jumaev on an unfounded fear that he might do something

   and extend his sentence as a result. I must look at what he actually did and determine whether it

   is likely that he will do something similar or greater in the future. From the facts before me, I

   find it is not.




   29
     Ahmad, No. 3:04-cr-00301-JCH, Sentencing Tr. at 32:8-11, ECF No. 220 (―I don‘t think it‘s
   right to act on what I would call an unfounded fear that a defendant might do something, like a
   terrorist act, and therefore we should just lock that person up forever . . . . I think I need to be
   conscious of assessing the nature and circumstances of what the defendants did and not merely
   react to that title as ascribed to this case.‖).


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Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 31Page
                                                                      of 44158 of 183




   To Provide the Defendant with Needed Training, Medical Care, or Other Treatment

          To my knowledge, the Bureau of Prisons offers no relevant training or rehabilitation

   programs available for Mr. Jumaev and his crimes.30 This is significant, because there is little

   hope that the negative influences resulting from a longer period of incarceration will be balanced

   with a productive program. I have considered the opportunity for Mr. Jumaev to pursue

   additional education opportunities while imprisoned31 but have determined that potential benefit

   is outweighed by the other factors.



   C. The Kinds of Sentences Available

          Mr. Jumaev has now been in detention for 2,316 days. I could impose an additional term

   of imprisonment up to the maximum sentence under the statute—15 years for each count, or I

   sentence him to the time he has already served. Sentencing him to a term of less than the 2,316

   days he has spent in detention would be meaningless at this point. Violations of 18 U.S.C. §

   2339B can also carry a maximum fine of up to $250,000 and up to a life term of supervised

   release.

          In evaluating the sentences available, I consider the immigration consequences and

   available forms of relief for Mr. Jumaev as well. I commend defense counsel for their

   thoroughness in presenting the related material for sentencing purposes. See Jumaev‘s

   Sentencing Statement at 27, ECF No. 1908; Id. Ex. C at 1-4, ECF No. 1908-1. Mr. Jumaev is

   30
      See Ahmed, supra, at 1567 (2017) (explaining that programs focused on rehabilitating
   individuals convicted of terrorism offenses have not been instituted in American prisons); United
   States v. Bell, 81 F.Supp.3d 1301, 1318 (M.D. Fla. 2015) (citing testimony by a Federal Bureau
   of Prisons representative that ―the BOP currently has no programs for de-radicalizing prisoners
   convicted of crimes of terrorism‖).
   31
      See Spearit, supra, at 78 (―The best course to successful return to society is educational training
   on the inside. Although, there is little empirical research on whether education reduces
   recidivism, education may militate against extremism directly, since groups like al-Qaeda have
   been known to prey on uneducated individuals to conduct their violent biddings.‖).


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                                                                                                            158
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 32Page
                                                                      of 44159 of 183




   currently in immigration removal proceedings and will likely be detained by Immigration and

   Customs Enforcement as soon as he is released from custody in this case. Mr. Jumaev could then

   be removed to Uzbekistan and face an uncertain future there or could be detained here for an

   extended period pursuant to the Convention Against Torture. See id. at 4; Yusupov v. Attorney

   Gen. of United States, 650 F.3d 968, 977-79, 993 (3d Cir. 2011) (discussing the likelihood that

   the petitioners, two Uzbek nationals, would be persecuted and tortured if removed to Uzbekistan

   because of their religious and political beliefs; explaining the forms of relief available and the

   impact of a determination that an alien is a danger to the security of the U.S.; and holding that

   the government had not proved that the petitioners were a danger to the security of the U.S. so

   they were entitled to mandatory withholding of removal). Either way, his options are bleak, and

   continued detention separate from this case is most probably in his future. Additionally, as a

   result of his immigration status and the corresponding proceedings, any period of supervised

   release imposed will likely be an unrealized figment of his sentence.



   D. The Need to Avoid Unwarranted Sentence Disparities

          Finally, I must consider ―the need to avoid unwarranted sentence disparities among

   defendants with similar records who have been found guilty of similar conduct.‖ 18 U.S.C. §

   3553(a)(6). Understanding that the Sentencing Guidelines are not useful for avoiding sentencing

   disparities in terrorism-related cases, I ordered the parties and the Probation Office to submit

   summaries of previous cases in which a defendant has been convicted under 18 U.S.C. § 2339B.

   I have reviewed their submissions along with the relevant cases listed in the Sentencing

   Compilation Matrix prepared by the defense in United States v. Ahmad.32 While the material


   32
    Ahmad, No. 3:04-cr-00301-JCH (D. Conn. June 16, 2014), Babar Ahmad‘s Memorandum in
   Aid of Sentencing Ex. N, ECF No. 179-14.


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                                                                                                        159
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 33Page
                                                                      of 44160 of 183




   support statutes, 18 U.S.C. §§ 2339A and 2339B, have been among the most frequently

   prosecuted federal anti-terrorism statutes,33 there are only a few cases that bear enough likeness

   to Mr. Jumaev‘s to be worthy of comparison, and even these are readily distinguishable.34 The

   following material support cases are similar to this case in that they all involve financial

   contributions, but as is apparent, each of the defendants engaged in substantially more culpable

   conduct than Mr. Jumaev, such as participating in intricate conspiracy networks, contributing

   considerable sums of money, providing support on a recurrent basis, joining in recruitment

   efforts, plotting against the United States, and so on.



   Mohamed Bailor Jalloh35

          Mohamed Bailor Jalloh provided $340 to an ISIS official while he was in Africa with the

   U.S. National Guard. Upon returning to the United States, he provided $500 to an FBI

   confidential informant. He also researched and attempted to purchase an AK-47 assault rifle. Mr.

   Jalloh pleaded guilty, in United States v. Jalloh, No. 1:16-cr-00163 (E.D. Va. 2016), to one count

   of providing material support to a foreign terrorist organization. The sentencing judge noted that

   Mr. Jalloh was willing to take significant steps to support ISIS and knew that the ISIS official

   was plotting attacks in the United States. The judge sentenced him to 132 months‘ imprisonment

   with five years of supervised release.




   33
      Charles Doyle, Cong. Research Serv., R41333, Terrorist Material Support: An Overview of 18
   U.S.C. §2339A and §2339B (2016), available at https://fas.org/sgp/crs/natsec/R41333.pdf.
   34
      A comprehensive table of cases in which a defendant was sentenced for charges under 18
   U.S.C. § 2339 is attached as an Appendix to this Order.
   35
      Mr. Jalloh was charged after the maximum term of imprisonment for a conviction under 18
   U.S.C. § 2339B was raised from 15 years to 20 years, as were Nicholas Young, Haris Qamar,
   Hinda Osman Dhirane, and Muna Osman Jama.


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                                                                                                        160
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 34Page
                                                                      of 44161 of 183




   Nicholas Young

          Nicholas Young was a police officer in Washington, D.C., and while in that service,

   provided gift cards intended for ISIS to an FBI informant. In United States v. Young, No. 1:16-

   cr-00265 (E.D. Va. 2016), Mr. Young was found guilty by a jury of two counts of attempting to

   obstruct justice in violation of 18 U.S.C. § 1512(c)(2) and of one count of violating § 2339B. He

   was sentenced to 180 months‘ imprisonment with 15 years of supervised release.



   Haris Qamar

          At the behest of an FBI confidential informant, Haris Qamar purchased gift cards worth

   $80 that he believed would eventually be sent to ISIS. Mr. Qamar and the confidential informant

   also took pictures of monuments for a video that ISIS was purportedly making to encourage lone

   wolf terrorist attacks in Washington, D.C. Prior to the involvement of the FBI, Mr. Qamar

   bought a plane ticket with the intent of going to join ISIS, but he abandoned that plan after his

   parents took his passport. Mr. Qamar pleaded guilty, in United States v. Qamar, No.1:16-cr-

   00227 (E.D. Va. 2018), to one count of attempting to provide material support to a foreign

   terrorist organization. He was sentenced to 102 months‘ imprisonment with 20 years of

   supervised release.



   Raja Lahrasib Khan

          Raja Lahrasib Khan supported Kashmir independence from India, and on a trip to

   Pakistan, he provided the leader of the Kashmir independence movement, Ilyas Kashmiri, with

   approximately $200 to $250 to use for attacks against the Indian government. Upon his return to

   the United States, he sent funds to Pakistan and instructed that $300 go to Kashmiri. He later

   accepted $1,000 from an undercover law enforcement agent and agreed to provide the funds to


                                                   34
                                                                                                       161
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 35Page
                                                                      of 44162 of 183




   Kashmiri. The undercover agent claimed to be interested in sending money to Kashmiri only if

   he was working with al-Qaeda. Mr. Khan confirmed that Kashmiri was working with al-Qaeda

   and arranged for the funds to be delivered to him. In United States v. Khan, No. 1:10-cr-00240

   (N.D. Ill. 2010), Mr. Khan pleaded guilty to one count of attempting to provide material support

   to a foreign terrorist organization and was sentenced to 90 months‘ imprisonment with lifetime

   supervised release.



   Basaaly Saeed Moalin

          Basaaly Saeed Moalin collaborated with al-Shabaab leadership and even offered to

   provide them with a house in Mogadishu to hide weapons and to advance their agenda. In United

   States v. Moalin, No. 3:10-cr-04246 (S.D. Cal. 2010), Mr. Moalin and his co-defendants were

   found guilty by a jury of conspiracy to provide material support to terrorists, conspiracy to

   provide material support to a foreign terrorist organization, and conspiracy to launder monetary

   instruments. Mr. Moalin was also found guilty of actually providing material support to terrorists

   and to a foreign terrorist organization. On those five counts, Mr. Moalin was sentenced to a total

   of 216 months‘ imprisonment with three years of supervised release. Observing that Mr. Moalin

   went so far as to counsel al-Shabaab leadership on how to bury bombs and other munitions on

   his property, the judge concluded that his actions ―went beyond mere financial support and

   entered into the realm of a different type of support,‖ deserving of three of the years on one of

   his counts to run consecutive to the other concurrent 15-year sentences. Moalin, No. 3:10-cr-

   04246, Sentencing Tr. at 57:18-22.




                                                    35
                                                                                                        162
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 36Page
                                                                      of 44163 of 183




   Mohammad El-Mezain

          Both before and after Hamas was designated as a foreign terrorist organization in the

   1990s, Mohammad El-Mezain served as one of the officers and directors of a charitable

   foundation that operated as its fundraising arm. The foundation supported Hamas by funneling

   millions of dollars to committees in Palestine, which Mr. El-Mezain knew were controlled by

   Hamas. In United States v. Holy Land Foundation for Relief and Development, No. 3:04-cr-0240

   (N.D. Tex. 2004), Mr. El-Mezain was found guilty by a jury of a single count of conspiracy to

   provide material support to Hamas. For that crime, he was sentenced to 180 months‘

   imprisonment with three years of supervised release.



   Hinda Osman Dhirane and Muna Osman Jama

          Hinda Osman Dhirane and Muna Osman Jama organized a ―Group of Fifteen,‖ which

   included women from Minnesota, Canada, Europe, and Africa, that met regularly in a chat room

   to organize and track payments that would fund al-Shabaab operations. In United States v. Jama,

   No. 14-cr-00230 (E.D. Va. 2014), Ms. Dhirane and Ms. Jama were found guilty of one count of

   conspiracy to provide material support to the terrorist organization al-Shabaab after a bench trial.

   The women were also found guilty of multiple counts of providing material support based on the

   numerous payments and transfers of funds that occurred after they joined the conspiracy. Ms.

   Jama was convicted of making 20 separate payments totaling $4,700, and Ms. Dhirane was

   convicted of making approximately $1,000 in contributions through her participation in the

   conspiracy when those payments were made. The sentencing judge stressed that the defendants

   solicited and recruited others to contribute funds, and that ―there was a substantial level of

   organization, subterfuge, and concealment.‖ United States v. Jama, No. 14-cr-00230 (E.D. Va.

   Mar. 31, 2017), Sentencing Tr. at 49, ECF No. 332. The judge concluded that the nature and


                                                    36
                                                                                                          163
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 37Page
                                                                      of 44164 of 183




   extent of their conduct transcended the relatively small amount of money that was known to have

   been sent in support of al-Shabaab. Ms. Jama was sentenced to 144 months‘ imprisonment with

   10 years of supervised release, and Ms. Dhirane was sentenced to 132 months‘ imprisonment

   with 10 years of supervised release.



   Amina Esse

          Amina Esse was involved in the same ―Group of Fifteen‖ conspiracy to send funds in

   support of al-Shabaab. She pleaded guilty, in United States v. Esse, No. 0:14-cr-00369-MJD (D.

   Minn. 2014), to one count of conspiracy to provide material support to a foreign terrorist

   organization. She faced up to 15 years, but prosecutors sought probation because she provided

   substantial assistance to the government, including providing testimony against co-conspirators.

   Ms. Esse was sentenced to five years‘ probation.



   Amina Farah Ali and Hawo Mohamed Hassan

          Similar to the defendants in United States v. Esse and United States v. Jama, Amina

   Farah Ali and Hawo Mohamed Hassan solicited funds door-to-door in Somali neighborhoods in

   the U.S. and Canada in order to provide financial assistance to al-Shabaab. In addition, the

   defendants participated in teleconferences encouraging listeners to make donations in support of

   al-Shabaab. Ms. Ali communicated directly with Somalia-based members of al-Shabaab who

   requested financial assistance, yet she often claimed the money she solicited was to help the

   poor. In United States v. Ali, No. 0:10-cr-00187 (D. Minn. 2010), a jury found Ms. Ali and Ms.

   Hassan guilty of one count of conspiracy to provide material support to the designated foreign

   terrorist organization al-Shabaab, Ms. Ali guilty of twelve counts of providing material support,

   and Ms. Hassan guilty of two counts of making false statements to authorities. Ms. Ali was


                                                   37
                                                                                                       164
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 38Page
                                                                      of 44165 of 183




   sentenced to 240 months‘ imprisonment, while Ms. Hassan was sentenced to 120. Both have

   lifetime terms of supervised release.



   Nima Ali Yusuf

          In United States v. Yusuf, No. 3:10-cr-04551 (S.D. Cal. 2010), Nina Ali Yusuf pleaded

   guilty to one count of conspiracy to provide material support to a foreign terrorist organization.

   She admitted to sending approximately $1,450 to men who were fighting in Somalia for al-

   Shabaab. She also tried to help a co-conspirator recruit a local man to go and fight for the

   organization. Ms. Yusuf was sentenced to 96 months‘ imprisonment with three years of

   supervised release.



   Mohamud Abdi Yusuf

          Mohamud Abdi Yusuf also solicited and coordinated the transfer of funds to al-Shabaab,

   sending the terrorist organization money on several occasions. In one instance, he sent

   approximately $5,000 to al-Shabaab through a co-conspirator, funds which al-Shabaab used to

   obtain a vehicle for tactical operations and weapons transport. Mr. Yusuf pleaded guilty, in

   United States v. Yusuf, No. 4:10-cr-00547 (E.D. Mo. 2010), to one count of conspiracy to

   provide material support to a designated terrorist organization and three counts of providing

   material support to a designated terrorist organization. Mr. Yusuf was sentenced to 140 months‘

   imprisonment with two years of supervised release.



   Hor and Amera Akl

          Hor and Amera Akl planned to conceal and provide up to $500,000 to Hizballah on

   behalf of anonymous donors in the United States. They met several times with an individual


                                                   38
                                                                                                        165
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 39Page
                                                                      of 44166 of 183




   who, unbeknownst to them, was a confidential source working for the FBI, and they eventually

   agreed to send money to Hizballah leaders by secreting it inside a vehicle they intended to send

   to Lebanon via a container ship. The confidential source delivered $200,000 to the Akls at their

   home and told them he would return later in the day with more money. The Akls took steps to

   begin concealing the money in auto accessories. Mr. Akl and his wife pleaded guilty, in United

   States v. Akl, No. 3:10-cr-00251 (N.D. Ohio 2010), to conspiracy to provide material support to

   the designated foreign terrorist organization Hizballah. Mr. Akl also pleaded guilty to additional

   charges including perjury and bankruptcy fraud. Ms. Akl was sentenced to 40 months‘

   imprisonment with three years of supervised release, and Mr. Akl was sentenced to 75 months‘

   imprisonment with ten years of supervised release.



           All of the above defendants share with Mr. Jumaev that their convictions involve the

   provision of money as the form of material support. Yet Mr. Jumaev‘s conduct does not reach

   the level of any of theirs:

          He did not attempt to purchase any weapons;

          He had no direct contact with any members of a terrorist organization;

          He did not associate with terrorists or try to support them while in the U.S. Armed Forces

           or law enforcement;

          He did not take pictures of U.S. monuments to encourage a terrorist attack;

          He did not buy a ticket to travel anywhere;

          He did not serve in a leadership role of an organization;

          He did not solicit funds from other individuals or attempt to recruit them;

          He did not provide thousands or hundreds of thousands of dollars in support;




                                                   39
                                                                                                        166
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 40Page
                                                                      of 44167 of 183




           He did not provide support on multiple occasions;

           His funds did not result in the purchase of tactical equipment; and

           His efforts were not organized or methodical.



            The defendants in the next set of cases exhibited less aggravating conduct than the

   defendants discussed above, but still more extensive than Mr. Jumaev‘s in this case.36 They all

   received sentences of less than what Mr. Jumaev has already served.



   Oytun Asyse Mihalik

            Oytun Asyse Mihalik sent a total of more than $2,000 to a person in Pakistan who she

   believed was a member of the Taliban and al-Qaeda fighting against the U.S. military. She

   pleaded guilty, in United States v. Mihalik, No. 2:11-cr-00833 (C.D. Cal. 2011), to one count of

   providing material support to terrorists. She was sentenced to 60 months‘ imprisonment and

   agreed that upon the completion of her sentence she would be removed to Turkey.



   Jasminka Ramic

            Ms. Ramic was one of six U.S. citizens from Bosnia charged, in United States v. Hodzic,

   No. 4:15-CR-00049 (E.D. Mo. 2015), with conspiring to provide money, equipment, and other

   supplies to jihadists in Syria. She made three payments totaling $700 to a co-conspirator with the

   intent that the funds be transferred to, and used in support of, a fellow Bosnian-American who

   was fighting in Syria. While Ms. Ramic was initially motivated to send money and items such as

   36
     I acknowledge that the sentences of these defendants was likely impacted by plea bargaining,
   but I nevertheless find them to be more similarly situated to Mr. Jumaev than those who
   organized complex funding and recruitment schemes or provided direct support for attacks and
   violent activities. Furthermore, as I have already explained, I refuse to employ any sort of trial
   ―tax.‖


                                                    40
                                                                                                        167
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 41Page
                                                                      of 44168 of 183




   hot chocolate mix to help the children impacted by the conflict in Syria, she eventually became

   aware that the individual in Syria was fighting with terrorist groups including ISIS. She pleaded

   guilty to conspiracy to kill or maim persons in a foreign country, which carried a maximum

   sentence of 60 months. She was sentenced well below the Guidelines range to 36 months‘

   imprisonment.



   Ahmed Nasir Taalil Mohamud

          Ahmed Nasir Taalil Mohamud (Mr. Nasir), the co-defendant of Mr. Moalin (above), was

   convicted by a jury of only the three conspiracy counts, in United States v. Moalin, No. 3:10-cr-

   04246 (S.D. Cal. 2010), and in contrast with Mr. Moalin, was sentenced to just 72 months‘

   imprisonment with three years of supervised release. The sentencing judge found Mr. Nasir‘s

   limited participation to be an important mitigating factor, noting that he was involved with

   collecting and depositing approximately $1,000 into an account but had no direct contact with

   the other defendants aside from telephone conversations with Mr. Moalin. The judge further

   noted that Mr. Nasir generally led a law-abiding and productive life and worked to send money

   home to his family.



          After reviewing all of the related cases, I again sympathize with Judge Hall‘s remarks:

   ―[N]o matter how I looked at the cases, there‘s absolutely no way to rationalize the sentencings

   that have been imposed around the country, on persons who have given material support or

   committed acts of terrorism.‖ Ahmad, No. 3:04-cr-00301-JCH, Sentencing Tr. at 58:9-13. The

   take-away message in this case, though, is that it is clear that Mr. Jumaev‘s conduct is the least

   of the least. A sentence of 15 years, as recommended by the government, would be

   disproportionate and would contribute to unwarranted sentencing disparities.


                                                    41
                                                                                                        168
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 42Page
                                                                      of 44169 of 183




                                                      IV.

                                   THE SENTENCE TO BE IMPOSED

            ―It is our duty to see that the force of the state, when it is brought to bear through the

   sentences of our courts, is exerted with the maximum we can muster of rational thought,

   humanity, and compassion.‖ Marvin E. Frankel, Criminal Sentences: Law Without Order 124

   (1973).37 Despite the nature of this case or perhaps even because of it, I have endeavored with

   every ounce of my being to craft a sentence for Mr. Jumaev that is based on rational thought,

   humanity, and compassion.

            After profound reflection on all of the factors discussed above, I sentence Defendant

   Bakhtiyor Jumaev to time served, or in effect, 76 months and three days. Mr. Jumaev shall be

   placed on supervised release for a term of 10 years for each count, to run concurrently. Mr.

   Jumaev shall immediately pay a special assessment of $200. I find he does not have the ability,

   prospects, or resources to pay a fine, so I waive the fine in this case.

            Within 72 hours of release from the custody of the Bureau of Prisons, Mr. Jumaev shall

   report to the Probation Office in the District of Colorado. While on supervision, he is subject to

   the following conditions that may not be changed or modified without prior authorization of this

   Court.

   1. Mr. Jumaev must not commit any other federal, state, or local crime.

   2. Mr. Jumaev must not unlawfully possess a controlled substance and must refrain from any
      unlawful use of a controlled substance.38

   3. Mr. Jumaev must cooperate in the collection of DNA as directed by the probation officer.

   37
      While the U.S. Sentencing Commission and its Guidelines were envisioned by Judge Frankel,
   Guidelines such as those applicable for offenses related to terrorism, under which defendants are
   punished uniformly for dissimilar conduct, exacerbate the infirmities in our justice system that he
   sought to redress.
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      I waive the mandatory drug testing provision of 18 U.S.C. §§ 3563(a)(5) or 3583(d), because
   the Presentence Report indicates a low risk of future substance abuse by Mr. Jumaev.


                                                      42
                                                                                                         169
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 43Page
                                                                      of 44170 of 183




   4. After initially reporting to the probation office, Mr. Jumaev will receive instructions from the
      Court or the probation officer about how and when he must report to the probation officer,
      and he must report as instructed.

   5. Mr. Jumaev must not knowingly leave the federal judicial district where he is authorized to
      reside without first getting permission from the Court or the probation officer.

   6. Mr. Jumaev must answer truthfully the questions asked by his probation officer.

   7. Mr. Jumaev must live at a place approved by the probation officer. If he plans to change
      where he lives or anything about his living arrangements (such as the people he lives with),
      he must notify the probation officer at least 10 days before the change. If notifying the
      probation officer in advance is not possible due to unanticipated circumstances, he must
      notify the probation officer within 72 hours of becoming aware of a change or expected
      change.

   8. Mr. Jumaev must allow the probation officer to visit him at any time at his home or
      elsewhere and must permit the probation officer to take any items that he or she observes in
      plain view that are prohibited by the conditions of Mr. Jumaev‘s supervision.

   9. Mr. Jumaev must work full time (at least 30 hours per week) at a lawful type of employment,
      unless the probation officer excuses him from doing so. If he does not have full-time
      employment, he must try to find full-time employment, unless the probation officer excuses
      him from doing so. If he plans to change where he works or anything about his work (such as
      his position or job responsibilities), he must notify the probation officer at least 10 days
      before the change. If notifying the probation officer at least 10 days in advance is not
      possible due to unanticipated circumstances, he must notify the probation officer within 72
      hours of becoming aware of a change or expected change.

   10. Mr. Jumaev must not communicate or interact with someone he knows is engaged in criminal
       activity. If he knows someone has been convicted of a felony, he must not knowingly
       communicate or interact with that person without first getting the permission of the probation
       officer.

   11. If Mr. Jumaev is arrested or questioned by a law enforcement officer, he must notify the
       probation officer within 72 hours.

   12. Mr. Jumaev must not own, possess, or have access to a firearm, ammunition, destructive
       device, or dangerous weapon (i.e., anything that was designed, or was modified for, the
       specific purpose of causing bodily injury or death to another person).

   13. Mr. Jumaev must not act or make any agreement with a law enforcement agency to act as a
       confidential human source or informant without first getting the permission of the Court.

   14. If the probation officer determines that Mr. Jumaev poses a risk to another person (including
       an organization), the probation officer may require him to notify the person about the risk


                                                   43
                                                                                                         170
Case 1:12-cr-00033-JLK  DocumentDocument
         Case 1:12-cr-00033-JLK 2017 Filed 08/22/19
                                         1920        USDC Colorado
                                               Filed 07/18/18 Page 44Page
                                                                      of 44171 of 183




      and he must comply with that instruction. The probation officer may contact the person and
      confirm that he has notified the person about the risk.

   15. Mr. Jumaev must follow the instructions of the probation officer related to the conditions of
       supervision.

          I find that the Special Conditions of Supervision listed below are reasonably related to the

   factors enumerated in 18 U.S.C § 3553(a) and 18 U.S.C. § 3583(d) and do not constitute a

   greater deprivation of liberty than reasonably necessary to accomplish the goals of sentencing.

   Thus, Mr. Jumaev is subject to them as well while on supervision.

   1. If Mr. Jumaev is deported, he must not thereafter re-enter the United States illegally. If he re-
      enters the United States legally, he must report to the nearest U.S. Probation Office within 72
      hours of his return.

   2. Mr. Jumaev must allow the probation officer to install software/hardware designed to
      monitor computer activities on any computer he is authorized by the probation officer to use.
      The software may record any and all activity on the computer, including the capture of
      keystrokes, application information, internet use history, email correspondence, and chat
      conversations. A notice will be placed on the computer at the time of installation to warn
      others of the existence of the monitoring software on the computer. Mr. Jumaev must not
      attempt to remove, tamper with, reverse engineer, or in any way circumvent the
      software/hardware.

   3. Mr. Jumaev must submit his person, property, house, residence, office, vehicle, papers,
      computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic communications, data
      storage devices, or media to a search conducted by a United States probation officer. Failure
      to submit to a search may be grounds for revocation of release. Mr. Jumaev must warn any
      other occupants that the premises may be subject to searches pursuant to this condition. An
      officer may conduct a search pursuant to this condition only when reasonable suspicion
      exists that he has violated a condition of his supervision and that the areas to be searched
      contain evidence of this violation. Any search must be conducted at a reasonable time and in
      a reasonable manner.

   4. Mr. Jumaev shall not possess, view, access, or otherwise use material that reflects extremist
      or terroristic views or is deemed to be similarly inappropriate by the U.S. Probation Office.


          DATED this 18th day of July, 2018.


                                                                ______________________________
                                                                JOHN L. KANE
                                                                SENIOR U.S. DISTRICT JUDGE


                                                   44
                                                                                                          171
                     Case 1:12-cr-00033-JLK  DocumentDocument
                              Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                               1920-1  FiledUSDC  Colorado
                                                                             07/18/18 Page 1Page
                                                                                             of 12172 of 183




                           Case Appendix to Memorandum Opinion and Order on Sentencing
                                                              Initial
                 Relevant                                   Indictment                                                                             Foreign Terrorist
Case Name       Defendant(s)    District      Case No.         Date             Sentence                             Summary                         Organization

                                                                         420 months’
                                                                         imprisonment + 5 years’   Defendant was charged with violating §
                                                                         supervised release        1512(c)(1) and (2) in addition to one count
                                                                                                   of § 2339B. The defendant was convicted by       Islamic State of
                                                                         (180 months for           a jury of both counts. The defendant traveled      Iraq and the
               Tairod Nathan                                 Mar. 16,    conviction under §        to Turkey in an effort to cross into Syria to   Levant / al-Sham
U.S. v. Pugh   Webster Pugh     E.D.N.Y.    1:15-cr-00116     2015       2339B)                    engage in jihad.                                      (ISIS)

                                                                         360 months’
                                                                         imprisonment + lifetime
                                                                         supervised release

                                                                         (180 months for each      Defendant was found guilty by a jury of two
                                                                         conviction under §        counts of violating § 2339B and 25 counts of
               Nader                                                     2339B to be served        violating.§ 1344. He attempted to provide
               Elhuzayel                                                 consecutively)            personnel in the form of himself.


                                                                         360 months’
                                                                         imprisonment + lifetime
                                                                         supervised release        Defendant was found guilty by a jury of two
                                                                                                   counts of violating§ 2339B and one count of
                                                                         (180 months for each      violating 20 U.S.C. § 1097. The defendant
                                                                         conviction under §        facilitated his co-defendant’s travel to join
  U.S. v.      Muhanad Elfati                                June 03,    2339B to be served        ISI by providing his debit card to purchase a
 Elhuzayel     M. A. Badawi     C.D. Cal.   8:15-cr-00060      2015      consecutively)            one-way airline ticket.                               ISIS

                                                                         360 months’
                                                                         imprisonment + 20
                                                                         years’ supervised
                                                                         release.
                                                                                                   Defendant pleaded guilty two counts of
                                                                         (180 months for each      violating § 2339B. The defendant was a
                                                                         conviction under §        member of Army National Guard. The
  U.S. v.      Hasan R.                                      Apr. 02,    2339B to be served        defendants discussed attacking the military
 Edmonds       Edmonds          N.D. Ill.   1:15-cr-00149     2015       consecutively)            base in Illinois and traveling to Syria.              ISIS

                                                                                                                 172
                       Case 1:12-cr-00033-JLK  DocumentDocument
                                Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                 1920-1  FiledUSDC  Colorado
                                                                               07/18/18 Page 2Page
                                                                                               of 12173 of 183


                                                                      252 months’
                                                                      imprisonment + 20
                                                                      years’ supervised release
                                                                                                  Defendant pleaded guilty to one count of
                                                                      (180 month’ for             violating § 2339B and one count of making a
                 Jonas M.                                             conviction under            false statement to law enforcement in
                 Edmonds                                              §2339B)                     violation of 18 U.S.C. § 1001.

                                                                                                  Defendant was found guilty by a jury of one
                                                                                                  count of violating § 2339B and of four
                                                                                                  additional counts involving firearms and
                                                                                                  making false statements to the Federal
                                                                                                  Bureau of Investigation.
                                                                      360 months’
                                                                      imprisonment + lifetime     The defendant engaged in a plot to disrupt an
                                                                      supervised release          event in Texas. Several individuals were
                                                                                                  injured and two co-conspirators were killed
                                                                      (240 months for             in the attack. Additionally, they had
                 Abdul Malik                               June 10,   conviction under §          considered attacking military bases, the
U.S. v. Kareem   Abdul Kareem   D. Ariz.   2:15-cr-00707     2015     2339B)                      Super Bowl, and shopping malls.                    ISIS

                                                                      300 months’
                                                                      imprisonment + 3years
                                                                      supervised release
                                                                                                  Defendant was found guilty by a jury of two
                                                                      (180 months for each        counts of violating § 2339B and of one count
                                                                      conviction under §          of violating 26 U.S.C. § 5861(d). The             Islamic
   U.S. v.       Fazliddin                                 May 16,    2339B to run                defendant attempted to provide financial        Movement of
  Kurbanov       Kurbanov       D. Idaho   1:13-cr-00120    2013      concurrently)               support and personnel, including himself.        Uzbekistan

                                                                                                  Defendant was convicted by a jury of two
                                                                                                  counts of violating § 2339B. The defendant
                                                           June 27,   300 months’                 attempted to provide expert advice and
                 Rafiq Abdus               1:05-cr-00673     2005     imprisonment + 2 years’     medical assistance to a foreign terrorist
 U.S. v. Shah    Sabir          S.D.N.Y.                              supervised release          organization.                                    al Qaeda




                                                                                                                173
                         Case 1:12-cr-00033-JLK  DocumentDocument
                                  Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                   1920-1  FiledUSDC  Colorado
                                                                                 07/18/18 Page 3Page
                                                                                                 of 12174 of 183


                                                                          300 months’
                                                                          imprisonment + 5 years’
                                                                          supervised release

                                                                          (180 months for the first   Defendant was found guilty of two counts of
                                                                          count of violating §        violating § 2339A and two counts of
                                                                          2339A and 120 months        violating § 2339B. The defendant was found
                  Hafiz                                                   for the remaining           guilty on all charges. The defendant
                  Muhammad                                    May 12,     charges to run              solicited, collected, and transferred money to   Pakistani
 U.S. v. Khan     Sher Ali Khan   S.D. Fla.   1:11-cr-20331    2011       concurrently)               purchase weapons for the Taliban.                 Taliban

                                                                          270 months’
                                                                          imprisonment + 27
                                                                          years, 6 months
                                                                          supervised release

                                                                          (180 months for one         Defendant was indicted for seven counts and
                                                                          count and 90 months for     ultimately pleaded guilty to two counts of
                                                              Sept. 16,   the other to run            violating § 2339B. He attempted to provide
U.S. v. Elfgeeh   Mufid Elfgeeh   W.D.N.Y.    6:14-cr-06147    2014       consecutively)              personnel to ISIS.                                  ISIS

                                                                          240 months’
                                                                          imprisonment + lifetime
                                                                          supervised release
                                                                                                      Defendant was found guilty of thirteen
                                                                          (180 months for one         counts of violating § 2339B. The defendant
                  Amina Farah                                             count and 60 months for     raised and/or provided at least $2,100 to al-
                  Ali                                                     each remaining count)       Shabbab.

                                                                          120 months’                 Defendant was found guilty of three counts
                                                                          imprisonment + lifetime     of violating § 1001 and one count of
                                                                          supervised release          violating § 2339B. The defendant assisted in
                                                                                                      raising the $2,100 by encouraging
                                                                          (120 months for             individuals to pledge allegiance to al-
  U.S. v. Ali     Hawo Hassan     D. Minn.    0:10-cr-00187    2010       violating § 2339B)          Shabbab.                                         al-Shabbab

                                                                          240 months’
                                                                          imprisonment + 10           Defendant pleaded guilty to one count of
                                                                          years’ supervised release   violating § 2339B and one count of violating
                                                                                                      18 U.S.C. § 1030 in relation to hacking. The
                                                                                                      defendant was a hacker living in Malaysia
                                                              Feb. 16,                                who obtained U.S. government and military
                                                               2016       (180 months for             personnel information and provided the
U.S. v. Ferizi    Ardit Ferizi    E.D. Va.    1:16-cr-00042               violating § 2339B).         information to ISIS.                                ISIS

                                                                                                                     174
                       Case 1:12-cr-00033-JLK  DocumentDocument
                                Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                 1920-1  FiledUSDC  Colorado
                                                                               07/18/18 Page 4Page
                                                                                               of 12175 of 183


                                                                                                     Defendant was found guilty of two counts of
                                                                                                     violating § 2339A, two counts of violating §
                                                                                                     2339B, and one count of conspiracy to
                                                                         216 months’                 launder money in violation of 18 U.S.C. §
                 Basaaly Saeed                                Oct. 22,   imprisonment + 3 years’     1956(a)(2). The defendant coordinated with
U.S. v. Moalin   Moalin           S.D. Cal.   3:10-cr-04246    2010      supervised release          leaders of al-Shabaab.                             al-Shabaab

                                                                                                     Defendant was charged initially with
                                                                                                     violating § 2339A and later charged with
                                                                                                     also violating § 2339B. The defendant
                                                                                                     pleaded guilty to the count of violating §
                                                                         210 months’                 2339B. The defendant attempted to use a
                 Vicente Adolfo                               Nov. 02,   imprisonment + lifetime     weapon of mass destruction to destroy a mall
U.S. v. Solano   Solano           S.D. Fla.   1:17-cr-20781    2017      supervised release          on and wanted to join ISIS.                           ISIS

                                                                         204 months’
                                                                         imprisonment + 30
                                                                         years’ supervised release

                                                                         (180 months for each of
                                                                         three counts to run
                                                                         concurrently plus 24        Defendant was found guilty of two counts of
                                                                         months for conspiracy to    violating § 2339A and two counts of
                                                                         provide material support    violating § 2339B. The defendants
                                                                         to a foreign terrorist      conducted surveillance and met with others
                 Ehsanul Islam                                           organization to run         to discuss possible targets for a terrorist
                 Sadequee                                                consecutively)              attack.

                                                                         156 months’
                 Syed Haris                                   Mar. 23,   imprisonment + 30           Defendant was found guilty of one count of       Lashkar-e-Taiba
U.S. v. Ahmed    Ahmed            N.D. Ga.    1:06-cr-00147    2006      years’ supervised release   violating §2339A.                                    (LET)

                                                                                                     Defendant was found guilty of two counts of
                                                                                                     attempting to obstruct justice in violation of
                                                                         180 months’                 18 U.S.C. § 1512(c)(2) and of one count of
                                                                         imprisonment (for each      violating § 2339B. The defendant was a
                                                                         count to run                police officer and on several occasions
                                                              Dec. 15,   concurrently) + 15          purchased gift cards to be used by ISIS for
U.S. v. Young    Nicholas Young   E.D. Va.    1:16-cr-00265    2016      years’ supervised release   recruitment.                                          ISIS




                                                                                                                   175
                        Case 1:12-cr-00033-JLK  DocumentDocument
                                 Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                  1920-1  FiledUSDC  Colorado
                                                                                07/18/18 Page 5Page
                                                                                                of 12176 of 183


                                                                                                     Defendant was charged with twelve counts
                                                                                                     of violating § 2339B, ten counts of violating
                                                                                                     50 U.S.C. §§ 1701-1706, and one count of
                                                                                                     violating 12 U.S.C.§ 1956. The defendant
 U.S. v. Holy                                                                                        was convicted by the jury of one count of
    Land                                                                                             violating § 2339B. The defendant was a
Foundation for                                                             180 months’               large scale financier for Hamas. Together
  Relief and      Mohammed El-                                 July 26,    imprisonment + 3 years’   with his co-conspirators, they raised over
 Development      Mezain           N.D. Tex.   3:04-cr-00240    2004       supervised release        $12,000,000.                                        Hamas

                                                                                                     Defendant pleaded guilty to one count of
                  Gufran Ahmed                                             180 months’               violating § 2339B. He attempted to provide
U.S. v. Kauser    Kauser                                       May 21,     imprisonment + 5 years’   personnel and funds totaling approximately      al Qaeda & al-
 Mohammed         Mohammed         S.D. Fla.   1:13-cr-20364    2013       supervised release        $26,000.                                           Shababb

                                                                           180 months’
                                                                           imprisonment; no
                                                                           supervised release
                                                                           because subject to
                                                                           deportation               Defendant was found guilty of two counts of
                                                                                                     violating § 2339B, two counts of violating
                                                                           (60 months for each       50 U.S.C. § 1705(a), and one count of
                                                                           violation of § 3229B to   violating 18 U.S.C. § 371. The defendant
                                                                           run concurrently with     agreed to provide goods in the form of guns,
                                                                           each other but            ammunition, vehicles, bulletproof vests, and
                                                               Oct. 26,    consecutive to other      night vision goggles because he thought they
U.S. v. Nayyar    Patrick Nayyar   S.D.N.Y.    1:09-cr-01037    2009       counts)                   would be used to support Hizballah.                Hizballah

                                                                           180 months’
                                                                           imprisonment + 3 years’
                                                                           supervised release
                                                                                                     Defendant was found guilty of one count of
                                                                           (180 months for each      violating § 2339A and two counts of
                                                                           count of violating §      violating § 2339B. The defendant provided
                  Ali Asad                                     Sept. 14,   2339B to be served        paint balls for training activities in the      Lashkar-e-Taiba
U.S. v. Chandia   Chandia          E.D. Va.    1:05-cr-00401    2005       concurrently)             Lashkar-e-Taiba.                                    (LET)




                                                                                                                   176
                        Case 1:12-cr-00033-JLK  DocumentDocument
                                 Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                  1920-1  FiledUSDC  Colorado
                                                                                07/18/18 Page 6Page
                                                                                                of 12177 of 183


                                                                          180 months’
                                                                          imprisonment + 3 years’
                                                                          supervised release

                                                                          (180 months for
                                                                          violating § 2339B;
                                                               Waived     received an additional 63   Defendant pleaded guilty to one count of
                                                             indictment   months for separate         violating § 2339B. The defendant purchased
                  Donald Ray                                   Oct. 30,   charge of felon in          a ticket to enter Syria and participate in
U.S. v. Morgan    Morgan         M.D.N.C.    1:14-cr-00414      2014      possession of a firearm)    jihad.                                            al Qaeda/ISIS
                                                               Waived
                                                             indictment   180 months’                 Defendant pleaded guilty to one count of
                  Leon Nathan                                 May 27,     imprisonment + lifetime     violating § 2339B. The defendant attempted
 U.S. v. Davis    Davis          S.D. Ga.    1:15-cr-00059      2015      supervised release          to fly to Turkey and later Syria to join ISIS.        ISIS
                                                               Waived
                                                             indictment   180 months’                 Defendant pleaded guilty to one count of
                                                               Oct. 29,   imprisonment + lifetime     violating § 2339B. The defendant was
U.S. v. Saadeh    Alaa Saadeh     D.N.J      2:15-cr-00558      2015      supervised release          planning on going to Turkey to support ISIS.          ISIS

                                                                                                      Defendant pleaded guilty to one count of
                                                                                                      violating § 1542 and one count of violating §
                                                                          180 months’                 2339B. The defendant attempted to board a
                                                              July 16,    imprisonment + lifetime     flight to Turkey and also received a
U.S. v. Dandach   Adam Dandach   C.D. Cal.   8:14-cr-00109     2014       supervised release          conviction for a false passport.                  al Qaeda/ISIS

                                                                                                      Defendant pleaded guilty to one count of
                                                                                                      violating § 2339B. The defendant was              Revolutionary
   U.S. v.        Juanito                                                 180 months’                 involved in multiple conversations with co-      Armed Forces of
  Cordoba-        Cordoba-                                    Feb. 05,    imprisonment + 3 years’     conspirators about logistics for seizing            Colombia
  Bermudez        Bermeduez      S.D.N.Y.    1:08-cr-01290     2009       supervised release          weapons from Panamanian authorities.                (FARC)

                                                                                                      Defendant was found guilty of one count of
                                                                                                      violating § 2339A and of one count of
                                                                                                      violating § 2339B. The defendant allowed
                                                                          168 months’                 his co-conspirators to use his business as a
    U.S. v.       Tahawwur                                    Dec. 07,    imprisonment + 3 years’     cover to conceal travel and surveillance for     Lashkar-e-Taiba
   Kashmiri       Hussain Rana   N.D. Ill.   1:09-cr-00830     2009       supervised release          terrorist attacks.                                   (LET)




                                                                                                                     177
                         Case 1:12-cr-00033-JLK  DocumentDocument
                                  Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                   1920-1  FiledUSDC  Colorado
                                                                                 07/18/18 Page 7Page
                                                                                                 of 12178 of 183


                                                                                                       Defendant was found guilty of one count
                                                                                                       each of violating § 2339A, § 2339B, § 844,
                                                                                                       and § 2384.

                                                                                                       The defendants swore allegiance to al Qaeda,
                                                                           162 months’                 purchased a camera, and scouted locations
                                                                           imprisonment + 35           for what they believed would be a domestic
                  Narseal Batiste                                          years’ supervised release   attack.

                                                                           112.5 months’
                                                                           imprisonment + 15
                                                                           years’ supervised release   Defendant was found guilty of one count
                  Patrick                                                                              each of violating § 2339A, § 2339B, and §
                  Abraham                                                                              844.

                                                                           96 months’
                                                                           imprisonment + 15
                                                                           years’ supervised release
                  Stanley Grant                                                                        Defendant was found guilty of violating one
                  Phanor                                                                               count of § 2339A and one count of §2339B.

                                                                           84 months’
                                                                           imprisonment + 10
                                                                           years’ supervised release
                  Rotschild                                                                            Defendant was found guilty of violating one
                  Augustine                                                                            count of § 2339A and one count of §2339B.

                                                                           72 months’
                  Burson                                        June 22,   imprisonment + 10           Defendant was found guilty of violating one
U.S. v. Batiste   Augustin          S.D. Fla.   1:06-cr-20373     2006     years’ supervised release   count of § 2339A and one count of §2339B.         al Qaeda

                                                                                                       Defendant pleaded guilty to one count of
                                                                                                       violating § 2339B. The defendant accepted
                                                                                                       bribes in exchange for the information and
                                                                                                       assistance he could provide as a high-level     United Self-
                  Mauricio                                                 156 months’                 law enforcement officer in Colombia. The       Defense Forces
                  Santoyo                                       May 24,    imprisonment + 5 years’     information allowed AUC members to avoid        of Colombia
U.S. v. Velasco   Velasco           E.D. Va.    1:12-cr-00217    2012      supervised release          detection and arrest.                              (AUC)

                                                                           144 months’                 Defendant was found guilty of 21 counts of
                                                                           imprisonment (on each       violating § 2339B. The defendant provided
                  Muna Osman                                    June 24,   count) + 10 years’          several payments to al-Shabaab including
 U.S. v. Jama     Jama              E.D. Va.    1:14-cr-00230     2014     supervised release          one payment of $1,500.                          al-Shabaab


                                                                                                                     178
                          Case 1:12-cr-00033-JLK  DocumentDocument
                                   Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                    1920-1  FiledUSDC  Colorado
                                                                                  07/18/18 Page 8Page
                                                                                                  of 12179 of 183


                                                                                                         Defendant was found guilty of one count of
                                                                             132 months’                 violating § 2339B. The defendant was
                   Hinda Osman                                               imprisonment + 10           involved in the transfer of approximately
                   Dhirane                                                   years’ supervised release   $1,000 in support of al-Shabaab.

                                                                                                         Defendant pleaded guilty to one count of
                                                                                                         violating § 2339B. The defendant was a
                                                                                                         college student with some involvement in the
                                                                             144 months’                 National Guard. The defendant wanted to
                   Nicholas                                     Mar. 26,     imprisonment + 25           participate in violent jihad and was arrested
U.S. v. Teausant   Teausant         E.D. Cal.   2:14-cr-00087    2014        years’ supervised release   traveling to Canada.                                 ISIS

                                                                                                         Defendant pleaded guilty to four counts of
                                                                             140 months’                 violating § 2339B. There were at least four
                   Mohamud Abdi                                  Oct. 21,    imprisonment +2 years’      individuals involved in the conspiracy to
 U.S. v. Yusuf     Yusuf            E.D. Mo.    4:10-cr-00547     2010       supervised release          provide funds to al-Shabaab.                      al-Shabaab

                                                                                                         Defendant pleaded guilty to one count of
                                                                                                         violating § 2339B. The defendant was a
                                                                                                         ranking member of the FARC. She oversaw          Revolutionary
                                                                             138 months’                 the group’s logistics and communications        Armed Forces of
U.S. v. Aguilar    Nancy Conde                                  Sept. 25,    imprisonment + 3 years’     network and was involved in the kidnapping         Colombia
   Ramirez         Rubio             D.D.C.     1:07-cr-00248    2007        supervised release          of American hostages.                              (FARC)

                                                                                                         Defendant pleaded guilty to violating §
                                                                                                         2339B. The defendant used Twitter and the
                                                                                                         dark web to educate others on how to use bit
                                                                  Waived                                 coin to fund terrorist organizations. He also
                                                                indictment   136 months’                 converted a co-conspirator to radical Islam
                   Ali Shukri                                    June 11,    imprisonment + lifetime     and facilitated travel of the co-conspirators
  US v. Amin       Amin             E.D. Va.    1:15-cr-00164      2015      supervised release          to Syria.                                            ISIS

                                                                                                         Defendant pleaded guilty to one count of
                                                                  Waived                                 violating § 2339B. The defendant provided
                                                                indictment   132 months’                 $340 to an ISIS official while he was in
                   Mohammed                                       Oct. 27,   imprisonment + 5 years’     Africa and $500 to an FBI confidential
 U.S. v. Jalloh    Bailor Jalloh    E.D. Va.    1:16-cr-00163      2016      supervised release          informant.                                           ISIS
                                                                                                                                                          Revolutionary
    U.S. v.        Jorge Abel                                    May 14,     130 months’                                                                 Armed Forces of
  Mosquera-        Ibarguen-                                      2009       imprisonment + 2 years’     Defendant pleaded guilty to count of               Colombia
   Renteria        Palacio          S.D.N.Y     1:09-cr-00498                supervised release          violating § 2339B.                                 (FARC)

                                                                             120 months’                 Defendant pleaded guilty to one count of
                   Zacharia Yusuf                                Feb. 19,    imprisonment + 20           violating § 2339B. The defendant had a plan
 U.S. v. Ahmed     Abdurahman       D. Minn.    0:15-cr-00049     2015       years’ supervised release   to travel to support ISIS.                           ISIS
                                                                                                                       179
                      Case 1:12-cr-00033-JLK  DocumentDocument
                               Case 1:12-cr-00033-JLK  2017 Filed 08/22/19
                                                                1920-1  FiledUSDC  Colorado
                                                                              07/18/18 Page 9Page
                                                                                              of 12180 of 183


                                                                                                        Defendant pleaded guilty to one count of
                                                                            120 months’                 violating § 2339A. He planned to travel to
                Nuradin M.                                    June 10,      imprisonment + 3 years’     obtain military-style training in preparation
 U.S. v. Abdi   Abdi             S.D. Ohio   2:04-cr-00088      2004        supervised release          for violent jihad.                                  al Qaeda

                                                                                                        Defendant pleaded guilty to one count of
                                                                            120 months’                 violating § 2339B. The defendant pledged
 U.S. v. Van    Joshua Van         W.D.                       Apr. 23,      imprisonment + lifetime     allegiance to ISIS attempted to travel to
   Haften       Haften             Wis.      3:15-cr-00037     2015         supervised relief           participate in violent jihad.                         ISIS

                                                                                                        Defendant pleaded guilty to violating 18
                                                                                                        U.S.C. § 922. The judge decided to apply an
                                                                            120 months’                 upward variance due to the defendant’s
                Miguel Moran                                  Apr. 16,      imprisonment + 3 years’     support for ISIS and “lone wolf”
 U.S. v. Diaz   Diaz             S.D. Fla.   1:15-cr-20264     2015         supervised release          characteristics.

                                                                                                        Defendant pleaded guilty to one count of
                                                                                                        violating § 2339B and to a § 1097 charge.
                                                                            120 months’                 The defendant flew to New York and
                Hamza Naj                                      Feb. 19,     imprisonment + 20           planned to leave for Turkey with several
U.S. v. Ahmed   Ahmed            D. Minn.    0:15-cr-00049      2015        years’ supervised release   others.                                               ISIS

                                                                                                        Defendant pleaded guilty to one count of
                                                                                                        violating § 2339B. The defendant purchased
                                                                                                        $80 in gift cards for ISIS with help from an
                                                                            102 months’                 FBI confidential informant. Additionally, the
                                                                            imprisonment + 20           defendant took several pictures for potential
U.S. v. Qamar   Haris Qamar      E.D. Va.    1:16-cr-00227   Oct. 7, 2016   years’ supervised release   terrorist attack targets in Washington D.C.           ISIS

                                                                            96 months’                  Defendant pleaded guilty to one count of
                                                              Nov. 12,      imprisonment + 3 years’     violating § 2339B. The defendant was
U.S. v. Yusuf   Nima Ali Yusuf   S.D. Cal.   3:10-cr-04551     2010         supervised release          involved in sending funds to al-Shabaab.           al-Shabaab

                                                                                                        Defendant pleaded guilty to one count of
                                                                                                        violating § 2339A. The defendant was
                                                                            96 months’                  connected to his father’s home grown
                                                               July 22,     imprisonment + 3 years’     terrorist cell and traveled with his father and   North Carolina
U.S. v. Boyd    Dylan Boyd       E.D.N.C.    5:09-cr-00216      2009        supervised release          brother to Israel to engage in jihad.                Taliban

                                                                                                        Defendant pleaded guilty to one count of
                                                              Aug. 26,      96 months’                  violating § 2339B. The defendant attempted
   U.S. v.      Muhammad           N.D.                        2015         imprisonment + 15           to provide himself and his co-conspirator as
  Dakhalla      Oda Dakhlalla      Miss.     15-cr-00098                    years’ supervised release   personnel to ISIS.                                    ISIS


                                                                                                                       180
                          Case 1:12-cr-00033-JLK  DocumentDocument
                                  Case 1:12-cr-00033-JLK   2017 Filed 08/22/19
                                                                   1920-1  FiledUSDC  Colorado
                                                                                07/18/18        Page
                                                                                          Page 10     181 of 183
                                                                                                  of 12


                                                                                                          Defendant pleaded guilty to one count of
                                                                 Apr. 01,     92 months’                  violating § 2339A. The defendant wanted to
                   Avin Marsalis                                  2014        imprisonment + 5 years’     travel overseas to fight and was caught at
 U.S. v. Brown     Brown           E.D.N.C.     14-cr-0058                    supervised release          airport with a ticket to Turkey.

                                                                                                          Defendant pleaded guilty to violating §
                                                                                                          2339B and § 960. The defendant worked
                                                                                                          with others to assist al Quaeda in the
                   Osman Jose                                                 90 months’                  transportation and smuggling of illegal aliens
U.S. v. Tobias –   Tobias-                                       Feb. 19,     imprisonment + 5 years’     and weapons into the United States from
  Rodriguiez       Rodriguiez      S.D. Fla.   1:10-cr-20094      2010        supervised release          Peru.                                               al Qaeda

                                                                                                          Defendant pleaded guilty to one count of
                                                                                                          violating § 2339B. The defendant provided
                                                                                                          $200-$250 to the leadership of Kashmir
                                                                              90 months’                  Independence Movement and confirmed to
                   Raja Lahrasib                                              imprisonment + lifetime     an FBI confidential informant that the group
 U.S. v. Khan      Khan            N.D. Ill.   1:10-cr-00240   Apr. 1, 2010   supervised release          was working with al Qaeda.                          al Qaeda

                                                                                                           Defendant pleaded guilty to one count of
                                                                                                          violating § 2339B. The defendant attempted        United Self-
                                                                              90 months’                  to acquire anti-aircraft missiles, grenade       Defense Forces
                   Diego Alberto                                Dec. 04,      imprisonment + 3 years’     launchers, and other powerful weapons in          of Colombia
U.S. v. Varela     Ruiz Arroyave   S.D. Tex.   4:02-cr-00714     2002         supervised release          exchange for $25 million worth of cocaine.           (AUC)

                                                                                                          Defendant pleaded guilty to one count of
                                                                              82 months’                  violating § 2339A. The defendant planned to
                   Michael Todd                                  June 18,     imprisonment + 5 years’     travel to Syria to engage in violent jihad and
 U.S. v. Wolfe     Wolfe           W.D. Tex.   1:14-cr-00213       2014       supervised release          hoped to take his wife and two children.

                                                                                                          Defendant pleaded guilty to violating §
                                                                              75 months’                  2339B, § 1956, and § 157. The defendant
                                                                              imprisonment + 10           and his wife planned to conceal $500,000 to
                   Hor Akl                                                    years’ supervised release   be sent to Hizballah.

                                                                              40 months’                  Defendant pleaded guilty to violating §
                                                                 June 07,     imprisonment + 3 years’     2339B. She and her husband planned to
  U.S. v. Akl      Amera Akl       N.D. Ohio   3:10-cr-00251       2010       supervised release          conceal $500,000 for Hizballah.                     Hizballah

                                                                                                          Defendant pleaded guilty to one count of
                                                                                                          violating § 2339B. The defendant was caught       Revolutionary
                                                                              70 months’                  in an ICE sting operation while he was           Armed Forces of
    U.S. v.        Victor Daniel                                 Jan. 03,     imprisonment + 3 years’     providing fraudulent identification to help         Colombia
  Salamanca        Salamanca       S.D. Fla.   1:06-cr-20001      2006        supervised release          FARC members enter the United States.               (FARC)

                                                                                                                        181
                        Case 1:12-cr-00033-JLK  DocumentDocument
                                Case 1:12-cr-00033-JLK   2017 Filed 08/22/19
                                                                 1920-1  FiledUSDC  Colorado
                                                                              07/18/18        Page
                                                                                        Page 11     182 of 183
                                                                                                of 12


                                                                         60 months’                  Defendant pleaded guilty to one count of
                                                                         imprisonment; defendant     violating § 2339A. The defendant sent more
                                                                         agreed to be removed to     than $2,000 to a person in Pakistan that she
                  Oytun Asyse                                Aug. 30,    Turkey after term of        believed was a member of the Taliban and al       Taliban and al
U.S. v. Mihalik   Mihalik        C.D. Cal.   2:11-cr-00833    2011       imprisonment                Qaeda                                                 Qaeda

                                                                                                     Defendant pleaded guilty to violating §
                                                                                                     2339B. The defendant with others provided         Revolutionary
                                                                         46 months’                  the FARC with logical assistance, secured        Armed Forces of
                                                                         imprisonment (no            transportation for cocaine across Africa with       Colombia
                  Idriss                                     Dec. 30,    supervised release          assistance from al Qaeda, and provided false      (FARC) & al
 U.S. v. Issa     Abdelrahman    S.D.N.Y.    1:09-cr-01244    2009       conditions)                 identification documents.                            Qaeda

                                                                                                     Defendant pleaded guilty to conspiracy to
                                                                                                     kill or maim persons in a foreign country,
                                                                                                     which carried a maximum sentence of 60
                                                                                                     months. She made three payments totaling
                                                                                                     $700 to a co-conspirator with the intent that
                                                                         36 months’                  the funds be transferred to, and used in
                  Jasminka                                   Feb. 05,    imprisonment + 3 years’     support of, a fellow Bosnian-American who
U.S. v. Hodzic    Ramic          E.D. Mo.    4:15-cr-00049    2015       supervised release          was fighting in Syria.
                  Luz Mery
                                                                                                     Defendants pleaded guilty to one count of
                  Gutierrez
                                                                                                     violating § 2339B. The defendants worked as       Revolutionary
                  Vergara
                                                                         31 months’                  radio call center operators, patching through    Armed Forces of
U.S. v. Aguilar   Ana Islabel                                Sept. 25,   imprisonment + 3 years’     high frequency radio calls from FARC                Colombia
   Ramirez        Pena Arevalo    D.D.C.     1:07-cr-00248    2007       supervised release          leaders.                                            (FARC)

                                                                                                     Defendant pleaded guilty to one count of
                                                                                                     violating § 2339B. The defendant conspired
                                                                                                     and attempted to assist his co-conspirators
                                                                                                     with traveling to Syria to fight with ISIS but
                                                                                                     the defendant had no such plans to travel.
                                                                                                     The court found the downward variance was
                                                                         30 months’                  appropriate based on the amount of
   U.S. v.        Abdirizak                                  Feb. 04,    imprisonment + 20           assistance the defendant provided to the
  Warsame         Warsame        D. Minn.    0:16-cr-00037    2016       years’ supervised release   government.                                           ISIS

                                                                                                     Defendant pleaded guilty to violating §
                                                                                                     2339B. The defendant delivered money to
                                                                                                     her co-conspirators upwards of $850 over six
                                                                                                     transactions. The defendant cooperated with
                                                             Nov. 14,                                the FBI and provided testimony against co-
 U.S. v. Esse     Amina Esse     D. Minn.    0:14-cr-00369    2014       5 years’ Probation          conspirators.                                      al-Shabaab


                                                                                                                    182
                        Case 1:12-cr-00033-JLK  DocumentDocument
                                Case 1:12-cr-00033-JLK   2017 Filed 08/22/19
                                                                 1920-1  FiledUSDC  Colorado
                                                                              07/18/18        Page
                                                                                        Page 12     183 of 183
                                                                                                of 12


                                                                       Time served (approx. 12   Defendant pleaded guilty to one count of
                  Abdullahi                                 Feb. 12,   months) + 20 years’       violating § 2339B. The defendant had
 U.S. v. Yusuf    Yusuf         D. Minn.    0:15-cr-00046    2015      supervised release        planned to travel to support ISIS.             ISIS

                                                                                                 Defendant pleaded guilty to one count of
                                                                                                 violating § 2339B. He was arrested before
                                                                       80 months’                boarding a flight to Trinidad and Tobago and
                  Aaron T.                                  Nov. 10,   imprisonment + lifetime   later admitted his intention was to travel
U.S. v. Daniels   Daniels       S.D. Ohio   2:16-cr-00222    2016      supervised release        abroad and join ISIS.                          ISIS




                                                                                                               183
